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                                                                   UNITED STATES DISTRICT COURT
                                                                   SOUTHERN DISTRICT OF FLORIDA
                                                                          MIAMI DIVISION

                                                                           CASE NO.: 1:15-cv-22463-MGC

      HYDENTRA HLP INT. LIMITED, a
      foreign corporation d/b/a METART,

                        Plaintiff,
      vs.

      MAXIMUM APPS INC., a foreign
      company d/b/a SEX.COM; CLOVER
      HOLDINGS LIMITED PARTNERSHIP,
      a foreign company d/b/a SEX.COM;
      SEX.COM; FREDERIC VALIQUETTE,
      an individual; and John Does 1-20,

            Defendants.
      _____________________________________/

      PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’,
         MAXIMUM APPS INC. AND FREDERIC VALIQUETTE, MOTION TO
       DISMISS FOR LACK OF PERSONAL JURISDICTION -AND- PLAINTIFF’S
           ALTERNATIVE MOTION FOR JURISDICTIONAL DISCOVERY

                        COMES NOW, Plaintiff, HYDENTRA HLP INT. LIMITED d/b/a METART, by

      and through the undersigned counsel, and hereby files its Memorandum of Law in

      Opposition to Defendants’, Maximum Apps Inc. d/b/a Sex.Com (“Maximum Apps”) and

      Frederic Valiquette (“Valiquette”) (jointly referred to as “Defendants”), Motion to

      Dismiss for Lack of Personal Jurisdiction (D.E. #34), and alternatively submits its

      Motion for Jurisdictional Discovery as to Defendants.1

                        As is typical with Internet companies, particularly in the adult industry, its owners

      and related companies architect layers of barriers between themselves and the public for a
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      1	  This Memorandum relies on numerous exhibits that depict adult-oriented content. The undersigned
      counsel has made every diligent effort to redact any content that could be considered pornographic. Should
      any image/word not have been redacted, such was entirely inadvertent and not intended to disrespect the
      Court or these proceedings.


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      number of privacy and financial reasons. Such is the case here and which underlies

      Defendants’ arguments in their Motion to Dismiss. This Memorandum will clarify the

      convoluted maze of participants in the Sex.com empire and demonstrate that Defendant,

      Valiquette, is the common denominator in the operations of this well insulated website

      and companies.

              On June 31, 2015, Plaintiff filed its Amended Complaint. On September 21, 2015,

      Defendants filed their Motion to Dismiss Amended Complaint, contesting personal

      jurisdiction. Defendants’ position is inconsistent with the legal obligations governing

      personal jurisdiction over a Defendant. This Court has jurisdiction over Maximum Apps

      and Valiquette pursuant to Florida specific personal jurisdiction, Florida general personal

      jurisdiction, or jurisdiction pursuant to Federal Rule of Civil Procedure 4(k)(2).

                                          I. INTRODUCTION

              In Brennan v. Roman Catholic Diocese of Syracuse N.Y., Inc., 322 Fed. Appx.

      852, 854 (11th Cir. 2009), the Eleventh Circuit set forth the burden of proof as it

      concerns personal jurisdiction. Plaintiff bears the burden of presenting a prima facie case

      for personal jurisdiction by submitting sufficient evidence to withstand a directed verdict

      motion. Id. The defendant then must raise, through affidavits, documents or testimony a

      meritorious challenge to personal jurisdiction. Id. If the defendant does so, the burden

      shifts to the plaintiff to prove jurisdiction by affidavits, testimony or documents. Id. If the

      plaintiff's complaint and the defendant's evidence conflict, the district court must construe

      all reasonable inferences in the plaintiff's favor. Id.

              A complaint should not be dismissed for lack of personal jurisdiction unless it is

      “beyond doubt that the plaintiff can prove no set of facts that would establish personal




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      jurisdiction over the defendants.” Colodny v. Iverson, Yoakum, Papiano & Hatch, 838 F.

      Supp. 572, 575 (M.D. Fla. 1993)(emphasis added). Plaintiff’s Amended Complaint sets

      forth in detail sufficient facts from which this Court can determine that Defendants are

      subject to personal jurisdiction. To avoid redundancy, Plaintiff will point the Court’s

      attention to the following paragraphs of the Amended Complaint, which directly address

      the issue of personal jurisdiction: ¶¶ 2, 4 - 12, and 33 - 35. The issues concerning

      personal jurisdiction over Defendants will be addressed in this Memorandum.

                  II. STATEMENT OF FACTS ESTABLISHING PERSONAL
                             JURISDICTION IN FLORIDA

             Defendants are subject to personal jurisdiction in Florida by virtue of their

      numerous and substantial contacts throughout the state.

      A.     Contracts with Florida Companies

             Defendants entered into important business contracts in Florida. Defendants argue

      they are not responsible for the registration of Sex.com and do not serve as the registrant

      of the site. Defendants’ Motion, pg. 2. Defendants’ position is surprisingly incorrect (or

      designed to mislead) as it is indisputable that Valiquette is the sole Director of Maximum

      Apps (and thus can be considered the exclusive owner) and the Director of HL Hosting

      Logistic Inc. (“HL”). Exhibits 1 and 2. HL maintains the servers that host Sex.com and

      the IP location for Sex.com reflects that such is with Maximum Apps, Inc. Exhibit 3.

      Simply stated, Valiquette owns/operates Maximum Apps. (which in turn serves as the

      location of the Sex.com IP address) and owns HL (which hosts some or all of Sex.com).

             Defendants’ registered the domain Sex.Com through Network Solutions, LLC, a

      domain name registrar based in Jacksonville, Florida. Exhibit 3. Absent such registration,

      sex.com would be altogether inoperable as a website. Sex.com entrusted this essential



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      function of its business to a company established in and operating from Florida. To be

      clear, without Network Solutions, Sex.com would not exist as Network Solutions

      provides the fundamental starting point for Sex.com’s operations on the Internet.

             Defendants also entered into another important contract with Perfect Privacy,

      LLC. (“PP”), the registrant of Sex.com, the purpose of which is to shield the true owners

      of Sex.com from the public. Exhibit 3, 4. PP is located in Jacksonville, Florida. Exhibit 3.

      According to PP’s webpage, its function is to register websites in PP’s name (rather than

      the name of the true owner) so as to avoid the owner’s exposure on public sites such as

      Whois.domaintools.com, which (as evidenced by the attached exhibits) reflects key

      ownership and contact information for all registered websites. Exhibit 3. Importantly,

      Defendants never contest the structure of the named Defendants – that is, that Maximum

      Apps. does business as Sex.com. Thus, because both the registrar and registrant of

      Sex.com are located in Florida, this state is the appropriate jurisdiction for this lawsuit.

      B.     Advertisements and Sponsorships

             Defendants’ strategic agreements with advertisers and sponsors are designed for

      one purpose – to maximize profits – as both companies are involved and share revenue

      derived from that sponsor page. Here, certain key advertisers and sponsors are located in

      Florida. Based on the functionality, the relationships with the owners, operators and

      officers of Sex.com and the Florida-based companies were not established through

      advertising brokers. Affidavit of Jason Tucker, Exhibit 5. The sponsor relationships with

      Sex.com are controlled entirely by Defendants and Sex.com. This means that all posted

      banners and links that depict a sponsor’s product are hosted on Defendants’ servers,

      designed by Defendants, and controlled and served by Defendants rather than by either




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      the sponsor or third-party broker. The content displayed upon clicking a sponsor’s banner

      or link is likewise controlled exclusively by Defendants. The sponsors cannot control or

      modify any page on Sex.com as such is exclusively controlled by Defendants. Moreover,

      the embedded hard-code pertaining to sponsors is remarkably different when a broker is

      used than when one is not used. Here, the code reflects that the relationship between

      Defendants and its sponsors listed below are direct rather than through brokers. Exhibit 5.

                                                            1.                                                     Reality Kings - Sponsor on Sex.com

                                                            RK Netmedia, Inc.2 owns and operates Rk.com (Reality Kings) and the Reality

      Kings Network (collectively RK), all of which are based in Miami Beach, Florida.3

      Exhibits 6, 7. Sex.com and RK maintain a sponsor relationship whereby RK permits

      Sex.com to advertise links to RK’s website throughout the Sex.com website. Each time a

      user on Sex.com clicks through and generates a sale on RK’s website, Sex.com generates

      money. Embedded in the operating code for Sex.com is a unique linking code

      (purposefully embedded in the site’s coding) between Sex.com and Rk.com, which code

      is used by Sex.com and RK to track sales. This portion of the code is found on Sex.com’s

      page source. See Exhibit 11 (arrows point to code entries linking to RK). In fact, from a

      business model, it is in Sex.com’s best interest to code as many links as possible to its

      sponsors, including RK, as such results in the generation of revenue to Sex.com.

      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      2	  As	  of	  August 28, 2012, RK Netmedia, Inc. operates as a subsidiary of Manwin Holding S.A.R.L. Exhibit
      6. As of October 2013, Manwin operates as MindGeek S.A.R.L., which maintains offices in Miami Beach,
      Florida, San Diego, California and Los Angeles, California, among other places, as demonstrated on the
      Contact Page of http://mindgeek.com and as explained in Bloomberg Business found at
      http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=142431065. Exhibits 7,8.

      3
       The site found at http://www.realitykings.com includes at the bottom of the page a link to “$$ models
      wanted$$”, which transfers the user to starwaymodels.com, which is located in Miami, Florida. Exhibit 9.
      Likewise, the link on http://www.realitykings.com referencing “18 USC 2257 Record Keeping
      Requirements Compliance Statement” takes the user to a page indicating the records custodian is Jose
      Tavarez, in Miami, Florida. Exhibit 10.


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             2.      Team Skeet - Sponsor on Sex.com

              Team Skeet is owned/operated by Paper Street Media, LLC, a company located

      in Miami, Florida. Exhibits 12, 13. Like the arrangement between RK and Sex.com,

      Team Skeet has a sponsorship arrangement with Sex.com, whereby Sex.com embeds

      unique linking codes into its source code to promote and track sales made on Team

      Skeet’s website.

             3.      Marsha May – Sex.com Featured Model

             Sex.com maintains a Twitter page found at https://twitter.com/sexdotcom, which

      states that it has 111,000 followers. The home screen on Sex.com’s Twitter page

      prominently states “Featuring Marsha May” and exhibits an image of Ms. May holding a

      sign stating “Sex.com”. Exhibit 14. Marsha May is a model from Miami, Florida. Exhibit

      15. Upon information and belief, Sex.com contracts with Marsha May, where her

      likeness is used to generate revenue for Sex.com.

             4.      Geotracking

             As it pertains to Sex.com’s advertising, Plaintiff alleges that “Defendants contract

      with United States advertisers, which use geotracking to target advertisements directly

      into the districts of the United States, including Florida.” Am’d Cmplt, ¶9. In response,

      Defendants admit that “it is possible for advertisers to contract to have their ads targeted

      to viewers in a particular country – and some undoubtedly do – this ‘geolocation’ has

      almost always been performed . . . by the advertising brokers, and not Maximum.”

      Motion to Dismiss, pg. 4. Defendants try to place importance to such advertisements not

      serving to promote the Sex.com website, but rather third party sites on Sex.com.

             Defendant’s attempt to blame advertising brokers with whom they contract to sell




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      advertising (to generate income for Sex.com). Such attempts to “blame” fail for the

      reasons explained above. Additionally, it is irrelevant to consider who is advertising on

      whose website. Instead, the inquiry is whether Defendants’ advertising brokers (if used)

      are targeting users in Florida, which they are. For instance, when Sex.com is accessed

      through a mobile device (which permits geographic locations to be identified),

      advertising pop-ups appear specific to the local area, in this case, Florida. Exhibit 16.

      Moreover, any advertising or geolocation used by brokers is, as a matter of law,

      Defendants’ responsibility. See Fla. Stat. 48.193(1) (Any person . . . who personally or

      through an agent does any of the acts enumerated in this subsection thereby submits

      himself . . . to the jurisdiction of the courts of this state . . . .).

      C.      Defendants’ Infringement Occurred In Florida

              As demonstrated in Plaintiff’s Amended Complaint and in this Memorandum,

      Maximum Apps and Valiquette specifically and intentionally target the residents of the

      State of Florida and commit tortious acts of infringement within the state. The infringed

      intellectual property was both accessible and accessed in the State of Florida. The

      Eleventh Circuit determined that when a website is accessible in the forum, the resulting

      trademark infringement occurs in that forum. Licciardello v. Lovelady, 544 F.3d 1280

      (11th Cir. 2008). Importantly, despite Plaintiff’s allegations throughout the Amended

      Complaint that Defendants’ violated various intellectual property laws, Defendants fail to

      refute same in their Motion. Thus, Plaintiff has established the commission of a tort in

      Florida and jurisdiction exists pursuant to Fla. Stat. 48.193(1)(a)(2), discussed below.

                  III. PERSONAL JURISDICTION EXISTS OVER THE
             DEFENDANTS PURSUANT TO FLORIDA’S LONG-ARM STATUTE

              A Florida federal district court may exercise personal jurisdiction over a



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      nonresident defendant to the same extent that a Florida state court may, so long as the

      exercise is consistent with federal due process requirements. Sculptchair, Inc. v. Century

      Arts, Ltd., 94 F.3d 623, 626-27 (11th Cir. 1996). If Florida law and the U.S. Constitution

      permit, the district court may exercise jurisdiction over the nonresident defendant. Id.

             In order to determine whether the district court has personal jurisdiction over

      nonresident defendants, we must undertake a two-part analysis. First we must determine

      whether the Florida long-arm statute provides a basis for personal jurisdiction. If so, then

      we must determine whether sufficient minimum contacts exist between the defendants

      and the forum state so as to satisfy "traditional notions of fair play and substantial justice"

      under the Due Process Clause of the Fourteenth Amendment. Robinson v. Giarmarco &

      Bill, P.C., 74 F.3d 253 (11th Cir.1996) (internal citations omitted).

             Florida's Long-Arm Statute, Fla.Stat. 48.193 provides in pertinent part:

             (1)(a) Any person, whether or not a citizen or resident of this state, who
             personally or through an agent does any of the acts enumerated in this
             subsection thereby submits himself . . . to the jurisdiction of the courts of
             this state for any cause of action arising from the doing of any of the
             following acts:
             1. Operating, conducting, engaging in, or carrying on a business or
             business venture in this state or having an office or agency in this state.
             2. Committing a tortious act within this state . . . .
             6. Causing injury to persons or property within this state arising out of an
             act or omission by the defendant outside this state, if, at or about the time
             of the injury, either:
                     a. The defendant was engaged in solicitation or services within this
                     state; or
                     b. Products, materials, or things processed, serviced, or
                     manufactured by the defendant anywhere were used or consumed
                     within this state in the ordinary course of commerce, trade, or use.
             (2) A defendant who is engaged in substantial and not isolated activity
             within this state, whether such activity is wholly interstate, intrastate, or
             otherwise, is subject to the jurisdiction of the courts of this state, whether
             or not the claim arises from that activity.




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             The Florida Long-Arm statute contains two provisions that confer personal

      jurisdiction over a non-resident defendant. The first, §48.193(1), confers specific

      jurisdiction if a claim “arises from” a defendant's specific forum-related contacts.

      Although the term “arising from” may be somewhat broader than the concept of

      proximate cause, under Florida law there must nevertheless be some “direct affiliation,”

      “nexus”, or “substantial connection” between the cause of action and the activities within

      the state. Canadian Steel, Inc. v. HFP Capital Mkts., LLC, 2012 U.S. Dist. LEXIS 84441

      (S.D. Fla. June 19, 2012), SunTrust Bank v. Sun Int'l Hotels, Ltd., 184 F. Supp. 2d 1246

      (S.D. Fla. 2001).

              The second, §48.193(2), confers general jurisdiction if a defendant’s contacts

      with Florida are sufficiently pervasive. General jurisdiction arises from a non-resident

      defendant's contacts with the forum that are unrelated to the claim being litigated.

      A.      Specific Jurisdiction, Fla. Stat. 48.193(1)(a)

              1. 48.193(1)(a)(1): Carrying on a Business or Business Venture in Florida

              Defendants are subject to specific personal jurisdiction by having engaged in

      business activities in this state. As demonstrated above, Defendants maintain important

      operational contracts with Network Solutions and PP, both of whom are domiciled in

      Jacksonville, Florida. Without these contracts, not only would Sex.com be unable to

      operate its website, but it would be unable to function in the clandestine manner in which

      PP permits. Likewise, the various advertisers with which Defendants intentionally and

      purposefully maintain affiliate/promotional contracts (RK and Team Skeet) result in

      direct pecuniary benefits to Defendants. This is best evidenced in the hard coded links

      embedded in Sex.com codes that direct traffic to such affiliate websites, which are all




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      located in Florida. Moreover, the Twitter account maintained by Sex.com takes

      advantage of a well-known Florida model to promote its Twitter page. Lastly, Defendants

      admit they use brokers who use geolocation to target advertising to particular areas,

      including Florida. Florida Statute 48.193(1) extends its application to this very situation

      where Defendants both personally and through agents (brokers) commit any of the

      enumerated acts. “The activities of the person sought to be served pursuant to Fla. Stat.

      48.181(1)4 must be considered collectively and show a general course of business activity

      in the State for pecuniary benefit. (Internal citations omitted). A nonresident defendant,

      which engages the services of brokers, jobbers, wholesalers or distributors, can be doing

      business in this State pursuant to Fla. Stat. 48.181(1) if the nonresident defendant,

      through brokers, jobbers, wholesalers or distributors was engaged in a course of conduct

      in Florida for the purpose of realizing a pecuniary benefit.” Bank of Wessington v.

      Winters Gov’t Secs. Corp., 361 So.2d 757 (Fla. 4th DCA 1978).

                        2.                 48.193(1)(a)(2): Committing a Tortious Act Within Florida

                        Defendants are also subject to specific personal jurisdiction by having committed

      the tortious act of copyright infringement within this state. Am’d Cmplt ¶9, 11. Copyright

      infringement is considered an intentional tort for purposes of personal jurisdiction.

      Playboy Enterprises, Inc. v. Frena, 839 F.Supp. 1552, 1559 (M.D. Fla. 1993). “The

      Court has made clear . . . that “[s]o long as it creates a ‘substantial connection’ with the

      forum, even a single act can support jurisdiction. . . . Intentional torts are such acts, and

      may support the exercise of personal jurisdiction over the nonresident defendant who has

      no other contacts with the forum.” Licciardello v. Lovelady, 544 F.3d 1280 (11th Cir.
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      4	   Section 48.181 and Section 48.193(1)(a) have the same language, “operate, conduct, engage in, or carry
      on a business or business venture in this state.” Therefore, interpretation of the language in Section 48.181
      likewise should be applicable to Section 48.193(1)(A). Bank of Wessington, 361 So. 2d 757, at FN4.


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      2008)(internal citations omitted).

             “The Florida Long-Arm Statute permits jurisdiction over the nonresident

      defendant who commits a tort outside of the state that causes injury inside the state.”

      Posner v. Essex Ins. Co., 178 F.3d 1209 (11th Cir. 1999). “The defendant's physical

      presence is not required if the tort causes an injury in Florida.” Wendt v. Horowitz, 822

      So.2d 1252. (Fla. 2002). The Florida Supreme Court determined that a defamatory

      internet posting that “was both accessible in Florida and accessed in Florida constituted

      the commission of a tortious act . . . within Florida.” Internet Solutions Corp. v. Marshall,

      39 So. 3d 1201, 2010 Fla. LEXIS 943, 201 WL 2400390 (Fla. 2010). Where a trademark

      was involved, the Eleventh Circuit determined that “we need not decide whether

      trademark injury necessarily occurs where the owner of the mark resides, as the Florida

      district courts have held, because in this case the alleged infringement clearly also

      occurred in Florida by virtue of the website's accessibility in Florida. Licciardello v.

      Lovelady, 544 F.3d 1280 (11th Cir. Fla. 2008). Again, Defendants fail to dispute the

      infringement and thus fail to meet their burden.

             3.    48.193(1)(a)(6): Causing Injury to Persons or Property Within the State
                   of Florida
             Defendants caused Plaintiff substantial pecuniary and economic injuries and

      injuries to its intellectual property within this state. It is well established that economic

      injury coupled with personal injury or property injury is sufficient to confer personal

      jurisdiction over nonresident defendants under section 48.193(1)(a)(6). Sun Bank, N.A. v.

      E.F. Hutton & Co., 926 F.2d 1030 (11th Cir. 1991) (citing Aetna Life & Casualty Co. v.

      Therm-O-Disc, Inc., 511 So. 2d 992 (Fla. 1987)). Therefore, this Court has specific

      personal jurisdiction over Defendants, pursuant to the Florida Long-Arm Statute.



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      B.      Minimum Contacts

              Having determined that the reach of the Florida Long-Arm Statute extends to

      Defendants, we must next engage in a two-part inquiry to determine whether sufficient

      minimum contacts exist between the Defendants and the forum state so as to satisfy

      "traditional notions of fair play and substantial justice" under the Due Process Clause of

      the Fourteenth Amendment. Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253 (11th

      Cir.1996) (quoting International Shoe v. Washington, 326 U.S. 310 (1945)).

              Minimum contacts under specific jurisdiction involve three criteria: (1) the

      contacts must be related to the cause of action or have given rise to it; (2) the contacts

      must involve some purposeful availment of the privilege of conducting activities within

      the forum, thereby invoking the benefits and protections of its laws; (3) the defendant's

      contacts within the forum state must be such that they should reasonably anticipate being

      haled into court there. Francosteel Corp. v. M/V Charm, 19 F.3d 624 (11th Cir.1994).

              Here, Defendants’ contacts with Florida gave rise to the cause of action. Not only

      do Defendants market, advertise and target Florida as a whole (geotargeting and specific

      Florida-based sponsor relationships), but Defendants have contractually submitted

      themselves to the jurisdiction of this Court for third party disputes like this one.

      Additionally, because the registrar and registrant of the infringing website are located in

      Florida, it is only natural for a lawsuit regarding use of this site to occur in Florida.

      C.      Fair Play and Substantial Justice

              Having determined that Defendants have sufficient minimum contacts with this

      state, we must next determine whether the exercise of personal jurisdiction over them

      comports with "fair play and substantial justice." Robinson v. Giarmarco & Bill, P.C., 74




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      F.3d 253 (11th Cir.1996), (quoting International Shoe, 326 U.S. at 320). “In so

      determining, the Court must consider the burden on the defendant in litigating in the

      forum, the interest of the forum in adjudicating the dispute, plaintiff’s interest in

      obtaining convenient and effective relief, and the interest of the judicial system in

      efficiently resolving the dispute.” Licciardello, 544 F.3d at 1284.

             Perhaps the single most determinative factor this Court should consider when

      evaluating the issue of fair play and substantial justice is Defendants’ (and Sex.com’s)

      contract with Network Solutions. As established, Network Solutions serves as the

      registrar for Sex.com. Exhibit 3. In their Terms of Service (Exhibit 17, pg. 11 of 137),

      Section 21 sets forth the Governing Law, which provides, in relevant part, the following:

             c. Notwithstanding the forgoing, for the adjudication of third party
             disputes (i.e., disputes between yourself and another party, not Network
             Solutions) concerning or arising from use of domain names registered
             hereunder, you acknowledge and agree that you shall submit, without
             prejudice to other potentially applicable jurisdictions, to the jurisdiction of
             the courts (i) of the domain name holder's domicile, and (ii) where
             Network Solutions' principal place of business is located, currently
             Jacksonville, Florida.

             Because Defendants voluntarily acquiesced to jurisdiction in Florida for third

      party disputes related to the registered domain names, they should be precluded from now

      arguing it would be unfair, unjust or burdensome to be haled into court in Florida for any

      matter, especially a matter concerning the very domain registered in Florida and at issue

      in this case. Moreover, because Defendants named Perfect Privacy (a Florida company)

      as the registrant of the Sex.com website, it is only logical that a person suing Sex.com

      would select Florida as the forum state. Defendants should have expected this result when




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      they voluntarily elected to hide behind the protections offered by Perfect Privacy.5

      D.                General Jurisdiction, Fla. Stat. 48.193(2)

                        Personal jurisdiction over Defendants is likewise conferred by virtue of Florida

      Statute 48.193(2), given Defendants’ “substantial and not isolated activity” within this

      state. Pursuant to Schuster v. Carnival Corp., 2011 U.S. Dist. LEXIS 126455 (S.D. Fla.

      2011) (citing Woods v. Nova Cos. Belize Ltd., 739 So.2d 617, 620 (Fla. 4th DCA 1999),

      “substantial and not isolated activity” means “continuous and systematic general business

      contact with Florida,” which is also “sufficient to fulfill the constitutional due process

      requirements of minimum contacts.” Id. (internal citations omitted). “For general

      jurisdiction to exist, the defendant must be found to have maintained ‘continuous and

      systematic general business contacts’ with the forum, so that it can properly be

      considered to be ‘present’ in the forum.” Id.

                        If the court is satisfied that a proposed nonresident defendant's contacts satisfy

      Fla. Stat. §48.193(2), then minimum contacts is likewise satisfied and the court may

      exercise personal jurisdiction over the proposed defendant without engaging in a due

      process analysis. Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010) (citing Woods, 739

      So. 2d at 620). Here, the multitude of Defendants’ contacts with the United States, as a

      whole, gives rise to jurisdiction in Florida.

                       IV. STATEMENT OF FACTS ESTABLISHING PERSONAL
                   JURISDICTION OVER DEFENDANTS PURSUANT TO F.R.C.P 4(k)(2)

                        If this Court determines that Defendants are not subject to jurisdiction pursuant to

      Florida’s Long Arm Statute, Defendants are nevertheless subject to this Court’s

      jurisdiction pursuant to Federal Rule of Civil Procedure 4(k)(2). Am’d Cmplt, ¶¶12, 13.
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      5	  	   To the extent Defendants’ claim that Clover established the relationship with PP, such is nevertheless
      inconsequential given the common business relationship between Maximum Apps, Valiquette and Clover.


      	                                                                                                          14	  
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      Importantly, despite Plaintiff’s repeated allegations in its Amended Complaint that

      jurisdiction is proper pursuant to Rule 4(k)(2), Defendants entirely fail to specifically

      contest this assertion (absent their vague mention of United States contacts), and thus

      such remains undisputed.

                                                            Defendant, Valiquette, directly and through his companies casts a wide net

      throughout the United States, which upon close examination renders not only

      Defendants’ Motion to Dismiss factually incorrect, but raises serious doubt over the

      accuracy of Valiquette’s sworn affidavit. As a starting point, Valiquette is substantially

      tied into the ownership and operations of Maximum Apps. (as its Director), HL

      Hosting Logistic Inc. (as its Director) and HVL Cyberweb Solutions Inc. (“HVL”) (as

      its Director). Exhibits 1, 2, 18, respectively.

      A.                                                    Download Banner

                                                            Up until the filing of the instant lawsuit, there appeared a hard-coded6 banner

      underneath videos owned by Plaintiff and which Defendants were infringing on the

      Sex.com website.7 The banner is duplicated here:




                                                            The fact that the banner was “hard-coded” is of utmost significance. The hard-

      coded banner means that Defendants directly and purposely wrote and inserted certain
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      6	  	   In computer programming, to hard-code is to use an explicit rather than a symbolic name for something
      that is likely to change at a later time. Such coding is sometimes known as hardcode (noun) and it is more
      difficult to change if it later becomes necessary. Exhibit 5.

      7	  Upon information and belief, immediately after Defendants learned of this lawsuit, they removed the
      banner at issue. Luckily, Plaintiff recorded video actions, clicks and specific operations on Sex.com,
      including clicks of the banner and the redirection described herein and in the attached affidavits. Exhibit 5.	  


      	                                                                                                                                                                                                                                 15	  
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      coded text (that creates the banner) into the program that created the webpage, rather than

      having appeared in an advertisement or other spam, over which Defendants have little to

      no control. It should not be overlooked that above the icon for “Full Length Download” is

      a U.S. flag. Exhibit 5.

                                                            Upon clicking any area of Download Banner (which was located directly under

      Defendants’ infringing videos), a user traveled from the banner through Clicktraffix.com

      à join.sex.com à join.pornstarnework.com à psn.statccache.com à hd.sex.com (the

      final destination in the chain where the user is involuntarily redirected). Exhibit 19.8

                                                            1.                                                     ClickTraffix.com

                                                            The first stop in the chain following any click on the banner leads the user to

      travel                                                        through                                                                      ClickTraffix.com                                                                           (“ClickTraffix”).   Exhibit   19.   According   to

      ClickTraffix’s Terms of Service, ClickTraffix refers to HVL as “we” or “us”, thus

      resulting in the logical conclusion that the two companies are related. Exhibit 20.

      Additionally, ClickTraffix is hosted by HVL (Exhibit 21) and according to the American

      Registry                                                                                for                                             Internet                                                                            Numbers      (https://www.arin.net/about_us/overview.html)

      ClickTraffix’s IP address (206.125.164.237) is owned by HVL. Exhibit 22. Again,

      Valiquette owns and operates HVL. ClickTraffix is registered through NameSilo, LLC

      (“NameSilo”), a Phoenix, Arizona company, and takes advantage of the privacy benefits

      offered by NameSilo. Exhibit 23, 24. This reinforces the conclusion that Valiquette owns

      HVL (Exhibit 18), which in turn owns the IP address of ClickTraffix (Exhibit 23), which

      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      8	  Because Defendants destroyed this important evidence demonstrating the series of clicks and pages,
      Plaintiff and the Court can no longer access this information online. Plaintiff was able to record a video of
      these clicks and pages before the evidence was destroyed. Should the Court determine that it wishes to
      inspect the video evidence, Plaintiff will submit a DVD of same to the Court. The DVD is not being
      submitted at this time given the nature of the adult content depicted on the video and out of respect for the
      Court. Instead, at this time, Plaintiff is submitting printed screen shots of the clicks and pages reflecting the
      chain of sites through which a user is directed. Exhibit 19.


      	                                                                                                                                                                                                                                        16	  
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      in turn contracts with NameSilo in the United States. This is yet another example of

      Valiquette’s entrustment of his sensitive and important business operations to a United

      States company.

                                                            2.                                                     PornStar Network

                                                            PornStar Network is owned and operated by HVL, a Valiquette directed

      company.9 Exhibit 25. PornStar Network (HVL) operates a membership-based website

      that processes its customers’ credit cards via NetBilling, Inc., CCBill, LLC. and

      Epoch.com LLC. Exhibit 26. NetBilling, Inc., is, based in Valencia, California (Exhibit

      27), CCBill, LLC is based on Tempe, Arizona (Exhibit 28) and Epoch.com, LLC is based

      in Santa Monica, California (Exhibit 29).

                                                            3.                                                     Staticcache.com

                                                            Staticcache.com is registered through NameSilo (a United States company) and

      the server used to operate statcache.com is Braincash.com. Exhibit 30. Importantly,

      Valiquette owns Braincash.com and Braincash.com is operated by its parent company,

      HVL (also Valiquette’s company). Exhibit 31, 32.




      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      9	  By way of example only, Exhibit 25 reflects the Terms & Conditions of the PornStar Network website,
      found at http://www.pornstarnetwork.com/terms.html. The Terms & Conditions reflect that, like a typical
      contractual agreement, the user must “read and agree to these Terms and Conditions before [they] can join .
      . . . [and] by purchasing a Membership to the site, [they] become a Subscriber and agree to be bound by
      these Terms & Conditions (the “Agreement”).” Moreover, only HVL is permitted to change the agreement
      at any time without notice to the Subscriber. Likewise, the “Definitions” define “site” as, “the Internet site
      for which you are purchasing a user name and password (login) from HVL in order to access that site and
      enjoy its contents and benefits of Membership.” It also appears at the end of the Terms & Conditions that
      all customer support is managed by HVL. Exhibit 25.



      	                                                                                                                                                                                                                                 17	  
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                                                             4.                                                     Hd.Sex.com

                                                             At the time of the filing of this lawsuit, Hd.Sex.com was managed and operated

      by HVL.10 Exhibit 33. Hd.Sex.com operates as a customized white label11 sales page for

      PornStar Network (Exhibit 5, 34), and Hd.Sex.com has a “Join” page for PornStar

      Network, which notably contains another United States flag (Exhibit 19). Importantly,

      Hd.Sex.com complies with United States record keeping requirements, pursuant to 18

      U.S.C §2257. Exhibit 35.

      B.                                                     Advertising

                                                             Sex.com                                                                             engages                                                                         in      geotracking      advertising,   which   directly   targets

      advertisements based on user location. Am’d Cmplt ¶9. Defendants’ attempt to avoid

      jurisdiction related to its advertising in the United States to target U.S.-based customers.

      In doing this, Defendants claim to use brokers, “most” of whom are located outside of the

      United States. Motion to Dismiss, pg. 13. First, Defendants’ own admission that “some”

      brokers are located inside the United States cannot be overlooked, and such U.S-based

      broker relationships are contractual in nature. Second, Defendants own and operate

      Sex.com, yet attempt to defer advertising control to their brokers. As a matter of law,

      Sex.com (as principal) cannot avoid the consequences of the activities in which its

      brokers (agents) are engaged. This is also demonstrated in Florida Statute 48.193(1)(a) (“.

      . . who personally or through an agent does any of the acts enumerated in this subsection.

      . . .”). Third, Valiquette admits in his own affidavit that Sex.com is involved in some

      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      10     	  The   Terms       &       Conditions      page      for     Hd.Sex.com  is     found     at
      https://web.archive.org/web/20150217140323/http://hd.sex.com/terms.html. Notably, the terms are nearly
      identical to those explained in the prior footnote concerning PornStar Network.

      11	  A white label product or service is produced by one company that other companies rebrand to make it
      appear as if they had made it. Exhibit 5.	  


      	                                                                                                                                                                                                                                         18	  
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      direct advertising (not through brokers), where an advertiser “contacts Maximum

      directly”. Valiquette’s affidavit, Par. 23. Fourth, the Sex.com website reflects a dedicated

      link and page to “Advertise with Sex.com” at www.sex.com/about/advertise. In fact, its

      advertising page boasts of its steady traffic flow, “allowing [Sex.com] to be in the

      prestigious Alexa Top 1000 list for the last year”. Exhibit 36.

                                                       Sex.com has a “Live Chat” advertisement on its website. This is generated

      through a direct hard-coded script, placed directly onto the Sex.com webpage, not

      delivered by, or controlled by, or through, an advertisement network or ad broker.

      Exhibits 5, 37 (reflecting the relevant code and the resulting image on the website). When

      clicked, the user is taken to the webpage, Sexcams.com. Notably, Sexcams.com is

      operated by ICF Technology (which is also known as Accretive Networks, Streammate,

      Flying Crocodile), a United States based company located in Seattle, Washington. Exhibit

      38.

                                                       Additionally, Sex.com has a “Live Cams” tab at the top of its website (Zone 19 of

      sex.com’s advertisements). Once clicked, the user is redirected to MyFreeCams.com, a

      United States website hosted in the State of Washington and operated from Illinois.

      Exhibit 39. MyfreeCams also uses NetBilling, CCBill and Epoch to process credit card

      payments, all United States Companies12. Exhibits 27, 28, 29.

      C.                                               Sponsors

                                                       As explained above (in the section concerning Florida’s Long Arm Jurisdiction),

      Sex.com maintains numerous sponsorship relationships. In addition to those listed above,
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      12 	  The                                                                 “Billing” link at the
                                                bottom of MyFreeCams.com routes the user to
      http://wiki.myfreecams.com/wiki/Billing_Help, which reflects that “All purchases are handled by one of
      the following secure and trusted third-party payment processors”, which include Epoch, CCBill, and
      NetBilling. Exhibit 40.



      	                                                                                                                                                                                                                                 19	  
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      Sex.com also maintains sponsorships throughout the United States and outside of

      Florida.13 These sponsors (who were not generated by ad brokers) include (a) POVD.com

      (owned and operated by AMA Multimedia, a Las Vegas company but governed by the

      laws of the State of California) (Exhibit 42); (b) JulesJordan.com (a Los Angeles,

      California based production company) (Exhibit 43); (c) NubileGirls.com (owned and

      operated by NF Media, Inc., which has offices in Phoenix, Arizona and is registered in

      Las Vegas, Nevada) (Exhibit 44); (d) ElegantAngel.com (a Los Angeles, California based

      company in partnership with HVL Cyber Web d/b/a Braincash.com) (Exhibits 45, 46); (e)

      Hustler (a Los Angeles, California company) (Composite Exhibit 47); and (f) Naughty

      America (a San Diego, California company) (Exhibit 48). Again, Defendants

      purposefully embedded a unique hard-code into the program (that creates the images on

      Sex.com) for each of the listed sponsors, which is also used to track sales from Sex.com.

      J. Tucker’s Affidavit, Exhibit 5; the codes are attached Composite Exhibit 49.

      D.                Trademarks

                        Sex.com is registered as Trademark Serial #75448953 and Trademark Serial#

      75106638 with the United States Patent and Trademark Office. Exhibits 50, 51. HVL

      Cyber Web has previously availed itself of the benefits and privileges of the United

      States on or around 2007 when it filed a claim with the United States Patent and

      Trademark Office against Alden Brown (Exhibit 52), and a separate lawsuit in 2006

      against Alden Brown and North Pole Enterprises filed in the Superior Court of the State


      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      13	  For example, when a user clicks the “Sex Deals” tab at the top of the Sex.com home page, it routes the
      user to sex.idealgasm.com. However, upon closer examination of the URL, the actual redirected site is
      located at http://sex.idealgasm.com/us/new-york/live-deals?ref=787. It is important to note this page is
      specifically targeted to United States (as it names the U.S. and New York) users and a majority of the
      content displayed on this page is delivered, rendered and controlled by Sex.com given the source code
      creating this page. Exhibits 5, 41.


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      of California in Orange County (Exhibit 53). Notably, in its allegations against North

      Pole Enterprises, HVL states that North Pole is a Florida company with which it entered

      into a contract in 2002 to design, develop and market HVL’s websites.14 Exhibit 53, ¶8.

      Under the terms of that agreement, HVL was granted a lifetime license to use and

      incorporate into its websites the content provided by North Pole. Exhibit 53, ¶9. In other

      words, HVL expected to have an ongoing business relationship with a Florida company

      in perpetuity for which it availed itself of the laws of the United States.

      E.                Compliance with United States Federal Law

                        Despite Defendants’ insistence that they (and sex.com) are not citizens of the

      United States, they notably go out of their way to comply with U.S. laws. According to

      Sex.com’s own website, “Sex.com respects the intellectual property rights of others and

      expects its users to do the same”. Exhibit 54. Sex.com provides that it has “implemented

      certain policies in an effort to voluntarily comply with laws such as the Digital

      Millennium Copyright Act” (an American law). Exhibit 54.

                        Similarly, Defendant Sex.com maintains a 2257 Compliance Page (18 USC

      §2257) on its website. According to this webpage, “[s]hould any content be reported as

      illegal, unlawful, harassing, harmful, offensive or various other reasons, Sex.com shall

      remove it from the site without delay”. Exhibit 55.

                        “RTA” (Restricted to Adults) is a self-labeling service. The Association of Sites

      Advocating Child Protection (ASACP), located in Los Angeles, California, operates

      RTA. Exhibit 56. All pages on Sex.com’s website prominently include an RTA label.

      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      14	  Defendants (through Valiquette) take inconsistent positions in the North Pole litigation and this lawsuit
      where they claim the plaintiff’s location is determinative of jurisdiction. In the North Pole litigation, HVL
      (Valiquette) alleged it was a Canadian company yet filed suit in California, the very act it criticizes Plaintiff
      for doing in this action. Exhibit 53.


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      Exhibits 54, 55 (as examples).

      F.     United States Users

             Maximum Apps, in its own Press Kit, proudly advertises and asserts: “BONUS

      INFO - About 25% of our total traffic is 100% American” followed be an image of a U.S.

      flag. Exhibit 57. Further, statistics gathered by Similarweb.com, a website which

      evaluates web traffic for advertising purposes, reflects that in August 2015 alone there

      were 8.8 million visits to Defendant’s Sex.com site and that 39.21% of those visits were

      from desktop computers in the United States. Exhibit 58. Additionally, 58.26% of those

      visits were from direct traffic rather than links from other web sites. Exhibit 58.

      G.     PayPal

             HVL has maintained a verified PayPal Account since August 9, 2006. Exhibit 59.

      Significantly, the verified email address for the account is fredvaliquette@XXXX

      (redacted for privacy), reasonably owned by Defendant, Frederic Valiquette. Exhibit 59.

      On September 29, 2015, HVL accepted a $20 payment from Jason Tucker, a resident of

      Phoenix, Arizona, United States. Exhibits 5, 60. PayPal’s Corporate Headquarters is in

      San Jose, California and its Worldwide Operations are in La Vista, Nebraska. Exhibit 61.

      H.     Close Relationship with Choopa, LLC, in New Jersey

             Defendants (and Sex.com) maintain a close contractual relationship with Choopa,

      LLC, a New Jersey company, which permits Defendants to operate their business by

      streamlining content directly to users in the U.S. Exhibit 62. While technical, Plaintiff

      attaches as Exhibit 62 the Declaration of Mark Lidikay, an expert in all areas of network

      operations. The Declaration sets forth, in detail, the nature of the relationship between

      Defendants and Choopa, which leads to the conclusion that there is a formal peering




      	                                           22	  
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      relationship between Host Logistics and Choopa for the domain name sex.com. Mr.

      Lidikay opines that such relationship was established specifically to support and serve

      Sex.com users in the United States. Mr. Lidikay further opines that, based on certain

      exact measurements, there must be a server hosting Sex.com in New Jersey. Exhibit 62.

             V. PERSONAL JURISDICTION EXISTS PURSUANT TO F.R.C.P. 4(k)(2)

      A.       Governing Law

               In cases where a defendant is not amenable to the jurisdiction of any state’s courts

      of general jurisdiction, F.R.C.P. 4(k)(2) permits a federal district court to exercise

      personal jurisdiction over a foreign defendant when (1) the claim at issue arises under

      federal law, and (2) exercising jurisdiction is consistent with the Constitution and laws of

      the U.S. Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1218 (11th Cir. 2009).

      The federal long arm statute authorizes the exercise of territorial jurisdiction over any

      defendant against whom a claim is made arising under federal law if that person is

      subject to personal jurisdiction in no state. Id. at n. 23. Where a federal court invokes

      Rule 4(k)(2), the applicable forum for the minimum contacts analysis is the U.S.

      Schulman v. Inst. for Shipboard Educ., 2015 U.S. App. LEXIS 14438 (11th Cir. 2015).

               Jurisdiction under 4(k)(2) is appropriate when the Defendants are not amenable to

      personal jurisdiction in any state. The Eleventh Circuit explained, “[a] district court is not

      required to analyze the laws of all fifty states to ascertain whether any state court of

      general jurisdiction has jurisdiction over the defendant; rather, if the defendant contends

      that he cannot be sued in the forum state and refuses to identify any other where suit is

      possible, then the federal court is entitled to use Rule 4(k)(2).” Oldfield, 557 F. 3d at

      1218 n. 22.




      	                                           23	  
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      B.     Plaintiff Raises Federal Claims and Defendants Have Minimum Contacts
             Throughout the United States

             Plaintiff’s claims against Defendants arise pursuant to Federal Law. (See

      generally, Plaintiff’s Amended Complaint Counts I through VII). Jurisdiction consistent

      with the Constitution and laws of the United States is that which comports with due

      process. Consolidated Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. Fla.

      2000). Considerations of due process require that a non-resident defendant have certain

      minimum contacts with the forum, so that the exercise of jurisdiction does not offend

      traditional notions of fair play and substantial justice. The nature and quality of these

      contacts, however, vary depending upon whether the type of personal jurisdiction being

      asserted is specific or general. Id. Here, Defendants’ contacts with the United States

      result in both specific and general national jurisdiction.

             1. Specific National Jurisdiction

             The minimum contacts test for specific jurisdiction has three elements: (1) the

      Defendant must have contacts related to or giving rise to the Plaintiff’s cause of action;

      (2) the Defendant must, through those contacts, have purposely availed itself of the forum

      benefits; and (3) the Defendant’s contacts with the forum must be such that it could

      reasonably anticipate being haled into court there. Fraser v. Smith, 594 F. 3d 842, 849

      (11th Cir. 2010).

             Contacts: A fundamental element of the specific jurisdiction calculus is that

      plaintiff’s claim must arise out of or relate to at least one of defendant’s contacts with the

      forum. Oldfield, 558 F. 3d at 122. In intentional tort cases, courts typically inquire into

      whether a defendant “purposefully directs his activities” at the forum state, applying an

      “effects” test that focuses on the forum in which the defendant’s actions were felt,



      	                                           24	  
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      whether the actions themselves occurred within the forum. The “effects” requires the

      defendant to have (1) committed an intentional act, (2) expressly aimed at the forum

      state, (3) causing harm that the defendant knows is likely to be suffered in the forum

      state. Calder v. Jones, 465 U.S. 783 (1984).

                        Purposeful Availment: It is well settled that advertising that is reasonably

      calculated to reach the forum may constitute purposeful availment of the privileges of

      doing business in the forum. United States SEC v. Carrillo, 115 F.3d 1540, 1545 (11th

      Cir. 1997). Plaintiff’s Amended Complaint states that Defendants contract with United

      States advertisers, who use geo-tracking to target advertisement directly into the United

      States. Am’d Cmplt, ¶9. Some federal districts use the analysis from Zippo Mfg. Co. v.

      Zippo Dot Com, Inc., 952 F. Supp. 1119 (W.D. Pa. 1997), to determine whether to

      exercise personal jurisdiction over a website Defendant.15 In order to find jurisdiction

      based on the existence of a website, some courts have accepted that a “highly transaction-

      oriented website” may by itself give rise to personal jurisdiction, referring to the “sliding

      scale” analysis. Zippo Manufacturing explained the “sliding scale” analysis as follows:

                                                            At one end of the spectrum are situations where a defendant clearly does
                                                            business over the Internet. If the defendant enters into contracts with
                                                            residents of a foreign jurisdiction that involve the knowing and repeated
                                                            transmission of computer files over the Internet, personal jurisdiction is
                                                            proper. At the opposite end are situations where a defendant has simply
                                                            posted information on an Internet Web site which is accessible to users in
                                                            foreign jurisdictions. A passive Web site that does little more than make
                                                            information available to those who are interested in it is not grounds for
                                                            the exercise of personal jurisdiction. The middle ground is occupied by
                                                            interactive Web sites where a user can exchange information with the host
                                                            computer. In these cases, the [propriety of the] exercise of jurisdiction is
                                                            determined by examining the level of interactivity and commercial nature
                                                            of the exchange of information that occurs on the Web site. Zippo, 952 F.
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      15	  	   The Eleventh Circuit has not directly adopted Zippo, but some Florida district courts have used it as a
      model in evaluating website Defendants. Roblor Mktg. Group, Inc. v. Gps Indus., 645 F. Supp. 2d 1130,
      1139-43 (S.D. Fla. 2009).


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                        Supp. at 1124.

                        Here, Defendants operate at the far end of the spectrum where they clearly

      conduct business over the Internet. Defendants enter into contracts with United States

      companies to further their Internet business (e.g. Perfect Privacy, Network Solutions,

      Choopa, LLC), and intentionally transmit voluminous computer files, images, videos and

      information (including the infringing content that underscores this lawsuit) to users

      throughout the United States. Defendants have established alternative methods to collect

      money either through their websites by contracting with United States companies

      (affiliates / sponsors) or through using PayPal, which only recently accepted $20 from

      Mr. Tucker in Phoenix, Arizona. In fact, through Defendants’ intricate web of companies,

      accounts and websites, they avail themselves of the privileges of conducting business in

      the United States and even comply with certain Federal record-keeping laws governing

      their business. By way of example only, Defendants have taken advantage of the

      protections offered by the USPTO in registering certain domains, and have even gone so

      far as to litigate with Florida companies in the United States over agreements governing

      the operation and marketing of Defendant’s websites. Sex.com, its operators and

      beneficiaries, cannot be said to constitute “passive” website operations given that it

      permits users to upload and download content to/from the site, purchase content, and

      interact with models on the chat and video pages of the site.16 Any allegation that

      Plaintiff’s domicile should be considered is misplaced as Plaintiff maintains offices in

      California, has employees in the United States, its principals are located in the United
      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      16	  	   Defendants’ characterization of Sex.com being similar to Pinterest.com is unconvincing. While the
      windows on the two sites might look similar, their architecture is entirely different – Pinterest does not
      offer advertisements while Sex.com thrives on it; Pinterest does not sell content while Sex.com profits
      generously from it; and Pinterest does not offer sponsorship or affiliate programs while Sex.com prospers
      from those relationships.


      	                                                                                                          26	  
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      States, it owns property in the United States and has financial responsibilities in the

      United States. Thus, the harm to Plaintiff is felt in the United States.

             Reasonable for Suit: Given the Defendants’ contacts with the United States, it is

      reasonable to conclude that Defendants anticipated legal issues arising in the United

      States for which they would be required to participate in legal proceedings. As discussed

      above, when the registrar and registrant of Sex.com are both located in Florida, it is not

      unreasonable for Defendants to be sued in Florida.

             2. General National Jurisdiction

             A district court’s exercise of general personal jurisdiction requires a showing of

      continuous and systematic contacts between the defendant and relevant forum, here the

      United States as a whole. Fraser, 594 F. 3d at 849. As demonstrated throughout, there

      exist ample contacts between Defendants and the United States to support general

      national jurisdiction over them.

             Defendants rely upon a string of Iowa Federal Cases to advance the proposition

      that various percentages of users from the United States is not enough to confer personal

      jurisdiction. Each of these cases is distinguishable. In Fraserside IP, LLC v. Hammy

      Media LTD, 2012 U.S. Dist. 5359 (N.D. Iowa 2012), the court never considered 4(k)(2)

      jurisdiction. Therefore, contacts with the United States as a whole was irrelevant to those

      proceedings. Similarly, Fraserside IP, LLC v. Youngtek Solutions, LTD, 2013 U.S. Dist.

      LEXIS 3779 (N.D. Iowa 2013), is distinguishable because the third party statistics from a

      third party website were not authenticated. Here, the statistical information cited by

      Plaintiff was obtained directly from Defendants’ very own website, Sex.com. Moreover,

      the Declaration of Mr. Lidikay reflects that in his expert opinion and following his




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      calculated analysis, the largest percentage of visitors to Sex.com originate from the

      United States. Exhibit 62. Moreover, Sex.com’s own Press Kit reflects that 25% of

      visitors originate from America (followed by an image of a U.S. flag). Exhibit 57.

             In Fraserside IP, LLC v. Leytagin, 885 F. Supp. 2d 906 (N.D. Iowa 2012), the

      Court determined that while the allegations might support jurisdiction under 4(k)(2),

      there was no evidentiary basis for the same. The court permitted jurisdictional discovery,

      which if proven, would have affected jurisdiction. Leytagin is factually similar to the case

      here, with 18% of the involved website’s users from the U.S. and advertisements through

      third parties geared towards the location of those users (geo-tracking).

             Not only is the percentage of U.S. users of Sex.com an important indicator of

      Defendants’ presence in this country, but, taken as a whole, the various other contacts

      described herein lead to the ultimate conclusion that Defendants are subject to

      jurisdiction in the U.S. These contacts and contracts are strategically designed to

      maximize the potential revenue that Defendants can realize from U.S. users, which is

      readily apparent in Defendants’ arrangements with the various U.S. companies with

      which it conducts business.

                       VI. PLAINTIFF’S ALTERNATIVE MOTION FOR
                              JURISDICTIONAL DISCOVERY

             In the event this Court is concerned with its jurisdiction over Defendants or is

      inclined to grant their Motion to Dismiss, Plaintiff requests this Court enter a brief stay in

      order to permit Plaintiff to conduct limited discovery of information directly affecting the

      jurisdictional inquiry, which information is in Defendants’ exclusive control. If granted,

      Plaintiff would conduct the following discovery, among other things: (a) The authenticity

      and/or statistics in the Sex.com Press Kit; SimilarWeb.Com Traffic Overview; and



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      Sex.com’s admission on its website that 25% of traffic comes from the United States; (b)

      Network Solution and Perfect Privacy contracts related to the domain name; (c) The

      geographical location of users of Sex.com, which is collected and maintained by

      Defendants, as explained in detail in Sex.com’s Privacy Data Collections practice Exhibit

      63; (d) The deposition of Maximum Apps’ 30(b)(6) corporate representative and of

      Valiquette to establish, among other things, its privacy policy, data collection practices,

      advertising and similar specific and general connections to the United States or Florida;

      (e) Discovery related to Sex.com’s admission that “some” advertisers are U.S.

      companies; and (f) Discovery Related to the contractual relationships between

      Defendants and all sponsors/advertisers and Marsha May. A qualified right to

      jurisdictional discovery exists. Pursuant to Fed. R. Civ. P. 26(b)(1), parties may obtain

      discovery regarding any matter, not privileged, which is relevant to the subject matter

      involved in the pending action. Discovery is not limited to the merits of a case, as it is

      available to ascertain the facts bearing on issues such as jurisdiction or venue. Mother

      Doe I v. Maktoum, 632 F. Supp 2d, 1130, 1144 (S.D. Fla. 2007).

             If the jurisdictional question is genuinely in dispute and the court cannot resolve

      the issue in the early stages of the litigation, then discovery will certainly be useful and

      may be essential to the revelation of facts necessary to decide the issue. Jurisdictional

      discovery is favored where there is a genuine dispute concerning jurisdictional facts

      necessary to decide the question of personal jurisdiction. Bernardele v. Bonorino, 608 F.

      Supp. 2d 1313, 1321 (S.D. Fla. 2009). Although the plaintiff bears the burden of proving

      the court's jurisdiction, the plaintiff should be given the opportunity to discover facts that




      	                                           29	  
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      would support his allegations of jurisdiction. Majd-Pour v. Georgiana Community

      Hospital, Inc., 724 F.2d 901, 903 (11th Cir. 1984).

                         As demonstrated here, Plaintiff has set forth sufficient information and

      documentary proof to, at a minimum, fulfill its prima facie case for personal jurisdiction.

      As such, Plaintiff has met its burden to demonstrate prima facie jurisdiction, as its

      complaint contains jurisdictional allegations and a Court may order discovery.17 Vorbe v.

      Morisseau, 2014 .S. Dist. LEXIS 111247 (S.D. Fla. Aug. 12, 2014).

                          Additionally, the request for discovery must set forth the specific information

      sought that would establish personal jurisdiction. Zamora Radio, LLC v. Last.fm Ltd.,

      2011 U.S. Dist. LEXIS 69101, *38 (S.D. Fla. 2011). Plaintiff undoubtedly does that here,

      listing in detail some of the discovery it will seek in order to establish jurisdiction over

      the Defendants. The limited discovery sought here is necessary and relevant for Plaintiff

      to conclusively establish jurisdiction over Defendants in the United States and in Florida.

                                                                                                   CONCLUSION

                         Defendants have sufficient contacts in Florida for personal jurisdiction in the

      State. In the event that this Honorable Court determines that jurisdiction pursuant to

      Florida’s Long Arm Statute is not proper, then Defendants are subject to national 4(k)(2)

      jurisdiction pursuant to their contacts with the United States as a whole. Alternatively,

      should this Court determine that additional information is required in order for it to

      render a decision on the issue of jurisdiction over Defendants, Plaintiff respectfully

      requests this Court enter a short stay and order that jurisdictional discovery be completed

      in an expeditious fashion.


      	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
      17	  Defendants’ contacts in the U.S. are more than just mere coincidences. Am’d Cmplt ¶¶2, 4-12, 33-35.	  



      	                                                                                                             30	  
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                                 CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this ___ day of October, 2015 we electronically filed

      the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

      notice of electronic filing to the following: Brady J. Cobb, Esq., Counsel for Maximum

      Apps Inc. d/b/a Sex.Com and Frederic Valiquette; and to: Allen P. Pegg, Esq. and John F.

      O’Sullivan, Esq., Counsel for Clover Holdings Limited Partnership d/b/a Sex.Com.

                                                         Respectfully submitted,

                                                         /s/Aaron Behar, Esq.

                                                         Aaron Behar, Esq.
                                                         Florida Bar No.: 166286
                                                         Jaclyn Behar, Esq.
                                                         Florida Bar No.: 63833
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                                                         Suite 1
                                                         Weston, Florida 33326
                                                         Telephone: (954) 688-7642
                                                         Facsimile: (954) 332-9260
                                                         E-mail: ab@beharbehar.com
                                                         Counsel for Plaintiff




      	                                        31	  
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                   EXHIBIT “2”
Federal Corporation Information - 4269993 - Corporations Canada - Cor...   https://www.ic.gc.ca/app/scr/cc/CorporationsCanada/fdrlCrpDtls.html?co...
           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 36 of 265



         Industry Canada
         Home > Corporations > Corporations Canada > Search for a Federal Corporation


          Corporations Canada
         Federal Corporation Information - 4269993
         Glossary of Terms used on this page
         Return to Search Results

         Start New Search


         Corporation Number
         4269993
           Business Number (BN)
           861196236RC0001
           Governing Legislation
           Canada Business Corporations Act - 2004-12-01

         Corporate Name
         HL HÉBERGEMENT LOGISTIQUE INC.
         HL HOSTING LOGISTIC INC.

         Status
         Active


          Registered Office Address
         Care of: Frédéric Valiquette
         4104 - 1751, rue Richardson
         MONTREAL QC H3K 1G6
         Canada

             Active CBCA corporations are required to update this information within 15 days of any change. A
             corporation key is required.


          Directors
         Minimum
         1
         Maximum
         10

         Directors
         FREDERIC VALIQUETTE
         114, DOMINION
         MONTREAL QC H3J 2Z2
         Canada

             Active CBCA corporations are required to update director information (names, addresses, etc.) within 15
             days of any change. A corporation key is required.


          Annual Filings
         Anniversary Date (MM-DD)
         12-01



1 of 2                                                                                                                          10/9/2015 9:01 AM
Federal Corporation Information - 4269993 - Corporations Canada - Cor...   https://www.ic.gc.ca/app/scr/cc/CorporationsCanada/fdrlCrpDtls.html?co...
           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 37 of 265
                                                     Date of Last Annual Meeting
                                                     2014-11-03

         Annual Filing Period (MM-DD)
         12-01 to 01-30
                                                     Type of Corporation
                                                     Non-distributing corporation with 50 or fewer shareholders

         Status of Annual Filings
         2015 - Not due
         2014 - Filed
         2013 - Filed


          Corporate History
          Corporate Name History
         2004-12-01 to 2007-12-17
            4269993 CANADA INC.

         2007-12-17 to Present
            HL HÉBERGEMENT LOGISTIQUE INC.
         2007-12-17 to Present
            HL HOSTING LOGISTIC INC.


          Certificates and Filings
         Certificate of Incorporation
         2004-12-01
         Certificate of Amendment *
         2007-12-17
                           Amendment details: Corporate name

         * Amendment details are only available for amendments effected after 2010-03-20. Some certificates issued prior
         to 2000 may not be listed. For more information, contact Corporations Canada.




2 of 2                                                                                                                          10/9/2015 9:01 AM
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                   EXHIBIT “3”
          Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 39
Sex.com WHOIS, DNS, & Domain Info - DomainTools                                        of 26511:59 AM
                                                                                     10/15/15,




 Home > Whois Lookup > Sex.com


                                                                                                                                                     How does this work?
 Whois Record for Sex.com
                                                                                                            # Preview the Full Domain Report
   Related Domains For Sale or At Auction                                       1   2    3
                                                                                                 Tools
                                                                                More >
     OnlineBusinessExpo.com ($888)                    FitnessExpress.com ($9,999)
     FitnessExperts.com ($10,000)                     WestEssex.com ($3,388)                          Whois History             Hosting History
     SocialBusinessExpert.com ($1,888)                NyseX.com ($7,500)                         Monitor Domain Properties                       $

                                                                                                 Reverse Whois Lookup                            $

 − Whois & Quick Stats                                                                           Reverse IP Address Lookup                       $

  Email                              is associated with ~9,398,260 domains                   "   Reverse Name Server Lookup                      $

                                                                                                 Network Tools                                   $

  Registrant Org     PERFECT PRIVACY, LLC was found in ~3,085,594 other                      "      Buy This Domain $            Visit Website
                     domains
                                                                                                                View Screenshot History
  Registrar          NETWORK SOLUTIONS, LLC.
                                                                                                 Available TLDs
  Registrar Status   clientTransferProhibited
                                                                                                  General TLDs         Country TLDs
  Dates              Created on 1995-10-18 - Expires on 2024-10-17 -                         "
                     Updated on 2015-05-05
                                                                                                 The following domains are available through
  Name Server(s)     NS1.HOSTLOGISTIC.COM (has 173 domains)                                  "   our preferred partners. Select domains
                     NS2.HOSTLOGISTIC.COM (has 173 domains)                                      below for more information. (3rd party site)

  IP Address         206.125.164.82 - 9 other sites hosted on this server                    "      Taken domain.
                                                                                                    Available domain.
  IP Location           - Quebec - Montreal - Maximum Apps Inc.                                     Deleted previously owned domain.

  ASN                   AS46609 OPTIC - Technologie Optic.ca (registered Oct 27, 2008)            Sex.com                             View Whois
  Domain Status      Registered And Active Website
                                                                                                  Sex.net                             View Whois
  Whois History      4,286 records have been archived since 2001-11-21                       "
                                                                                                  Sex.org                             View Whois
  IP History         23 changes on 19 unique IP addresses over 10 years                      "
                                                                                                  Sex.info                            View Whois
  Registrar          1 registrar                                                             "
  History                                                                                          Sex.biz                            View Whois

  Hosting History    14 changes on 11 unique name servers over 9 years                       "     Sex.us                             View Whois

  Whois Server       whois.networksolutions.com

 − Website

  Website Title          Porn Videos XXX Pics and Perfect Girls | Sex.com                    "

  Server Type        Apache

  Response Code      200

  SEO Score          86%

  Terms              628 (Unique: 340, Linked: 455)

  Images             65 (Alt tags missing: 1)

  Links              411 (Internal: 399, Outbound: 5)

 Whois Record ( last updated on 2015-10-15 )

   Domain Name: SEX.COM
   Registry Domain ID: 1510849_DOMAIN_COM-VRSN
   Registrar WHOIS Server: whois.networksolutions.com
   Registrar URL: http://networksolutions.com
   Updated Date: 2015-01-28T23:34:46Z
   Creation Date: 1995-10-18T04:00:00Z
   Registrar Registration Expiration Date: 2024-11-30T05:00:00Z
   Registrar: NETWORK SOLUTIONS, LLC.
   Registrar IANA ID: 2




http://whois.domaintools.com/sex.com                                                                                                                      Page 1 of 2
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Sex.com WHOIS, DNS, & Domain Info - DomainTools                                     of 26511:59 AM
                                                                                  10/15/15,


   Registrar Abuse Contact Email:
   Registrar Abuse Contact Phone: +1.8003337680
   Reseller:
   Domain Status: clientTransferProhibited http://www.icann.org/epp#clien
   tTransferProhibited
   Registry Registrant ID:
   Registrant Name: PERFECT PRIVACY, LLC
   Registrant Organization:
   Registrant Street: 12808 Gran Bay Parkway West
   Registrant City: Jacksonville
   Registrant State/Province: FL
   Registrant Postal Code: 32258
   Registrant Country: US
   Registrant Phone: +1.5707088780
   Registrant Phone Ext:
   Registrant Fax:
   Registrant Fax Ext:
   Registrant Email: m49576un5fd@networksolutionsprivateregistration.com
   Registry Admin ID:
   Admin Name: PERFECT PRIVACY, LLC
   Admin Organization:
   Admin Street: 12808 Gran Bay Parkway West
   Admin City: Jacksonville
   Admin State/Province: FL
   Admin Postal Code: 32258
   Admin Country: US
   Admin Phone: +1.5707088780
   Admin Phone Ext:
   Admin Fax:
   Admin Fax Ext:
   Admin Email: m49576un5fd@networksolutionsprivateregistration.com
   Registry Tech ID:
   Tech Name: PERFECT PRIVACY, LLC
   Tech Organization:
   Tech Street: 12808 Gran Bay Parkway West
   Tech City: Jacksonville
   Tech State/Province: FL
   Tech Postal Code: 32258
   Tech Country: US
   Tech Phone: +1.5707088780
   Tech Phone Ext:
   Tech Fax:
   Tech Fax Ext:
   Tech Email: m49576un5fd@networksolutionsprivateregistration.com
   Name Server: NS1.HOSTLOGISTIC.COM
   Name Server: NS2.HOSTLOGISTIC.COM
   DNSSEC: Unsigned
   URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.int
   ernic.net/




  %   &    '   +                                             Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2015 DomainTools




http://whois.domaintools.com/sex.com                                                                                                               Page 2 of 2
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                 Name               Document 48 Entered onhttp://search.sunbiz.org/Inquiry/CorporationSearch/SearchResu...
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          Home        Contact Us       E-Filing Services              Document Searches   Forms     Help




         Detail by Entity Name
         Foreign Limited Liability Company
         NETWORK SOLUTIONS, LLC
         Filing Information
         Document Number               M12000000482
         FEI/EIN Number                XX-XXXXXXX
         Date Filed                    01/25/2012
         State                         DE
         Status                        ACTIVE
         Principal Address
         12808 GRAN BAY PARKWAY WEST
         JACKSONVILLE, FL 32258
         Mailing Address
         12808 GRAN BAY PARKWAY WEST
         JACKSONVILLE, FL 32258
         Registered Agent Name & Address
         CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALAHASSEE, FL 32301
         Authorized Person(s) Detail
         Name & Address

         Title MGR

         BROWN, DAVID L
         12808 GRAN BAY PARKWAY WEST
         JACKSONVILLE, FL 32258

         Title MGR

         CARNEY, KEVIN M
         12808 GRAN BAY PARKWAY WEST
         JACKSONVILLE, FL 32258

         Title MGR                                  Copyright © and Privacy Policies

                                                  State of Florida, Department of State




1 of 3                                                                                                     10/15/15, 9:07 PM
       Case
Detail by Entity1:15-cv-22463-MGC
                 Name                Document 48 Entered onhttp://search.sunbiz.org/Inquiry/CorporationSearch/SearchResu...
                                                             FLSD Docket 10/15/2015 Page 42 of 265


         MCCLURE, MATTHEW P
         12808 GRAN BAY PARKWAY WEST
         JACKSONVILLE, FL 32258


         Annual Reports

         Report Year          Filed Date
         2013                 01/17/2013
         2014                 09/22/2014
         2015                 04/17/2015


         Document Images

         04/17/2015 -- ANNUAL REPORT           View image in PDF format

         09/22/2014 -- ANNUAL REPORT           View image in PDF format

         01/17/2013 -- ANNUAL REPORT           View image in PDF format

         01/25/2012 -- Foreign Limited         View image in PDF format




2 of 3                                                                                                    10/15/15, 9:07 PM
       Case
Detail by Entity1:15-cv-22463-MGC
                 Name               Document 48 Entered onhttp://search.sunbiz.org/Inquiry/CorporationSearch/SearchResu...
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                   EXHIBIT “4”
       Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 45
Perfect Privacy Private Domain Registration Protects Your Identity                  of 26512:02 PM
                                                                                  10/15/15,




                                                       Did you know that every time you register a domain name, the law requires that your
                                                       personal information is added to the public "WHOIS" database, where it becomes
                                                       instantly available to anyone, anywhere, anytime? By making your name, address,
                                                       phone number, email and other personal information public, you, your business, and
                                                       your family become vulnerable to spammers, scammers, and other Internet
                                                       predators who can target you for solicitation, fraud, identity theft... or worse.

                                                       Perfect Privacy eliminates these risks by ensuring that your personal information
                                                       stays private. By signing up for Perfect Privacy when you register your domain, our
                                                       information is published in the WHOIS database, instead of yours.




                                                       Equally as important, with Perfect Privacy you retain the full benefits of domain
                                                       registration. You can sell, renew, cancel or transfer your domain; set-up name
                                                       servers for your domain; and resolve disputes involving your domain.

                                                       To make your next domain registration private, register with Web.com or other
                                                       associated registrars and simply choose the Perfect Privacy option during
                                                       sign up.

  © 2006 Perfect Privacy, LLC legal | privacy




http://perfectprivacy.com/                                                                                                                 Page 1 of 1
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                   EXHIBIT “5”
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                   EXHIBIT “6”
       Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 5710/13/15,
RK Netmedia Inc: Private Company Information - Businessweek                         of 2654:23 PM



Internet Software and Services                                                                      October 13, 2015 4:22 PM ET
Company Overview of RK Netmedia Inc

                            Snapshot                                                     People




Company Overview                                                Key Executives For RK Netmedia Inc
RK Netmedia Inc operates the Reality Kings Network
including 37 websites which offer adult entertainment              RK Netmedia Inc does not have any Key
products. The company also engages in the                          Executives recorded.
production and distribution of adult entertainment
products. The company was incorporated in 1998
and is based in Miami Beach, Florida. As of August
28, 2012, RK Netmedia Inc operates as a subsidiary
of Manwin Holding S.à.r.l.



705 Washington Avenue
3rd Floor
Miami Beach, FL 33139
United States

Founded in 1998




Similar Private Companies By Industry                           Recent Private Companies Transactions

 Company Name                                Region               Type
                                                                                           Target
                                                                  Date
 Collections Marketing Center, Inc.          United States
                                                                         No transactions available in the past 12 months.
 Web Transaction Services, Inc.              United States
 Lyatiss Inc.                                United States
 VectorMAX Corporation                       United States
 String Enterprises, Inc.                    United States



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From Around the Web                                                                            Sponsored Links by Taboola


4 in 5 Americans Are Ignoring Buffett's Warning
The Motley Fool




http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapid=30742974                                                  Page 1 of 2
       Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 5810/13/15,
RK Netmedia Inc: Private Company Information - Businessweek                         of 2654:23 PM

Brilliant Mortgage Payoff Method Has Banks On Edge
Comparisons.org




Jim Cramer's Brilliant Tip on Paying Off Mortgage
Bills.com




1 Simple Secret To Eliminate 15 Years Of Mortgage Payments
LowerMyBills




Here's Why Transferring A Credit Card Balance To A 21-Month 0% APR Is An Ingenious
Idea
NextAdvisor



Meet The Man Who Is Disrupting a $13 Billion Razor Industry
Dollar Shave Club




http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapid=30742974          Page 2 of 2
Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 59 of 265




                   EXHIBIT “7”
MindGeek S.A R.L.: Private Company Information - Businessweek                                            http://www.bloomberg.com/research/stocks/private/snapshot.asp?privca...
           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 60 of 265


         Internet Software and Services                                                            October 15, 2015 11:48 AM ET

         Company Overview of MindGeek S.A R.L.

                                  Snapshot                                                People




         Company Overview                                        Key Executives For MindGeek S.A R.L.

         MindGeek S.A R.L. creates, develops, and manages        Mr. Perry Stathopoulos
         highly trafficked websites. The company also offers     Chief Technology Officer
         relational and non-relational data storage, multi-layer
         distributed caching, job queuing, HD video streaming, Compensation as of Fiscal Year 2015.
         live event encoding and streaming, mobile web
         interfaces and streaming, and online payment
         processing solutions. Additionally, it provides web
         application development, search engine optimization
         (SEO), customer relationship management (CRM),
         website optimization, and business intelligence
         services. MindGeek S.A R.L. was formerly known as
         Manwin Holding SARL and changed its name to
         MindGeek S.A R.L. in October, 2013. MindGeek S.A
         R.L. was founded in 2007 and is based in
         Luxembourg with additional offices in Dublin, Ireland;
         Nicosia, Cyprus; Hamburg, Germany; London, United
         Kingdom; Miami, Florida; Montreal, Canada; San
         Diego and Los Angeles, California.

         Hide Detailed Description


                                          Phone:   352 20 880
         32 boulevard Royal
                                                          900
         Luxembourg, 2449
                                          Fax: 352 20 880 901
         Luxembourg                       www.mindgeek.com

         Founded in 2007




         Similar Private Companies By Industry                   Recent Private Companies Transactions

          Company Name                               Region        Type
                                                                                            Target
                                                                   Date
          GHP Luxembourg                             Europe
                                                                          No transactions available in the past 12 months.
          Joost Operations SA                        Europe

          Excilan SA                                 Europe

          Skype Communications S.à r.l.              Europe

          LuxHedge S.A.                              Europe



               Report Data Issue


         From Around the Web                                                                    Sponsored Links by Taboola


         4 in 5 Americans Are Ignoring Buffett's Warning
         The Motley Fool




         1 Simple Secret To Eliminate 15 Years Of Mortgage Payments
         LowerMyBills




         Jim Cramer's Brilliant Tip on Paying Off Mortgage
         Bills.com




         Highest-Paying Travel Reward Card Available to Good Credit
         LendingTree




1 of 2                                                                                                                                                     10/15/2015 8:52 AM
MindGeek S.A R.L.: Private Company Information - Businessweek   http://www.bloomberg.com/research/stocks/private/snapshot.asp?privca...
           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 61 of 265

         Drivers Surprised They Never Knew This Rule
         ImproveInsurance.com




         Will This Startup Kill The ETF Revolution?
         Yahoo! Finance | Motif Investing




2 of 2                                                                                                            10/15/2015 8:52 AM
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                   EXHIBIT “8”
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                                                                        Home
                                                                        Who We Are

  (http://www.mindgeek.com/)                                                 About (/about)

                                                                        What we do

                                                                             Services (/services)
                                                                             Technology (/technology)

                                                                        Careers

      BE A PART OF                                                           Open Positions (/careers)

                                                                        Contact

      SOMETHING BIG                                                     en

                                                                             FR (/fr/)
    Build your future with a career at                                       DE (/de/)
nce MindGeek


          CHECK OUT OUR OPEN POSITIONS (/CAREERS)




  http://mindgeek.com/                                                                        Page 1 of 9
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                                 FULL
                                   WHOSTEAM
                                         WE AHEAD
                                            ARE



               100M+                                                  3B+                      1000+



        daily visitors                                ad impressions                        employees
      spread throughout our                             served to dozens of              working fulltime in our
         network of web                                millions of daily visitors          offices worldwide
           properties




                                                                        Work station with computer, speakers, plant and bo
What we're about




http://mindgeek.com/                                                                                          Page 2 of 9
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energetic professionals to join our team. Our
cutting edge technology is only made possible with
the best minds in software engineering and
programming working with us. We are always
looking for PHP and Web Developers. If you enjoy
working in a fast paced environment and
collaborating side by side with the industry’s best
talent, then we’d like to meet you.



Taking care of our people.

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excellence, offering industry competitive
compensation and benefits to ensure that working
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experience.

                                                                      person with many options MindGeek.com

                                              (/CAREERS#JOIN-MINDGEEK-TEAM)
                                               CHECK OUT OUR OPEN POSITIONS




                                               CONTACT US
http://mindgeek.com/                                                                                     Page 7 of 9
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Address

Head Quarters                                              Hamburg

32 boulevard Royal,                                        Notkestraße 9-11,
L-2449 Luxembourg City, Luxembourg                         D-22607 Hamburg, Germany


t     +352 20880 900                                       t     +49 40 2846730
      (tel:+35220880900)                                         (tel:+49402846730)
f     +352 20880 901                                       e     info.hamburg@mindgeek.com
e     info.luxembourg@mindgeek.com                               (mailto:)
      (mailto:)

London                                                     Dublin

The Atrium                                                 Fitzwilliam Business Centre
1 Harefield Road,                                          77 Sir John Rogerson Quay,
Uxbridge, Middlesex UB8 1PH, U.K.                          Dublin, Ireland


t     +44 20 8581 7000                                     t     +353 1640 1953
      (tel:+442085817000)                                        (tel:+35316401953)
f     +44 20 8581 7007                                     f     +353 1640 1916
e     info.london@mindgeek.com                             e     info.dublin@mindgeek.com (mailto:)
      (mailto:)
Montreal                                                   Miami

7777 boulevard Decarie, Suite 600,                         705 Washington Avenue, 2nd Floor,
Montreal, Quebec H4P 2H2, Canada                           Miami Beach, Florida 33139, U.S.A.


t     +1 514 359 3555                                      t     305 695 6700 (tel:3056956700)
      (tel:+15143593555)                                   f     305 695 6711
f     +1 514 359-3556                                      e     info.miami@mindgeek.com (mailto:)
e     info.montreal@mindgeek.com
      (mailto:)

Los Angeles                                                Nicosia

2300 West Empire Avenue, 7th floor,                        195-197 Old Nicosia-Limassol Road,
Burbank, CA 91504, U.S.A.                                  Block 1 Dali Industrial Zone,

http://mindgeek.com/                                                                                  Page 8 of 9
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      (mailto:)
                                                           f     +357 22343 282
                                                           e     info.nicosia@mindgeek.com
San Diego                                                        (mailto:)

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San Diego, CA 92110, U.S.A


t     +619 276 8007 (tel:+6192768007)
e     info.sandiego@mindgeek.com
      (mailto:)




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                                                                                           (https://twitter.com/MindGeekGlob
                                       MindGeek                                     trk=tyah%26trkInfo=tas%3Amindgeek%2
                                       Communications                               1-1)
                                       Department

                                        e     media@mindgeek.com
                                              (mailto:)




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                   EXHIBIT “9”
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                                      CALL NOW!
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                        Starway Models is looking for attractive models with natural bodies. The type
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                        to $7,000 dollars for a weekend of shooting. Travel and lodging are also
                        taken care of. If you are interested in this opportunity please either email or
                        mail us 3 pictures of yourself. All models MUST be over 18. Try and take one
                        picture of your face and two of your body (from the front and behind). Please
                        include your name, contact info and birthdate with the pictures.


                        To Email:
                        models@starwaymodels.com

                        To Mail:
                        attn: StarWay Models- model submission
                        225 7th street, suite 300


http://www.starwaymodels.com/                                                                             Page 1 of 2
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                        Miami, Fl 33139
                        Ph. 888-292-6493

                        Include body, headshots, and government issued ID. (License, Birth
                        Certificate, Passport, State-Issued ID, etc.)

                        Thanks and we look forward to working with you! ;-)
                         Top Models: Gina Lynn, Phoenix Marie, Molly, Eva Angelina, Julia Bond, Amy Reid, Rachel
                          Starr, Lisa Daniels, Jenaveve Jolie, Gianna Michaels, Ashlynn Brooke, Shyla Stylez, Mindy
                         Main, Carmella Bing, Daisy Marie, Stephanie Cane, Mikayla, Sarah Vandella, Brandy Talore,
                        Nikki, Audrey Bitoni, Lichelle Marie, Sienna West, Nikki Benz, Candy Manson, Shy Love, Carly
                                            Parker, Brooke Haven, Alicia, August, RK, Adult Models




http://www.starwaymodels.com/                                                                                          Page 2 of 2
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CUSTODIAN OF RECORDS- U.S.C. TITLE 18, SECTION 2257 COMPLIANCE                      of 26512:29 PM
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       Title 18 U.S.C. 2257 are on file with the appropriate Records Custodian.

       All other visual depictions displayed on this Website are exempt from the provision of 18 U.S.C. 2257, 2257A
       and/or 28 C.F.R. 75, because 1) they do not portray conduct as specifically listed in 18 U.S.C section 2256 (2)(A)
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       Jose Tavarez
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       Miami, Fl 33139




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    Details



    TEAM SKEET -                                                                             Today on Verdict
                                                                                              For the Love of Batgirl: California
    Trademark Details                                                                         Passes Much-Needed Fair Pay Law

                                                                                              Hofstra University law
    Status: 700 - Registered                                                                  professor Joanna
                                                                                              Grossman describes
                                                                                              California’s recently passed
                                                                                              Fair Pay Act, which
                                                                                              promises to help alleviate the equal
                                                                                              pay gap where the federal
                                                                                              government has fallen short.

                                                                                              By Joanna L. Grossman




      Serial Number                         85714869                                         Ask a Lawyer
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      Registration Number                   4323869
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      Status Date                           2013-04-23                                                                   Ask Question

      Filing Date                           2012-08-28

      Registration Number                   4323869

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      Published for                         2013-02-05                                                 Mr. Joseph I. Lipsky
                                                                                                       Personal Injury, Products Liability, Medical Malpr
      Opposition Date                                                                                  Fort Lauderdale-Plantation, FL


      Law Oﬃce Assigned                     L90                                                        Alan Siegel
                                                                                                       Criminal Law, Family Law, Personal Injury, DUI &
      Location Code                                                                                    Fort Lauderdale, FL


      Employee Name                         WATSON, JULIE A                                            Glen Levine
                                                                                                       Criminal Law, Domestic Violence, DUI & DWI, Ju
                                                                                                       Fort Lauderdale, FL

    Statements
                                                                                                       William A. Heller
                                                                                                       Workers' Compensation, Personal Injury, Medica
                                                                                                       Hollywood, FL
      Goods and Services                    Providing a website for
                                            entertainment                                              Russell A. Kerr
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                                            and cultural activities. -
                                            Education; providing of
                                            training; entertainment;
                                            sporting and cultural
                                            activities.



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      US Class Codes                        100, 101, 107

      Class Status Code                     6 - Active

      Class Status Date                     2012-09-05

      Primary Code                          041

      First Use Anywhere                    2007-08-16
      Date

      First Use In                          2009-11-01
      Commerce Date


    Current Trademark Owners

      Party Name                            Paper Street Media
                                            LLC

      Party Type                            30 - Original Registrant

      Legal Entity Type                     16 - Limited Liability
                                            Company

      Address
                                            Suite 304
                                            14 NE
                                            1St Ave
                                            Miami
                                            FL
                                            33132


    Trademark Owner History

      Party Name                            Paper Street Media

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                                            LLC

      Party Type                            30 - Original Registrant

      Legal Entity Type                     16 - Limited Liability
                                            Company

      Address
                                            Suite 304
                                            14 NE
                                            1St Ave
                                            Miami
                                            FL
                                            33132


      Party Name                            Paper Street Media
                                            LLC

      Party Type                            20 - Owner at
                                            Publication

      Legal Entity Type                     16 - Limited Liability
                                            Company

      Address
                                            Suite 304
                                            14 NE
                                            1St Ave
                                            Miami
                                            FL
                                            33132


      Party Name                            Paper Street Media
                                            LLC

      Party Type                            10 - Original Applicant



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      Legal Entity Type                     16 - Limited Liability
                                            Company

      Address
                                            Suite 304
                                            14 NE
                                            1St Ave
                                            Miami
                                            FL
                                            33132


    Correspondences

      Name                                  PAPER STREET
                                            MEDIA LLC

      Address
                                            14 NE
                                            1ST AVE
                                            STE 304
                                            MIAMI,
                                            FL
                                            33132-
                                            2404


    Trademark Events

      Event Date                            Event Description

      2012-08-31                            NEW APPLICATION
                                            ENTERED IN TRAM

      2012-09-05                            NEW APPLICATION
                                            OFFICE SUPPLIED
                                            DATA ENTERED IN

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                                            TRAM

      2012-12-20                            ASSIGNED TO
                                            EXAMINER

      2012-12-20                            APPROVED FOR PUB
                                            - PRINCIPAL
                                            REGISTER

      2013-01-16                            NOTIFICATION OF
                                            NOTICE OF
                                            PUBLICATION E-
                                            MAILED

      2013-02-05                            PUBLISHED FOR
                                            OPPOSITION

      2013-02-05                            OFFICIAL GAZETTE
                                            PUBLICATION
                                            CONFIRMATION E-
                                            MAILED

      2013-04-23                            REGISTERED-
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    Lawyers                            Family Law                        Intellectual                       Blogs

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    Lawyers                            More...                           International Trade                More...
    Family Lawyers                                                       Real Estate
    Personal Injury                                                      Tax Law                            US FEDERAL LAW
    Lawyers                                                              More...                            US Constitution
    More...                                                                                                 US Code
                                                                                                            Regulations
                                                                                                            Supreme Court
                                                                                                            Circuit Courts
                                                                                                            District Courts
                                                                                                            Dockets & Filings
                                                                                                            More...

    US STATE LAW                       OTHER                             LEGAL
    State Constitutions                DATABASES                         MARKETING
    State Codes                        Legal Blogs                       Websites
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                                       More...                           Lawyer Directory
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                 EXHIBIT “13”
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Detail by Entity Name                                                               of 2654:52 PM




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 Detail by Entity Name
 Florida Limited Liability Company
 PAPER STREET MEDIA, LLC
 Filing Information
 Document Number                         L03000036839
 FEI/EIN Number                          XX-XXXXXXX
 Date Filed                              09/26/2003
 State                                   FL
 Status                                  ACTIVE
 Last Event                              REINSTATEMENT
 Event Date Filed                        02/26/2007
 Principal Address
 14 NE 1ST AVE SUITE 705
 MIAMI, FL 33132

 Changed: 01/08/2015
 Mailing Address
 14 NE 1ST AVE SUITE 705
 MIAMI, FL 33132

 Changed: 01/08/2015
 Registered Agent Name & Address
 HUSSAIN, JAMAL
 14 NE 1ST AVE SUITE 705
 MIAMI, FL 33132

 Name Changed: 04/26/2005

 Address Changed: 01/08/2015
 Authorized Person(s) Detail
 Name & Address


http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResul…per%20Street&listNameOrder=PAPERSTREETCAPITAL%20L140001233550      Page 1 of 2
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Detail by Entity Name                                                               of 2654:52 PM

 Title MGRM

 MUHAMED, SADIQ
 14 NE 1ST AVE SUITE 705
 MIAMI, FL 33132

 Title MGRM

 HUSSIN, JAMAL
 14 NE 1ST AVE SUITE 705
 MIAMI, FL 33132

 Annual Reports
 Report Year                  Filed Date
 2013                         01/24/2013
 2014                         01/08/2014
 2015                         01/08/2015


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SEX.COM (@sexdotcom) | Twitter                                                      of 2654:43 PM


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            Marsha May                                                                        SEE RANK
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            Actress
                                                                                                            Biography                   Photo Gallery
                                                                                                            Awards                      Filmography (by Job)
    Tiny (only 4'11"), but buxom and shapely bottled blonde bombshell Marsha May was born on                Message Boards              Trailers and Videos
    January 23, 1995 in Miami, Florida. Of mixed Cuban, British, and Italian descent, Marsha lost
    her virginity in the 8th grade and began her career in the adult entertainment industry with
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    her own foot fetish blog. May first started performing in explicit ... See full bio »

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                                                                                                            Episodes of "The Walking
                                                                                                            Dead"
    Filmography                                                     Hide all |   Show by...      | Edit



     Actress (10 credits)                                                                     Hide

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                                                                                                2015
                                                                                                             "Too Far Gone"
                                                                                                2015
                                                                                                            We've curated a list of the top 10
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                                                                                                2015        according to the IMDb user ratings.

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    Height: 4' 11" (1.5 m)


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                                                                                                             How much of Marsha May's work have
                                                                                                             you seen?




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           Service Agreement
           Site Terms of Use and DMCA Claims

                Site Terms of Use and DMCA Claims

           Service Agreement

                General Provisions
                Domain Names (nsWebAddress)
                ccTLD Domain Names
                .BIZ Domain Names
                .INFO Domain Names
                .EU Domain Names
                .NAME Domain Names
                .US Domain Names
                .CA Domain Names
                .CN Domain Names
                .TW Domain Names
                .PRO Domain Names
                .MOBI Domain Names
                .GD Domain Names
                .TEL Domain Names
                .CO Domain Names
                .XXX Domain Names
                .XYZ Domain Names
                United TLD Domain Names
                .UK Domain Names
                .PW Domain Names
                Private Registration
                Change of Registrar Service
                Registrant Name Change Agreement
                Extended Year Service
                Email (nsMail)
                Web Forwarding
                WHOIS Business Listing
                nsWebsite and Website Builder Tool
                MyComputer Services
                Certified Offer Service
                Hosting Service (Web Hosting)
                Online Marketing Services (nsMarketing)
                Paid Advertising Services (nsMarketing)
                Website Design Services (Design/Develop)
                Ecommerce Services (nsCommerceSpace)
                MessageGuard
                WatchDog (nsProtect Safe)
                Website Migration Services (TransferMe)
                Free Website Package
                goMobi Services


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                 MyTime Support Services
                 ContactMe Biz Pro Service
                 Email Marketing Service
                 Domain Expiration Protection
                 ReputationAlert
                 TRUSTe
                 Network Solutions Buyer's Club
                 New gTLD Services
                 SiteLock Security Services
                 WebLock Service
                 Premium DNS Service
                 Take-a-Payment Services

           Policies

                 Privacy Policy
                 Uniform Domain Name Dispute Resolution Policy
                 Domain Deletion Policy
                 Domain Transfer Policy
                 Acceptable Use Policy

           SSL Legal Repository

                 Subscriber Agreements
                 Relying Party Agreements
                 Relying Party Guarantee
                 Certification Practice Statement
                 EV Subscriber Agreements
                 EV Certification Practice Statement

           LinkTogether™ Terms of Use

                 LinkTogether™ Terms of Use

           Report Seal Misuse

                 SSL Seal Misuse
                 WatchDog Seal Misuse



           ALL SERVICES ARE GOVERNED BY THE GENERAL TERMS AND CONDITIONS THAT ARE
           LISTED BELOW ALONG WITH THE TERMS IN THE APPLICABLE SCHEDULE(S) FOR THE
           SPECIFIC SERVICES THAT ARE PURCHASED.

           This is Service Agreement Version Number 9.34

           1. INTRODUCTION. In this Service Agreement ("Agreement"), "you" and "your" refer to each customer
           ("Customer") and its agents, including each person listed in your account information as being associated
           with your account, and "we", "us" and "our" refer collectively to Network Solutions, LLC and its


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           wholly-owned subsidiaries ("Network Solutions"). This Agreement explains our obligations to you, and your
           obligations to us in relation to the Network Solutions service(s) you purchase. By purchasing or otherwise
           applying for Network Solutions service(s), you agree to establish an account with us for such services. When
           you use your account or permit someone else to use your account to purchase or otherwise acquire access to
           additional Network Solutions service(s) or to modify or cancel your Network Solutions service(s) (even if we
           were not notified of such authorization), this Agreement as amended covers any such service or actions.
           Additionally, you agree that each person listed in your account information as being associated with your
           account for any services provided to you (including, but not limited to, domain name registration services) is
           your agent with full authority to act on your behalf with respect to such services in accordance with the
           permissions granted, and that the Primary Contact and Account Administrative Contact for your account shall
           have the authority, without limitation, to terminate, transfer (where transfer is permitted by the Agreement),
           or modify such services or your account information, or purchase additional services. Any acceptance of your
           application(s) or requests for our services and the performance of our services will occur at our offices in
           Herndon, Virginia, the location of our principal places of business. Except as otherwise expressly set forth in
           this Agreement, you agree that if you list, directly or by default, Network Solutions as a contact for your
           account and/or any of the services in your account, we have the right, without notice, to remove our name
           and/or information from any such account or service and to replace the same with the name and/or
           information provided by you for any other contact associated with that account or service.

           2. VARIOUS SERVICES. Sections 1 through 30 apply to any and all Network Solutions services that you
           purchase, whether purchased separately or as a part of a complete solution or package bundle. The terms and
           conditions set forth in the Schedules of this Agreement apply only to customers who have purchased the
           Network Solutions services referenced in those Schedules. In the event of any inconsistency between the
           terms of Sections 1 through 30 and the terms of the Schedules, the terms of the Schedules shall control with
           regard to the applicable Network Solutions service. IMPORTANT NOTICE CONCERNING SERVICES
           THAT ARE COMBINED TOGETHER AS A PART OF A BUSINESS SOLUTION: If you purchase
           Network Solutions services that are sold together as a "bundled" package (e.g., you select nsSpace™ that
           includes both a domain name (nsWebAddress™) and a Network Solutions Website builder or other services,
           as opposed to your purchasing such services separately), termination of any part of the services will result in
           termination of all Network Solutions services provided as part of the bundled package. Please see Section
           10(d) of this Agreement for more information. You acknowledge and agree that some or all of the services
           you purchase or receive from us may be provided by one or more vendors, contractors or affiliates selected
           by Network Solutions in its sole discretion. As a part of your Services, Network Solutions may provide you
           access to third party functionality or services, including, but not limited to applications, widgets, RSS and
           other types of news, event and industry feeds, calculators, recommended copy, forms and templates that are
           incorporated or are offered as a part of one or more of the Services ("Third Party Functionality"). You
           expressly agree that any Third Party Functionality (including products, services or offering)s that are
           available to You as a part of any of the Network Solutions product or services shall be used by You in
           accordance with the terms of any relevant third party licenses. Your failure to abide by any third party license
           may result in the immediate termination of your services by Network Solutions. Furthermore, Network
           Solutions does not control such Third Party Functionality and is therefore not liable for any issues of any
           kind relating to the Third Party Functionality. Network Solutions reserves the right, at its sole discretion, to
           terminate, suspend, cancel or alter your access to Third Party Functionality at any time.

           3. FEES, PAYMENT AND TERM OF SERVICE. As consideration for the services you purchased, you
           agree to pay Network Solutions the applicable service(s) fees set forth on our Website at the time of your
           selection, or, if applicable, upon receipt of your invoice from Network Solutions. All fees are due
           immediately and are non-refundable, except as otherwise expressly noted in one or more of the Schedules to


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           this Agreement, as required by applicable law, or as such fees are billed by Network Solutions under an
           invoice to a Customer that expressly permits payment for Services by a Customer within thirty (30) days after
           Network Solutions has sent the Customer such invoice ("Net-30 Customers"). Network Solutions may require
           a Customer to successfully complete a credit application prior to such Customer qualifying to become a
           Net-30 Customer. Customers who purchase Service(s) through outbound telemarketing and request
           cancellation of Service(s) within ten (10) days of purchase are entitled to a refund of all fees. If you qualify,
           we may extend payment terms to you under our Business Account Credit Program. Unless otherwise
           specified herein or on our Website, each Network Solutions service is for a one-year initial term and
           renewable thereafter for successive one to ten-year terms, as set forth during the renewal process. Any
           Network Solutions service on a monthly billing cycle may be billed every four (4) weeks. Any renewal of
           your services with us is subject to our then current terms and conditions, including, but not limited to,
           successful completion of any applicable authentication procedure, and payment of all applicable service fees
           at the time of renewal and in the case of domain name re-registration, the domain name registry's acceptance
           of your domain name registration. Network Solutions may charge an Account Maintenance Fee to maintain
           your active account. This Account Maintenance Fee shall be billed to your account each year, thirty days
           following the annual date of your account creation. Except with respect to service to which you subscribe on
           a monthly basis, we will endeavor to provide you notice prior to the renewal of your services at least fifteen
           (15) days in advance of the renewal date. Additional payment terms may apply to the Network Solutions
           services you purchase, as set forth in the applicable Schedules to this Agreement. Pricing for services,
           renewals, and product upgrades and add-ons may vary based upon the date of your purchase. We may, at any
           time, activate the auto-renew service for eligible services in your account. Further, we may provide you with
           an opportunity to "opt in" to our automatic renewal process in accordance with the instructions (and subject
           to your agreement to the terms and conditions pertaining to that process) on our Website. You agree that if
           you are enrolled in or otherwise utilizing our auto-renew service, we will attempt to renew your service at
           some point less than ninety (90) days prior to its expiration. Such automatic renewal for your service(s), if
           successful, may be for a shorter term than the term for which you originally purchased your service(s), but in
           no event shall such term be longer than the term then-currently in place for the service(s). Such automatic
           renewal for your service(s), if successful, shall be at the then-current price for the service(s). You further
           agree that, to turn off the auto-renew service for any of your services with Network Solutions, you must call
           866.908.3450. You acknowledge and agree that the renewal price may be higher or lower than the price you
           paid for the then-current term of the service, and that we are authorized to charge your credit card or other
           payment method (such as PayPal®) on file for the renewal of the service(s). In any event, you are solely
           responsible for the credit card or payment information you provide to Network Solutions and must promptly
           inform Network Solutions of any changes thereto (e.g., change of expiration date or account number). You
           agree that, in any event, Network Solutions may extend the expiration date on your credit on file with us in
           order to protect against unwanted expiration of your services and to allow for the automatic renewal thereof.
           In addition, you are solely responsible for ensuring the services are renewed. Network Solutions shall have no
           liability to you or any third party in connection with the renewal as described herein, including, but not
           limited to, any failure or errors in renewing the services. In order to process a renewal under our auto-renew
           service, we may use third-party vendors for the purpose of updating the expiration date and account number
           of your credit card or payment method on file. Such third-party vendors maintain relationships with various
           credit card issuers and may be able to provide us with the updated expiration date and account number for
           your credit card by comparing the information we have on file with the information the third-party has on
           file. By selecting our auto-renew service, you acknowledge and agree that we may share your credit card or
           other payment method information with such a third-party vendor for the purpose of obtaining any update to
           your credit card expiration date, account number, or payment account. You agree to pay all value added tax
           ("VAT"), sales and other taxes (other than taxes based on Network Solutions income) related to Network
           Solutions services or payments made by you hereunder. All payments of fees for Network Solutions services


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           shall be made in U.S. dollars. Although Network Solutions may display pricing in various currencies,
           transaction processing is supported only in U.S. dollars and the pricing displayed during the checkout process
           will be an estimated conversion price at the time of purchase. If the currency of your bank or credit card
           account is not U.S. dollars, you may be charged exchange rate conversion fees by your bank or credit card
           company. In addition, due to time differences between (i) the time you complete the checkout process, (ii) the
           time the transaction is processed, and (iii) the time the transaction posts to your bank or credit card, the
           conversion rates may fluctuate, and Network Solutions makes no representations or warranties that (a) the
           amount submitted to your bank or credit card for payment will be the same as the amount posted to your bank
           or credit card statement or (b) the estimated conversion price will be the same as either the amount processed
           or the amount posted to your bank or credit card statement, and you agree to waive any and all claims based
           upon such discrepancies (including any and all claims for a refund based on the foregoing). You acknowledge
           and agree that you may be charged VAT based on the country indicated in account holder address information
           associated with your account. Set up fees, if any, will become payable on the applicable effective date for the
           applicable Network Solutions services. All sums due and payable that remain unpaid after any applicable
           cure period herein will accrue interest as a late charge of 1.5% per month or the maximum amount allowed
           by law, whichever is less. In the event of non-payment by a Net-30 Customer on any amount of any invoice,
           Network Solutions reserves the right to refer such invoice and Net-30 Customer to a collection agency in
           order for Network Solutions to secure payment on the invoice. Network Solutions may terminate any or all of
           the Services of a Net-30 Customer who fails to pay an invoice in a timely fashion. Network Solutions may
           charge a late fee(s) to Net-30 Customers for late payment of an invoice or a reinstatement fee(s) to Net-30
           Customers who wish to reinstate Service(s) that have been terminated due to non-payment.

           4. ACCURATE INFORMATION. You agree to: (1) provide certain true, current, complete and accurate
           information about you as required by the application process; and (2) maintain and update according to our
           modification procedures the information you provided to us when purchasing our services as needed to keep
           it current, complete and accurate. We rely on this information to send you important information and notices
           regarding your account and our services. You agree that Network Solutions (itself or through its third party
           service providers) is authorized, but not obligated, to use Coding Accuracy Support System (CASS) certified
           software and/or the National Change of Address program (and/or such other systems or programs as may be
           recognized by the United States Postal Service or other international postal authority for updating and/or
           standardizing address information) to change any address information associated with your account (e.g.,
           registrant address, billing contact address, etc.), and you agree that Network Solutions may use and rely upon
           any such changed address information for all purposes in connection with your account (including the
           sending of invoices and other important account information) as though such changes had been made directly
           by you.

           5. PRIVACY. Our privacy statement, (a) for Websites and/or value added services purchased through
           www.netsolwebsites.com is located on our Website at http://www.networksolutions.com/legal/privacy-
           policy.jsp and is incorporated herein by reference, as it is applicable to such Website purchases (other
           services purchased through www.netsolwebsites.com, including, but not limited to, domain name
           registrations, are covered by the privacy statement set forth on our Web site at
           http://www.networksolutions.com/legal/privacy-policy.jsp), (b) for Network Solutions services purchased
           through www.mycomputer.com is located on our Website at http://www.mycomputer.com/agreements
           /privacy_policy.html and is incorporated herein by reference for all such Network Solutions services, and (d)
           for all other Network Solutions services is located on our Website at http://www.networksolutions.com/legal
           /privacy-policy.jsp and is incorporated herein by reference for all such Network Solutions services. The
           applicable privacy statement sets forth your and our rights and responsibilities with regard to your personal
           information. You agree that we, in our sole discretion, may modify our privacy statement. We will post such


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           revised statement on our Website and any such statement will be effective upon posting. You agree to
           periodically review our Websites, including the current version of our privacy statement. You agree that, by
           using our services after modifications to the privacy statement become effective, you have agreed to these
           modifications. You acknowledge that if you do not agree to any such modification, you may terminate this
           Agreement. We will not refund any fees paid by you if you terminate your Agreement with us except as
           otherwise expressly provided in one or more of the Schedules attached hereto. We will not process the
           personal data that we collect from you in a way incompatible with the purposes and other limitations
           described in our privacy statement. You represent and warrant that you have provided notice to, and obtained
           consent from, any third party individuals whose personal data you supply to us as part of our services with
           regard to: (i) the purposes for which such third party's personal data has been collected, (ii) the intended
           recipients or categories of recipients of the third party's personal data, (iii) which parts of the third party's data
           are obligatory and which parts, if any, are voluntary; and (iv) how the third party can access and, if necessary,
           rectify the data held about them. You further agree to provide such notice and obtain such consent with regard
           to any third party personal data you supply to us in the future. We are not responsible for any consequences
           resulting from your failure to provide notice or receive consent from such individuals nor for your providing
           outdated, incomplete or inaccurate information.

           6. OWNERSHIP. Except as otherwise set forth herein, all right, title and interest in and to all, (i) registered
           and unregistered trademarks, service marks and logos; (ii) patents, patent applications, and patentable ideas,
           inventions, and/or improvements; (iii) trade secrets, proprietary information, and know-how; (iv) all
           divisions, continuations, reissues, renewals, and extensions thereof now existing or hereafter filed, issued, or
           acquired; (v) registered and unregistered copyrights including, without limitation, any forms, images,
           audiovisual displays, text, software and (vi) all other intellectual property, proprietary rights or other rights
           related to intangible property which are used, developed, comprising, embodied in, or practiced in connection
           with any of the Network Solutions services identified herein ("Network Solutions Intellectual Property
           Rights") are owned by Network Solutions or its licensors, and you agree to make no claim of interest in or
           ownership of any such Network Solutions Intellectual Property Rights. You acknowledge that no title to the
           Network Solutions Intellectual Property Rights is transferred to you, and that you do not obtain any rights,
           express or implied, in the Network Solutions or its licensors' service, other than the rights expressly granted
           in this Agreement. To the extent that you create any Derivative Work (any work that is based upon one or
           more preexisting versions of a work provided to you, such as an enhancement or modification, revision,
           translation, abridgement, condensation, expansion, collection, compilation or any other form in which such
           preexisting works may be recast, transformed or adapted) such Derivative Work shall be owned by Network
           Solutions and all right, title and interest in and to each such Derivative Work shall automatically vest in
           Network Solutions. Network Solutions shall have no obligation to grant you any right in any such Derivative
           Work.

           7. EXCLUSIVE REMEDY; TIME LIMITATION ON FILING ANY CLAIM. YOU AGREE THAT
           OUR ENTIRE LIABILITY, AND YOUR EXCLUSIVE REMEDY, IN LAW, IN EQUITY, OR
           OTHERWISE, WITH RESPECT TO ANY NETWORK SOLUTIONS SERVICE(S) PROVIDED UNDER
           THIS AGREEMENT AND/OR FOR ANY BREACH OF THIS AGREEMENT IS SOLELY LIMITED TO
           THE AMOUNT YOU PAID FOR SUCH SERVICE(S) DURING THE TERM OF THIS AGREEMENT. IN
           NO EVENT SHALL NETWORK SOLUTIONS, ITS LICENSORS AND CONTRACTORS (INCLUDING,
           BUT NOT LIMITED TO, THIRD PARTIES PROVIDING SERVICES AS PART OF THE SUBSCRIPTION
           SERVICE FOR WEBSITES FROM NETWORK SOLUTIONS) BE LIABLE FOR ANY INDIRECT,
           INCIDENTAL, SPECIAL OR CONSEQUENTIAL DAMAGES EVEN IF NETWORK SOLUTIONS HAS
           BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. TO THE EXTENT THAT A STATE
           DOES NOT PERMIT THE EXCLUSION OR LIMITATION OF LIABILITY AS SET FORTH HEREIN


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           NETWORK SOLUTIONS'S LIABILITY IS LIMITED TO THE EXTENT PERMITTED BY LAW IN
           SUCH STATES. Network Solutions and its licensors and contractors disclaim any and all loss or liability
           resulting from, but not limited to: (1) loss or liability resulting from access delays or access interruptions; (2)
           loss or liability resulting from data non-delivery or data mis-delivery; (3) loss or liability resulting from acts
           of God; (4) loss or liability resulting from the unauthorized use or misuse of your account number, password
           or security authentication option; (5) loss or liability resulting from errors, omissions, or misstatements in any
           and all information or service(s) provided under this agreement; (6) loss or liability relating to the deletion of
           or failure to store email messages; (7) loss or liability resulting from the development or interruption of your
           Website or your Network Solutions Website; (8) loss or liability from your inability to use our email service,
           Website manager service or any component of the subscription service (for websites from Network
           Solutions); (9) loss or liability that you may incur in connection with our processing of your application for
           our services, our processing of any authorized modification to your domain name record or your agent's
           failure to pay any fees, including the initial registration fee or re-registration fee; (10) loss or liability as a
           result of the application of our dispute policy; or (11) loss or liability relating to limitations, incompatibilities,
           defects, or other problems inherent in xml, xkms, or any other standard not under Network Solutions sole
           control. YOU AGREE THAT REGARDLESS OF ANY STATUTE OR LAW TO THE CONTRARY, ANY
           CLAIM OR CAUSE OF ACTION ARISING OUT OF OR RELATED TO THIS AGREEMENT OR ANY
           OF OUR SERVICES MUST BE FILED WITHIN ONE (1) YEAR AFTER SUCH CLAIM OR CAUSE OF
           ACTION AROSE OR SUCH CLAIM SHALL BE FOREVER BARRED. You further agree that any dispute
           or disagreement relating to or arising out of this Agreement or the Services shall be resolved on an individual
           basis. As such you acknowledge and agree that you may not bring a claim that relates to or arises out of this
           Agreement or the Services as a plaintiff or a class member in a class action, a consolidated action or a
           representative action. Class actions, representative actions, private attorney general actions, and consolidation
           with other actions are not permitted.

           8. DISCLAIMER OF WARRANTIES. YOU AGREE THAT YOUR USE OF OUR SERVICE(S) OR OUR
           LICENSORS' SERVICES IS SOLELY AT YOUR OWN RISK. YOU AGREE THAT ALL OF SUCH
           SERVICES ARE PROVIDED ON AN "AS IS," AND "AS AVAILABLE" BASIS, EXCEPT AS
           OTHERWISE NOTED IN THIS AGREEMENT. WE AND OUR LICENSORS EXPRESSLY DISCLAIM
           ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING BUT NOT
           LIMITED TO THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
           PARTICULAR PURPOSE AND NON-INFRINGEMENT. NEITHER NETWORK SOLUTIONS NOR OUR
           LICENSORS MAKE ANY WARRANTY THAT SERVICE(S) LICENSED HEREUNDER WILL MEET
           YOUR REQUIREMENTS, OR THAT THE SERVICE(S) WILL BE UNINTERRUPTED, TIMELY,
           SECURE, OR ERROR FREE; NOR DO WE OR OUR LICENSORS MAKE ANY WARRANTY AS TO
           THE RESULTS THAT MAY BE OBTAINED FROM THE USE OF THE SERVICE(S) OR AS TO THE
           ACCURACY OR RELIABILITY OF ANY INFORMATION OBTAINED THROUGH OUR SERVICES.
           YOU UNDERSTAND AND AGREE THAT ANY MATERIAL AND/OR DATA DOWNLOADED OR
           OTHERWISE OBTAINED THROUGH THE USE OF OUR SERVICES IS DONE AT YOUR OWN
           DISCRETION AND RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR ANY DAMAGE
           TO YOUR COMPUTER SYSTEM OR MOBILE DEVICE OR LOSS OF DATA THAT RESULTS FROM
           THE DOWNLOAD OF SUCH MATERIAL AND/OR DATA. WE MAKE NO WARRANTY REGARDING
           ANY GOODS OR SERVICES PURCHASED OR OBTAINED THROUGH ANY OF OUR SERVICES OR
           ANY TRANSACTIONS ENTERED INTO THROUGH SUCH SERVICES. NO ADVICE OR
           INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM US OR THROUGH
           OUR SERVICES SHALL CREATE ANY WARRANTY NOT EXPRESSLY MADE HEREIN, YOU MAY
           NOT RELY ON ANY SUCH INFORMATION OR ADVICE. TO THE EXTENT JURISDICTIONS DO
           NOT ALLOW THE EXCLUSION OF CERTAIN WARRANTIES, SOME OF THE ABOVE EXCLUSIONS


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           MAY NOT APPLY TO YOU. WE ARE NOT RESPONSIBLE FOR AND SHALL HAVE NO LIABILITY
           WITH RESPECT TO ANY PRODUCTS AND/OR SERVICES PURCHASED BY YOU FROM A THIRD
           PARTY.

           9. INDEMNITY. You agree to release, indemnify, defend and hold harmless Network Solutions and any of
           our (or their) contractors, agents, employees, officers, directors, shareholders, affiliates and assigns from all
           liabilities, claims, damages, costs and expenses, including reasonable attorneys' fees and expenses, relating to
           or arising out of (a) this Agreement or the breach of your warranties, representations and obligations under
           this Agreement, (b) the Network Solutions services or your use of such services, including without limitation
           infringement or dilution by you, or someone else using our service(s) from your computer, (c) any intellectual
           property or other proprietary right of any person or entity, (d) a violation of any of our operating rules or
           policies relating to the service(s) provided, (e) any information or data you supplied to Network Solutions,
           including, without limitation, any misrepresentation in your application, if applicable, (f) the inclusion of
           metatags or other elements in any website created for you or by you via the Network Solutions services, or
           (g) any information, material, or services available on your licensed Network Solutions Website . When we
           are threatened with suit or sued by a third party, we may seek written assurances from you concerning your
           promise to indemnify us. Such assurances may, without limitation, be in the form of a deposit of money by
           you to us or our representatives to cover our fees and expenses, including but not limited to reasonable
           attorneys' fees, in any such suit or threat of suit. Your failure to provide such assurances may be considered
           by us to be a material breach of this Agreement. We shall have the right to participate in any defense by you
           of a third-party claim related to your use of any of the Network Solutions services, with counsel of our
           choice. We shall reasonably cooperate in the defense at your request and expense. You shall have sole
           responsibility to defend us against any claim, but you must receive our prior written consent regarding any
           related settlement. The terms of this paragraph will survive any termination or cancellation of this
           Agreement.

           10. TERMINATION.

           a. By You. You may terminate this Agreement upon at least thirty (30) days written notice to Network
           Solutions for any reason.

           b. By Us. We may terminate this Agreement or any part of the Network Solutions services at any time in the
           event you breach any obligation hereunder, fail to respond within ten (10) calendar days to an inquiry from us
           concerning the accuracy or completeness of the information referred to in Section 4 of this Agreement, if we
           determine in our sole discretion that you have violated the Network Solutions Acceptable Use Policy, which
           is located on our Website at http://www.networksolutions.com/legal/aup.jsp and is incorporated herein and
           made part of this Agreement by reference, or for any other reason in Network Solutions' sole discretion upon
           written notice to you.

           c. Effect of Termination. Except as otherwise expressly set forth herein or on our Website, Network Solutions
           will cease charging your credit card, if applicable, for any monthly service fees as of the expiration of the
           monthly billing cycle in which the termination is effective. Unless otherwise specified in writing by Network
           Solutions, you will not receive any refund for payments already made by you as of the date of termination,
           and, you may incur additional fees (in the case of a monthly or annual subscription being paid over time, as
           provided in various Schedules below). If termination of this Agreement is due to your default hereunder, you
           shall bear all costs of such termination, including any reasonable costs Network Solutions incurs in closing
           your account. You agree to pay any and all costs incurred by Network Solutions in enforcing your
           compliance with this Section. Upon termination, you shall destroy any copy of the materials licensed to you
           hereunder and referenced herein. You agree that upon termination or discontinuance for any reason, we may


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           delete all information related to you on the Network Solutions service, if applicable. In addition to the terms
           set forth herein, certain Network Solutions services may have additional terms regarding termination, which
           are set forth in the applicable Schedule.

           d. Effect of Termination of Solutions or Bundled Services. In addition to the terms set forth in subsection
           10(c) above, if you purchase Network Solutions services which are sold together as a solution or bundled
           package of Services, any termination relating to such solution will terminate all Network Solutions services
           included in such bundle. For instance, without limiting the generality of the foregoing, any domain name
           (nsWebAddress™) registered with or maintained by Network Solutions under this Agreement but not
           including any domain names you may have registered, either with Network Solutions or a third-party
           registrar, separately and not as part of a bundled service may be cancelled and may thereafter be available for
           registration by another party. You acknowledge and agree that upon any termination or cancellation of your
           bundled services or solution the terms and conditions regarding transfer of expired domain names as
           described in this Service Agreement, Schedule A, paragraph 14 may apply. Upon the effective date of
           termination, Network Solutions will no longer provide the solution or bundled Services to you, any licenses
           granted you shall immediately terminate, and you shall cease using such services immediately; provided,
           however, that we may, in our sole discretion and subject to your agreeing to be bound by the applicable
           agreement(s) and to pay the applicable fees, allow you to convert certain services included in the bundled
           services to stand alone services. Should you or we cancel or terminate your Services at any time prior to the
           completion of the one-year term, such cancellation or termination may result in an early termination fee
           charged to your account.

           e. If you breach any term of this Agreement including, but not limited to, this terms of any Schedule,
           Network Solutions may, in its sole and exclusive discretion, suspend or terminate your Services immediately
           and without notice to you. Service Fees may continue to accrue on suspended accounts and you will continue
           to remain responsible for the payment of any Service Fees that accrue during the period of suspension.

           11. REPRESENTATIONS AND WARRANTIES. You agree and warrant that: (i) neither your registration
           nor use of the any of the Network Solutions services nor the manner in which you intend to use such Network
           Solutions Services will directly or indirectly infringe the legal rights of a third party, (ii) you have all
           requisite power and authority to execute this Agreement and to perform your obligations hereunder, (iii) you
           have selected the necessary security option(s) for your domain name registration record, (iv) you are of legal
           age to enter into this Agreement (or you are at least 13 years of age and have your parents' permission to
           apply for services hereunder); and (vi) you agree to comply with all applicable laws and regulations.

           12. MODIFICATIONS TO AGREEMENT. Except as otherwise provided in this Agreement, you agree
           during the term of this Agreement, that we may: (1) revise the terms and conditions of this Agreement; and/or
           (2) change part of the Services provided under this Agreement at any time. Any such revision or change will
           be binding and effective after posting of the revised Agreement or change to the service(s) on Network
           Solutions Websites, or upon notification to you by email or United States mail. You agree to periodically
           review our Websites, including the current version of this Agreement available on our Websites, to be aware
           of any such revisions. If you do not agree with any revision to the Agreement, you may terminate this
           Agreement at any time by providing us with notice. Notice of your termination will be effective on receipt
           and processing by us. Any fees paid by you if you terminate your Agreement with us are nonrefundable,
           except as expressly noted otherwise in one or more of the Schedules to this Agreement, but you will not incur
           any additional fees. By continuing to use Network Solutions Services after any revision to this Agreement or
           change in service(s), you agree to abide by and be bound by any such revisions or changes. We are not bound
           by nor should you rely on any representation by (i) any agent, representative or employee of any third party



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            that you may use to apply for our services; or in (ii) information posted on our Website of a general
            informational nature. No employee, contractor, agent or representative of Network Solutions is authorized to
            alter or amend the terms and conditions of this Agreement.

            13. ACCOUNT ACCESS. To access or use the Network Solutions services or to modify your account, you
            may be required to establish an account and obtain a login name, account number, password and/or
            passphrase. You authorize us to process any and all account transactions initiated through the use of your
            password and/or passphrase. You are solely responsible for maintaining the confidentiality of your password
            and passphrase. You must immediately notify us of any unauthorized use of your password or passphrase,
            and you are responsible for any unauthorized activities, charges and/or liabilities made through your
            password or passphrase. In no event will we be liable for the unauthorized use or misuse of your login name,
            account number, password or passphrase. You agree that we may log off any account that is inactive for an
            extended period of time.

            14. AGENTS. You agree that, if your agent, (e.g., your Primary Contact or Account Administrative Contact,
            Internet Service Provider, employee) purchased our service(s) on your behalf, you are nonetheless bound as a
            principal by all terms and conditions herein, including the domain name dispute policy. Your continued use of
            our services ratifies any unauthorized actions of your agent. By using your login name, account number or
            password, or otherwise purporting to act on your behalf, your agent certifies that he or she is authorized to
            apply for our services on your behalf, that he or she is authorized to bind you to the terms and conditions of
            this Agreement, that he or she has apprised you of the terms and conditions of this Agreement, and that he or
            she is otherwise authorized to act on your behalf. In addition, you are responsible for any errors made by your
            agent.

            15. OTHER POLICIES. In addition to the terms and conditions set forth in this Agreement, the purchase of
            services may make other Network Solutions Policies applicable to you and the use of our services. In making
            a purchase of our services, you agree to the terms set forth in these policies. Network Solutions reserves the
            right to make changes to these policies. You agree to periodically review the policies in our Terms of Use to
            be aware of any such revisions.

            16. RIGHT OF REFUSAL. We, in our sole discretion, reserve the right to refuse to register your chosen
            domain name, issue you a digital certificate, or register you for other Network Solutions service(s), or to
            delete your chosen domain name within the first thirty (30) calendar days from receipt of your payment for
            such services. In the event we do not register your chosen domain name, issue you a digital certificate, or
            register you for other Network Solutions service(s), or we delete your chosen domain name or other Network
            Solutions service(s) within such thirty (30) calendar day period, we agree to refund any applicable fee(s) you
            have paid. You agree that we shall not be liable to you for loss or damages that may result from our refusal to
            register your chosen domain name, refusal to issue a digital certificate, the deletion of your chosen domain
            name or refusal to register you for other Network Solutions service(s).

            17. NOTICES AND ANNOUNCEMENTS. (a) Except as expressly provided otherwise herein, all notices
            to Network Solutions shall be in writing and delivered via overnight courier or certified mail, return receipt
            requested to Network Solutions, LLC, Attention: Legal Department, 13861 Sunrise Valley Drive, Herndon,
            Virginia 20171. All notices to you shall be delivered to your mailing address or email address as provided in
            your account information (as updated by you pursuant to this Agreement) or to any email address associated
            with your domain name registration(s) with Network Solutions. (b) You authorize us to contact you as our
            customer via telephone, at the number provided by you in your account information (as updated by you
            pursuant to this Agreement), which telephone number is incorporated herein by reference, email or postal
            mail regarding information that we deem is of potential interest to you. Notices and announcements may


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            include commercial emails, telephone solicitations and other notices describing changes, upgrades, new
            products and services or other information pertaining to Internet security or to enhance your identity on the
            Internet and/or other relevant matters.

            18. SEVERABILITY. You agree that the terms of this Agreement are severable. If any term or provision is
            declared invalid or unenforceable, in whole or in part, that term or provision will not affect the remainder of
            this Agreement; this Agreement will be deemed amended to the extent necessary to make this Agreement
            enforceable, valid and, to the maximum extent possible consistent with applicable law, consistent with the
            original intentions of the parties; and the remaining terms and provisions will remain in full force and effect.

            19. ENTIRE AGREEMENT. You agree that this Agreement, the rules and policies incorporated by
            reference in this Agreement (including, without limitation, the dispute policy and the privacy statement) are
            the entire, complete and exclusive agreement between you and us regarding our services and supersede all
            prior agreements and understandings, whether written or oral, or whether established by custom, practice,
            policy or precedent, with respect to the subject matter of this Agreement, including, without limitation, any
            purchase order provided by you for the services.

            20. ASSIGNMENT AND RESALE. Except as otherwise set forth herein, your rights under this Agreement
            are not assignable or transferable. Any attempt by your creditors to obtain an interest in your rights under this
            Agreement, whether by attachment, levy, garnishment or otherwise, renders this Agreement voidable at our
            option. You agree not to reproduce, duplicate, copy, sell, resell or otherwise exploit for any commercial
            purposes any of the services (or portion thereof) without Network Solutions prior express written consent.

            21. GOVERNING LAW.

            a. Except as otherwise set forth in the UDRP or any similar ccTLD policy with respect to any dispute over a
            domain name registration, this Agreement, your rights and obligations and all actions contemplated by this
            Agreement shall be governed by the laws of the United States of America and the State of Florida, without
            regard to conflict of laws principles, as if the Agreement was a contract wholly entered into and wholly
            performed within Duval County in the State of Florida.

            b. Except as otherwise set forth in the UDRP or any similar ccTLD policy with respect to any dispute over a
            domain name registration, any judicial proceeding relating to or arising out of this Agreement or the Services
            shall be instituted only in a federal or state court of competent jurisdiction in Duval County in the State of
            Florida, and you consent to the personal jurisdiction of such court and waive the right to challenge the
            jurisdiction of such court on grounds of lack of personal jurisdiction or forum non conveniens or to otherwise
            seek a change of venue. You also agree to waive the right to trial by jury in any action that takes place
            relating to or arising out of this Agreement or the Services.

            c. Notwithstanding the forgoing, for the adjudication of third party disputes (i.e., disputes between yourself
            and another party, not Network Solutions) concerning or arising from use of domain names registered
            hereunder, you acknowledge and agree that you shall submit, without prejudice to other potentially applicable
            jurisdictions, to the jurisdiction of the courts (i) of the domain name holder's domicile, and (ii) where
            Network Solutions' principal place of business is located, currently Jacksonville, Florida.

            d. The application of the United Nations Convention of Contracts for the International Sale of Goods is
            expressly excluded.

            22. AGREEMENT TO BE BOUND. By applying for a Network Solutions service(s) through our online



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            application process or otherwise, or by using the service(s) provided by Network Solutions under this
            Agreement, you acknowledge that you have read and agree to be bound by all terms and conditions of this
            Agreement and documents incorporated by reference.

            23. INDEPENDENT PARTIES. Neither party nor their employees, consultants, contractors or agents are
            agents, employees or joint ventures of the other party, and they do not have any authority to bind the other
            party by contract or otherwise to any obligation. Each party shall ensure that the foregoing persons shall not
            represent to the contrary, either expressly, implicitly, by appearance or otherwise. Except as otherwise
            expressly stated herein, we agree there shall be no third party beneficiaries to this Agreement.

            24. WAIVER. No waiver of any provision of this Agreement shall be effective unless it is in writing and
            signed by an authorized representative of Network Solutions. The remedies of Network Solutions under this
            Agreement shall be cumulative and not alternative, and the election of one remedy for a breach shall not
            preclude pursuit of other remedies. The failure of a party, at any time or from time to time, to require
            performance of any obligations of the other party hereunder shall not affect its right to enforce any provision
            of this Agreement at a subsequent time, and the waiver of any rights arising out of any breach shall not be
            construed as a waiver of any rights arising out of any prior or subsequent breach.

            25. EXPORT RESTRICTIONS. You acknowledge and agree that you shall not import, export, or re-export
            directly or indirectly, any commodity, including your products incorporating or using any Network Solutions
            services in violation of the laws and regulations of any applicable jurisdiction.

            26. U.S. Government Users. In the event any software is provided by Network Solutions to a U.S.
            Government User, the software and accompanying documentation which are used as part of the Network
            Solutions service are "commercial items," as such terms are defined at 48 C.F.R. 2.101 (Revised Oct 2002),
            consisting of "commercial computer software" and "commercial computer software documentation," as such
            terms are used in 48 C.F.R. 12.212 (Revised Oct 2002) and is provided to the U.S. Government only as a
            commercial end item. Consistent with 48 C.F.R. 12.212 and 48 C.F.R. 227.7202-1 through 227.7202-4
            (Revised Oct 2002), all U.S. Government entities acquiring the use of the Service and accompanying
            documentation shall have only those rights set forth herein.

            27. FORCE MAJEURE. Neither party shall be deemed in default hereunder, nor shall it hold the other party
            responsible for, any cessation, interruption or delay in the performance of its obligations hereunder due to
            causes beyond its control including, but not limited to: earthquake; flood; fire; storm; natural disaster; act of
            God; war; terrorism; armed conflict; labor strike; lockout; boycott; supplier failures, shortages, breaches, or
            delays; or any law, order regulation, direction, action or request of the government, including any federal,
            state and local governments having or claiming jurisdiction over Network Solutions, or of any department,
            agency, commission, bureau, corporation or other instrumentality of any federal, state, or local government,
            or of any civil or military authority; or any other cause or circumstance, whether of a similar or dissimilar
            nature to the foregoing, beyond the reasonable control of the affected party, provided that the party relying
            upon this section (i) shall have given the other party written notice thereof promptly and, in any event, within
            five (5) days of discovery thereof and (ii) shall take all steps reasonably necessary under the circumstances to
            mitigate the effects of the force majeure event upon which such notice is based; provided further, that in the
            event a force majeure event described in this Section extends for a period in excess of thirty (30) days in the
            aggregate, Network Solutions may immediately terminate this Agreement.

            28. HEADINGS. The section headings appearing in this Agreement are inserted only as a matter of
            convenience and in no way define, limit, construe or describe the scope or extent of such section or in any
            way affect such section.


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            29. SURVIVAL. In the event this Agreement terminates as provided herein, Sections 1, 2, 3, 6, 7, 8, 9, 10(c),
            10(d), 11, 14, 15, and 17 through 29 of this Agreement shall survive such expiration or termination.

            30. AIRLINE FREQUENT FLYER MILES. Network Solutions may provide you with the opportunity to
            receive airline frequent flyer miles ("Miles") with select airlines as determined by Network Solutions, in its
            sole discretion from time to time, for qualifying purchases in accordance with the terms and conditions set
            forth on our Website. You acknowledge and agree that (a) any Miles accrued and awards issued are subject to
            the terms and conditions of the applicable frequent flyer program, (b) all applicable taxes and fees related to
            such Miles and/or award travel are your responsibility, (c) in order to earn Miles for qualifying purchases the
            name on your Network Solutions account and the applicable frequent flyer account must match, (d) Network
            Solutions has your permission to provide your account information to the applicable airline granting any such
            Miles, (e) you will only be eligible to receive up to one hundred thousand (100,000) American Airlines®
            AAdvantage® Miles during a 12-month period if you are a U.S. entity or citizen or sixty thousand (60,000)
            American Airlines AAdvantage Miles during a 12-month period if you are a non-US entity or citizen, (f) you
            will only be eligible to receive up to fifty thousand (50,000) United® Mileage Plus® Miles during a
            12-month period, (g) all Delta SkyMiles® credited to your Delta SkyMiles program account shall be standard
            miles and shall not count toward medallion or other elite status unless otherwise stated by Delta, (h) all US
            Airways® Dividend Miles terms and conditions apply, and (i) all claims related to or arising from uncredited
            Miles must be made within one (1) year of the date of any such qualifying purchase. Please allow 8-10 weeks
            for miles to be posted to the applicable frequent flyer account. Miles will be processed after two full months
            of service for Web Hosting transactions. You are eligible to earn Miles for qualifying purchases unless
            otherwise stated by the applicable airline frequent flyer program, your employer or other third party.

            American Airlines and AAdvantage are registered marks of American Airlines, Inc.

            American Airlines reserves the right to change the AAdvantage program at any time without notice.
            American Airlines is not responsible for products or services offered by other participating companies. For
            complete details about the AAdvantage program, visit www.aa.com. United® and Mileage Plus® are
            registered trademarks of United Air Lines, Inc. United may change Mileage Plus program rules, regulations,
            travel awards and special offers or terminate the Mileage Plus program at any time and without notice.
            United, its subsidiaries, affiliates, and agents are not responsible for any products and services of other
            participating companies. For complete details about the Mileage Plus program, visit www.united.com.
            Network Solutions reserves the right to end or amend this program without notice.

            SERVICE SPECIFIC TERMS: The following terms apply in addition to Sections 1 through 30 only if you
            have purchased the particular Service described or if the Service was purchased as part of a bundled solution:

                            SCHEDULE A TO NETWORK SOLUTIONS SERVICE AGREEMENT

                     ADDITIONAL TERMS APPLICABLE TO REGISTRANTS OF DOMAIN NAMES
                                            (nsWebAddress™)

            The terms in this Schedule apply to the registration and use of an nsWebAddress™ or domain name.

            1. General. Network Solutions is an accredited registrar with the Internet Corporation for Assigned Names
            and Numbers ("ICANN") for various generic top-level domain names, including but not limited to, .com,
            .net, .org, .biz, .info, .name and .pro ("gTLDs") and various sponsored top-level domain names ("sTLDs"). In
            addition to registering and renewing gTLD and sTLD domain name registrations, Network Solutions may
            register and renew various country code top-level domains ("ccTLDs"). The registry administrator for each


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            ccTLD varies by individual country code. By agreeing to the terms and conditions set forth in this
            Agreement, you are also agreeing to be bound by the rules and regulations set forth by the gTLD, sTLD and
            ccTLD registry administrators for their respective registries. You further acknowledge and agree that this
            Agreement shall apply to all domain names you register with or via Network Solutions or are otherwise
            provided to you by Network Solutions.

            2. ICANN. You acknowledge and agree that your rights to any domain name registered or renewed by
            Network Solutions on your behalf or otherwise used in conjunction with the Services are not being granted
            by Network Solutions but are subject to the rules and regulations of ICANN, the related registry and
            applicable law. As such, in addition to this Agreement, you agree to also abide by any and all terms and
            conditions promulgated by ICANN, as amended from time to time, which are hereby incorporated and made
            a part of this Agreement by reference, for all domain name registrations or renewals, including but not
            limited to, the Uniform Domain Name Dispute Resolution Policy ("UDRP"), as well as any policy that
            ICANN has established or may establish with respect to Domain Names and/or WHOIS information.
            Additional ICANN materials as well as your rights and responsibilities as a domain name registrant under the
            ICANN Registrar Accreditation Agreement can be found at http://www.icann.org/en/registrars/registrant-
            rights-responsibilities-en.htm.

            3. Security. Network Solutions does not guarantee the security of your domain name registration records, and
            you assume all risks that the password and/or passphrase you select may be compromised as a result of
            fraudulent, unauthorized or illegal activity.

            4. Fees and Payment. Initial domain name registrations, and domain name registrations that have passed the
            registration agreement's anniversary date, must be in a paid status to transfer, delete, modify, or otherwise to
            request Network Solutions to affect the domain name record or to provide domain name services. Domain
            name registrations in an unpaid status are routinely deleted on a regular basis.

            5. Transfers and Licensing of Use. You agree that you may not transfer your domain name registration to
            another domain name registrar during the first sixty (60) days from the effective date of your initial domain
            name registration with us. In addition, you agree that you may not transfer your domain registration to
            another domain name registrar for thirty (30) days after there has been a change in your Primary Contact
            information or WHOIS Administrative Contact information for your account(s). You may transfer your
            domain name registration to a third party of your choice, subject to the procedures and conditions found at:
            http://www.networksolutions.com/legal/static-service-agreement.jsp#f, incorporated herein by reference.
            Even if you license the use of our domain name registration services to a third party, you remain responsible
            for complying with all terms and conditions of this Agreement, and you accept liability for harm caused by
            such licensee's wrongful use of our domain name registration services, unless you promptly disclose the
            identity of such license upon request by any person who provides reasonable evidence of actionable harm.

            6. Network Solutions' Disclosure of Certain Information. Subject to the requirements of our privacy
            statement, in order for us to comply the current rules and policies for the domain name system, you hereby
            grant to Network Solutions the right to disclose to third parties through an interactive publicly accessible
            registration database (such as WHOIS) the following mandatory information that you are required to provide
            when registering or reserving a domain name: (i) the domain name(s) registered by you; (ii) your name and
            postal address; (iii) the name(s), postal address(es), email address(es), voice telephone number and where
            available the fax number(s) of the technical, administrative and billing contacts for your domain name(s); (iv)
            the Internet protocol numbers of the primary nameserver and secondary nameserver(s) for such domain
            name(s); (v) the corresponding names of those nameservers; (vi) the original creation date of the registration;
            and (vii) the expiration date of the registration. If you are an individual who wishes to opt out of having your


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            information displayed in the WHOIS database, you may do so by choosing the Private Registration service
            that is described in Schedule D to this Agreement for an additional fee. Private Registration services may also
            be added to a domain by Network Solutions at its discretion. You consent to allow us to transmit this
            registration data to an ICANN approved or designated escrow agent who stores this information pursuant to
            ICANN requirements. You also grant to Network Solutions the right to make this information available in
            bulk form to third parties who agree not to use it to (a) allow, enable or otherwise support the transmission of
            mass unsolicited, commercial advertising or solicitations via telephone, facsimile, or email (spam) or (b)
            enable high volume, automated, electronic processes that apply to our systems to register domain names.

            7. Domain Name Dispute Policy. If you registered a domain name through us, you agree to be bound by our
            current domain name dispute policy that is incorporated herein and made a part of this Agreement by
            reference. The current version of the domain name dispute policy may be found at our Website:
            http://www.icann.org/dndr/udrp/policy.htm. In the event of any inconsistency between the provisions in this
            Agreement and those in the domain name dispute policy, the provisions of this Agreement shall prevail.

            8. Domain Name Dispute Policy Modifications. You agree that we, in our sole discretion, may modify our
            dispute policy. We will post any such revised policy on our Website at least thirty (30) calendar days before it
            becomes effective. You agree that, by maintaining the reservation or registration of your domain name after
            modifications to the dispute policy become effective, you have agreed to these modifications. You
            acknowledge that if you do not agree to any such modification, you may terminate this Agreement. We will
            not refund any fees paid by you if you terminate your Agreement with us.

            9. Domain Name Disputes Brought by Third Parties. You agree that, if your use of our domain name
            registration services is challenged by a third party, you will be subject to the provisions specified in our
            dispute policy in effect at the time of the dispute. For the adjudication of any disputes brought by a third party
            against you concerning or arising from your use of a domain name registered with us or your use of our
            domain name registration services, you (but not Network Solutions) agree to submit to subject matter
            jurisdiction, personal jurisdiction and venue of the federal or state court of competent jurisdiction in Duval
            County in the State of Florida and the courts of your domicile. You agree that in the event a domain name
            dispute arises with any third party, you will indemnify and hold us harmless pursuant to the terms and
            conditions set forth below in this Agreement. If we are notified that a complaint has been filed with a judicial
            or administrative body regarding your use of our domain name registration services, you agree not to make
            any changes to your domain name record without our prior approval. We may not allow you to make changes
            to such domain name record until (i) we are directed to do so by the judicial or administrative body, or (ii) we
            receive notification by you and the other party contesting your registration and use of our domain name
            registration services that the dispute has been settled. Furthermore, you agree that if you are subject to
            litigation regarding your registration and use of our domain name registration services, we may deposit
            control of your domain name record into the registry of the judicial body by supplying a party with a registrar
            certificate from us. You agree that we will comply with all court orders, domestic or international, directed
            against you and/or the domain name registration.

            10. No Guaranty. You agree that, by registration of your chosen domain name, such registration does not
            confer immunity from objection to either the registration or use of your domain name.

            11. Revocation. You agree that we may suspend, cancel or transfer your services, including, but not limited
            to, domain name registration services in order to: (i) correct mistakes made by us, another registrar or the
            registry in registering your chosen domain name: (ii) to resolve a dispute under our domain name dispute
            policy: or (iii) to remedy an unauthorized change in the domain name account. You also acknowledge that we
            may, in our sole discretion, elect to discontinue offering registrations or renewals of some or all TLDs.


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            12. Survival. In the event the Agreement or this Schedule terminates, Sections 6, 7, 8, 9, 11, 12, 13, 14, 15,
            16, 17, 18, 19, 20, 21, 22, 23 and 24 of this Schedule shall survive such expiration or termination.

            13. Under Construction Page. You acknowledge and agree that any or all domain names that are (i) registered
            with Network Solutions, (ii) hosted on a Network Solutions domain name server, and (iii) do not otherwise
            resolve to an active Website, may resolve to an "under construction" or similar temporary Web page ("Under
            Construction Page"), and that Network Solutions may place on any such Under Construction Page
            promotions and advertisements for, and links to, Network Solutions' Website, Network Solutions product and
            service offerings, third-party Websites, third-party product and service offerings, and/or Internet search
            engines. You agree that Network Solutions may change the content and/or appearance of, or disable, any
            Under Construction Page at any time, in its sole discretion, and without prior notice. If for any reason, you do
            not want a domain name to resolve to the Under Construction Page described above, you may select an
            Under Construction Page that contains only Network Solutions branding and a domain name registration
            search box, as provided on our Website. You also agree that any domain name directory, sub-directory, file
            name or path (e.g. ) that does not resolve to an active web page on your Website being hosted by Network
            Solutions, may be used by Network Solutions to place a "parking" page, "under construction" page, or other
            temporary page that may include promotions and advertisements for, and links to, Network Solutions'
            Website, Network Solutions product and service offerings, third-party Websites, third-party product and
            service offerings, and/or Internet search engines. You agree that Network Solutions may change the content
            and/or appearance of, or disable any of these temporary pages at any time, in its sole discretion, and without
            prior notice.

            14. Requests to Change Registrar; Transfers Generally. You agree that Network Solutions may deny any
            request to transfer a domain name registration that is otherwise capable of transfer to another registrar where
            you fail to respond appropriately to a transfer confirmation request from Network Solutions. Furthermore,
            you acknowledge and agree that pursuant to applicable policies adopted by the Internet Corporation for
            Assigned Names and Numbers ("ICANN") related to the transfer of domain names it is possible for your
            domain name to be transferred to another registrar even though the transfer has not actually been approved by
            you, and you agree that we shall not be liable to you for any such unauthorized transfers. You also
            acknowledge and agree that we cannot control and shall not be liable to you for the actions of third parties,
            including but not limited to registry operators, in connection with a domain name transfer, or a reversal of or
            refusal to reverse a domain name transfer, whether or not the transfer was approved by you.

            15. Domain Transfer Lock. You agree that we may, but are not obligated to, place your domain name
            registration in a Domain Transfer Lock "on" status to prevent unauthorized transfers of your domain name
            registration, as described on our Website. You acknowledge and agree that in order to transfer a domain name
            registration that is in a Domain Transfer Lock "on" status, you may first have to access the account manager
            tool on our Website and remove the domain name registration from Domain Transfer Lock "on" status.

            16. Grace Period; IP Address Changes; Renewal and Transfer of Expired Domain Names on Your Behalf.
            Prior to expiration of a domain name registration we will send renewal notifications with instructions for
            renewal via email to the registered account holder. You agree that we may, but are not obligated to, allow you
            to renew your domain name registration services after the domain name expiration date has passed. If the
            domain name registration is not renewed prior to expiration a notification will be sent via email to the
            registered account holder shortly following expiration providing notice that the domain name has expired and
            providing instructions for renewal for an additional fee. You agree that after the expiration date of the domain
            name registration and before it is deleted or renewed, we may direct the domain name to an IP address
            designated by us that states the domain name registration has expired with instructions for renewal and may



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            further direct the domain name to, without limitation, an IP address which hosts a parking, under construction
            or other temporary page that may include promotions and advertisements for, and links to, Network
            Solutions' Website, Network Solutions product and service offerings, third-party Websites, third-party
            product and service offerings, and/or Internet search engines, and you agree that we may place our contact
            information in the WHOIS output for the expired domain name. Should you not renew the domain name
            during any applicable grace period, you agree that unless you notify us to the contrary we may, in our sole
            discretion, renew and transfer the domain name to Network Solutions or a third party on your behalf (such a
            transaction is hereinafter referred to as a "Direct Transfer"), and your failure to so notify us after the domain
            name expiration date shall constitute your consent to such a Direct Transfer. In the event we are able to
            identify such a third party (the "Direct Transfer Customer") and effectuate such a Direct Transfer, we will
            notify you via email after the transaction is completed ("Direct Transfer Notification"). You acknowledge and
            agree that the Direct Transfer process may be facilitated through a single Direct Transfer Customer, or
            through a brief auction involving multiple parties who are interested in the domain name. You agree that we
            shall have no obligation to pay you, and you shall have no right to receive, proceeds, if any, in connection
            with the Direct Transfer process. We cannot guarantee, and we make no representation or promise, that any
            Direct Transfer will occur with respect to any particular domain name. You also agree that in the event your
            domain name services are terminated by us pursuant to this Agreement, we may transfer your domain name
            registration to Network Solutions or a third party, without any liability to you or obligation to compensate
            you in connection therewith. For reference, the current Network Solutions gTLD domain renewal fee is
            Thirty-Seven Dollars and Ninety-Nine Cents ($37.99) for one (1) year, although this amount may be less
            pursuant to a promotion, bundled service offering or other discount, while the current redemption fee is Two
            Hundred and Ninety-Nine Dollars ($299.00) plus the related renewal fee. You acknowledge and agree that
            the foregoing fees are subject to change at any time at the sole discretion of Network Solutions.

            17. New Customers through a Backorder Service. If you are registering a domain name through a backorder
            service and that domain name was registered with, and not yet deleted by, Network Solutions at the time of
            your purchase, you acknowledge and agree that the term of your registration will be for a period of one year
            from the original expiration date for the domain name immediately prior to your purchase, as the registration
            is the result of a Direct Transfer (defined above). If you are registering a domain name through a backorder
            service and the domain name was not registered with Network Solutions at the time of your purchase but was
            deleted by the applicable top-level domain registry at the time of your purchase, you acknowledge and agree
            that the term of your registration will be for a period of one year from the date it is initially registered with
            Network Solutions by the provider of the backorder service.

            18. Purchase and Registration of Premium Domain Names. Our Premium Domain Name Service offers for
            sale domain names that may be registered to third parties (also known as aftermarket or secondary market
            domain names) in a variety of TLDs (such as .com, .net, .org, .biz and .info TLDs). All Premium Domain
            Name registrations are offered on a "first come, first served" basis. After you complete the Premium Domain
            Name registration application, including payment of the purchase price, we will initiate the transfer of the
            Premium Domain Name to your account. At the time of transfer of the Premium Domain Name into your
            Network Solutions account, we will add one (1) year to the existing registration period. Any subsequent
            renewals of the Premium Domain Name will be charged at the then-current renewal fee. You acknowledge
            and agree that once you have completed your Premium Domain Name registration application, you have
            entered into a valid, binding and enforceable contract to pay the designated purchase price for the Premium
            Domain Name. All Premium Domain Name sales and registrations are final and non-refundable. When
            selling Premium Domain Names registered to third parties we make no representations regarding the
            accuracy or legality of domain names advertised, the accuracy or legality of any domain name listing, or the
            right and the ability of the third party seller to transfer the Premium Domain Name or complete the


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            transaction. In addition, you acknowledge and agree that we reserve the right to reject or cancel your
            Premium Domain Name registration for any reason including, but not limited to, any pricing errors. In the
            event your Premium Domain Name registration is rejected or cancelled, for any reason, we will refund in full
            the amount of the purchase price for the Premium Domain Name as your sole remedy hereunder. Once the
            Premium Domain Name is transferred into your Network Solutions account, you agree that Premium Domain
            Name may not be transferred away from Network Solutions to another registrar during the first sixty (60)
            days following the transfer, during which time the Premium Domain Name may be placed on transfer lock.

            19. Sharing of Information. You also acknowledge and agree that Network Solutions will share with each
            applicable domain name registry, certain information submitted by you in your application(s) for our services,
            as required by our agreement with the applicable registry or to provide the services you have applied for. You
            also acknowledge and consent to the use, copying, distribution, publication, modification and other
            processing of your personal data by the applicable registry and its designees and agents in connection with
            the applicable registry's service obligations to us or third parties, or as otherwise deemed necessary by the
            registry to fulfill the registry's service obligations to us or any third party.

            20. Registry Actions or Inactions. Our ability to provide services to you depends in part upon the provision of
            services by third parties, such as the registry for each ccTLD or gTLD. We cannot control and will not be
            responsible for the actions or inactions of such third parties. For example, each registry has reserved the right
            to deny, cancel or transfer any domain name registration under certain circumstances. You acknowledge and
            agree that we shall not be liable to you or any other party in connection with claims, damages, losses,
            expenses or costs incurred or suffered by you as a result of actions taken or not taken by third parties,
            including, but not limited to, the applicable registry for your ccTLD or gTLD.

            21. No Guarantees. We make no guarantees, representations or warranties that your proposed registration
            request for a domain name will be accepted by the applicable registry. You acknowledge and agree that the
            proposed registration request for a domain name(s) submitted by Network Solutions to any registry may fail
            or be rejected by the applicable registry for any number of reasons, including, but not limited to, the fact that
            your proposed registration request for a domain name was not first in time. You acknowledge and agree that
            the successful registration will depend upon a number of different factors that Network Solutions cannot
            predict or control.

            22. Indemnification. In addition to Section 9 of the General Provisions of this Agreement on Indemnity, you
            are to indemnify, release, defend and hold Network Solutions, and each applicable registry for each ccTLD or
            gTLD harmless for all liabilities, claims, damages, costs and expenses arising out of: (a) your breach of any
            terms of each Schedule applicable to the domain name you have registered; (b) any violation of a third party's
            right related to your registration; (c) any dispute with the applicable registry or a third party arising out of
            your registration; (d) any dispute related to the submission of your registration to the applicable registry; or
            (e) any use of the domain name(s) that you register with the applicable registry.

            23. Disclaimer Concerning Intellectual Property Protection. YOUR REGISTRATION OF A DOMAIN
            NAME DOES NOT PROVIDE YOU WITH ANY INTELLECTUAL PROPERTY PROTECTIONS,
            RIGHTS OR REGISTRATIONS, NOR DOES IT PROVIDE YOU WITH ANY RIGHTS TO ANY
            PARTICULAR DOMAIN NAME REGISTRATION.

            24. Business Profiles. You acknowledge and agree that any or all domain names that are (i) registered with
            Network Solutions, (ii) hosted on a Network Solutions domain name server, and/or (iii) do not otherwise
            resolve to an active Website, may resolve to an "business profile" or similar temporary web page (a "Business
            Profile"), and that Network Solutions may place on any such Business Profile a template that includes generic


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            information that is broken down by various categories. The template may include, among other things,
            sample contact information, geographic area, products and services, areas for additional information and a
            map. You agree that you are welcome at any time to enter relevant and applicable information related to
            yourself, your business or organization on your Business Profile. You understand that you can add, change,
            revise or delete such information on your Business Profile by accessing the account manager tool. You agree
            that Network Solutions may change the content and/or appearance of, or disable, any Business Profile at any
            time, in its sole discretion, and without prior notice. If for any reason, you do not want a domain name to
            resolve to the Business Profile page described above, you may select an Under Construction Page that
            contains only Network Solutions branding and a domain name registration search box, as provided on our
            Website. You also agree that any domain name directory, sub-directory, file name or path (e.g. ) that does not
            resolve to an active web page on your Website being hosted by Network Solutions, may be used by Network
            Solutions to place a Business Profiles page for you. You agree that Network Solutions may change the
            content and/or appearance of, or disable any of these temporary pages at any time, in its sole discretion, and
            without prior notice. You agree that Network Solutions and its partners may track traffic activity and other
            information related to the Business Profiles. All Business Profiles must comply with the Network Solutions
            Acceptable Use Policy and may not include information that is in violation of local, federal, or a foreign
            country's laws or industry regulations and material that is obscene, defamatory, libelous, unlawful, harassing,
            abusive, threatening, harmful, vulgar, constitutes a threat, violates export control laws, hate propaganda,
            fraudulent material or fraudulent activity, invasive of privacy or publicity rights, profane, indecent or
            otherwise objectionable material of any kind or nature. When you submit information for your Business
            Profile you will receive a listing on ThinkLocal™. ThinkLocal listings are only provided for businesses or
            organizations with addresses in the United States. By submitting your information for your Business Profile
            you agree to the ThinkLocal terms and conditions that are located at http://www.thinklocal.com
            /TermsOfUse.aspx.

            25. Domain Name Packages. Network Solutions may offer for sale, a variety of nsWebAddress™ "packages"
            that may also include other products and services such as a Website template and/or an e-mail box bundled
            with your domain name registration. If you purchase an nsWebAddress™ Plus package, you agree and
            consent to allow Network Solutions to place ads on your Website which advertise Network Solutions' other
            products and services. The Website product offered with nsWebAddress™ Plus and nsWebAddress™
            Premier is limited to one page only.

            26. Malware Scans. Customer acknowledges and agrees that Network Solutions and third party domain name
            registries that operate gTLDs and ccTLDs ("Registries") may, at their sole discretion, perform scans or other
            views of websites for the purpose of detecting malware or potential malware, or as necessary to protect the
            integrity, security or stability of the domain name system ("Malware Scans"). as a domain name registrant
            you agree: (a) to grant these Registries all necessary licenses and consents to permit Registries or its agent(s)
            to (i) perform, in its unlimited sole discretion, Malware Scans; (ii) collect, store, and process data gathered as
            a result of such Malware Scans; (iii) disclose the results of such Malware Scans (including all data therefrom)
            to other parties; and (iv) use the results of such Malware Scans (include all data therefrom) in connection
            with protecting the integrity, security or stability of the domain name system; (b) that the results of any of the
            Malware Scans identifying malware or potential malware shall not be deemed to be confidential or
            proprietary information of yours; (c) to disclaim any and all warranties, representations or covenants that
            such Malware Scans will detect and or all malware or that Network Solutions or Registries are responsible
            for notifying you of any malware or cleaning any malware from systems; (d) to indemnify, defend and hold
            harmless Network Solutions, the Registries and each of their affiliates, suppliers, vendors and subcontractors,
            and their respective employees, directors, officers, representatives, agents and assigns ("Affected Parties")
            from and against any and all claims, damages, liabilities, costs and expenses, including reasonable legal fees


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            and expenses, arising out of or relating to, for any reason whatsoever, any of the Malware Scans, the failure
            to conduct any of the Malware Scans, the failure to detect any malware, or the use of any data from Malware
            Scans; and (e) to prohibit the entrance into any settlement or compromise of any such indemnifiable claim
            without the Affected Party's prior written consent.

              SCHEDULE B TO NETWORK SOLUTIONS SERVICE AGREEMENT ADDITIONAL TERMS

            APPLICABLE TO REGISTRANTS OF DOMAIN NAMES IN THE COUNTRY CODE TOP-LEVEL
                                           DOMAINS.

            The terms in this Schedule apply to the registration and use of an nsWebAddress™ or domain name which is
            a country code top level domain.

            1. ccTLD Services. In addition to the terms set forth in Schedule A and with the exception of services in
            those country-code top-level domains for which a specific Schedule is provided in this Agreement (such as,
            for example, the .us and .eu top-level domains), the following terms shall apply to registrants of domain
            names registered in the country-code top-level domains available for registration on our Website, ("ccTLD
            Services"). Your registration of a domain name in any ccTLD (each a "New TLD Domain Name"), is subject
            to policies and service agreements ("New TLD Registry Policies") established or revised from time to time
            by the registry (or operator of such registry) for such New TLD Domain Name ("New TLD Registry"), in its
            capacity as the registry for its respective Top Level Domain. You agree to be bound by and comply with the
            applicable New TLD Registry Policies, including amendments and modifications thereto, with respect to
            your New TLD Domain Name registration. New TLD Registry Policies are available for you to review at
            each New TLD's respective website shown below:

            .ac                               http://www.nic.ac/terms.html
            .am                               http://dot.am/policy.html
            .ag                               http://www.nic.ag/policies.htm
            .asia                             http://www.registry.asia/policies.html
            .at                               http://www.nic.at
            .au, .com.au, .org.au, .net.au,   http://www.auda.org.au/policy/current-policies/ and
            .id.au                            http://www.auda.org.au/policies/auda-2005-03/ and
                                              http://www.auda.org.au/policies/auda-2010-06/ and
                                              http://www.auda.org.au/policies/auda-2010-02/ and
                                              http://www.auda.org.au/policies/auda-2010-05/ and
                                              http://www.auda.org.au/pdf/auda-2008-05.pdf and
                                              https://www.rrpproxy.net/Legal/Legal_Notice.html
            .be                               http://www.dns.be/en/home
            .br, .com.br, .net.br             https://www.rrpproxy.net/Legal/Legal_Notice.html and
                                              http://registro.br/dominio/contrato.html and
                                              http://registro.br/cgi-bin/whois/ and
                                              http://registro.br/dominio/saci-adm.html
            .bz                               http://manage.belizenic.bz/kb/servlet/KBServlet/cat119.html and
                                              http://www.icann.org/en/udrp/udrp-policy-24oct99.htm
            .ch                               https://www.nic.ch/reg/cm/wcm-page/terms/agb.jsp



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            .co                                 http://www.cointernet.co/policies-procedures
            .cx                                 http://www.ciia.cx
            .cz                                 http://www.nic.cz/page/314/rules-and-policies/
            .de                                 http://www.denic.de/en/bedingungen.html
            .es                                 http://www.nic.es
            .fm                                 http://www.dot.fm/policy.html
            .fr Includes: .wf, .tf, .re, .pm,   http://www.afnic.fr/data/chartes/charter-fr-2011-07-01.pdf and
            .yt                                 http://www.afnic.fr/medias/documents/AFNIC-naming-policy2012.pdf and
                                                https://www.rrpproxy.net/Legal/Legal_Notice.html and
                                                http://www.afnic.fr/fr/resoudre-un-litige/ and
                                                https://www.rrpproxy.net/Domains/Trustee_Service.html
            .gs                                 http://www.nic.gs/documents/gs-registrant.pdf
            .hn                                 http://nic.hn/en/politicas/
            .im                                 https://www.nic.im/public/terms.mth
            .in                                 http://www.inregistry.in
            .io                                 http://www.nic.io/terms.html
            .jp                                 http://www.nic.ad.jp/en/drp/index.html
            .lc                                 http://www.nic.lc/policies.htm
            .li                                 https://www.nic.ch/reg/cm/wcm-page/terms/agb.jsp
            .me                                 http://domain.me/policies/available-names.html and
                                                http://domain.me/policies/
            .mn                                 http://www.nic.mn/ and
                                                http://www.icann.org/en/udrp/udrp-rules-24oct99.htm
            .ms                                 http://nic.ms/ms-policies
            .mx, .com.mx                        http://www.registry.mx/jsf/static_content/domain/policies_first_new.jsf
            .nl                                 https://www.sidn.nl/en/about-nl/registering-a-domain-name/general-terms-
                                                and-conditions/
            .nu                                 https://nunames.nu/terms-and-conditions/
            .nz                                 http://nzrs.net.nz/
            .pl                                 http://www.dns.pl/english/regulations.html
            .pw                                 http://registry.pw/policies/
            .ru                                 http://www.cctld.ru/en/docs/rules.php and
                                                http://cctld.ru/en/domains/domens_ru/reserved.php and
                                                http://cctld.ru/en/domains/whois.php and
                                                https://www.rrpproxy.net/Legal/Legal_Notice.html and
                                                http://cctld.ru/en/domains/domens_ru/registration.php and
                                                http://www.nic.ru/dns/service/en/
            .sc                                 http://nic.sc/en/policies.html
            .sg                                 http://www.sgnic.sg/page/registrant-agreement
            .sh                                 http://www.nic.sh/terms.html


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            .uk                              http://www.nominet.org.uk/uk-domain-names/registering-uk-domain
                                             /choosing-domain-name/rules
            .tk                              http://www.dot.tk/en/doc_tcpaid_v300.pdf
            .vc                              http://www.afilias-grs.info/vc-st-vincent-and-grenadines and
                                             http://www.icann.org/en/udrp/udrp-rules-24oct99.htm
            .ar.com, .br.com, .cn.com,      http://www.centralnic.com/support/terms/domains
            .de.com, .eu.com, .gb.com,
            .gb.net, .hu.com, .jpn.com,
            .kr.com, .la, .no.com, .qc.com,
            .ru.com, .sa.com, .se.com,
            .se.net, .uk.com, .uk.net,
            .us.com, .uy.com, and .za.com

            The New TLD Registry Policies shall not alter the terms and conditions of this Agreement. To the extent
            there is a conflict between the New TLD Registry policies and the terms of this Agreement, the terms of this
            Agreement shall prevail. You agree that the New TLD Registry has the right to enforce the New TLD
            Registry Policies. With respect to any domain name registrations in the .de and .ru ccTLD, and subject to the
            limitation of liability and indemnification provisions contained in Sections 7 and 9, respectively, of the
            General Provisions this Agreement, you authorize and direct us to designate Network Solutions (or our
            vendor's) personnel as your administrative contact for all such domain name registrations. With respect to any
            domain name registrations in the .nz ccTLD, and subject to the limitation of liability and indemnification
            provisions contained in Sections 7 and 9, respectively, of the General Terms and Conditions of the
            Agreement, you authorize and direct us (or our selected vendor) to (i) submit service request to and interact
            with the .nz New TLD Registry on your behalf and (ii) designate a Network Solutions email address (or the
            email address of our selected vendor) as the registrant email address of record with the .nz New TLD
            Registry. With respect to any domain name registrations in the .co.nz, .org.nz, or .net.nz, you acknowledge
            and agree that email address for any domain name registrations will be defaulted to VeriSign, Inc. or
            Key-Systems, GmbH.

            2. Submission of ccTLD Orders. Subject to the terms hereof and the applicable New TLD Registry Policies,
            you may, through the use of the Network Solutions ccTLD Services or such other means as Network
            Solutions may designate in writing, place orders for the Network Solutions ccTLD Services. Such orders
            shall be submitted in the form and manner prescribed by Network Solutions. By submitting an order for any
            ccTLD Services, You represent and warrant to Network Solutions that the order is consistent with the New
            TLD Policies for the applicable New TLD Registry. You further represent and warrant that any information
            provided by or through you to Network Solutions in connection with the services hereunder is accurate and
            complete, and submitted in the form required by the applicable New TLD Registry. You expressly authorize
            Network Solutions to bind you to all terms and conditions in any corresponding registry or registrar for the
            ccTLD Services provided pursuant to this Schedule. Furthermore, you acknowledge and agree that in certain
            specific instances a specific New TLD Registry may require direct contact with the Registrant or through
            Network Solutions or a third party provider of the ccTLD Services. You represent and warrant that any
            ccTLD domain name registered pursuant to an order made hereunder is registered and used for lawful
            purposes.

            3. Supporting Documentation. You agree to timely provide Network Solutions with all information and
            supporting documentation reasonably requested by Network Solutions to fulfill any accepted order. If such
            information is not provided prior to the earlier of the time required for the provision of the ccTLD Services or


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            a period of thirty (30) days from the date of the request, or if the information provided is incorrect or false,
            Network Solutions may terminate the portion of the order for which information was requested, and any fees
            paid in connection therewith shall be non-refundable or, if fees have not yet been paid, a 10% processing fee
            shall be applied.

            4. NO GRACE PERIOD for certain ccTLDs Registrations. Special rules apply to the domains below which
            require that they be renewed prior to their expiration date. FAILURE TO RENEW YOUR REGISTERED
            DOMAIN NAME PRIOR TO ITS EXPIRATION DATE (ACCORDING TO THE TIME TABLE BELOW)
            MAY RESULT IN THE LOSS OF YOUR REGISTERED DOMAIN NAME. Network Solutions is not liable
            for the loss of domain name registrations due to failure to renew services.

              # of Days Prior to Expiration that
                                                                              Top Level Domain Extensions
                the Domain Must be Renewed
            26 days                                       .ac, .am, .be, .de, .fm, .io, .nl, .sh, .co.uk, .me.uk, .org.uk
                                                          .at, .ch, .cz, .es, .com.es, .nom.es, .org.es, .jp, .li, .mx, .com.mx, .nu,
            57 days
                                                          .co.nz, .net.nz, .org.nz, .pl, .ru, .sg, and .tk.

            We have turned on Auto Renew for these extensions to avoid the risk of losing your registered domain name.
            When Auto Renew is turned on, your domain name will be renewed approximately 60 (sixty) to ninety (90)
            days prior to its expiration date for the same term the domain name was last registered or renewed. Your
            credit card on file will be charged for the renewal. To ensure continuation of service please be certain you
            have a valid credit card and valid email address on file.

            To turn off Auto Renew, call 866.908.3450.

            Note: Auto Renew is also turned on for the following extensions. These extensions may be renewed up to the
            date of their expiration: .cn, com.cn, .net.cn, .org.cn, all regional .cn extensions, .co, .cx, .eu, .gd, .gs, .im, .in,
            .co.in, .firm.in, .gen.in, .ind.in, net.in, .org.in, .me, .ms, .tc, .tw, .com.tw, .org.tw, and .vg

            5. Additional Terms.

              a). .co.nz, .org.nz and .nz have a legal age requirement of eighteen (18) years of age.

              b). Airline miles can not be earned with a purchase of ccTLD services.

              c). .uk registry may, in its sole discretion, not allow the Private Registration service to be used by
            businesses who register a .co.uk, .org.uk, and/or .me.uk country-specific domain name. Refunds will not be
            given for the Private Registration services in this scenario.

              d). No transfers or legal name changes are allowed for .ac, .am, .at, .be, .ch, .cz, .de, .es, .com.es, .nom.es,
            .org.es, .fm, .io, .jp, .li, .mx, .com.mx, .nl, .nu, .co.nz, .net.nz, .org.nz, .pl, .ru, .sg, .sh, .tk, .co.uk, .me.uk, or
            .org.uk country-specific domain name registrations, which includes, but is not limited to, CRA, RNCA,
            channel transfers, account consolidation by 2 or more users.

              e). Customers registering a .de country-specific domain name must utilize the Network Solutions proxy
            Administrative Contact settings if the Account Holder/Primary Contact or Account Administrative Contact
            does not have a German address.

              f). Failure to comply with any of the .ac, .at, .be, .ch, .de, .de.com, .eu.com, .us.com, .uk.com, .co, .cz, .de,


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            .es, .com.es, .nom.es, .org.es, .fm, .io, .jp, .la, .li, .me, .mx, .com.mx, .nl, .nu, .co.nz, .net.nz, .org.nz, .pl, .ru,
            .sg, .sh, .tk, .co.uk, .me.uk, or .org.uk country-specific domain name terms and conditions will be considered
            breach of contract and loss of domain name by, in its sole discretion, Network Solutions or the applicable
            registry.

              g). The Network Solutions Domain Transfer Lock Service is not applicable for .ac, .am, .at, .be, .ch, .cz,
            .de, .es, .com.es, .nom.es, .org.es, .fm, .in, .co.in, .net.in, .org.in, .firm.in, .gen.in, .ind.in, .io, .jp, .li, .mx,
            .com.mx, .nl, .nu, .co.nz, .net.nz, .org.nz, .pl, .ru, .sg, .sh, .tk, .co.uk, .me.uk, or .org.uk country-specific
            domain name registrations.

              h). For the .gs and .ms, and .me ccTLDs, disputes arising between a registrar and a registrant, or between a
            registrant and a third party in relation to these domains are subject to the dispute resolution policies found at
            http://nic.ms/ms-policies for .ms ccTLDs, and at http://www.nic.gs/ for .gs. ccTLDs and for .me at
            http://www.domain.me/DRP.

              i). Customers registering a .ru country-specific domain name must utilize the Network Solutions proxy
            Administrative Contact settings if the Account Holder/Primary Contact or Account Administrative Contact is
            an individual account or is from a Russian Address.

              j). The registration of all .asia domain names requires that at least one contact on your account be based in
            an Asia-Pacific country. To accommodate this requirement, Network Solutions will automatically populate
            your "Administrator 2" address information with our Hong Kong contact details. Please be aware that the
            "Administrator 2" information cannot be edited or updated by you at any time.

                            SCHEDULE C-1 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .BIZ TLD.

            In addition to the terms set forth in Schedule A, the following terms shall apply to .biz domain names.

            1. Additional Representations and Warranties. If you are applying for the registration of a domain name in the
            .biz top-level domain ("TLD"), you also represent and warrant that: (i) the domain name will be used
            primarily for bona fide business or commercial purposes and not (a) exclusively for personal use or (b) solely
            for the purposes of selling, trading or leasing the domain name for compensation, or the unsolicited offering
            to sell, trade or lease the domain name for compensation; and (ii) the domain name is reasonably related to
            your business or intended commercial purpose at the time of registration.

            2. Acknowledgment of Dispute Policies and Rules. The registrant acknowledges having read and understood
            and agrees to be bound by the terms and conditions of the following documents, as they may be amended
            from time to time, which are hereby incorporated and made an integral part of this Agreement: (i) The
            Uniform Domain Name Dispute Policy, available at http://www.icann.org/dndr/udrp/policy.htm; (ii) The
            Start-up Trademark Opposition Policy ("STOP"), available at http://www.neustarregistry.biz/?q=support/faqs;
            and (iii) The Restrictions Dispute Resolution Criteria and Rules, available at http://www.neustarregistry.biz
            /?q=support/faqs#am. If at the time of your application for services in the .biz TLD, any of the above policies
            or rules (collectively ".biz Policies") have not yet been approved by ICANN (which may mean the .biz
            Policies are not available for viewing via live hyperlinks above), you agree to be bound by the terms of such
            .biz Policies upon such approval and in the final form approved by ICANN, as posted on our Website or the
            ICANN Website (located at www.icann.org). You agree that, by maintaining the services provided hereunder
            (which may include registration of a domain name) after such posting of any of the ICANN approved .biz


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            Policies, you have agreed to the terms and conditions of the same. You acknowledge that if you do not agree
            to the .biz Policies, you may terminate this Agreement. We will not refund any fees paid by you if you
            terminate your Agreement with us.

            3. Multiple Phases of Services. Your application or registration (whether successful or not) for any .biz
            registry or .biz TLD services hereunder does not guarantee, and we do not promise, that you will be approved
            or eligible for any other services available or that may become available through us or any third party. For
            example, certain services in the .biz TLD are provided in sequential phases, and participation in one phase,
            does not automatically qualify you for participation in other phases, and any further participation is not
            automatic. The .biz registry, and not Network Solutions, determines the dates and times associated with the
            various service phases available in the .biz TLD. You agree to review and become familiar with the
            information available on our Website and on the .biz Website concerning the various phases and descriptions
            of services available in connection with .biz TLD, and to regularly check for modifications and/or updates to
            such information, as the same may change from time to time. You agree that you are solely responsible for
            applying and/or registering for the service phases you desire to participate in. Additionally, you acknowledge
            and agree that submission of an application for domain name registration or any other services, does not
            guarantee that you will ultimately be the registrant for a particular domain name, even if you participated in
            some other service associated with the domain name, such as an intellectual property notification service or
            similar service.

            4. Third Party Beneficiary. Registry Operator ("NeuLevel") is an intended third party beneficiary of these
            Term and Conditions with rights to enforce these Terms of Use. You will cooperate in good faith with
            NeuLevel or Registrar in investigating instances of non-compliance with these Terms of Use, if NeuLevel or
            Registrar believes in good faith that you are not in compliance with these Terms of Use.

                           SCHEDULE C-2 TO NETWORK SOLUTIONS SERVICE AGREEMENT

               ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .INFO TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .info domain names.

            1. Additional Provisions. You acknowledge and agree to the following: (i) you agree to submit to proceedings
            commenced under the Uniform Domain Name Dispute Resolution Policy ("UDRP") and the Sunrise Dispute
            Resolution Policy ("SDRP") (available at http://www.afilias.info/faq/sunrise-challenge.html), as these may be
            modified from time to time; (ii) you agree to immediately correct and update the registration information for
            any domain name registered hereunder during the registration term for such registered domain name; and (iv)
            you acknowledge that the .info registry will have no liability of any kind for any loss or liability resulting
            from the proceedings and processes relating to the Sunrise Period or the Land Rush Period.

                           SCHEDULE C-3 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .EU TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .eu domain names.

            1. Eligibility Requirements. You represent and warrant that every registration you are applying for in the .eu
            top-level domain ("TLD") satisfies the eligibility requirements ("Eligibility Requirements") established by
            .eu TLD administrator, European Registry for Internet Domain Names vzw/asbl (".eu Registry"), which are
            available at the following URL: http://www.eurid.eu/en/eu-domain-names.


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            2. Nexus Requirements/Certification. You certify that you have and shall continue to have a lawful bona fide
            European Union nexus, as required by .eu Registry, and that you meet at least one of the .eu nexus
            requirements (".eu Nexus Requirements") set forth below (and as represented by you in the pre-registration
            application information provided by you to Network Solutions). You must be (and you certify that you are)
            either: a) an undertaking having their registered office, central administration or principal place of business
            within the European Community; b) an organization established anywhere within the European Community;
            or c) a natural person resident within the European Community.

            3. Your Obligation to Satisfy Nexus Requirement. You acknowledge and agree that it is your responsibility,
            through the registration process (and, if applicable, as required during your registration term), to provide the
            information necessary to satisfy the .eu Nexus Requirements, and that a failure by you to satisfy the .eu
            Nexus Requirements may result in, among other things, (i) the domain name pre-registration application(s)
            being rejected by Network Solutions and/or the .eu Registry, (ii) the domain name(s) being placed on "hold"
            by Network Solutions and/or the .eu Registry, and/or (iii) the domain name(s) being deleted by Network
            Solutions and/or the .eu Registry. Neither Network Solutions nor the .eu Registry (nor any other entity or
            person) shall be liable to you for any actions or inactions of any of them resulting from your failure to
            provide all required .eu Nexus Requirements information at the time of pre-registration (or, where applicable,
            during your registration term), and none of them shall have any obligation to request or attempt to obtain
            from you additional information to establish your compliance with the .eu Nexus Requirements, even if the
            need for such information is known by any of them.

            4. Validation Process. You agree that we shall have no liability to you or other third parties for anything
            related to the .eu Registry's validation process for a proposed registration request that we have submitted and
            is pending final .eu Registry approval. You acknowledge and agree that it is your responsibility to ensure that
            you meet all of the requirements that are involved in .eu Registry's validation process for your proposed
            registration request for a domain name(s). You agree that we are not responsible or liable in any way if your
            proposed registration request is rejected for any reason, including but not limited to the .eu Registry's failure
            or inability to contact you or your failure to respond to .eu Registry's request for supporting documentation,
            during the validation process.

            5. Acknowledgment of .eu Registry Policies and Rules. The registrant acknowledges having read and
            understood and agrees to be bound by the terms and conditions of all of the policies or rules (collectively ".eu
            Policies") that are posted or referred to on the .eu Registry's website. You agree to comply with any and all
            current and future .eu Policies at any and all times. You agree that, by maintaining any service related to your
            pre-registration request (and, if applicable, your actual domain name registration) after such posting of any
            new or amended .eu Policies, you have agreed to the terms and conditions of the same and will be bound by
            such terms and conditions. You acknowledge that if you do not agree to the amended or new .eu Policies, you
            may terminate this Agreement. We will not refund any fees paid by you if you terminate your Agreement
            with us.

            6. Application Submission. You acknowledge and agree that Network Solutions (as the parent company) will
            be submitting your .eu proposed registration request to the .eu Registry through Network Solutions Europe,
            LLC, and that all pre-registration requests submitted by you hereunder will be submitted by Network
            Solutions Europe, LLC on or after the go-live date.

            7. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
            Network Solutions shall have no liability of any kind for any loss or liability resulting from the submission of
            proposed registration requests to the .eu Registry including, without limitation, your ability or inability to
            obtain a particular domain name including any dispute resolution proceeding related to any of the foregoing.


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            Network Solutions assumes no liability for any pre-registration request or a domain name's rejection,
            suspension, cancellation, deletion, interruption or transfer due to procedures, rules or policies laid down by
            .eu Registry or due to practices, customs or prejudices of courts of law or dispute resolving arbitrators. We
            are not liable for any claims, damages or injuries arising out of the termination of services that are provided
            by .eu Registry for any reason, including but not limited to the termination of .eu Registry's registration
            authority, or its bankruptcy.

            8. Indemnification. In addition to Section 9 of General Provisions of this Agreement, you are to indemnify,
            release, defend and hold us harmless for all liabilities, claims, damages, costs and expenses arising out of: (a)
            your breach of any terms of this Schedule; (b) any violation of a third party's right related to your
            pre-registration request; (c) any dispute with the .eu Registry or a third party arising out of your
            pre-registration request; (d) any dispute related to the validation process for your pre-registration request; or
            (e) any dispute arising out of the ADR process described in EC No. 874/2004, Ch. VI. Art. 20-23 (April 28,
            2004) that involved the domain name(s) in your pre-registration request.

            9. Governing Law. You agree that any disputes between you and the .eu Registry, shall be governed in all
            respects by and in accordance with the laws of the European Community or one of its Member States. All
            disputes between you and the .eu Registry are to be brought before the tribunal of .eu Registry's choice. All
            disputes between you and Network Solutions are subject to Section 21 (Governing Law) of this Agreement.

            10. Dispute Resolution Policies. Accept as provided by Section 21 (Governing Law) of this Agreement, you
            agree that every service for which you apply or register, including a pre-registration request for a domain
            name, and, if applicable, any domain name registration, is subject to the policies and procedures related to the
            "Revocation and Settlement of Conflicts" as detailed in EC No. 874/2004 Chapter VI, Articles 20-23 (April
            28, 2004) found at: http://www.eurid.eu/files/ec20874_en.pdf and any other dispute polices that are found at
            .eu Registry's website at: http://www.eurid.eu/en/eu-domain-names/disputes.

            11. For purposes of .eu domain name related services, as used in this Schedule and all other applicable terms
            of this Agreement, "Network Solutions" shall mean both Network Solutions Europe, LLC and Network
            Solutions, LLC. You acknowledge and agree that for purposes of all .eu domain name related services, this
            Agreement is between you and both Network Solutions, LLC and Network Solutions Europe, LLC.

            12. Description of Service. Network Solutions is providing a service whereby its Customers are given the
            opportunity for the use, benefit and enjoyment of a .eu domain name. This service ("Registration Service") is
            offered in conjunction with a Network Solutions partner ("Partner) whereby the Partner serves as the
            Registrant for the .eu domain name ("Registered Domain") and licenses the use of the Registered Domain to
            a Network Solutions Customer. Sections 1-12 above apply to Customers that purchase the Registration
            Service in the same manner as if such Customer was the Registrant for the Registered Domain.

            13. License Agreement. You agree that in addition to the terms of this Agreement, you also have reviewed
            and agreed to the license ("License Agreement") between you and the Partner that is found at
            www.snnslicenseagreement.com. You are obligated to comply with all of the terms in both this Agreement
            and the License Agreement. Your agree that your failure to meet the terms either in the License Agreement or
            this Agreement may be grounds for terminating one or both agreements.

            14. Paid License. You agree that Partner grants you a non-transferable license for: (i) the sole use of the
            Registered Domain provided that such use at all times fully conforms with this Agreement and the License
            Agreement and (ii) all use, benefits and enjoyment of the Registered Domain provided that such use complies
            with the terms of this Agreement and the License Agreement.


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            15. Rights and Obligations Under License. You agree that at all times Partner will be the Registrant of each
            Registered Domain through the Registration Service that you purchase. You agree and acknowledge that all
            information listed for the .eu WHOIS regarding the Registered Domain will be that of the actual Registrant,
            the Partner, with the exception of the contact email address. You agree that you will supply the contact email
            address to be listed in the .eu WHOIS for the Registered Domain. At all times you shall keep this email
            address current and actively monitor the email address for email communications from Network Solutions,
            the Partner, the .eu registry, or other third parties. You agree that your failure to keep the email address
            current and to adequately monitor email communications shall be grounds for immediate termination of this
            Agreement and suspension or revocation of your Registration Service.

            16. Registered Domain and Registration Service Disclaimer. YOU AGREE AND UNDERSTAND THAT
            YOUR REGISTRATION SERVICE AND THE REGISTERED DOMAIN YOU ARE LICENSING MAY
            BE REVOKED, SUSPENDED, CANCELLED OR TERMINATED AT ANY TIME (i) BY NETWORK
            SOLUTIONS IN ACCORDANCE WITH THIS AGREEMENT, (ii) BY THE .EU REGISTRY, OR (iii) AS
            OTHERWISE PROVIDED IN THE LICENSE AGREEMENT. YOU AGREE THAT YOU ACCEPT AND
            UNDERSTAND ALL RISKS ASSOCIATED WITH THE REGISTRATION SERVICE AND SUCH
            REGISTERED DOMAIN AND THE RISKS THAT THE REGISTERED DOMAIN MAY BE REVOKED,
            SUSPENDED, CANCELLED OR TERMINATED AT ANY TIME AS DESCRIBED HEREIN. YOU
            EXPRESSLY AGREE THAT NETWORK SOLUTIONS SHALL HAVE NO LIABILITY OF ANY KIND
            TO YOU OR ANY THIRD PARTIES IF YOUR REGISTRATION SERVICE OR REGISTERED DOMAIN
            IS SO REVOKED, SUSPENDED, CANCELLED OR TERMINATED.

            17. Personal Information. You agree you will provide accurate and current information as to your name,
            email address, postal address, and phone and fax numbers for each Registered Domain you license through
            the Registration Service. You agree to: (i) notify Network Solutions within five (5) business days regarding
            any changes to your personal information; (ii) respond within five (5) business days to any inquiries made by
            Network Solutions or Partner to determine the validity of personal information provided by you or other
            types of similar inquiries; (iii) respond to email messages posted to your email account regarding
            correspondence Partner or Network Solutions has received that is either addressed to or involves your
            Registered Domain. It is your responsibility to keep your personal information current and accurate at all
            times with Network Solutions.

            18. Termination of License Agreement. You agree Network Solutions or Partner may terminate the License
            Agreement, without notice, if you fail to comply with any provision of this Agreement or the License
            Agreement or for your failure to pay for the Registration Services. Network Solutions may suspend or
            terminate the License Agreement, without notice, if Partner or Network Solutions believes that Customer has
            violated this Agreement or the License Agreement or in order for Network Solutions or the Partner to comply
            with a government regulation, law, statute, administrative agency or court order, or directive from the .eu
            Registry.

            19. Termination for Unlawful Activity or Third Party Complaints. Network Solutions may terminate your
            Registration Services at any time for any activity related to the Registered Domain that Network Solutions
            believes may violate any federal, state, local, European Community, European Community Member State
            regulation or law or any court order ("Applicable Laws"). Network Solutions has the right to revoke your use
            of the Registered Domain under the License Agreement at any time if a third party alleges that the Registered
            Domain or your use of the Registered Domain infringes or violates the rights of any person or entity, or
            otherwise violates any Applicable Laws (whether or not such allegations are true).

            20. No Money Damages: In addition to Section 7 of this Agreement on Exclusive Remedies, and except as


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            provided in Section 37 of this schedule, under no circumstances whatsoever will Network Solutions be liable
            to you for any money damages including, without limitation, any lost profits, lost revenue, lost savings, or
            other incidental, consequential or punitive damages arising out of: (i) the use or inability to use the Registered
            Domain(s); (ii) the revocation, suspension or termination of your Registration Service, Registered Domain or
            License Agreement; (iii) your use or inability to use the Registration Service; or (iv) for any claim by any
            other party, even if Network Solutions has been advised of the possibility of such damages. Any claims must
            be brought within twelve (12) months of the date that you discovered such claim, or reasonably should have
            discovered such claim, or shall be waived.

            21. Correspondence Forwarding. You agree that the Partner's name, postal address and phone number will be
            listed in the .eu WHOIS directory for the Registered Domain, as the Partner will be the registrant for the
            Registered Domain. You agree that Partner and Network Solutions will review and forward, upon your
            request, communications addressed to your Registered Domain that are received via certified, registered or
            traceable courier mail (such as UPS, Federal Express, or DHL). You authorize Partner or Network Solutions
            to return to sender all mail that is marked "First Class Mail." You acknowledge and agree that Partner or
            Network Solutions will not forward to you first class postal mail (other than legal notices), "junk" mail, bulk
            mail, or other unsolicited communications (whether delivered through fax, postal mail or telephone), and you
            further authorize Partner or Network Solutions to either discard all such communications or return all such
            communications to sender. You hereby waive any and all claims arising from your failure to receive
            communications directed to your Registered Domain but not forwarded to you by Partner or Network
            Solutions. In instances when Partner or Network Solutions receives certified or traceable courier mail or legal
            notices addressed to your Registered Domain, Partner or Network Solutions will post an email message to
            your email account that is listed as the contact for the Registered Domain notifying you of receipt of mail.
            The email message will identify the sender of the correspondence that has been received by Network
            Solutions or Partner, the date such correspondence was received, and a brief description of its contents. You
            agree that you will have five (5) days to request to have the correspondence forwarded via email in a PDF
            form, overnight courier or facsimile to you. You agree that if you do not respond within five (5) days of
            receipt of the email from Network Solutions or Partner that the mail may be destroyed by Partner. You hereby
            waive any and all claims arising from either your failure to respond within five (5) days of receipt of the
            email from Network Solutions or Partner or your instruction to Network Solutions or Partner not to forward
            mail that has been received.

            22. Forwarding Fees. In consideration for (i) handling and forwarding certified, registered and traceable
            courier mail and certain first class correspondence, and (ii) responding to and dealing with third parties, you
            agree to pay Network Solutions at the time such forwarding services are provided in order to cover Network
            Solutions' labor and costs associated with these services. Network Solutions may change its forwarding fees
            at any time. Unless otherwise stated, all fees are posted (and payable by you) in U.S. Dollars. You are
            responsible for paying all fees and taxes associated with using Network Solutions' forwarding services.
            Payment shall be made by you providing a valid credit card for charge by Network Solutions, and is
            non-refundable. If for any reason Network Solutions is unable to charge your credit card with the full amount
            of the forwarding service provided, or if Network Solutions is charged back for any fee it previously charged
            to the credit card you provided, you agree that Network Solutions may, without notice to you, pursue all
            available remedies in order to obtain payment, including but not limited to, sale or licensing of the Registered
            Domain to a third party, and immediate cancellation of your account and all services Network Solutions
            provides to you. Network Solutions reserves the right to charge a reasonable service fee to cover the costs of
            administrative tasks outside the scope of its regular forwarding services. These include, but are not limited to,
            customer service issues that cannot be handled over email but require personal service, and disputes in which
            Network Solutions becomes involved concerning the Registered Domain. You agree that Network Solutions


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            will and is authorized to bill these charges to the credit card you have on file with Network Solutions.
            Administrative fees, once charged, will be non-refundable. It is your responsibility to keep your credit card
            information current and accurate, including the expiration date. Failure to keep such information updated
            shall be grounds for termination of your Registration Services.

                           SCHEDULE C-4 TO NETWORK SOLUTIONS SERVICE AGREEMENT

               ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .NAME TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .name domain
            names.

            1. Eligibility Requirements. You represent and warrant that every registration you are applying for in the
            .name top-level domain ("TLD") satisfies the eligibility requirements ("Eligibility Requirements") established
            by Global Name Registry Ltd., the registry for the .name TLD, which are available at the following URL:
            http://www.icann.org/tlds/agreements/name/registry-agmt-appl-03jul01.htm.

            2. Dispute Resolution Policies. You agree that every service for which you register is subject to the Uniform
            Domain Name Dispute Resolution Policy (the "UDRP") and the Eligibility Requirements Dispute Resolution
            Policy (the "ERDRP"), which are located at http://www.icann.org/tlds/agreements/name/registry-agmt-appm-
            03jul01.htm. Without limiting the foregoing, you agree that (i) every Defensive Registration is subject to
            challenge pursuant to the ERDRP; (ii) if a Defensive Registration is successfully challenged pursuant to the
            ERDRP, the Defensive Registration Holder will pay the challenge fees; (iii) if a challenge to a Defensive
            Registration is successful, the Defensive Registration will be subject to the procedures described in the
            ERDRP and the Eligibility Requirements including, without limitation, the cancellation of the Defensive
            Registration Holder's other Defensive Registrations; and (iv) if a Phase I Defensive Registration (as defined
            by the .name registry) is successfully challenged on the basis that it does not meet the applicable eligibility
            requirements, the Defensive Registration Holder will thereafter be required to demonstrate, at its expense,
            that it meets the eligibility requirements for Phase I Defensive Registrations for all other Phase I Defensive
            Registrations that it registered within .name through any registrar. In the event the Defensive Registration
            Holder is unable to demonstrate the foregoing with respect to any such Phase I Defensive Registration(s),
            those Defensive Registration(s) will be cancelled.

            3. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
            neither the .name registry nor Network Solutions shall have any liability of any kind for any loss or liability
            resulting from (i) the processing of registration requests prior to live SRS launch, including, without
            limitation, your ability or inability to obtain a Registered Name, a second-level domain email address
            registration (an "SLD Email Address"), a Defensive Registration, or a NameWatch Registration using the
            services provided by Network Solutions or the .name registry; or (ii) any dispute over any Registered Name,
            SLD Email Address, Defensive Registration, or NameWatch Registration, including any dispute resolution
            proceeding related to any of the foregoing.

                           SCHEDULE C-5 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .US TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .us domain names.

            1. Nexus Requirements/Certification. You certify that you have and shall continue to have a lawful bona fide


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            U.S. nexus, as required by the .us top-level domain ("TLD") administrator, NeuStar, Inc. (".us Registry"), and
            that you meet all of the .us nexus requirements (".us Nexus Requirements") set forth below (and as
            represented by you in the registration application information provided by you to Network Solutions). You
            must be (and you certify that you are) either:

              A. A natural person (i) who is a United States citizen, (ii) a permanent resident of the United States of
            America or any of its possessions or territories, or (iii) whose primary place of domicile is in the United
            States of America or any of its possessions [Nexus Category 1]; or

               B. An entity or organization that is (i) incorporated within one of the fifty (50) U.S. states, the District of
            Columbia, or any of the United States possessions or territories or (ii) organized or otherwise constituted
            under the laws of a state of the United States of America, the District of Columbia or any of its possessions or
            territories [Nexus Category 2]; or

              C. An entity or organization (including a federal, state, or local government of the United States, or a
            political subdivision thereof) that has a bona fide presence in the United States of America or any of its
            possessions or territories [Nexus Category 3]. If you are claiming Nexus Category 3, you certify that you
            have a "bona fide presence in the United States" on the basis of real and substantial lawful contacts with, or
            lawful activities in, the United States of America.

            2. Name Servers Certification. You certify that the name servers listed by you in connection with your
            application for domain name registration services in the .us TLD are located within the United States.

            3. Your obligation to satisfy Nexus Requirement. You acknowledge and agree that it is your responsibility,
            through the registration process (and, if applicable, as required subsequent to your application), to provide the
            information necessary to satisfy the .us Nexus Requirements, and that a failure by you to satisfy the .us
            Nexus Requirements may result in, among other things, (i) the domain name application(s) being rejected by
            Network Solutions and/or the .us Registry, (ii) the domain name(s) being placed on "hold" by Network
            Solutions and/or the .us Registry, and/or (iii) the domain name(s) being deleted by Network Solutions and/or
            the .us Registry. Neither Network Solutions nor the .us Registry (nor any other entity or person) shall be
            liable to you for any actions or inactions of any of them resulting from your failure to provide all required .us
            Nexus Requirements information at the time of registration (or, where applicable, subsequent to registration),
            and none of them shall have any obligation to request or attempt to obtain from you additional information to
            establish your compliance with the .us Nexus Requirements, even if the need for such information is known
            by any of them.

            4. Nexus Dispute Policy. You agree to be bound by the Nexus Dispute Policy ("NDP") administered by the
            .us Registry (or a third party designated by the .us Registry), which policy and its applicable forms are
            located on the .us Registry's Website at the URL: http://www.neustar.us/policies. You agree to abide by all
            decisions rendered by the .us Registry (or its third party designee) in connection with the NDP.

            5. Dispute Resolution Policy. You agree that you are bound by the United States Dispute Resolution Policy
            set forth on the .us Registry's website at the URL: http://www.neustar.us/policies.

            6. Application Submission. You acknowledge and agree that Network Solutions (as the parent company) will
            be submitting your .us domain name application(s) to the .us Registry through .US Registrar L.L.C., and that
            all applications submitted by you hereunder will be submitted by .US Registrar L.L.C. on or after the date
            upon which the .us Registry goes live.




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                           SCHEDULE C-6 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .CA TLD

            In addition to the terms set forth in Schedule A of this Service Agreement, you hereby acknowledge and
            agree to the following terms and conditions applicable to .ca domain names.

            For the purposes of this Schedule, "CIRA" is the Canadian Internet Registration Authority, you are the
            Registrant and Network Solutions Canada ULC is the Registrar. You further acknowledge and agree that the
            terms set forth in Schedule A and the General Terms and Conditions of this Service Agreement shall apply to
            Network Solutions Canada ULC. The term "Registry PRP" shall mean CIRA's Policies, Rules and
            Procedures, adopted by CIRA from time to time and set forth at CIRA's website (currently at
            http://www.cira.ca/legal/policies/registrars/). Pursuant to section (b) below, you further agree to CIRA's
            Registrant Agreement, which is found at: http://cira.ca/assets/Documents/Legal/Registrants
            /registrantagreement.pdf

            (a) Registration of the Registrant's selected Domain Name in its application to CIRA shall not be effective
            until the Registrant has entered into and agreed to be bound by CIRA's Registrant Agreement;

            (b) The presentation of CIRA's Registrant Agreement and its acceptance by the Applicant is a pre-condition
            to the granting of a Domain Name Registration. CIRA, at its sole discretion and at its sole option, shall have
            the ability to delete a Domain Name Registration at any time if it is determined that the Applicant was not
            expressly presented with, or did not agree to, the then-current version of CIRA's Registrant Agreement; and

            (c) For any conflict between CIRA's Registrant Agreement and this Service Agreement applying to the expiry
            process for a .CA domain name and/or the related grace period thereof, the CIRA Registrant Agreement shall
            control.

                           SCHEDULE C-7 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                           ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .CN TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .cn domain names.

            1. Eligibility Requirements. You represent and warrant that every registration you are seeking in the .cn
            top-level domain ("TLD") satisfies the eligibility requirements ("Eligibility Requirements") established by
            .cn TLD administrator, NeuLevel, Inc (".cn Registry"). Under the Eligibility Requirements established by .cn
            Registry, only a business or an organization is permitted to register a domain name in the .cn TLD.

            2. Your Obligation to Satisfy Eligibility Requirements. You acknowledge and agree that it is your
            responsibility to provide the information necessary to satisfy the Eligibility Requirements, and that a failure
            by you to satisfy the Eligibility Requirements may result in, among other things, (i) the domain name
            registration being rejected or revoked by Network Solutions and/or the .cn Registry, (ii) the domain name(s)
            being placed on "hold" by Network Solutions and/or the .cn Registry, and/or (iii) the domain name(s) being
            deleted by Network Solutions and/or the .cn Registry. Neither Network Solutions nor the .cn Registry (nor
            any other entity or person) shall be liable to you for any actions or inactions of any of them resulting from
            your failure to provide all required Eligibility Requirements information at the time of registration (or, where
            applicable, subsequent to registration), and none of them shall have any obligation to request or attempt to
            obtain from you additional information t o establish your compliance with the Eligibility Requirements, even



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            if the need for such information is known by any of them.

            3. Third Party Rights. By submitting your registration request, you certify that your request is made in good
            faith and does not directly or indirectly infringe any rights of a third party.

            4. Ban on and Revocation of Certain Domain Names. You agree that .cn Registry and the China Internet
            Network Information Center ("CNNIC") have identified certain domain names that can not be registered for a
            variety of reasons including, but not limited to the domain name or any website related to the domain name
            violates the principles of the Constitution of the Peoples Republic of China ("PRC"), harms the national
            honor or national interests of the PRC, jeopardizes national security or violates any PRC law, rule or
            administrative regulation. You further accept that .cn Registry and Network Solutions reserve the right to
            deny registration requests that .cn Registry, CNNIC or the PRC considers are contrary to public policy. You
            understand that .cn Registry or CNNIC, each at their own initiative, may also revoke, transfer or otherwise
            make unavailable any registration of a domain name for a variety of reasons including but not limited to
            nonpayment of fees, failure to meet Eligibility Requirements, in order to protect the integrity and stability of
            the registry, to comply with applicable laws or regulations, for violations of this Agreement or other
            agreements or to correct mistakes made by .cn Registry, CNNIC or other registrars in connection with a
            domain name registration. You acknowledge that .cn Registry or CNNIC reserves the right to freeze a domain
            name during resolution of a dispute.

            5. Acknowledgment of .cn Registry Policies and Rules. The registrant acknowledges having read and
            understood and agrees to be bound by the terms and conditions of all of the policies or rules (collectively ".cn
            Policies") that are posted or referred to on the .cn Registry's or CNNIC's websites. You agree to comply with
            any and all current and future .cn Policies at any and all times. You agree that, by maintaining any service
            related to your registration after such posting of any new or amended .cn Policies, you have agreed to the
            terms and conditions of the same and will be bound by such terms and conditions. You acknowledge that if
            you do not agree to the amended or new .cn Policies, you may terminate this Agreement. We will not refund
            any fees paid by you if you terminate your Agreement with us.

            6. Limitation on Transfer. As a part of your registration, you agree that you can only transfer a domain name
            to or from another registrar that is headquartered, or controlled by an entity, outside of the PRC.

            7. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
            Network Solutions shall have no liability of any kind for any loss or liability resulting from the processing of
            registration request(s) by .cn Registry including, without limitation, your ability or inability to obtain a
            particular domain name. Network Solutions assumes no liability for any registration request or a domain
            name's rejection, suspension, cancellation, deletion, interruption or transfer due to the procedures, rules or
            policies of .cn Registry, CNNIC, or due to practices, customs or prejudices of courts of law or dispute
            resolving arbitrators. We are not liable for any claims, damages or injuries arising out of the termination of
            services that are provided by .cn Registry for any reason, including but not limited to the termination of .cn
            Registry's registration authority, or its bankruptcy.

            8. Jurisdiction for Certain Disputes: You agree that any disputes between you and the .cn Registry (but not
            with Network Solutions) without prejudice to other potentially applicable jurisdictions, shall be subject to the
            jurisdiction of the courts of (a) registrant's domicile; (b) where the registrar is located and (c) the PRC. All
            disputes between you and Network Solutions (regardless of the involvement of other parties) are subject to
            Section 21 (Governing Law) of this Agreement.

            9. Dispute Resolution Policies. Accept as provided by Section 21 (Governing Law) of this Agreement, you


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            agree that your registration for a domain name in the .cn TLD is subject to the policies and procedures related
            to the CNNIC Domain Name Dispute Resolution Policy & Rules for CNNIC Domain Name Dispute
            Resolution Policy.

                           SCHEDULE C-8 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                           ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .TW TLD.

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .tw domain names.

            1. Eligibility Requirements. You represent and warrant that every registration you are seeking in the .tw
            top-level domain ("TLD") satisfies the eligibility requirements ("Eligibility Requirements") established by
            .tw TLD administrator, NeuLevel, Inc (".tw Registry"). Under the Eligibility Requirements established by .tw
            Registry, only a business or an organization is permitted to register a domain name in the .tw TLD.

            2. Your Obligation to Satisfy Eligibility Requirements. You acknowledge and agree that it is your
            responsibility to provide the information necessary to satisfy the Eligibility Requirements, and that a failure
            by you to satisfy the Eligibility Requirements may result in, among other things, (i) the domain name
            registration being rejected or revoked by Network Solutions and/or the .tw Registry, (ii) the domain name(s)
            being placed on "hold" by Network Solutions and/or the .tw Registry, and/or (iii) the domain name(s) being
            deleted by Network Solutions and/or the .tw Registry. Neither Network Solutions nor the .tw Registry (nor
            any other entity or person) shall be liable to you for any actions or inactions of any of them resulting from
            your failure to provide all required Eligibility Requirements information at the time of registration (or, where
            applicable, subsequent to registration), and none of them shall have any obligation to request or attempt to
            obtain from you additional information t o establish your compliance with the Eligibility Requirements, even
            if the need for such information is known by any of them.

            3. Third Party Rights. By submitting your registration request, you certify that your request is made in good
            faith and does not directly or indirectly infringe any rights of a third party.

            4. Ban on and Revocation of Certain Domain Names. You agree that .tw Registry and the Taiwan Network
            Information Center ("TWNIC") have identified certain domain names that can not be registered for a variety
            of reasons including, but not limited to the domain name or any website related to the domain name harms
            the national honor or national interests of Taiwan, jeopardizes national security or violates any Taiwanese
            law, rule or administrative regulation. You further accept that .tw Registry and Network Solutions reserve the
            right to deny registration requests that .tw Registry, TWNIC or that the Taiwanese government considers are
            contrary to public policy. You understand that .tw Registry or TWNIC, each at their own initiative, may also
            revoke, transfer or otherwise make unavailable any registration of a domain name for a variety of reasons
            including but not limited to nonpayment of fees, failure to meet Eligibility Requirements, in order to protect
            the integrity and stability of the registry, to comply with applicable laws or regulations, for violations of this
            Agreement or other agreements or to correct mistakes made by .tw Registry, TWNIC or other registrars in
            connection with a domain name registration. You acknowledge that .tw Registry or TWNIC reserves the right
            to freeze a domain name during resolution of a dispute.

            5. Acknowledgment of .tw Registry Policies and Rules. The registrant acknowledges having read and
            understood and agrees to be bound by the terms and conditions of all of the policies or rules (collectively ".tw
            Policies") that are posted or referred to on the .tw Registry's or TWNIC's websites. You agree to comply with
            any and all current and future .tw Policies at any and all times. You agree that, by maintaining any service
            related to your registration after such posting of any new or amended .tw Policies, you have agreed to the


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            terms and conditions of the same and will be bound by such terms and conditions. You acknowledge that if
            you do not agree to the amended or new .tw Policies, you may terminate this Agreement. We will not refund
            any fees paid by you if you terminate your Agreement with us.

            6. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
            Network Solutions shall have no liability of any kind for any loss or liability resulting from the processing of
            registration request(s) by .tw Registry including, without limitation, your ability or inability to obtain a
            particular domain name. Network Solutions assumes no liability for any registration request or a domain
            name's rejection, suspension, cancellation, deletion, interruption or transfer due to the procedures, rules or
            policies of .tw Registry, TWNIC, or due to practices, customs or prejudices of courts of law or dispute
            resolving arbitrators. We are not liable for any claims, damages or injuries arising out of the termination of
            services that are provided by .tw Registry for any reason, including but not limited to the termination of .tw
            Registry's registration authority, or its bankruptcy.

            7. Jurisdiction for Certain Disputes and Governing Law: You agree that any disputes between you and the .tw
            Registry (but not with Network Solutions) will be governed under the laws of Taiwan. You accept that any
            dispute arising between you and .tw Registry shall be heard and decided by the Taipei District Court of
            Taiwan. All disputes between you and Network Solutions (regardless of the involvement of other parties) are
            subject to Section 21 (Governing Law) of this Agreement.

            8. Dispute Resolution Policies. Accept as provided by Section 21 (Governing Law) of this Agreement, you
            agree that your registration for a domain name in the .tw TLD is subject to the policies and procedures related
            to the TWNIC Domain Name Dispute Resolution Policy & Rules for TWNIC Domain Name Dispute
            Resolution Policy.

                           SCHEDULE C-9 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                          ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .PRO TLD.

            In addition to the terms set forth in Schedule A, the following terms shall apply to .pro domain names.

            1. Additional Representations and Warranties. If you are applying for the registration of a domain name in the
            .pro top-level domain ("TLD"), you also represent and warrant that: (i) the registration satisfies the applicable
            .pro restriction at the time of registration; and (ii) the registration satisfies the digital security requirements
            stated in Appendix L of the Registry Agreement, available at http://www.icann.org/en/tlds/agreements
            /pro/registry-agmt-appl-30apr08.htm. Additionally, you represent and warrant that, at all times during the
            term of the domain name registration you meet the .pro registration requirements set forth by Registry
            Operator for the registration of the your registration. You are required to provide prompt notice to us if you
            fail to meet such registration requirements. We and/or Registry Operator shall have the right to immediately
            and without notice to you, suspend, cancel or modify your registration(s) if, at any time, you fail to meet the
            registration requirements for such domain name.

            2. Acknowledgment of Dispute Policies and Rules. You acknowledge and agree:

            (i) to be bound by and subject to the Qualification Challenge Policy and the Uniform Domain Name Dispute
            Resolution Policy (the "UDRP") the terms and conditions of the following documents, as they may be
            amended from time to time, which are hereby incorporated and made an integral part of this Agreement;

            (ii) not to make any representation to any person or entity that expressly or impliedly convey that your



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            registration of the domain name in any way signifies or indicates that you possess any general or specific
            professional qualifications, including, but not limited to, professional qualifications in a particular field;

            (iii) to certify, for applications during the Sunrise Period, that the registration qualifies for a Sunrise
            Registration, as set forth in Appendix J of the Registry Agreement, available at http://www.icann.org/en/tlds
            /agreements/pro/registry-agmt-appj-21may04.htm;

            (iv) that Registry Services Corporation d/b/a RegistryPro ("Registry Operator") will have no liability of any
            kind for any loss or liability resulting from the proceedings and processes relating to the Sunrise Period
            including, without limitation: (i) the ability or inability of any registrant to obtain a domain name during
            these periods, and (ii) the results of any dispute over a Sunrise Registration, as that term is defined in
            Appendix J of the Registry Agreement;

            (v) that you meet the applicable .pro registration requirements within the United States of America and you
            agree that, during the term of the registration, you will continue to meet such requirements and that you will
            promptly notify us if you no longer meet such requirements;

            (vi) that Registry Operator is a third party beneficiary of the Registration Agreement with the right to enforce
            those provisions of the Registration Agreement that affect it;

            (vii) that we will share with Registry Operator certain information submitted by you in your application(s) for
            our services, and you consent to the use, copying, distribution, publication, modification and other processing
            of your personal data by Registry Operator and its designees and agents in connection with Registry
            Operator's service obligations to us or third parties, or as otherwise deemed necessary by Registry Operator;

            (viii) that we shall be solely responsible for providing you with services with respect to (a) your application
            for a Registered Name and (b) in the event such application is accepted, for all ongoing services with respect
            to its issued domain name. You further acknowledge that Registry Operator shall have no obligation to
            provide such services to you. You agree that you have no contractual relationship whatsoever with Registry
            Operator and that you are not a third party beneficiary of any agreement between Registry Operator and us.
            You further agree that Registry Operator will have no legal, equitable or other liability of any kind to you;
            and

            (ix) that if, pursuant to the performance of the initial verification services or annual reverification services,
            we determine that you do not meet or continue to meet the applicable .pro registration requirements, we are
            entitled to retain a processing fee in connection with the performance of the initial verification services and/or
            in connection with the performance of the annual reverification services.

            (x) to indemnify, defend and hold harmless Registry Operator and its parent companies, subsidiaries,
            affiliates, divisions, shareholders, directors, officers, executives, employees, accountants, attorneys, insurers,
            agents, predecessors, successors and assigns from and against any and all losses, costs, expenses (including
            reasonable attorneys' fees), causes of action or other liabilities of any kind, whether known or unknown,
            arising out of, relating to, or otherwise in connection with the:

             a). identify confirmation of the data provided by you;

             b). confirmation of the professional license data provided by you; and

             c). annual re-verification of your continued eligibility.



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            This indemnification obligation shall survive the termination or expiration of the Agreement between us and
            Registry Operator for whatever reason.

            You acknowledge having read and understood and agree to be bound by the terms and conditions of the
            following documents, as they may be amended from time to time, which are hereby incorporated and made
            an integral part of this Agreement:

              i). The Uniform Domain Name Dispute Resolution Policy, available at http://www.icann.org/dndr/udrp
            /policy.htm;

              ii). The Qualification Challenge Policy and Rules, available at http://www.icann.org/en/udrp/ and
            http://www.icann.org/dndr/proqcp/uniform-rules.htm;

             iii). The .pro TLD restriction requirements, available at http://www.registrypro.pro/legal/index.shtml

              iv). The .pro TLD digital certification requirements, available at http://www.registrypro.pro/support
            /certificates/index.shtml;

             v). Procedures for any applicable Verification Toolkit; and

             vi). The .pro Terms of Use, available at http://registrypro.pro/legal/user-terms.shtml.

                          SCHEDULE C-10 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                         ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .MOBI TLD

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .mobi domain
            names.

            1. Adherence to Registry Operator's Policies, Procedures, Requirements and Guidelines. You acknowledge
            and agree to comply with all requirements, standards, policies, practices, procedures and guidelines
            ("Requirements") issued by mTLD Top Level Domain Ltd., the registry operator of the .mobi TLD registry
            ("Registry Operator"). The Requirements include, but are not limited to, the Registry Operator's Style Guide
            monitoring guidelines, Domain Compliance Policy, and all .dotMobi Switch On! guides, which are found on
            Registry Operator's Website (found and maintained at http://www.mtld.mobi) and are subject to modification
            by Registry Operator.

            2. Additional Indemnification Obligations. In addition to your indemnification obligations under the
            Agreement, you agree, to the maximum extent permitted by law, to indemnify, defend and hold harmless the
            Registry Operator and Affilias, Ltd. (the "Registry Services Provider"), and their respective directors,
            officers, employees and agents from and against any and all claims, damages, liabilities, costs and expenses,
            including reasonable legal fees and expenses, arising out of or relating to your .mobi domain name
            registration and or use of the .mobi domain name. This indemnification obligation survives the termination or
            expiration of the Agreement and this Schedule C-10.

            3. Submission and Use of Your Personal Data. You acknowledge and agree that Network Solutions will share
            with the Registry Operator certain information submitted by you in your application(s) for the .mobi domain
            name registration, and you consent to the use, copying, distribution, publication, modification and other
            processing of your personal data by the Registry Operator and its designees and agents in connection with the
            Registry Operator's service obligations to Network Solutions or third parties, or as otherwise deemed


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            necessary by the Registry Operator. The Registry Operator's use, copying, distribution, publication,
            modification and other processing of your personal data will be done pursuant to Registry Operator's privacy
            policy and relevant mandatory local data protection and privacy laws.

            4. Adherence to ICANN Requirements. You acknowledge and agree to comply with the ICANN
            requirements, standards, policies, procedures, and practices for which the Registry Operator has monitoring
            responsibility in accordance with the Registry Agreement between ICANN and Registry Operator (found at
            http://www.icann.org/tlds/agreements/mobi/registry-agmt-mobi-19oct05.htm) ("Registry Agreement") or
            other arrangement with ICANN (as may be found at http://www.icann.org).

            5. Adherence to Future Operational Standards. You acknowledge and agree to comply with operational
            standards, policies, procedures, and practices for the .mobi TLD which may be amended from time to time by
            the Registry Operator, applicable to all registrars and/or registrants of .mobi domain names, and consistent
            with the Registry Agreement, shall be effective upon thirty days notice by Registry Operator to Network
            Solutions.

            6. Third Party Beneficiaries of this Schedule C-10. Notwithstanding anything else to the contrary, the
            Registry Operator is and shall be an intended third party beneficiary of this Schedule C-10 to the Agreement.
            As such, you acknowledge and agree that the third party beneficiary rights of the Registry Operator have
            vested and that the Registry Operator has relied on its third party beneficiary rights under this Schedule C-10
            in agreeing to Network Solutions being a registrar for the .mobi top-level domain. Additionally, the third
            party beneficiary rights of the Registry Operator shall survive any termination or expiration of this Schedule
            C-10.

            7. Right to Deny, Cancel or Transfer Registration. In addition to Network Solutions' ability to deny,
            terminate, or suspend services, as provided in the Agreement and Schedule A, you acknowledge and agree
            that the Registry Operator, acting in consent with the Registry Operator, reserves the right to deny, cancel or
            transfer any registration that it deems necessary, in its discretion (i) to protect the integrity and stability of the
            registry; (ii) to comply with all applicable laws, government rules or requirements, requests of law
            enforcement, in compliance with any dispute resolution process; (iii) to avoid any liability, civil or criminal,
            on the part of the Registry Operator as well as its affiliates, subsidiaries, officers, directors, representatives,
            employees, and stockholders; (iv) for violations of the terms and conditions herein; (v) or to correct mistakes
            made by the Registry Operator or any registrar in connection with a domain name registration, and the
            Registry Operator also reserves the right to freeze a domain name during resolution of a dispute.

            8. Initial Launch and General Operations of .mobi TLD. You acknowledge and agree to be bound by the
            terms and conditions of the initial launch and general operations of the .mobi TLD, including without
            limitation the Limited Industry Launch, the Sunrise Period, the Land Rush Period, the Sunrise Dispute
            Resolution Policy, the Premium Name Allocation Process, and the General Registration Period, and further
            acknowledge that Network Solutions, the Registry Operator and the Registry Services Provider have no
            liability of any kind for any loss or liability resulting from the proceedings and processes relating to the
            Limited Industry Launch, the Sunrise Period, the Land Rush Period, the Sunrise Dispute Resolution Policy,
            the Premium Name Allocation Process, and the General Registration Period including, without limitation: (a)
            the ability or inability of a registrant to obtain a registered name during these periods, and (b) the results of
            any dispute made during the Limited Industry Launch or over a Sunrise Registration.

            9. Premium Names. You acknowledge that if the .mobi TLD being registered is a dotMobi Premium Name,
            as such are listed at http://mtld.mobi/content/premium-names, then use of the domain is also subject to the
            terms and conditions of the dotMobi Premium Name Agreement (formerly known as the dotMobi Auction


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            Agreement) posted at http://mtld.mobi/content/premium-names, which is incorporated by reference herein.
            You also agree that upon termination or expiration of the dotMobi Premium Name Agreement in accordance
            with the terms thereof, (i) any and all rights granted to you concerning the Registration of the .mobi TLD, the
            Registration Code, and/or to create, launch, and/or operate the Website shall be terminated, and all such rights
            shall revert to the Registry Operator and (ii) the Registry Operator may grant Registration rights to the .mobi
            TLD and/or rights to the Registration Code to any entity or person in its sole discretion, and you shall have
            no rights or recourse against mTLD and/or Registrar relating to the registration or use of the Domain Name
            and/or Registration Code by any other such entity or person.

                          SCHEDULE C-11 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                           ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .GD TLD.

            In addition to the terms set forth in Schedule A, the following terms shall apply to .gd domain names.

            1. You agree that .gd Registry may identify certain domain names that will not be registered for the following
            reasons, including but not limited to: (a) the domain name or any website related to the domain name violates
            the governing principles of Grenada, (b) jeopardizes national security or (c) violates any Grenadian law, rule
            or administrative regulation. You further accept that the .gd Registry and Network Solutions reserve the right
            to deny registration requests that the .gd Registry or the Grenadian government considers are contrary to
            public policy. You understand that the .gd Registry may also revoke, transfer or otherwise make unavailable
            any registration of a domain name in order to protect the integrity and stability of the registry, to comply with
            applicable laws or regulations, for violations of this Agreement or other applicable agreements or to correct
            mistakes made by .gd Registry in connection with a domain name registration. You acknowledge that the .gd
            Registry reserves the right to freeze a domain name during resolution of a dispute and Not to grant domain
            names to any sub-domain users except on terms identical so far as possible with these Terms and Conditions.

            2. The .gd Registry may cancel this agreement or suspend delegation of a name on fourteen (14) days written
            notice to the Registrar: a) If the name is administered in a way likely to endanger operation of the Top Level
            Domain; b) If the terms of this agreement have been broken by the domain name registrant; c) If in the
            opinion of the .gd Registry the name is being used in a manner likely to cause confusion to internet users; d)
            If it has come to the attention of the .gd Registry that legal action has been commenced regarding use of the
            name; ore) If the name is used for any illegal or immoral purpose, or for any purpose likely to bring the
            country of Grenada into disrepute.

                          SCHEDULE C-12 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                          ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .TEL TLD.

            In addition to the terms set forth in Schedule A, the following terms shall apply to .tel domain names.

            1. You acknowledge having read and understood and agree to be bound by the terms and conditions of the
            following documents, as they may be amended from time to time, which are hereby incorporated and made
            an integral part of this Agreement:

              i). The Uniform Domain Name Dispute Resolution Policy, available at http://www.icann.org/dndr/udrp
            /policy.htm;

             ii). (For registration agreements relating to Sunrise Registrations only:)The Sunrise Guide and Sunrise



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            Policy, available at http://telnic.org/policies.html

              iii). The .tel Acceptable Use Policy available at http://telnic.org/policies.html

            2. Registration requests during the Sunrise Period. When you submit a .tel registration request, you are
            authorizing us to attempt to obtain a domain name in the .tel TLD (as described on our Website and herein)
            for you if and when Telnic Limited (the ".tel Registry") launches its sunrise, land rush and open-registration
            period (the "go-live date"). On the go-live date, Network Solutions will submit all registration requests during
            the sunrise, land rush and open registration period and the .tel Registry will review all proposed registration
            requests on a first come, first served basis.

            3. Charges. By submitting your .tel sunrise registration request, you authorize us to charge you for any
            proposed registrations we undertake on your behalf that are submitted to .tel Registry. Proposed sunrise
            registration requests that are not reviewed by .tel Registry will still be charged an administrative fee that will
            not be refunded to you. Sunrise fees, registration fees and other applicable fees may also apply and be
            charged to your credit card after the sunrise period begins and when your proposed registration request is
            submitted to the .tel Registry. Successful .tel domain name registration requests will be subject to the terms of
            the Agreement, including this Schedule.

            4. Ban on and Revocation of Certain Domain Names. You agree that the .tel Registry has identified certain
            domain names that can not be registered during the sunrise and land rush registration periods. You understand
            that the .tel Registry may also revoke a domain name at its own initiative for a variety of reasons including
            but not limited to violations of any policy or agreement cited above.

            5. Right to Deny, Cancel or Transfer Registration. In addition to Network Solutions' ability to deny,
            terminate, or suspend services, as provided in the Agreement and Schedule A, you acknowledge and agree
            that the .tel Registry, reserves the right to deny, cancel or transfer any registration that it deems necessary, in
            its discretion (i) to protect the integrity and stability of the registry; (ii) to comply with all applicable laws,
            government rules or requirements, requests of law enforcement, in compliance with any dispute resolution
            process; (iii) to avoid any liability, civil or criminal, on the part of the .tel Registry as well as its affiliates,
            subsidiaries, officers, directors, representatives, employees, and stockholders; (iv) for violations of the terms
            and conditions herein; (v) or to correct mistakes made by the .tel Registry or any registrar in connection with
            a domain name registration, and the .tel Registry also reserves the right to freeze a domain name during
            resolution of a dispute.

            6. Indemnity. In addition to Section 9 of this Agreement on Indemnity, your agree to indemnify, defend, and
            hold harmless the .tel Registry, its service providers, subcontractors, and their respective directors, officers,
            employees, affiliates and agents from and against any and all claims, damages, liabilities, costs, and
            expenses, including reasonable attorneys fees and expenses, arising out of or relating to the registered .tel
            domain name.

            7. Representations and Warranties. By submitting a request for a .tel domain name, you represent and warrant
            that: (i) to your knowledge, the registration of the requested .tel domain name does not and will not infringe
            upon or otherwise violate the rights of any third party; (ii) you are not submitting the request for a domain
            name for an unlawful purpose and you will not use the domain name for any unlawful purpose; (iii) you are
            not knowingly using the domain name in violation of any applicable laws, regulations or rights of third
            parties; and (iv) that you will use the .tel domain name in accordance with all TLD requirements and policies.

            8. Jurisdiction for Certain Disputes and Governing Law. You agree that any disputes between you and the .tel


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            Registry (but not with Network Solutions) shall be subject to the laws of England and Wales and the
            exclusive jurisdiction of the courts in England and Wales. All disputes between you and Network Solutions
            (regardless of the involvement of other parties) are subject to Section 21 (Governing Law) of this Agreement.

                           SCHEDULE C-13 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .CO TLD.

            1. You acknowledge having read and understood and agree to be bound by the terms and conditions of the
            following documents, as they may be amended from time to time, which are hereby incorporated and made
            an integral part of this Agreement

              i) The Uniform Domain Name Dispute Resolution Policy, available at http://www.icann.org/dndr/udrp
            /policy.htm;

              ii) (For registration agreements relating to Sunrise Registrations only:) The Sunrise and Land rush Launch
            and Registration Rules, available at http://www.cointernet.co/domain/policies-procedures

            2. Registration requests during the Sunrise and Land rush Periods. When you submit a .co registration
            request, you are authorizing us to attempt to obtain a domain name in the .co TLD (as described on our
            website and herein) for you if and when .CO Internet S.A.S. (the ".co Registry") launches its sunrise, land
            rush and open-registration period. Network Solutions will submit all registration requests during the sunrise,
            land rush periods and the .co Registry will review all proposed registration requests.

            3. Charges. By submitting your .co sunrise registration request, you authorize us to charge you for any
            proposed registrations we undertake on your behalf that are submitted to .co Registry. Proposed sunrise and
            land rush registration requests that are rejected by .co Registry will still be charged an administrative fee that
            will not be refunded to you. Sunrise and land rush fees, registration fees and other applicable fees may also
            apply and you will be charged when your proposed registration request is submitted to the .co Registry.
            Successful .co domain name registration requests will be subject to the terms of this Agreement, including
            this Schedule.

            4. Ban on and Revocation of Certain Domain Names. You agree that the .co Registry has identified certain
            domain names that can not be registered during the sunrise and land rush registration periods. You understand
            that the .co Registry may also revoke a domain name at its own initiative for a variety of reasons including,
            but not limited to, violations of any policy or agreement cited above.

            5. Right to Deny, Cancel or Transfer Registration. In addition to Network Solutions' ability to deny,
            terminate, or suspend services, as provided in the Agreement and Schedule A, you acknowledge and agree
            that the .co Registry, reserves the right to deny, cancel or transfer any registration that it deems necessary, in
            its discretion (i) to protect the integrity and stability of the registry; (ii) to comply with all applicable laws,
            government rules or requirements, requests of law enforcement, in compliance with any dispute resolution
            process; (iii) to avoid any liability, civil or criminal, on the part of the .co Registry as well as its affiliates,
            subsidiaries, officers, directors, representatives, employees, and stockholders; (iv) for violations of the terms
            and conditions herein; (v) or to correct mistakes made by the .co Registry or any registrar in connection with
            a domain name registration, and the .co Registry also reserves the right to freeze a domain name during
            resolution of a dispute.

            6. Indemnity. In addition to Section 9 of the General Provisions of this Agreement on Indemnity, you agree to



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            indemnify, defend, and hold harmless the .co Registry, its service providers, subcontractors, and their
            respective directors, officers, employees, affiliates and agents from and against any and all claims, damages,
            liabilities, costs, and expenses, including reasonable attorneys fees and expenses, arising out of or relating to
            the registered .co domain name.

            7. Representations and Warranties. By submitting a request for a .co domain name, you represent and warrant
            that: (i) to your knowledge, the registration of your requested .co domain name does not and will not infringe
            upon or otherwise violate the rights of any third party; (ii) you are not submitting the request for a domain
            name for an unlawful purpose and you will not use the domain name for any unlawful purpose; (iii) you are
            not knowingly using the domain name in violation of any applicable laws, regulations or rights of third
            parties; and (iv) that you will use the .co domain name in accordance with all ICANN requirements and
            policies.

            8. Jurisdiction for Certain Disputes and Governing Law. You agree that any disputes between you and the .co
            Registry (but not with Network Solutions) shall be subject to the laws of Columbia and the exclusive
            jurisdiction of the courts in Colombia. All disputes between you and Network Solutions (regardless of the
            involvement of other parties) are subject to Section 21 (Governing Law) in the General Provisions of this
            Agreement.

                          SCHEDULE C-14 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                          ADDITIONAL TERMS APPLICABLE TO SERVICES IN THE .XXX sTLD

            1. Eligibility Requirements. Registrants must be eighteen (18) years of age or older to participate in any of
            the pre-registration or registration phases for .XXX domains. You represent and warrant that every
            registration you are applying for in the .XXX sponsored top-level domain ("sTLD") satisfies either the
            Non-Member Eligibility Requirements or Membership Requirements established by the ICM Registry, each
            of which is more fully described on the ICM Registry website located at the following URL:
            www.icmregistry.com. You acknowledge and agree that it is your responsibility, through the registration
            process for a .XXX domain name (and, if applicable, as required subsequent to your application), to provide
            the information necessary to satisfy ICM's Membership Requirements for members in the Adult
            Entertainment Sponsored Community or Non-Member Eligibility Requirements for being a legitimate
            trademark holder, and that a failure by you to satisfy these requirements (whichever is applicable) may result
            in, among other things, (i) the domain name registration or pre-registration application(s) being rejected by
            Network Solutions and/or the ICM Registry, (ii) the domain name(s) being placed on "hold" by Network
            Solutions and/or the ICM Registry, and/or (iii) the domain name(s) being deleted by Network Solutions
            and/or the ICM Registry. Neither Network Solutions nor the ICM Registry shall be liable to you for any
            actions or inactions or any of them resulting from your failure to provide all required information to satisfy
            the Non-Member Eligibility Requirements or Membership Requirements at the time of registration or
            pre-registration (or, where applicable, subsequent to registration), and neither shall have any obligation to
            request or attempt to obtain from you additional information to establish your compliance with the ICM
            Non-Member Eligibility Requirements or Membership Requirements, even if the need for such information is
            known by them.

            2. Pre-Registration. When you submit a .XXX pre-registration request, you are authorizing us to attempt to
            obtain a domain name in the .XXX sTLD (as described on our Website) for you if and when ICM Registry
            launches its Sunrise, Landrush and General Availability period. When each phase opens, Network Solutions
            will submit all pre-registration requests during the Sunrise, Landrush and General Availability periods and
            the ICM Registry will review all proposed registration requests. Please note that .XXX domain names will


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            not be allocated on a first come, first serve basis during the Sunrise "AT" and "AD" periods further described
            in Paragraph 3 below. In addition, you agree to be bound by all policies, terms, and conditions of the initial
            launch of the .XXX sTLD found at http://www.icmregistry.com/icm-policies.php, and further to acknowledge
            that neither ICM nor Network Solutions has any liability of any kind for any loss or liability resulting from
            the proceedings and processes relating to the Sunrise period or the Landrush period, including, without
            limitation: (a) the ability or inability of a registrant to register a .XXX domain name during these periods, and
            (b) the results of any dispute over a Sunrise registration.

            3. Sunrise and Landrush Applications. Sunrise is created to protect trademark holders, pre-existing exact
            match domain holders, and to avoid abusive registrations. During the Sunrise period, the registry system will
            accept three different types of Sunrise applications. Sunrise AT and Sunrise AD are reserved for members of
            the sponsored TLD community, including providers of online adult entertainment, their service providers, and
            organizations that represent them, who, in each case, agree to comply with policies and practices developed
            for the .XXX sTLD (the "Adult Entertainment Sponsored Community"). Please see www.icmregistry.com for
            the full Sunrise rules, Membership criteria, and the contact validation process. You acknowledge that ICM
            Registry, or its designee, shall decide at its own discretion whether any documentation or information you
            submit verifies your right to register a domain name(s) either as Member or Non-Member of the Adult
            Entertainment Sponsored Community.

                  Sunrise AT: Sunrise AT stands for "Adult Trademark". Sunrise AT applications must possess a
                  registered trademark that meets certain criteria, and must attest to their membership in the Adult
                  Entertainment Sponsored Community. Sunrise AT registrations will not be awarded until the
                  prospective registrant has, within five (5) days after the close of the Sunrise period: (i) completed a
                  membership application on the ICM website and his or her contact information has been confirmed;
                  and (ii) completed and duly executed any supporting documentation that may be required for the
                  Sunrise AT phase. Domain names awarded during Sunrise AT will not be operable (resolve in the
                  DNS) and available for your use until on or about December 6, 2011, the "create-date" chosen by ICM
                  Registry.

                  Sunrise AD: Sunrise AD stands for "Adult Domain." Sunrise AD applications must correspond to an
                  existing domain name that the registrant has in another TLD, and must attest to their membership in the
                  Adult Entertainment Sponsored Community. Sunrise AD registrations will not be awarded until the
                  prospective registrant has, within five (5) days after the close of the Sunrise period: (i) completed a
                  membership application on the ICM website and his or her contact information has been confirmed;
                  and (ii) completed the pre-existing exact-match domain validation process. Domain names awarded
                  during Sunrise AD will not be operable (resolve in the DNS) and available for your use until on or
                  about December 6, 2011, the "create-date" chosen by ICM Registry.

                  Sunrise B: Informally, Sunrise B stands for "blocked." Sunrise B is for qualified trademark owners
                  from outside the Adult Entertainment Sponsored Community. Sunrise B gives these rights owners the
                  opportunity to add a .XXX domain name to the reserve names list and ensure that they are not
                  registered by others. Within five (5) days after the close of the Sunrise period, the prospective Sunrise
                  B registrant must complete and duly execute any supporting documentation that may be required by
                  Network Solutions or the ICM Registry for the Sunrise B phase.

                  Landrush: The registration period for members of the Adult Entertainment Sponsored Community.
                  Unlike Sunrise AD, AT, and Sunrise B, there are no qualification requirements needed for Landrush.
                  Applications for competing names will go to auction at the end of the Landrush period. Landrush
                  registrations will not be awarded unless and until, within five (5) days after the close of the Landrush


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                  phase, the prospective registrant has completed a Membership application on the ICM website and his
                  or her contact information has been confirmed. Domain names awarded during Landrush will not be
                  operable (resolve in the DNS) and available for your use until on or about December 6, 2011, the
                  "create-date" chosen by ICM Registry.

            During Sunrise, the registry system will accept an unlimited number of applications for a string, and an
            unlimited number of applications for a string of a given application type. In the event ICM receives more
            than one qualified Sunrise AT and/or Sunrise AD application for the same names, the names will be awarded
            via auction. Details on how auctions will be conducted for Sunrise AT and Sunrise AD can be found at
            www.icmregistry.com. Please note that, pursuant to ICM Registry rules, domain names will not be awarded
            on a first-come first-served basis during the Sunrise period though such an award may be possible under
            certain auction rules. After Sunrise and before Landrush, there will be a Quiet Period during which ICM
            Registry will review Sunrise applications. Following award of a Sunrise AT, Sunrise AD, Landrush, or
            General availability domain name, the name will be on "transfer lock" for 60 days. Successful Sunrise B
            applications will not receive a traditional registration under the control of the registrar that submitted the
            application. Rather, successful Sunrise B applications will result in the domain being blocked from future
            registration for a period of 10 years from the "create date" chosen by the ICM Registry, and pointed to an
            ICM Registry controlled, blocked webpage.

            4. Creation of Separate Accounts for .XXX Domain Names. If you intend to register a .XXX domain name as
            a Member of the Adult Entertainment Sponsored Community through Sunrise AT, AD, or Land rush but also
            intend to register another .XXX domain name as a Non-Member through Sunrise B, you may not use the
            same registrant domain name account at Network Solutions to hold both Member and Non-Member .XXX
            domain names. You must create a separate registrant account to hold each type of .XXX domain name.

            5. Validation Process. You agree that we shall have no liability to you or other third parties for anything
            related to the ICM Registry's validation process for a proposed registration request that we have submitted
            and is pending final ICM Registry approval. You acknowledge and agree that it is your responsibility to
            ensure that you meet all of the requirements ICM Registry's validation process for your proposed registration
            request for a domain name(s). You agree that we are not responsible or liable in any way if your proposed
            registration request is rejected for any reason, including but not limited to the ICM Registry's failure or
            inability to contact you or your failure to respond to ICM Registry's request for supporting documentation,
            during the validation process.

            6. Charges. By submitting your .XXX pre-registration or registration request, you authorize us to charge you
            for any proposed application and registration fees we undertake on your behalf that are submitted to ICM
            Registry. Proposed Sunrise and Landrush registration requests that are rejected by ICM Registry will be
            charged an administrative application fee that will not be refunded to you. We will, however, refund to you
            the registration fee charged during pre-registration for Sunrise and Landrush if you are not awarded a .XXX
            domain name and the registration fee charged during the pre-registration for General Availability if you are
            not successful with securing the domain name. Sunrise and Landrush application fees, registration fees and
            other applicable fees may also apply and be charged to your credit card after the Sunrise period begins if your
            proposed registration is accepted and processed by ICM Registry. Successful ICM registration requests are
            subject to the terms of the Agreement, including but not limited to this Schedule.

            7. Ban on and Revocation of Certain Domain Names. You agree that ICM Registry has identified certain
            domain names that can not be registered during the Sunrise, Landrush, and General Availability process. You
            further accept that ICM Registry and Network Solutions reserves the right to deny pre-registration or
            registration requests that ICM Registry considers to be defamatory, racist, or contrary to public policy. You


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            understand that ICM Registry may also revoke a domain name at its own initiative for a variety of reasons
            including but not limited to nonpayment of fees or failure to meet ICM Membership or Non-Member
            Eligibility Requirements. All Sunrise and Landrush application submissions to the ICM Registry are
            considered final and we will not refund any application fees paid by you.

            8. Registrant Information and Use of Personal Data. You agree to keep all registration and contact
            information related to your registration or pre-registration requests for a domain name(s) ("Personal Data")
            current so that we can contact you for any reason or so the ICM Registry can contact you for any reason,
            including, but not limited to, any participation in a validation process for a domain name(s) during the
            Sunrise, Landrush, or General Availability period. We take no responsibility in providing the ICM Registry
            with any Personal Data other than what you provide in your pre-registration or registration request. The
            Personal Data you provide will be submitted to the ICM Registry and used in accordance with the published
            ICM Privacy Policy.

            9. No Guarantees. Network Solutions makes no guarantees, representations or warranties that your proposed
            registration request for a .XXX domain name will be accepted by ICM Registry. You acknowledge and agree
            that the proposed registration request for a domain name(s) submitted by Network Solutions to ICM Registry
            domain name may fail or be rejected by ICM Registry. You acknowledge and agree that the successful
            registration will depend upon a number of different factors that Network Solutions cannot predict or control.
            You acknowledge and agree that submission of a proposed registration request for a domain name(s) or any
            other services (regardless of when submitted) does not guarantee that you will ultimately be the registrant for
            any particular domain name. You acknowledge and agree that we shall not be liable to you or any other party
            in connection with claims, damages, losses, expenses or costs incurred or suffered by you as a result of
            actions taken or not taken by third parties, including, but not limited to, the ICM Registry (for example, the
            ICM Registry reserves the right to suspend, reject, deny or revoke any domain name registration for a variety
            of reasons, none of which Network Solutions can control).

            10. Acknowledgment and Agreement of ICM Registry Policies, Terms, Rules. You acknowledge having read
            and understood and agree to be bound by the terms and conditions of all of the policies, terms or rules
            (collectively the "ICM Policies") that are posted or referred to on the ICM Registry website, including the
            agreement to all terms in the Registry-Registrant Agreement. You also agree to comply with any and all
            current ICM Polices posted at the time of pre-registration and registration, but also future ICM Policies, such
            as the Charter Eligibility Dispute Resolutions Policy ("CEDRP") and the Rapid Evaluation Service Policy
            ("RES") which shall be posted by the ICM Registry at a later date, and any other policies, at any and all
            times. You agree that, by maintaining any service related to your pre-registration or registration request
            (which may include the ultimate registration of a domain name) after such posting of any new or amended
            ICM Policies, you have agreed to the terms and conditions of the same and will be bound by such terms and
            conditions. You acknowledge that if you do not agree to the amended or new ICM Policies, you may
            terminate this Agreement. We will not refund any fees paid by you if you terminate your Agreement with us.

            11. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
            Network Solutions shall have no liability of any kind for any loss or liability resulting from the processing of
            pre-registration or registration requests prior to the live .XXX launch or the submission of proposed
            registration requests to the ICM Registry including, without limitation, your ability or inability to obtain a
            particular domain name including any dispute resolution proceeding related to any of the foregoing. Network
            Solutions assumes no liability for any pre-registration or registration request or a domain name's rejection,
            suspension, cancellation, deletion, interruption or transfer due to procedures, rules or policies laid down by
            ICM Registry or auction provider or due to practices, customs or prejudices of courts of law or dispute



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            resolving arbitrators. We are not liable for any claims, damages or injuries arising out of the termination of
            services that are provided by ICM Registry for any reason, including but not limited to the termination of
            ICM Registry's registration authority, or its bankruptcy.

            12. Indemnification. In addition to Section 9 of the General Conditions of this Agreement on Indemnity, you
            also agree to indemnify, release, defend and hold us harmless for all liabilities, claims, damages, costs and
            expenses arising out of: (a) your breach of any terms of this Schedule and/or the Agreement; (b) any violation
            of a third party's right related to your pre-registration or registration request; (c) any dispute with the ICM
            Registry or a third party arising out of your pre-registration or registration request; (d) any dispute related to
            the validation process for your pre-registration or registration request; or (e) any dispute related to the auction
            process for your pre-registration or registration request.

            13. Notification Requirement. You agree to immediately notify Network Solutions and ICM Registry of any
            registered .XXX domain name owned or controlled by you where the website content in connection with
            such domain name is the subject of any legal "take-down" notice issued by law enforcement or government
            agency because of alleged illegal or illicit activity on such website.

            14. Survival of Terms. You agree that the Limitation of Liability and Indemnity provisions set forth in the
            General Provisions and in this Schedule shall survive any termination of the Agreement.

            15. Governing Law. You agree that any disputes between you and the ICM Registry shall be governed in all
            respects by and in accordance with the laws of the State of Florida. All disputes between you and the ICM
            Registry are to be brought before the tribunal of ICM Registry's choice. All disputes between you and
            Network Solutions are subject to Section 21 (Governing Law) of this Agreement.

            16. Supplemental Terms and Conditions. The terms and conditions of this Schedule C-14 are in addition to
            the terms and conditions of the General Conditions, Schedule A, and other schedules to this Service
            Agreement related to domain name registration services.

                          SCHEDULE C-15 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .XYZ TLD

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .XYZ domain
            names:

            1. .XYZ registrants will comply with all applicable laws, including those that relate to privacy, data
            collection, consumer protection (including in relation to misleading and deceptive conduct) and applicable
            consumer laws in respect of fair lending, debt collection, organic farming (if applicable), disclosure of data
            and financial regulations.

            2. .XYZ registrants will not distribute malware, abusively operating botnets, phishing, piracy, trademark or
            copyright infringement, fraudulent or deceptive practices, counterfeiting or otherwise engaging in activity
            contrary to applicable law, and providing (consistent with applicable law and any related procedures)
            consequences for such activities including suspension and/or the deletion of the domain name.

            3. If a .XYZ registrant is collecting and maintaining sensitive health and financial data, they must comply
            with applicable laws on the provision of such services and including security measures applicable to that
            sector.



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            4. Each .XYZ registrant shall indemnify, defend and hold harmless the .XYZ Registry, CentralNic (its
            back-end registry services provider) and their subcontractors, and the directors, officers, employees, affiliates
            and agents of each of them, from and against any and all claims, damages, liabilities, costs and expenses,
            including reasonable legal fees and expenses, arising out of or relating to the registrant's domain name
            registration, whereby this indemnification obligation survive the termination or expiration of the Agreement.

            5. .XYZ registrants shall further comply with each of the following requirements:

            a. ICANN standards, policies, procedures, and practices for which the .XYZ Registry has monitoring
            responsibility in accordance with its Registry Agreement or other arrangement with ICANN; and

            b. operational standards, policies, procedures, and practices for the .XYZ Registry established from time to
            time by the .XYZ Registry in a non-arbitrary manner and applicable to all registrars, including affiliates of
            the .XYZ Registry, and consistent with ICANN's standards, policies, procedures, and practices and .XYZ
            Registry’s Registry Agreement with ICANN.

            6. When applicable, .XYZ registrants agree to be bound by the terms and conditions of the initial launch of
            .XYZ, including without limitation the sunrise period and the land rush period, the procedure and process for
            compliance with the ICANN Trademark Clearing house and any Sunrise Dispute Resolution Policy, and
            further to acknowledge that the .XYZ Registry has no liability of any kind for any loss or liability resulting
            from the proceedings and processes relating to the sunrise period or the land rush period, including, without
            limitation: (a) the ability or inability of a registrant to obtain a certain domain name during these periods, and
            (b) the results of any dispute over a sunrise registration.

            7. .XYZ registrants further acknowledge and agree that the XYZ Registry reserves the right to deny, cancel or
            transfer any registration or transaction, or place any domain name on registry lock, hold or similar status, that
            it deems necessary, in its discretion; (a) to protect the integrity and stability of the registry; (b) to comply with
            any applicable laws, government rules or requirements, requests of law enforcement, or any dispute
            resolution process; (b) to avoid any liability, civil or criminal, on the part of the .XYZ Registry, as well as its
            affiliates, subsidiaries, officers, directors, and employees and those of CentralNic; (d) per the terms of the
            Registration Agreement; or (e) to correct mistakes made by the .XYZ Registry or Network Solutions in
            connection with a domain name registration. The .XYZ Registry also reserves the right to place upon registry
            lock, hold or similar status a domain name during resolution of a dispute.

            8. .XYZ registrants shall provide accurate and reliable contact details and promptly correct and update them
            during the term of their registration, including: the full name, postal address, email address, voice telephone
            number, and fax number if available of the registrant; name of authorized person for contact purposes in the
            case of a Registrant that is an organization, association, or corporation, and consent to the use, copying,
            distribution, publication, modification and other processing of this data by the .XYZ Registry and its
            designees and agents for the purposes of providing .XYZ Registry services or as otherwise required by
            ICANN, whereby a Registrant's provision of inaccurate or unreliable information, or its failure promptly to
            update information provided to Registrar, shall constitute a material breach of the Registrant's Registration
            Agreement with Registrar and be a basis for cancellation of the Registered Name registration.

            9. .XYZ registrants further agree to submit to proceedings commenced under ICANN's Uniform Domain
            Name Dispute Resolution Policy ("UDRP"), and submit to proceedings commenced under ICANN's Uniform
            Rapid Suspension System ("URS"), under ICANN's related rules.

                           SCHEDULE C-16 TO NETWORK SOLUTIONS SERVICE AGREEMENT


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              ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH UNITED TLDS

            In addition to the terms set forth in Schedule A above, these Registration Terms and Conditions ("the
            Registration Terms") supplement, and are incorporated into, the Agreement related to the registration and/or
            reservation of a name in a United TLD Top Level Domain (a "Registry TLD"). As between you and United
            TLD Holdco Ltd., ("UTLDH" or the "Registry," and also trading as "Rightside Registry" or "Rightside"), in
            the event of any conflict between this Agreement Schedule and the terms of the Agreement (the "Registrar-
            Registrant Agreement"), these Registration Terms shall prevail.

            The Registry TLDs include, but may not be limited to, those identified online at http://rightside.co/registry/.

            1. By applying to register or reserve a domain name in a Registry TLD, you represent and warrant that
            neither your registration nor your use of the name will infringe the intellectual property or other rights of any
            third party or violate the Registry's Acceptable Use (Anti-Abuse) Policy.

            2. You acknowledge and agree to abide by all Registry Policies set forth on the Registry's website at
            http://rightside.co/registry/legal/terms-conditions/ (the "Registry Website"). You specifically acknowledge
            and agree that the Registry Policies may be modified by the Registry, and agree to comply with any such
            changes in the time period specified for compliance.

            3. You agree to comply with all applicable ICANN requirements and policies found at www.icann.org/en
            /general/consensus-policies.htm.

            4. You agree to comply with all applicable laws, including those that relate to privacy, data collection,
            consumer protection, fair lending, debt collection, organic farming, disclosure of date and financial
            disclosures.

            5. You agree that should you use a Registry TLD to collect and or maintain sensitive health and financial
            date, you implement reasonable appropriate security measures commensurate with the offering of those
            services as defined by applicable law.

            6. You represent and warrant that you have provided to your current, complete, and accurate information in
            connection with your application for a registration, and that you will correct and update this information to
            ensure that it remains current, complete, and accurate throughout the term of any resulting registration or
            reservation. Your obligation to provide current, accurate, and complete information is a material element of
            these terms, and the Registry reserves the right to deny, cancel, terminate, suspend, lock, or transfer any
            registration or reservation if it determines, in its sole discretion, that the information is materially inaccurate.

            7. You consent to the collection, use, processing, and/or disclosure of personal information in the United
            States and in accordance with the Registry's Privacy Policy, and incorporated by reference here. If you are
            submitting information from a country other than the country in which the Registry servers are located, your
            communications with the Registry may result in the transfer of information (including your membership
            account information) across international boundaries; you consent to such transfer.

            8. Should you choose to register one or more of these new generic top-level domain names, you must comply
            with the registration requirements as described below:

            Regulated TLDs: .ENGINEER, .MARKET, MORTGAGE, .DEGREE, .SOFTWARE, .VET, .GIVES, and
            .REHAB


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            Highly-regulated TLDs: .DENTIST, .ATTORNEY, and .LAWYER

            Military TLDs: .ARMY, .NAVY, and .AIRFORCE.

            a. Safeguards for Regulated TLDs. Registrants must comply with all applicable laws, including those that
            relate to privacy, data collection, consumer protection (including in relation to misleading and deceptive
            conduct), fair lending, debt collection, organic farming, disclosure of data, and financial disclosures.
            Additionally, if a Registrant collects and maintains sensitive health and financial data, Registrants must
            implement reasonable and appropriate security measures commensurate with the offering of those services, as
            defined by applicable law.

            b. Safeguards for Highly-Regulated TLDs. Registrants must provide to their administrative contact
            information, which must be kept up-to-date, for the notification of complaints or reports of registration abuse,
            as well as the contact details of the relevant regulatory, or industry self-regulatory, bodies in their main place
            of business. Additionally, Registrants must possesses any necessary authorizations, charters, licenses and/or
            other related credentials for participation in the sector associated with such Highly-regulated TLD and report
            any material changes to the Registrant's authorizations, charters, licenses and/or other related credentials for
            participation in the sector associated with the Highly-regulated TLD.

            c. Safeguards for Military TLDs. Registrant must take steps to ensure against misrepresenting or falsely
            implying that the Registrant or its business is affiliated with, sponsored or endorsed by one or more country's
            or government's military forces if such affiliation, sponsorship or endorsement does not exist.

            9. [RESERVED]

            10. You agree to submit to proceedings commenced under ICANN's Uniform Domain Name Dispute
            Resolution Policy ("UDRP"), and the Uniform Rapid Suspension System ("URS"), each as described on the
            ICANN Website. You further agree to abide by the final outcome of any of those processes, subject to any
            appeal rights provided in those processes or the law, and you hereby release the Registry, its affiliates and
            service providers from any and all directly or indirect liability associated with such dispute resolution
            processes.

            11. You acknowledge and agree that the Registry reserves the right, in its sole discretion, to disqualify you or
            your agents from making or maintaining any registrations or reservations in the Registry TLD if you are
            found to have repeatedly engaged in abusive registrations.

            12. You acknowledge and agree that the Registry reserves the right to deny, cancel, terminate, suspend, lock,
            or transfer any registration that it deems necessary, in its discretion, in furtherance of the following:

            a. to enforce all Registry Policies, these Registration Terms, and ICANN requirements, as amended from time
            to time;

            b. to protect the integrity and stability of the Registry, its operations, and the Registry TLDs;

            c. to comply with any applicable law, regulation, holding, order, or decision issued by a court, administrative
            authority, or dispute resolution service provider with jurisdiction over the Registry or you;

            d. to establish, assert, or defend the legal rights of the Registry or a third party, or to avoid any liability, civil
            or criminal, on the part of the Registry as well as its affiliates, subsidiaries, officers, directors, representatives,
            employees, contractors, and stockholders;


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            e. to correct mistakes made by the Registry or any Registrar in connection with a registration or reservation;

            f. as otherwise provided herein.

            13. The Registration Terms, its interpretation, and all disputes between the parties arising in any manner
            hereunder, shall be governed by and construed in accordance with the internal laws of the State of
            Washington, without giving effect to any choice or conflict of law provision or rule (whether of the State of
            Washington or any other jurisdiction). You agree and submit to the exercise of personal jurisdiction of courts
            in the State of Washington for the purpose of litigating any such claim or action.

            14. BY AGREEING TO THESE REGISTRATION TERMS AND CONDITIONS, YOU ARE: (1)
            WAIVING CLAIMS THAT YOU MIGHT OTHERWISE HAVE AGAINST THE REGISTRY, ITS
            EMPLOYEES, AFFILIATES AND SUBSIDIARIES, AND SERVICE PROVIDERS, BASED ON THE
            LAWS OF OTHER JURISDICTIONS, INCLUDING YOUR OWN; (2) IRREVOCABLY CONSENTING
            TO THE EXCLUSIVE JURISDICTION OF, AND VENUE IN, STATE OR FEDERAL COURTS IN THE
            STATE OF WASHINGTON OVER ANY DISPUTES OR CLAIMS YOU HAVE WITH THE REGISTRY,
            ITS AFFILIATES AND SERVICE PROVIDERS; AND (3) SUBMITTING YOURSELF TO THE
            PERSONAL JURISDICTION OF COURTS LOCATED IN THE STATE OF STATE OF WASHINGTON
            FOR THE PURPOSE OF RESOLVING ANY SUCH DISPUTES OR CLAIMS.

            15. You acknowledge and agree that the Registry is and shall be an intended third party beneficiary of the
            obligations you undertake under your registration agreement with the Registrar and these Registration Terms.
            You acknowledge and agree that the Registry's third party beneficiary rights have vested, and shall survive
            any termination or expiration of your registration or reservation.

            16. You acknowledge and agree that domain names in the Registry TLD are provided "as is", "with all faults"
            and "as available." The Registry, its affiliates and service providers, make no express warranties or
            guarantees about such domain names.

            17. TO THE GREATEST EXTENT PERMITTED BY LAW, THE REGISTRY, ITS AFFILIATES AND
            SERVICE PROVIDERS, DISCLAIM IMPLIED WARRANTIES THAT THE REGISTRY AND ALL
            SOFTWARE, CONTENT AND SERVICES DISTRIBUTED THROUGH THE REGISTRY, ITS
            AFFILIATES AND SERVICE PROVIDERS ARE MERCHANTABLE, OF SATISFACTORY QUALITY,
            ACCURATE, TIMELY, FIT FOR A PARTICULAR PURPOSE OR NEED, OR NON-INFRINGING. THE
            REGISTRY, ITS AFFILIATES AND SERVICE PROVIDERS DO NOT GUARANTEE THAT ANY
            REGISTRY TLDS, OR REGISTRY OPERATIONS WILL MEET YOUR REQUIREMENTS, WILL BE
            ERROR-FREE, RELIABLE, WITHOUT INTERRUPTION OR AVAILABLE AT ALL TIMES. WE DO
            NOT GUARANTEE THAT THE RESULTS THAT MAY BE OBTAINED FROM THE USE OF THE
            UNITED TLD, INCLUDING ANY SUPPORT SERVICES, WILL BE EFFECTIVE, RELIABLE,
            ACCURATE OR MEET YOUR REQUIREMENTS. WE DO NOT GUARANTEE THAT YOU OR THIRD
            PARTIES WILL BE ABLE TO ACCESS OR USE A DOMAIN NAME IN UNITED TLDS (EITHER
            DIRECTLY OR THROUGH THIRD-PARTY NETWORKS) AT TIMES OR LOCATIONS OF YOUR
            CHOOSING. NO ORAL OR WRITTEN INFORMATION OR ADVICE GIVEN BY A REPRESENTATIVE
            OF THE REGISTRY, ITS AFFILIATES AND SERVICE PROVIDERS SHALL CREATE A WARRANTY
            REGARDING OPERATIONS OF THE REGISTRY OR A DOMAIN NAME IN A REGISTRY TLD.

            18. THE REGISTRY, ITS AFFILIATES AND SERVICE PROVIDERS SHALL NOT BE LIABLE FOR
            ANY INDIRECT, SPECIAL, INCIDENTAL, CONSEQUENTIAL OR EXEMPLARY DAMAGES
            ARISING FROM YOUR USE OF, INABILITY TO USE, OR RELIANCE UPON A DOMAIN NAME IN A


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            UNITED TLD. THESE EXCLUSIONS APPLY TO ANY CLAIMS FOR LOST PROFITS, LOST DATA,
            LOSS OF GOODWILL, WORK STOPPAGE, COMPUTER FAILURE OR MALFUNCTION, OR ANY
            OTHER COMMERCIAL DAMAGES OR LOSSES, EVEN IF THE REGISTRY, ITS AFFILIATES AND
            SERVICES PROVIDERS KNEW OR SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH
            DAMAGES. BECAUSE SOME STATES OR JURISDICTIONS DO NOT ALLOW THE EXCLUSION OR
            THE LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR INCIDENTAL DAMAGES, IN SUCH
            STATES OR JURISDICTIONS, THE REGISTRY'S LIABILITY, AND THE LIABILITY OF THE
            REGISTRY'S AFFILIATES AND SERVICE PROVIDERS, SHALL BE LIMITED TO THE AMOUNT
            YOU PAID TO REGISTER A UNITED TLD. YOU FURTHER AGREE THAT IN NO EVENT SHALL
            THE REGISTRY'S, ITS AFFILIATES AND SERVICE PROVIDERS, TOTAL AGGREGATE LIABILITY
            EXCEED THE TOTAL AMOUNT PAID BY YOU FOR THE PARTICULAR SERVICES THAT ARE THE
            SUBJECT OF THE CAUSE OF ACTION. YOU AGREE THAT THE RIGHTS STATED HEREIN
            SURVIVE TERMINATION OF THE AGREEMENT.

            19. The Registry reserves the right to modify, change, or discontinue any aspect of its Registry Services,
            these Registration Terms, including without limitation its prices and fees. You acknowledge and agree that
            the Registry, its affiliates and service providers may provide any and all required notices, agreements,
            modifications and changes to these Registration Terms, and other information concerning Registry TLDs
            electronically, by posting such items on the Registry Website. Your continued use of a Registry TLD shall
            constitute your acceptance of the most current versions of those notices, agreements, modifications, and
            changes to these Registration Terms. In the event of any conflict between these Registration Terms and the
            notices, agreements, modifications and changes to the Registration Terms as posted from time to time on the
            Registry Website, the terms posted on the Registry Website shall prevail.

            20. You represent and warrant that your use of the Registry and/or the Registry TLDs will not be for any
            illegal purpose and that you will not undertake any activities with your Registry TLD that will be in violation
            of the Acceptable Use (Anti-Abuse) Policy.

            21. The Registry TLDs are intended for and available to applicants and registrants who are at least eighteen
            (18) years of age. By applying for, registering, or reserving United TLD, you represent and warrant that you
            are at least eighteen (18) years of age.

                          SCHEDULE C-17 TO NETWORK SOLUTIONS SERVICE AGREEMENT

                 ADDITIONAL TERMS APPLICABLE TO SERVICES IN CONNECTION WITH .UK TLD

            In addition to the terms set forth in Schedule A above, the following terms shall apply to .UK domain names:

            Terms and Conditions of Domain Name Registration - http://www.nominet.org.uk/uk-domain-
            names/registering-uk-domain/legal-details/terms-and-conditions-domain-name-registration

            Registry Rules - http://www.nominet.org.uk/uk-domain-names/registering-uk-domain/choosing-domain-
            name/rules

                            SCHEDULE D TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                              PRIVATE REGISTRATION SERVICE

            1. Private Registration Service. When you subscribe to and/or are otherwise enrolled in the Network



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            Solutions Private Registration Service, you authorize and direct Network Solutions to (a) display alternate
            contact information in the public WHOIS database for the Registrant, Administrative, and Technical Contacts
            for the applicable domain name registration, and (b) not display the fax number and NIC Handle associated
            with your account for the applicable domain name.

            2. Communications Forwarding.

            a. In conjunction with the Private Registration Service, you authorize and direct Network Solutions to process
            communications directed to you at the contact information displayed in the public WHOIS database as
            follows:

            (i) The domain shall be registered in the name of Perfect Privacy, LLC, or another individual or entity as
            selected by Network Solutions, as registrant. As such, an email address, postal address and phone and
            facsimile number for the registrant, administrative, technical, and billing contacts of Perfect Privacy, LLC (or
            other selected individual or entity) shall be displayed in WHOIS directory.

            (ii) For the email address displayed in the WHOIS directory, a private email address is created for the
            applicable domain name and will be displayed in the WHOIS directory. This email address may
            automatically change in the public WHOIS database from time to time. Messages received at the email
            address posted in the public WHOIS database will be filtered for SPAM and forwarded to the email address
            associated with your account for the applicable domain name. Once an email address is removed from the
            public WHOIS database it will no longer be a valid email address for the receipt of messages. You
            acknowledge that you may not receive messages sent to an expired email address. If the email address
            associated with your account becomes non-functioning, or if email to such address bounces, Network
            Solutions is not obligated to attempt to contact you through other means.

            (iii) For the postal address displayed in the WHOIS directory a P.O. Box address will be the postal address
            displayed in the public WHOIS directory for the applicable domain name. You hereby authorize Network
            Solutions (or an agent and/or affiliate thereof) to receive, sort, open, forward, and destroy any and all mail
            sent to such P.O. Box in its sole discretion. Mail received via Certified Mail® or Express Mail™ will be
            opened and all such mail that can be scanned will be scanned and sent to you via the email address associated
            with the account for the applicable domain name. You acknowledge that you will have five (5) days from the
            date such Certified Mail® or Express Mail™ is sent to you via email to request in writing that a copy of such
            scanned mail be forwarded to you via postal mail at your expense. You acknowledge that unless you direct us
            otherwise in writing within such five (5) day period, all such mail will be destroyed five (5) days after a
            scanned copy is sent to you via email. All mail that is unable to be scanned will be forwarded to you via
            postal mail at Network Solutions' expense at the postal address associated with the account for the applicable
            domain name. You specifically acknowledge that Network Solutions will destroy all third class and "junk"
            mail upon receipt and will either discard all such other communications received or return the same to the
            sender unopened. You hereby waive any and all claims arising from your failure to receive communications
            directed to your domain name contact information displayed in the public WHOIS database but not
            forwarded to you by Network Solutions.

            IMPORTANT: THE PRIVATE REGISTRATION SERVICE IS NOT A GENERAL MAIL FORWARDING
            SERVICE. You agree that you will not provide any third party with any Private Registration Service address
            for the purpose of having such third party transmit communications to you through Network Solutions. Third
            parties may obtain a Private Registration Address listed in the WHOIS directory by their own initiative, but
            you agree that you will not be the one to provide such Private Registration Address to any third parties.



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            b. Retention of Rights

            While you will not be listed as the registrant for a domain utilizing the Private Registration Service, other
            than as described elsewhere in the Network Solutions Master Services Agreement (the "Agreement") and/or
            this Schedule, Perfect Privacy, LLC (or other designated individual or entity) will not act to use, modify, or
            control the domain. Subject to all the other terms of this Schedule and the Agreement, you will retain abilities
            of a domain name registrant, including:

            (i) the ability to transfer, or assign each Private Registration domain;
            (ii) the ability to manage the use of each Private Registration domain, including the DNS settings to which
            each domain name points;
            (iii) the ability to cancel each Private Registration domain;
            (iv) the ability to renew each Private Registration domain upon expiration (subject to Network Solutions'
            applicable agreements, rules and policies);
            (v) the ability to cancel your Private Registration Service so that you are listed as the registrant; and
            (vi) the ability to initially resolve any and all monetary, creditor or other legal claims that arise in connection
            with your Private Registration domain, subject to the terms of this Schedule and the Agreement.

            c. You acknowledge and agree that by subscribing to our Private Registration Service that you will not
            receive all communications sent to you at the contact information listed in the public WHOIS database. You
            acknowledge and agree that Network Solutions disclaims any and all loss or liability that may result from
            your use of our Private Registration Service and/or your failure to receive important correspondence sent to
            you at the contact information displayed in the public WHOIS database, including, but not limited to, legal
            notices or UDRP complaints.

            d. You agree that if you opt to have mail forwarded to you in accordance with Section 2 above, that you are
            responsible for paying all fees and costs associated with Network Solutions providing such forwarding
            services. Network Solutions will inform you via email of the applicable shipping costs, and the credit card
            associated with your account for the applicable domain name will be charged. The credit card transaction
            must be successful prior to us forwarding the correspondence to You. You are solely responsible for
            maintaining current and accurate credit card information on file with Network Solutions, including the
            expiration date for such credit card.

            3. Network Solutions Right To Disclose Your Contact Information and Terminate the Private Registration
            Service. You acknowledge and agree that Network Solutions has the absolute right and power, as it deems
            necessary in its sole discretion, without providing notice and without any liability to you whatsoever, to (a)
            reveal to third parties the contact information provided by you to Network Solutions in connection with the
            account for the applicable domain name, (b) populate the public WHOIS database with the registrant's name,
            primary postal address, email address and/or telephone number as provided by you to Network Solutions, or
            (c) terminate your subscription to our Private Registration Service:

            (i) if any third party claims that the domain name violates or infringes a third party's trademark, trade name or
            other legal rights, whether or not such claim is valid;

            (ii) to comply with any applicable laws, government rules or requirements, ICANN policies or requirements,
            subpoenas, court orders, requests of law enforcement or government agencies; or

            (iii) if any third party threatens legal action against Network Solutions that is related in any way, directly or
            indirectly, to the domain name, or claims that you are using the domain name registration in a manner that


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            violates any law, rule or regulation, or is otherwise illegal or violative of a third party's legal rights.

            4. Additional Limitations of Liability.

            IN ADDITION TO THE LIMITATIONS OF LIABILITY SET FORTH IN THE AGREEMENT, UNDER
            NO CIRCUMSTANCES SHALL NETWORK SOLUTIONS BE LIABLE FOR THE PROVISION OF ANY
            OF YOUR PERSONALLY IDENTIFIABLE INFORMATION TO ANY THIRD PARTY. You further
            understand and agree that Network Solutions disclaims any loss or liability resulting from: (i) the inadvertent
            disclosure or theft of your personal information; (ii) the failure for whatever reason to renew the Private
            Registration Service; (iii) the unauthorized use of your account or any of the Network Solutions services; (iv)
            deletion of, failure to store, failure to process or act upon email messages sent to or forwarded to either you or
            the email address listed for your Private Registration domain; (v) processing of updated information
            regarding your account; and (vi) any act or omission caused by you or your agents (whether authorized by
            you or not).

                             SCHEDULE E TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                CHANGE OF REGISTRAR SERVICE

            1. In addition to the terms in Schedule A (and the other applicable Schedules, if any, of the Agreement), the
            terms of this Schedule shall apply to all applications for a change of registrar to Network Solutions. The term
            "domain name" refers to the domain name identified in your Change of Registrar Application. The term
            "updated registrant" refers to the person or entity identified as the updated registrant in your Change of
            Registrar Application, if any.

            2. You represent and warrant that: (a) the information provided to Network Solutions in connection with your
            application is accurate and complete; (b) you are the rightful holder of the registration for the domain name;
            (c) the registrar of record for the domain name as of the date of this request is the current registrar; (d) you
            are not in default on any obligations you may owe to the current registrar; (e) you are not the subject of any
            pending bankruptcy proceedings; (f) you are not party to any dispute resolution proceeding concerning your
            use or registration of the domain name; (g) you are not in default on any obligations you may owe to Network
            Solutions; (h) the domain name is not the subject of any collection proceedings, including garnishment,
            attachment, levy or otherwise. The individual submitting this request represents and warrants that he/she is
            authorized to request a change of registrar and to apply for our registrar services.

            3. You request that we provide registrar services for the domain name. In furtherance of your request, you
            have applied for our registrar services. We will have no responsibilities as registrar of the domain name
            unless and until we send you or the updated registrant, as appropriate, notice of acceptance of the
            Application.

            4. You authorize us to take all actions necessary to become the registrar for the domain name, including
            transmitting to the appropriate Registry a request to change the Registry database to reflect Network
            Solutions as the registrar of record. You acknowledge and agree that we shall not be responsible for any legal
            obligations you may owe to any third party, including the current registrar. You further acknowledge and
            agree that you are not entitled to a credit from us for any sums you may have paid the current registrar.

                             SCHEDULE F TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                          REGISTRANT NAME CHANGE AGREEMENT


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            1. The following additional terms and conditions (the "Registrant Name Change Agreement" or "RNCA")
            apply to any change of the registrant (account holder's) name for a second-level domain name or
            nsWebAddress™ ("Registrant Name Change"), and, unless specifically noted otherwise below, apply to you
            whether you are listed as the registrant before the change (the "Current Registrant") or after the change (the
            "New Registrant"). The nsWebAddress™ or domain name for which this RNCA is being processed shall be
            referred to in this Schedule as the "Domain Name." The RNCA shall not be effective until both the Current
            Registrant and the New Registrant have indicated their agreement to the terms and conditions of the
            Agreement (which includes the terms and conditions of this Schedule). You agree that we may void the
            RNCA and cancel the transfer to remedy an unauthorized change to a Registrant's domain name account.
            Nothing contained in this Schedule shall be construed as an assignment of the Current Registrant's rights
            under the Agreement. As used in this Schedule (as in the General Conditions), the word "Agreement" shall
            mean the Network Solutions Service Agreement of which this Schedule is a part.

            2. The terms in this section apply only to the Current Registrant. You agree that you and Network Solutions
            are currently parties to the Agreement for the registration of the Domain Name(s). You hereby relinquish
            your registration of the Domain Name(s) and discharge Network Solutions from all obligations under the
            Agreement, and you release Network Solutions from all claims, liabilities or demands arising from the
            Agreement. You further acknowledge and agree that you are not entitled to a refund of any fees you may have
            paid to Network Solutions. You hereby authorize Network Solutions to take all steps necessary to register the
            Domain Name(s) to the New Registrant, including without limitation, disassociating the Domain Name(s)
            from the host servers designated by you without further notice. You represent and warrant that you possess
            the authority to legally bind the Current Registrant of the Domain Name(s) being transferred.

            3. The terms in this section apply only to the New Registrant. You acknowledge that you have reviewed and
            you understand the terms, conditions, representations and warranties of the Agreement in effect as of the date
            of your application to become the New Registrant. By applying for this Registrant Name Change, you agree
            to be bound by and to perform in accordance with the terms and conditions of the Agreement, which includes
            Network Solutions' current Domain Name Dispute Policy. You also reaffirm the accuracy and completeness
            of all of the information submitted for the Registrant Name Change. Your registration of the Domain Name(s)
            shall be effective upon Network Solutions' transmission of an acknowledgement to you that the Domain
            Name(s) has been registered to the New Registrant. You agree to pay Network Solutions the RNCA
            processing fee set forth on our Website, if any, by providing appropriate credit card information as requested.
            You represent and warrant that you are the New Registrant or possess the authority to legally bind the New
            Registrant of the Domain Name(s) being transferred. You acknowledge and agree that unless you register
            additional registration years for the Domain Name(s), the term of your registration of the Domain Name(s)
            will be equal to the remaining term of the Current Registrant at the time of the Registrant Name Change.

                            SCHEDULE G TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                            EXTENDED YEARS DOMAIN SERVICE

            1. Extended Years Domain Service. When you purchase the Network Solutions Extended Years Domain
            Service for a new domain name registration (for example, for 20 years, 100 years or another year period)
            through Network Solutions, we will initially register the relevant domain name for the maximum number of
            years allowed by the applicable registry. When you purchase the Network Solutions Extended Years Domain
            Service for a domain name that is currently registered through Network Solutions, we will initially renew the
            domain name for the maximum number of years allowed by the applicable registry. We will then
            automatically renew the domain name registration on an annual basis until you have received the number of



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            years of registration services offered from us for that domain name from the date of your purchase of the
            Extended Years Domain Service.

            2. Non-Transferable; Non-Refundable. You acknowledge and agree that the Extended Years Domain Service
            will terminate if you transfer the domain name for which you purchased the service to another registrar. You
            acknowledge and agree that this service is non-refundable upon termination.

            3. Other Services Affecting this Service. You acknowledge and agree that our ability to provide the Extended
            Years Domain Service is dependent upon, among other things, the continued registration of the relevant
            domain name, and that any termination of that registration (for whatever reason) will result in the termination
            of the Extended Years Domain Service for that registration.

                            SCHEDULE H TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                 EMAIL SERVICES (nsMail™) and Microsoft® Hosted Exchange

                        A. Terms that apply to nsMail™, nsMail™ Pro or Network Solutions' Email Services.

            1. Description of Service. Network Solutions is providing you with the capability of sending and receiving
            electronic mail via the Internet and through mobile phones ("Email Service" or "Email Services"). You must:
            (a) provide all equipment, including a computer and modem, necessary to establish a connection to the
            Internet; and (b) provide for your own connection to the Internet and pay any telephone service fees
            associated with such connection. In order to maintain the quality of our services to other customers and to
            protect our computer systems Network Solutions may limit the number of recipients of any email message
            transmitted or received by you to 1000 recipients per any 24 hour period. Network Solutions may also restrict
            the number of recipients receiving an individual message. The current maximum is 100 recipients per
            message. Network Solutions reserves the right to change this limit. We, in our sole discretion, will determine
            whether or not your conduct is consistent with this Agreement and any Network Solutions operating rules or
            policies and may suspend or terminate your Email Service if your conduct is found to be inconsistent with
            this Agreement or such rules or policies. The Email Service is subject to scheduled (from 12:01am eastern
            United States time to 2:00 am eastern United States time every Saturday) and unscheduled outages that will
            impact your ability to use the service. We will use commercially reasonable efforts to restore the service after
            any unscheduled outages. Moreover, in order to receive the Email Service we (or our third party provider)
            must host your domain name record. If you transfer your domain name record to a third party in conjunction
            with a live Website, or for any other reason, or allow your domain name registration to expire, you will no
            longer be able to use the Email Service. We will not refund the fees you paid for our Email Service if you
            elect to transfer your domain name record to a third party. You may not exceed the storage [megabytes]
            applicable to the particular Email Services purchased by you as specified on our Website at the time of your
            purchase (or as subsequently modified by us pursuant to this Agreement). If you exceed the applicable
            storage limitations, Network Solutions reserves the right, in its sole discretion, to either (A) charge, and you
            agree to pay, an additional fee as described on our Website for each Megabyte of usage that exceeds the
            bandwidth limitations set forth above, or (B) terminate or suspend your Email Services and this Agreement.
            Additionally, you acknowledge and agree that we may delete any or all messages in your "trash" folder at any
            time in our sole discretion. As a part of this service, Network Solutions may offer for a fee to you the option
            for you to purchase additional capacity and sizing for your Email Service account and some or all of the
            mailboxes that are associated with your account.

            2. Catch-All Mailbox Service. Network Solutions may make available to you the ability to subscribe to our
            Catch-All Mailbox service. You acknowledge and agree that, in the event you subscribe to the Catch-All


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            Mailbox service, any electronic mail sent to the email box of any user of your Email Service (e.g.,
            Person@Yourcompany.com) will also be sent to the email box set up for the Catch-All Mailbox service. You
            further acknowledge and agree that in the event your Network Solutions email and domain name services are
            terminated, any future registrant of your terminated domain name that subscribes to the Catch-All Mailbox
            service may receive emails intended for receipt by you or a former user of your Email Service, and you agree
            that Network Solutions shall have no liability to you or any third party with respect thereto. You are solely
            responsible for providing any and all necessary notifications regarding termination of your Email Services,
            and you agree that Network Solutions shall have no liability to you or any third party with respect thereto.

            3. SPAM Protection. Network Solutions' Email Service includes real-time SPAM Protection. All email sent to
            your email address(es) will be scanned to detect SPAM and to assist in preventing SPAM from reaching your
            email box(es). All email detected as SPAM will be deleted and will not be delivered to your email inbox. All
            email box(es) automatically include SPAM Protection and this feature cannot be disabled or configured by
            you. You acknowledge and agree that our SPAM Protection feature is not guaranteed to be one hundred
            percent (100%) effective or error free and may result in email that is not SPAM being falsely identified as
            SPAM and deleted by our system, or the delivery of SPAM to your email box(es). You acknowledge and
            agree that Network Solutions shall have no liability to you or any third party with respect to our SPAM
            Protection feature, your failure to receive any email as a result thereof, or your receipt of SPAM.

            4. Virus Protection. Network Solutions' Email Service includes Virus Protection that scans your email, and
            attachments thereto, to assist in the prevention of the transmission of viruses to your computer system and/or
            email program. All email sent to your email address(es) will be scanned for viruses. If a virus is detected, the
            email message and/or attachment, as applicable, will be cleaned if possible and the header of the email will
            be tagged to inform you that a virus was detected and that the email message and/or attachment has been
            cleaned and the virus removed. If a virus is detected, and the virus cannot be removed from the email
            message and/or attachment, the email message and/or attachment will be deleted and the email will be tagged
            to inform you that portions of the email have been deleted because a virus was detected. All email box(es)
            automatically include Virus Protection and this feature cannot be disabled or configured by you. You
            acknowledge and agree that our Virus Protection feature is not guaranteed to be one hundred percent (100%)
            effective or error free and may delete email messages and/or attachments that you may desire to view, or
            allow the transmission of viruses to your computer system and/or email program. You acknowledge and
            agree that Network Solutions shall have no liability to you or any third party with respect to our Virus
            Protection feature, your failure to receive any email and/or email attachments as a result thereof, or the
            transmission of viruses to your computer system and/or email program.

            5. Safeguarding Passwords. You are responsible for maintaining the confidentiality of your password and
            email account and are fully responsible for all activities that occur using your password. Please notify us
            immediately of any unauthorized use of your password or email account or any other breach of security.
            Network Solutions is not liable for any losses that you may incur as a result of any third-party's use of your
            password.

            6. Billing for Email Service and Upsells. Billing for annual Email Services shall be by valid credit card
            (acceptable to Network Solutions) at the time of purchase. If you elect to subscribe to monthly Email
            Services, your monthly payments for the same will be automatically charged to the credit card provided by
            you (and acceptable to Network Solutions) at the time of your purchase (with such payments being charged
            in advance on a monthly basis) ("Monthly Email Service Fee"), and you hereby agree that Network Solutions
            is authorized to so charge your credit card. Network Solutions, in its sole discretion, shall determine the
            prices it will charge for the Email Services, and the terms and conditions applicable to the same, and Network



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            Solutions may, upon providing notice to you, amend such pricing and/or terms and conditions. If you do not
            agree with any such change(s), you may terminate this Agreement or cancel your Email Service subscription,
            as applicable, as provided herein, within thirty (30) days from the date of your notice; otherwise all such
            changes shall be effective with respect to your account, and you agree that we are authorized to charge your
            credit card for any new Monthly Email Service fee. You agree that users associated with your account and
            that have mailboxes with your account are authorized to make purchases on your behalf related to the Email
            Service and such purchases shall be billed to your account. To the extent that you do not want to authorize
            other mailbox holders to make purchases on your behalf related to the Email Service you must expressly opt
            out by selecting the appropriate opt out button within your account settings.

            7. Privacy. Network Solutions will not monitor, edit or disclose the contents of your private communications
            with third parties unless required to do so by law or in the good faith belief that such action is necessary to:
            (a) conform to the law or comply with legal process served on Network Solutions; (b) protect and defend the
            rights or property of Network Solutions; or (c) act under exigent circumstances to protect the personal safety
            of our customers or the public. You acknowledge and agree that Network Solutions neither endorses the
            contents of any of your communications nor assumes responsibility for such content, including but not
            limited to any threatening, libelous, obscene, harassing or offensive material contained therein, or any
            infringement of third party intellectual property rights arising therefrom or any crime facilitated thereby. You
            acknowledge and agree that certain technical processing of email messages and their content may be required
            to: (a) send and receive messages; (b) conform to connecting networks' technical requirements; (c) conform
            to the limitations of the Email Service; or (d) conform to other similar requirements.

            8. Customer Conduct. You agree to be bound by the applicable provisions of the Network Solutions
            Acceptable Use Policy, incorporated herein and made part of this Agreement by reference, in connection with
            your use of the services described in this Schedule. Network Solutions' outsourcing contractors for the Email
            Services, including, but not limited to Brightmail, Inc or its successors, shall be intended third party
            beneficiaries of the Email Service customer's obligations under this Agreement and thus shall be entitled to
            enforce those obligations against you as if a party to this Agreement.

            9. As a user of Network Solutions' Email Services you may have the ability to access your email account
            through the Internet ("Web Mail"). When using Web Mail, you may receive a message that is encrypted by
            the MessageGuard® encryption service ("MessageGuard Service"). Messages that are encrypted by the
            MessageGuard® Service and that you review through Web Mail will automatically, and without indication of
            the message's encrypted status, be decrypted for your immediate access. By your continued use of the
            Network Solutions Email Services, you are acknowledging and agreeing to the terms and conditions of the
            MessageGuard Service, as found in Schedule S of this Agreement.

            10. As a user of Network Solutions Email services, you agree that in the event that you set up and/or share
            username and password credentials or other security or account information for third party functionality that
            you use as a part of the Network Solutions Email services, that Network Solutions may use and store such
            information in order to allow you to access and use such third party functionality. You agree that Network
            Solutions has no liability regarding your sharing of your username and password credentials with Network
            Solutions.

            11. Network Solutions Mobile Email Services. In the event you subscribe to mobile Email Services for your
            Blackberry® mobile device, you agree to be bound by and comply with the following terms and conditions
            and agree that Network Solutions has a right to enforce these terms and conditions: http://www.astrasync.com
            /LicAgreement.aspx



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            B. Terms that apply to the Microsoft® Hosted Exchange services

               1. Description of Service. Microsoft® Hosted Exchange from Network Solutions® is an email solution
                  allowing you to use Outlook® to share calendars, contacts, tasks, and synchronize mobile devices
                  across a specific group of users assigned by you. In order to maintain the quality of our services to
                  other customers, Network Solutions may limit the number of email messages transmitted or received
                  by you to 500 emails per any 24-hour period. Network Solutions may also restrict the number of
                  recipients receiving an individual message. The current maximum is 100 recipients per message.
                  Network Solutions reserves the right at any time and in its sole discretion to change this limit. For the
                  protection of our users, we, in our sole discretion, will determine whether or not your conduct is
                  consistent with this Agreement and any other applicable Network Solutions rules or policies and may
                  suspend or terminate your Microsoft® Hosted Exchange service if your conduct is found to be
                  inconsistent with this Agreement or such other rules or policies. The Microsoft® Hosted Exchange
                  services are subject to scheduled and unscheduled outages that may impact your ability to use the
                  service. We will use commercially reasonable efforts to restore the service after any unscheduled
                  outages. You may not exceed the storage [megabytes] applicable to the particular Microsoft® Hosted
                  Exchange service purchased by you as specified on our Website at the time of your purchase, or as
                  subsequently modified by us pursuant to this Agreement. You may obtain added storage capacity for an
                  additional fee as described on our Website. Upon reaching your applicable storage limitations, you
                  understand that you will not be able to send or receive emails and Network Solutions reserves the right,
                  in its sole discretion, to suspend your Microsoft® Hosted Exchange services and this Agreement.
                  Network Solutions is not responsible for loss of data, information or files in connection with the
                  Microsoft® Hosted Exchange services.

               2. SPAM Protection. The Microsoft® Hosted Exchange services include real-time SPAM Protection and
                  all email sent to your email address(es) will be scanned to detect SPAM and to assist in preventing
                  SPAM from reaching your email box(es). All email detected as SPAM will be deleted and will not be
                  delivered to your email inbox. All email box(es) automatically include SPAM Protection and this
                  feature cannot be disabled or materially configured by you. You acknowledge and agree that SPAM
                  Protection feature is not guaranteed to be one hundred percent (100%) effective or error free and may
                  result in email that is not SPAM being falsely identified as SPAM and deleted, or the delivery of SPAM
                  to your email box(es). You acknowledge and agree that Network Solutions and its licensors shall have
                  no liability to you or any third party with respect to our SPAM Protection feature, your failure to
                  receive any email as a result thereof, or your receipt of SPAM

               3. Virus Protection. Microsoft® Hosted Exchange includes Virus Protection that scans your email, and
                  attachments thereto, to assist in the prevention of the transmission of viruses to your computer system
                  and/or email program. Emails sent to your email address(es) will be scanned for viruses. If a virus is
                  detected, the email message will be quarantined and a notification will be sent to you. All email
                  box(es) automatically include Virus Protection and this feature cannot be disabled or materially
                  configured by you. You acknowledge and agree that the Virus Protection feature is not guaranteed to be
                  one hundred percent (100%) effective or error free and may delete email messages and/or attachments
                  that you may desire to view, or allow the transmission of viruses to your computer system and/or email
                  program. You acknowledge and agree that Network Solutions and its licensors shall have no liability to
                  you or any third party with respect to our Virus Protection feature, your failure to receive any email
                  and/or email attachments as a result thereof, or the transmission of viruses to your computer system
                  and/or email program.




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               4. Safeguarding Passwords. You are responsible for maintaining the confidentiality of your password and
                  Microsoft® Hosted Exchange account and are fully responsible for all activities that occur using your
                  password. Please notify us immediately of any unauthorized use of your password or account or any
                  other breach of security. Network Solutions is not liable for any losses that you may incur as a result of
                  any third-party's use of your password.

               5. Privacy. Network Solutions and its licensors will not monitor, edit or disclose the contents of your
                  private communications with third parties unless required to do so by law or in the good faith belief
                  that such action is necessary to: (a) conform to the law or comply with legal process served on Network
                  Solutions or its licensors; (b) protect and defend the rights or property of Network Solutions or its
                  licensors; or (c) act under exigent circumstances to protect the safety of our customers or the public.
                  You acknowledge and agree that Network Solutions neither endorses the contents of any of your
                  communications nor assumes responsibility for such content, including but not limited to any
                  threatening, libelous, obscene, harassing or offensive material contained therein, or any infringement of
                  third party intellectual property rights arising therefrom or any crime facilitated thereby. You
                  acknowledge and agree that certain technical processing of email messages and their content may be
                  required to: (a) send and receive messages; (b) conform to connecting networks' technical
                  requirements; (c) conform to the limitations of the Email Service; or (d) conform to other similar
                  requirements.

               6. Customer Conduct. You agree to be bound by the applicable provisions of the Network Solutions
                  Acceptable Use Policy, incorporated herein and made part of this Agreement by reference, in
                  connection with your use of the Microsoft Hosted Exchange services. Network Solutions' licensors or
                  their successors, shall be intended third party beneficiaries of the Microsoft® Hosted Exchange
                  customer's obligations under this Agreement and thus shall be entitled to enforce those obligations
                  against you as if a party to this Agreement.

               7. Disclaimer. You agree that the Microsoft® Hosted Exchange services including mobile Email Services
                  are provided on an "as is" and "as available" basis. Neither Network Solutions nor its licensors makes
                  any warranty that the Microsoft® Hosted Exchange services including synchronization features and
                  mobile Email Services will meet your requirements or that they will be uninterrupted, timely, secure, or
                  error free.

               8. Mobile Email Services for Microsoft® Hosted Exchange. In the event you subscribe to mobile Email
                  Services for your Blackberry® mobile device as part of the Microsoft® Hosted Exchange services, you
                  agree to be bound by and comply with the following terms and conditions and agree that Network
                  Solutions has a right to enforce these terms and conditions: http://us.blackberry.com/legal
                  /pdfs/BBSLA_North_America_English_NA.pdf. In the event you subscribe to mobile Email Services
                  for your non-Blackberry® mobile device as part of the Microsoft® Hosted Exchange services you
                  agree to be bound by and comply with the following terms and conditions and agree that Network
                  Solutions has a right to enforce these terms and conditions: http://www.astrasync.com
                  /LicAgreement.aspx.

                            SCHEDULE I TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                 WEB FORWARDING SERVICE

            1. Network Solutions is providing you with the capability to forward users or visitors who type in a specific
            domain name to another domain name designated by you through the Web Forwarding service. You represent


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            and warrant that you have the necessary rights to use the Web Forwarding service to forward, point, alias or
            resolve your domain name registration(s) to the other domain name designated by you in ordering such
            services. You agree that we, in responding to a third party complaint or for any other reason, have the right, in
            our sole discretion, to suspend or terminate your Web Forwarding service without notice and with no
            obligation to refund fees paid if we determine the Web Forwarding service is forwarding users to a Website
            or URL that is unsuitable or being used for any unlawful or harmful purpose, as determined in our sole
            discretion.

            2. You acknowledge and understand that the Web Forwarding service includes a Domain Masking feature
            that will make your site visitors see the domain name associated with the Web Forwarding service in the
            window of their browser throughout your entire Website and on all Websites linked to from your Website
            while the window session remains open. You have the ability to turn the Domain Masking feature on or off at
            any time through Account Manager. The Domain Masking feature may not work with all Websites depending
            on how they are configured and their ability to be viewed within a browser frame.

                            SCHEDULE J TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                              WHOIS BUSINESS LISTING SERVICE

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all purchases of the WHOIS
            Business Listing Service (as defined below).

            1. Description of the Service. Through the WHOIS Business Listing Service (the "Service"), Network
            Solutions is providing its Customers with an opportunity to add information about their business, their
            products or services, or about their domain name or Website (referred to generally in this Section J as
            "Advertising Content") to their WHOIS listing that appears in the WHOIS database and WHOIS search
            results.

            2. Display of Advertising Content. Customer hereby grants to Network Solutions a non-exclusive,
            royalty-free, worldwide right and license by all means and in any media to use, reproduce, distribute, modify
            for technical purposes, publicly perform, publicly display and digitally display the Advertising Content.
            Customer further grants Network Solutions the right to distribute the Advertising Content to other third
            parties that wish to publish the Advertising Content in accordance with terms established by Network
            Solutions. Network Solutions does not edit the Advertising Content written and submitted by the Customer
            through the WHOIS Business Listing templates. Customer agrees that it shall bear all responsibility and
            liability for any and all claims related to the Advertising Content displayed with the WHOIS listing.
            Customer further agrees that Network Solutions shall have no liability for any and all claims that relate to any
            Advertising Content, copy, data or text that is submitted.

            3. Advertising Content Guidelines. Customer acknowledges and agrees that in order for Network Solutions to
            maintain the integrity of the Service, Customer is subject to this Schedule J and the other terms and
            conditions in this Service Agreement. Network Solutions may, in its sole discretion, reject, cancel, or remove,
            at any time, any Advertising Content from the WHOIS Business Listing Service for any reason without prior
            notice to the Customer. Network Solutions will not be liable in any way for any rejection, cancellation or
            removal of any Advertising Content. Customer represents and warrants that: (a) it has all necessary authority
            to enter into this Agreement; (b) it will comply with all applicable laws; (c) that all text, data and information
            submitted by the Customer for display as the Advertising Content is true, accurate, and complete; and that (d)
            any use and display of the Advertising Content shall not: (i) infringe or violate any patent, copyright,


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            trademark, service mark, trade secret, or other intellectual property right of a third party, including any right
            of privacy or publicity; (ii) violate any federal, state or local laws or regulations or foreign laws; (iii) contain
            material that is pornographic, obscene, defamatory, libelous, fraudulent, misleading, threatening, hateful, or
            racially or ethnically objectionable; (iv) be likely to result in any consumer fraud, product liability, tort,
            breach of contract, injury, damage or harm of any kind to any person or entity.

            4. Term and Billing. The WHOIS Business Listing Service may be purchased for annual terms which may be
            renewed. Network Solutions will charge Customer a fee for this Service which shall be billed annually to the
            Customer's credit card and Customer hereby consents to such billing arrangement.

            5. Cancellation; Termination. Network Solutions may, at any time, terminate the WHOIS Business Listing
            Service, terminate this Service Agreement or disable or take down any Advertising Content displayed.
            Network Solutions will notify Customer by email of any such termination or cancellation which shall be
            effective immediately.

            6. Disabling of the Service. Customer may "turn off" or conceal the Advertising Content so that it is not
            displayed with the Customer's WHOIS listing by disabling feature in the Customer's Account Manager.

                            SCHEDULE K TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                nsWebsite™ AND Website Builder Tool

            The terms in this Schedule apply to nsWebsite™, Web Hosting or Network Solutions' Website Builder Tool.

            1. Definitions. For purposes of this Schedule, the following capitalized terms shall have the meanings
            ascribed to them below:

            (a) "Website Builder Tool" means the tool that provides customers the ability to create or add/modify content
            on a website through the use of templates, images, gadgets, and any other feature provided by Network
            Solutions and licensed to end users.

            (b) "Subscription Service" means any of the Network Solutions website packages or solutions that are
            available for purchase by end users on a monthly or annual basis, for a monthly or annual fee (respectively),
            that combine the Website Builder Tool, the Web Hosting Service, and/or such other services as may, from
            time to time, be included in the package by Network Solutions as of the time of your purchase.

            (c) "Web Hosting Service" means the Web Hosting services provided by Network Solutions or a third party
            through Network Solutions as part of a monthly or annual website Subscription Service or other Web Hosting
            Services as defined in Schedule N of this Agreement.

            (d) "Mobile Website Design Services" means the Network Solutions or private labeled offering whereby you
            can create, design and host a mobile website using a Website Builder Tool.

            (e) "nsWebsite™ (Small)" means a website with features as listed on the Network Solutions product pages.
            "nsWebsite™ (Large)" means a website with features as listed on the Network Solutions product pages.

            (f) "Premium Designs" means a website designs created by Network Solutions that may be purchase by you.

            2. Payment. In addition to the payment terms in Section 3 of the Agreement, the following provisions shall
            also apply solely with respect to the Subscription Service:


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            (a) Billing for the Subscription Service shall be paid by valid payment method (acceptable to Network
            Solutions) at the time of purchase at the fee set forth on our Website. Your monthly and, if you have selected
            our "auto-renew" feature, annual payments for the Subscription Service shall be automatically charged to the
            credit card provided by you (and acceptable to Network Solutions) at the time of your purchase (with such
            payments being charged in advance on a monthly or annual basis, as applicable) each month or annually, as
            applicable ("Subscription Service Fee"), and you hereby agree that Network Solutions is authorized to so
            charge the payment method on file. Network Solutions, in its sole discretion, shall determine the prices it will
            charge for the Subscription Service, and the terms and conditions applicable to the same, and Network
            Solutions may, upon providing notice to you by email, amend such pricing and/or terms and conditions. If
            you do not agree to the change(s), you may terminate this Agreement (or cancel your Subscription Service, as
            applicable) within thirty (30) days from the date of your notice; otherwise all such changes shall be effective
            with respect to your account, and you agree that we are authorized to charge your credit card for any new
            Subscription Service Fee, on the next monthly or annual (as applicable) payment cycle.

            (b) In addition to recurring service fees, Network Solutions may charge set up fees and other one-time fees
            for any optional services as set forth on our Website and/or described in this Schedule (collectively "One-time
            Fees"). Applicable One-time Fees shall be charged to the payment method provided by you (and acceptable
            to Network Solutions) at the time of your purchase, and you hereby agree that Network Solutions is
            authorized to so charge the payment method provided by you. Network Solutions, in its sole discretion, shall
            determine the prices it will charge for all One-time Fees.

            (c) Network Solutions will charge you a Processing Fee if you terminate or cancel any package prior to the
            completion of any limited money-back guarantee time period for that package. You authorize Network
            Solutions, in its sole discretion, to charge the payment method provided by you at the time of your purchase
            or forward an invoice to you immediately upon any such termination or cancellation of any annual
            Subscription Service for the amount of the Processing Fee.

            (d) Network Solutions will suspend your account if you request a chargeback on your payment method for
            charges to your payment method for exceeding bandwidth limitations set forth herein (see Section 3(b)
            below).

            3. File Size, Storage and Bandwidth Limitations. The following file size and bandwidth limitations apply to
            website Subscription Services (besides the ones used in conjunction with the Mobile Website Design
            Services) offered by Network Solutions:

            (a) File Size and Storage. Each website Subscription Service shall have a total storage limit as follows: (i)
            nsWebsite™ (Small) 5 Gigabytes; and (ii) nsWebsite™ (Large) 300 Gigabytes. You can upload a maximum
            of 2GB of files to your website template photos and files area, provided that all files must comply with the
            following size limitations: All Image, Text and Document files have a 5 Megabyte limit (includes .gif, .jpg,
            .jpeg, .txt, .doc, .xls, .wri, .ppt, .dxf, .pdf and .psd files); and all Media, Flash, and Compressed files have a 15
            Megabyte limit (includes .mpg, .mp2, .mp3, .wav, .mid, .mov, .asf, .wma, .wmv, .avi, .mpeg, .rm, .ra, .swf,
            .zip and .sit files).

            (b) Bandwidth. You and your website visitors can view and download the following amounts of content on
            your website per month: (i) nsWebsite™ (Small) = 50 Gigabytes per month; and (ii) nsWebsite™ (Large)
            Website = 3,000 Gigabytes per month Network Solutions reserves the right, in its sole discretion, to either
            (A) charge, and you agree to pay, an additional fee as determined by Network Solutions in its sole discretion,
            which fee shall not exceed US $0.50 per Megabyte, for each Megabyte of usage that exceeds the bandwidth
            limitations set forth above, or (B) terminate or suspend your website Subscription Services and this


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            Agreement if you exceed the bandwidth limitations set forth above.

            (c) SpaceManager. You may use the SpaceManager feature for this service in order to store and share up to
            2GB of files. Each file shall not exceed 200MB in size. You agree that if you do exceed either of such limits,
            and/or violate Network Solutions' Acceptable Use Policy, Network Solutions, in its sole and exclusive
            discretion, may immediately take corrective action, including, but not limited to, assessment of additional
            fees, suspension, termination, and/or deletion of your files.

            4. Conduct. You agree to be bound by the applicable provisions of the Network Solutions Acceptable Use
            Policy (the "AUP"), incorporated herein and made part of this Agreement by reference, in connection with
            your use of the services described in this Schedule. You expressly (i) grant to Network Solutions a license to
            cache the entirety of your Content and your Website, including content supplied by third parties, hosted by
            Network Solutions under this Agreement, and (ii) agree that such caching is not an infringement of any of
            your intellectual property rights or any third party's intellectual property rights. Network Solutions neither
            sanctions nor permits any website content or the transmission of data that contains illegal or obscene material
            or fosters or promotes illegal activity. Network Solutions reserves the right to immediately suspend or
            terminate any site or transmission that violates this policy, without prior notice. In the event of such
            termination, Customer agrees that the unused portion of any fees Customer may have paid for any services
            rendered to Customer by Network Solutions are an appropriate recompense to Network Solutions for the time
            required to respond to and address issues created by Customer's violation of the AUP, and Customer agrees
            not to seek recovery of those fees. Further, should Customer violate this Agreement or the AUP, Network
            Solutions will actively assist and cooperate with law enforcement agencies and government authorities in
            collecting and tendering information about Customer, Customer's website, the illegal or obscene content, and
            those persons that may have inappropriately accessed, acquired, or used the illegal or obscene content.

            5. Premium Designs. You may purchase a Premium Design from Network Solutions for a one-time fee. Each
            Premium Design may only be used for one website or hosting package. Upon cancellation or termination of
            your website or hosting package, you will no longer have access to the Premium Design(s) purchased for
            such package. You may test your Premium Design(s) before publishing your website at no charge. You may
            not, however, publish your website with such Premium Design(s) unless you purchase such Premium
            Design(s).

            6. MapQuest® Service and Google® Maps Service and other Third Party Applications. Any use of the
            MapQuest service or Google Maps service or any other third party application that is a part of the Web
            Hosting Service, Subscription Service or Website Builder Tool or any other Network Solutions service is at
            your own risk.

            (a) Use of the Google Maps service is subject to the terms and conditions located at http://maps.google.com
            /help/terms_maps.html and http://maps.google.com/help/legalnotices_maps.html and you agree to and
            acknowledge consent of such terms and conditions. Network Solutions is in no way responsible or liable for
            any and all claims or damages that arise as a result of your use or a third party's use of the MapQuest service
            or Google Maps service. Network Solutions is not liable for any property damage or personal injury as a
            result of your use or a third party's use of the MapQuest service or Google Maps service. You further agree
            that if you use the MapQuest service you will include the following statement on your Website:
            "Maps/Directions are informational only. User assumes all risk of use. MapQuest, Network Solutions, and
            their suppliers make no representations about content, road conditions, route usability, or speed." You
            expressly agree that you will not modify the MapQuest service or Google Maps service in any way nor will
            you use the MapQuest service or Google Maps service in any way that may infringe the rights of Network
            Solutions, MapQuest, or Google Maps, or any third parties. Network Solutions reserves the right to


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            terminate, delete, remove or modify the MapQuest service or the Google Maps service at any time without
            warning or notification to you.

            7. Use of Images. Your use of any content, images or pictures that are made available by Network Solutions
            as a part of the Website Builder Tool, Website and Ecommerce Design Services, Web Hosting Service,
            Subscription Service, and Mobile Website Design Services, or any other Network Solutions service is
            governed by the terms of this agreement. You agree that certain content, images or pictures that you use as a
            part of the Website Builder Tool, Website and Ecommerce Design Services, Web Hosting Service, or
            Subscription Service services are governed by the Fotolia LLC Standard License Content Download
            Agreement ("Content Download Agreement") which is located at http://www.fotolia.com/Info/Agreements.
            You are obligated to abide by the terms of this agreement and the Content Download Agreement in your use
            of any content, images or pictures that are provided by Network Solutions to you. You agree that you will not
            modify, alter, change, reproduce, reengineer, recreate, deface, sell, distribute, lease, license, sublicense or rent
            any content, image or picture that is made available to you by Network Solutions or that is part of the Website
            Builder Tool, Website and Ecommerce Design Services, Web Hosting Service, Subscription Service, or
            Mobile Website Design Services. You expressly agree that you will not use any content, images or pictures in
            any way that may infringe in any way the rights of Network Solutions or any third parties. Network Solutions
            and its partners retain all rights, title and ownership to the intellectual property, software, tools, content,
            images and pictures that are made available to you. You agree that your use of the content, images or pictures
            made available by Network Solutions do not give you any rights in such content, images or pictures. Network
            Solutions shall also have the right to display your Website on its online properties as an example of the
            design work Network Solutions is able to provide for its customers.

            8. Limitation of Liability/Disclaimer of Warranty for Password Protection Feature. In addition to your
            acknowledgement and agreement to the limitation of liabilities and disclaimer of warranties contained in the
            agreement, you acknowledge and agree that Network Solutions shall have no liability to you or any third
            party with respect to your use of the password protection feature in the Website Builder Tool (the "Password
            Protection Feature") or the unauthorized access to your website or online storage space. You agree that your
            use of the Password Protection Feature is solely at your own risk. You agree that all of such services are
            provided on an "as is," and "as available" basis. Network Solutions and its licensors expressly disclaim all
            warranties of any kind, whether express or implied, including but not limited to the implied warranties of
            merchantability, fitness for a particular purpose and non-infringement. Neither Network Solutions nor its
            licensors make any warranty that the Password Protection Feature will meet your requirements, or that the
            Password Protection Feature will be uninterrupted, timely, secure, or error free. You acknowledge and agree
            that Network Solutions' entire liability, and your exclusive remedy, in law, in equity, or otherwise, with
            respect to the Password Protection Feature provided under this Agreement and/or for any breach of this
            Agreement is solely limited to the amount you paid for the service during the term of this Agreement.

            9. Cancellation. You may cancel your Subscription Service at any time. To cancel your Subscription Service
            you must notify Network Solutions. Your Subscription Service will be canceled as of the expiration of the
            monthly billing cycle in which your notice was received. Any fees already paid to Network Solutions shall
            not be reimbursed to you (except for money back guarantees that may apply to your services).

            10. Term and Termination.

            (a) Term. Your Subscription Service shall be either (i) on a month-to-month basis for successive monthly
            periods, (ii) if you have selected our auto-renew feature, on a year-to-year basis for successive yearly periods,
            or (iii) if you have not selected our auto-renew feature, for a one-time annual period, all unless either party
            notifies the other of termination or cancellation in accordance with this Agreement, and subject to the


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            then-current terms and conditions of this Agreement at the time of any renewal of your Subscription Service.

            (b) Notice of Service Cancellation by You. Unless terminated earlier as provided herein, this Schedule, and
            the Agreement if you have no other services with Network Solutions, will be terminated as of the cancellation
            of your Subscription Service.

            11. Network Solutions License. Network Solutions grants You a limited non-exclusive, revocable license to
            use the Website Builder Tool and the related software and tools for the purpose of creating, designing and
            publishing websites for use consistent with this Agreement, the Network Solutions Acceptable Use Policy
            and any and all relevant laws.

            12. Third Party Licenses and Offerings. You expressly agree that any third party products, services or
            offerings that are available to You as a part of any of the Network Solutions product or services under this
            Schedule K shall be used by You in accordance with the terms of any relevant third party licenses. Your
            failure to abide by any third party license may result in the immediate termination of your services by
            Network Solutions.

                              SCHEDULE L TO NETWORK SOLUTIONS SERVICE AGREEMENT

               ADDITIONAL TERMS APPLICABLE TO SUPERSTATS™, WATCHDOG™, COUNTER™,
               SUBMITWIZARD™, SITEMINER™, BOARDSERVER™, EZ POLLS™ AND GUESTBOOK
                                            SERVICES™
                 (PURCHASED THROUGH MYCOMPUTER STOREFRONT, NETWORK SOLUTIONS
                     STOREFRONT, OR PROVIDED FREE WITH A WEBSITE BUILDER TOOL)

            In addition to the terms and conditions set forth in this Services Agreement and in Schedule K, the following
            additional terms and conditions shall apply to the following services whether purchased directly through the
            Network Solutions Storefront (defined below) or the MyComputer Storefront (defined below): SuperStats™,
            Counter™, SubmitWizard™, SiteMiner™, Boardserver™, EZpolls™ and GuestBook ™services. All
            capitalized terms used herein, and not otherwise defined, shall have the meanings set forth in Schedule L.

            1. Definitions.

               a. "MyComputer Storefront" as used herein shall mean the website at the URL
                  http://www.mycomputer.com, or its successor URL, through which an Internet user may apply for
                  some, if not all, of the services referenced in this Schedule.
               b. "Network Solutions Storefront" as used herein shall mean the website at the URL
                  http://www.networksolutions.com, or its successor URL, through which an Internet user may apply for
                  some, if not all, of the services referenced in this Schedule.

            2. Any services referenced herein that are purchased in connection with a Website Subscription Service shall
            be included in the definition of Subscription Service for purposes of the terms and conditions set forth in
            Schedule J and in this Schedule K.

            3. Use of Information. You acknowledge and agree that we may (but are not obligated to) collect, store, use
            and/or publish information regarding, and data related to, your Website, including, but not limited to, your
            domain name, URL and traffic counts. Possible uses of such information include, but are not limited to,
            marketing, the development and distribution of lists concerning traffic patterns of (or visits to) Websites and
            Network Solutions member Websites and for other general commercial purposes. Use of any information will



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            be in accordance with Network Solutions' Privacy Policies as set forth in Section 5 of the Services
            Agreement.

            4. Page View Limits. The SuperStats™ and Counter™ services are limited to One Hundred Thousand
            (100,000) page views per account per month. All accounts exceeding such limit may be subject to
            cancellation of the SuperStats™ and Counter™ services without notice, as well as any other remedy Network
            Solutions may choose to pursue.

            5. Cancellation of Your Website. Any services referenced herein that are offered in connection with a
            Subscription Service will terminate concurrent with your termination of the Subscription Service.
            Termination of the services referenced herein and your Subscription Service will occur at the expiration of
            the monthly billing cycle in which your cancellation notice was received and processed by Network
            Solutions.

            6. Registration and Billing under the MyComputer Storefront.

               a. If you purchased any of the services referenced herein through the MyComputer Storefront, you must
                  submit and maintain on file certain registration data as requested by the MyComputer Storefront
                  registration form for such services. Such registration data shall include, but not be limited to, your
                  name, address, email address, website URLs, credit card number and other billing information. You
                  must submit a separate online activation request for each service you wish to subscribe. Network
                  Solutions reserves the right, in its sole discretion, to refuse any registration or service activation request
                  for any reason or no reason. You represent that the registration information you supply to Network
                  Solutions is true, complete and accurate. By submitting any information, you authorize Network
                  Solutions to use such information in accordance with its privacy policy located at
                  http://www.networksolutions.com/legal/privacy-policy.jsp.
               b. If you become a registered user of the MyComputer website, you will receive a password for accessing
                  your account information. You are responsible for maintaining the confidentiality of your password and
                  account and are fully responsible for all activities that occur using your password or account. Please
                  notify us immediately of any unauthorized use of your password or account or any other breach of
                  security. Network Solutions is not liable for any losses that you may incur as a result of any third-
                  party's use of your password or account.

                           SCHEDULE M TO NETWORK SOLUTIONS SERVICE AGREEMENT

                        CERTIFIED OFFER SERVICE® and CERTIFIED OFFER SERVICE® PLUS

            1. Additional Terms; Definitions. Except as specifically noted otherwise herein, the following additional
            terms and conditions apply to you if you use the Certified Offer Service® or Certified Offer Service® PLUS
            (together referred to as "COS") in any way. As used in this Schedule, the term "Buyer" means any person or
            entity that uses the COS to make an Offer to a domain name registrant to transfer to such person a domain
            name registration through the COS. As used in this Schedule, the term "Seller" means the registrant of the
            domain name and its agents (including the registrant's administrative contact) that is the subject of an offer
            from a Buyer. The domain name that is the subject of the COS is referred to in this Schedule as the "Domain
            Name." You agree that any offer, counter-offer, and/or acceptance of either of them by a Buyer or Seller, shall
            be subject to the terms and conditions of this Agreement (which includes the terms and conditions of this
            Schedule).

            2. Purpose of Certified Offer Service; Network Solutions' Participation. You acknowledge and agree that


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            the COS is intended to provide the Buyer and Seller with a means through which the Buyer and Seller may be
            able to come to an agreement regarding the transfer of the Domain Name for the payment of a fee from the
            Buyer to the Seller, and to facilitate any such transfer and the associated payment from the Buyer to the
            Seller, all in accordance with the terms of this Schedule. You acknowledge and agree that the terms of
            Section 10 of this Schedule set forth the legal agreement between the Buyer and the Seller and that you have
            reviewed those provisions and find them to be acceptable to you. You acknowledge and agree that Network
            Solutions is not the agent of and is not acting as an agent for either the Seller or the Buyer, and that the Seller
            will look solely to the Buyer for fulfillment of the Buyer's obligations hereunder, and the Buyer will look
            solely to the Seller for fulfillment of the Seller's obligations hereunder. Neither the Buyer nor the Seller will
            look to Network Solutions for the fulfillment of the Buyer's or the Seller's obligations. Network Solutions'
            role in the COS is that of sending communications from the Buyer to the Seller and the Seller to the Buyer,
            providing the terms of the agreement between the Buyer and Seller, receiving funds from the Buyer,
            processing any necessary registrar transfer, processing the registrant name change, and sending payment to
            the Seller, all as set forth in this Schedule. You acknowledge and agree that Network Solutions is not a broker
            and will not negotiate on behalf of either party. You further acknowledge and agree that nothing in this
            Agreement or on our Website shall be construed to mean that the Domain Name can be or is being assigned
            from one registrant to another - all Domain Name transfers are completed pursuant to the terms of the
            Registrant Name Change Agreement that forms a part of this Agreement.

            3. Third Party and Other Factors; No liability for Failed Transactions. You acknowledge and agree that
            the successful transfer of the Domain Name and the associated payment of the selling price to the Seller
            through the COS are dependent upon many factors that are not within the control of Network Solutions, and
            that Network Solutions shall not be liable for the failure of any transaction, in whole or in part (including but
            not limited to failure of the Domain Name to be transferred or failure of a payment to be made), where such
            failure is caused by the actions or inactions of the Seller (including but not limited to breach by the Seller of
            its obligations to you or us under the COS), Buyer (including but not limited to breach by the Buyer of its
            obligations to you or us under the COS) or other third party. For example, a Seller whose domain name
            registration is sponsored by a registrar other than Network Solutions must approve a transfer of the domain
            name sponsorship to Network Solutions before a transaction between the Seller and Buyer can be completed.
            If the Seller in that situation does not approve the transfer after agreeing to sell the domain name registration,
            or the Domain Name cannot be transferred because it is in a lock status or has not been registered at the
            current registrar for more than sixty (60) days, then the transaction cannot be completed (and no money will
            be paid to the Seller).

            4. Indemnification by You. In addition to your other obligations of indemnification under this Agreement,
            you agree to indemnify, defend and hold harmless Network Solutions, its parent and subsidiary companies,
            and their respective officers, directors, members, shareholders, affiliates, agents, employees and assigns from
            and against any and all liabilities, claims, damages, costs and expenses, including reasonable attorneys' fees
            and expenses, relating to or arising out of the termination of the COS by the Seller, the Buyer or Network
            Solutions (where Network Solutions is permitted to so terminate under the terms of this Agreement), or the
            failure of any transaction whether caused by the Seller, Buyer, or Network Solutions (except where such
            failure is the result of Network Solutions' material breach of this Agreement).

            5. Third Party Disputes Concerning Process or Actions. In the event the COS is terminated by Network
            Solutions as a result of a claim by a third party that the COS process or the actions of the Seller or Buyer
            violate(s) that third party's rights, Network Solutions is authorized, but not obligated, to refund to the Buyer
            all funds paid by the Buyer to Network Solutions in connection with the COS and to transfer the registration
            of the Domain Name to the Seller, and/or "lock" the Domain Name until such time as any pending dispute


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            concerning the Domain Name is resolved (as evidenced by an agreement between the applicable parties or an
            order of a court).

            6. Your Additional Representations and Warranties; Intellectual Property Rights; Our Disclaimer. You
            represent and warrant that your use of the COS, including but not limited to your purchase or attempt to
            purchase, your sale or attempt to sell, your transfer or attempt to transfer, and your registration or attempt to
            register the Domain Name will not and does not infringe the rights of any third party (including but not
            limited to the intellectual property rights of any third party). You represent and warrant that you will take all
            steps necessary to fulfill your obligations under this Agreement and to complete the transaction contemplated
            by this Schedule. We make no representation or warranty as to the status of the Domain Name, including
            whether or not the Domain Name or your actions in purchasing, selling, transferring or registering the
            Domain Name infringes or will infringe on any other party's rights. It is your responsibility to ensure that the
            Domain Name and your actions do not and will not infringe on any other party's rights. Further, in addition to
            its other disclaimers in the Agreement, Network Solutions disclaims any liability with respect to the terms of
            the agreement between the Seller and the Buyer set out in Section 10, and Network Solutions makes no
            representation or warranty that the terms of that agreement are adequate to meet your needs or to provide you
            with the legal rights, protections and obligations that are best for you. If you do not wish to use the terms of
            Section 10 for your agreement with the Seller or the Buyer, you should not use this service.

            7. Termination by Network Solutions; No Liability. You agree that Network Solutions may terminate the
            COS at any time (and at any stage in the process), without liability to either Seller or Buyer, if, at any time,:
            (1) the Buyer or Seller fails to fulfill any of its obligations under this Agreement; (2) Network Solutions
            believes the Buyer is or may be using a stolen or unauthorized credit card; (3) Network Solutions believes the
            Buyer or Seller may be acting in fraudulent or unauthorized manner, a manner that may subject Network
            Solutions to a claim by a third party, or otherwise in a manner that violates any law, Network Solutions
            policy, this Agreement, or any right of a third party; or (4) Network Solutions receives a complaint from a
            third party that the Seller or the Buyer is violating any law, Network Solutions policy, this Agreement, or any
            right of a third party. In the event Network Solutions terminates the COS as provided herein, Network
            Solutions shall have no liability to the Buyer or the Seller for such termination, and Network Solutions shall
            be permitted, but not obligated, to transfer the Domain Name back to the Seller as registrant and to return to
            the Buyer any of the Buyer's funds still in Network Solutions' possession.

            8. Terms for the Buyer. The following additional terms apply only to the Buyer. The Buyer agrees to the
            following additional terms in this Section:

               A. COS Offer Fee; Non-Refundable; Exceptions. You will use the COS to make an offer via email to a
                  Seller to pay to the Seller the offer price selected by you (the "Offer Price") in exchange for the Seller's
                  agreement to transfer the Domain Name to you through the COS. If your offer exceeds $25,000, you
                  are required to use our Certified Offer Service PLUS and we will contact you by phone to confirm your
                  offer amount. You will pay the non-refundable COS offer fee (the "Offer Fee") set forth on our Website
                  at the time you make your offer. This Offer Fee will be paid by you via your credit card and is
                  non-refundable regardless of whether or not your offer is accepted by the Seller or the Domain Name is
                  transferred to you (but we will not charge you the fee if it is not possible to send your offer because, for
                  example, there is no email listed for the Seller in the WHOIS database).
               B. Nature of Your Offer and Any Counter-Offers. We will send your offer via email to the email address
                  of the administrative contact of the registrant as reflected in the WHOIS database of the registrar
                  currently sponsoring the Domain Name. If you are using Certified Offer Service PLUS, we will contact
                  the administrative contact initially by telephone to convey your offer. You acknowledge that the



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                 information in the WHOIS database might not be accurate and that we have no obligation to and will
                 not confirm the accuracy of any WHOIS information. Your offer will remain valid and binding on you
                 for a period of ten (10) calendar days (fourteen (14) calendar days if you are using Certified Offer
                 Service PLUS) from the date of your offer, unless before then the transaction is terminated by Network
                 Solutions, or the Seller accepts or rejects your offer (the "Offer Period"). You may not and will not
                 attempt to revoke your offer during the Offer Period. Your offer will automatically terminate upon
                 expiration of the Offer Period. If the Seller makes a counter-offer, we will send you an email, or contact
                 you by telephone if you are using Certified Offer Service PLUS, containing the Seller's counter-offer
                 price (or minimal acceptable price) (the "Seller Counter Price"), which you may accept, reject or to
                 which you may make a counter-offer within ten (10) calendar days (fourteen (14) calendar days if you
                 are using our Certified Offer Service PLUS) from the date of the Seller's counter-offer, unless the
                 Seller's counter-offer has been terminated (the "Seller Counter Period"). If you make a counter-offer to
                 the Seller during the Seller Counter Period, we will convey your counter-offer price (the "Buyer
                 Counter Price") to the administrative contact of record as described above. Your counter-offer serves as
                 a rejection of the Seller's counter-offer. Additionally, your counter-offer will remain valid and binding
                 on you for a period of ten (10) calendar days (fourteen (14) calendar days if you are using Certified
                 Offer Service PLUS) from the date of your counter-offer, unless the transaction is terminated by
                 Network Solutions, or the Seller accepts or rejects your counter-offer (the "Buyer Counter Period").
                 You may not and will not attempt to revoke your counter-offer during the Buyer Counter Period. Your
                 counter-offer will automatically terminate upon expiration of the Buyer Counter Period.
              C. Acceptance of Offer or Counter-Offer; Process. For transactions up to and including $4,999.99, if the
                 Seller accepts either your offer during the Offer Period or your counter-offer during the Buyer Counter
                 Period, or if you accept the Seller's counter-offer during the Seller Counter Period, we will notify you
                 via email, and: (1) You will immediately pay to Network Solutions, and Network Solutions is
                 authorized to charge your credit card in the amount of (i) the Offer Price, Seller Counter Price, or
                 Buyer Counter Price, as applicable, and (ii) the transaction fee (the "Transaction Fee") set forth on our
                 Website at the time you make the offer (collectively, the "Total Price"); and (2) You will complete, sign
                 and return to Network Solutions, in the time-frame specified by Network Solutions, any and all
                 paperwork sent to you by us to complete the transaction contemplated by this Agreement. For
                 transactions totaling $5,000 or greater, if the Seller accepts either your offer during the Offer Period or
                 your counter-offer during the Buyer Counter Period, or if you accept the Seller's counter-offer during
                 the Seller Counter Period, we will notify you via email, and your payment is required in the form of a
                 wire transfer, with the instructions for such payment contained in the e-mail that we will send to you. If
                 you are using Certified Offer Service PLUS, we will contact you by telephone to provide you with the
                 information that you will need to make payment of the Total Price by wire transfer. Upon fulfillment of
                 your obligations set forth above, Network Solutions will initiate a transfer of the sponsorship of the
                 Domain Name to Network Solutions as registrar (with the Seller as registrant of the Domain Name), if
                 the Domain Name is not then-currently sponsored by Network Solutions as registrar, or will transfer
                 the Domain Name into a new account for the Seller. Once the domain name is sponsored by Network
                 Solutions as registrar and in a new account for the Seller, the Domain Name will be placed in a "lock"
                 status. Network Solutions will then change the registrant of the Domain Name to the Buyer (or to the
                 person or entity directed by the Buyer). After any successful change of registrant as contemplated
                 herein, Network Solutions will pay to the Seller (as listed in the WHOIS database for the Domain
                 Name at issue), from the funds received by the Buyer, the Offer Price, Seller Counter Price, or Buyer
                 Counter Price, as applicable. In the case of an offer made using Certified Offer Service PLUS, Network
                 Solutions shall charge the Seller a Seller's Transaction Fee and deduct the Seller's Transaction Fee from
                 the Buyer's payment before sending the funds to the Seller.
              D. Rejection or Termination of Offer or Counter-Offer. If the Seller (i) rejects your offer without making a


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                   counter-offer, (ii) fails to respond to your offer during the Offer Period, (iii) rejects your counter-offer,
                   or (iv) fails to respond to your counter-offer during the Buyer Counter Period, the COS will
                   immediately terminate. If you reject a counter-offer made by the Seller or fail to respond to a
                   counter-offer during the Seller Counter Period, the COS will immediately terminate.
               E. 60-Day No Transfer Requirement. For a period of sixty (60) days following any successful transfer of
                   the Domain Name, you agree not transfer or attempt to transfer the Domain Name to another person or
                   to another registrar, and Network Solutions is authorized to deny any request for such a transfer.
               F. Domain Name Transfer and Registration Subject to Service Agreement. Through the COS, you are
                   applying to transfer and register the Domain Name to the Buyer with Network Solutions as the
                   sponsoring registrar. Any successful transfer and subsequent registration of the Domain Name to the
                   Buyer is governed by the terms and conditions of this Agreement (which includes the General Terms
                   and Conditions and the Schedules applicable to domain name registrations and registrant name
                   changes).
               G. Disclosure of Buyer Information. During the transaction contemplated by the COS, we will not
                   disclose your identity to the Seller or any third party, unless the COS is terminated by Network
                   Solutions as a result of a third party claim concerning the COS, the Domain Name, or the Seller or
                   Buyer, or as a result of your failure to fulfill any of your obligations under this Agreement to us or to
                   the Seller, or as a result of a claim by the Seller that you have not fulfilled your obligations under this
                   Agreement. Additionally, after the completion of any Domain Name transfer hereunder, we are
                   permitted but not obligated to disclose your identity and contact information to the Seller or as
                   otherwise provided in this Agreement.
               H. Value Assessment. You acknowledge and agree that the Value Assessment Tool available as part of the
                   COS is designed to be a helpful tool only and that it is your responsibility to determine the offer price
                   (or counter-offer price) that is appropriate for you and the Domain Name in question.
                I. Tax Consequences. You agree that you are responsible for complying with all tax filings, certifications,
                   notices, rules and regulations, arising out of your actions as a Buyer through the COS, including the
                   payment of any sales, use, value-added or other taxes, assessed or due in connection with your payment
                   of the Offer Price, Seller Counter Price or Buyer Counter Price, as applicable, to the Seller (through
                   Network Solutions) and the filing of any required forms or returns with the appropriate authorities in
                   connection therewith.
               J. Suspension of Your Account; Transfer of Domain Name to Network Solutions. In addition to all other
                   remedies available at law or in equity, Network Solutions shall have the right, but not the obligation, to
                   (i) suspend your account with Network Solutions indefinitely (which will suspend all other services
                   you may have with us in your account) until payment is received by you in accordance with your
                   obligations under this Schedule, and (ii) transfer the Domain Name to Network Solutions as registrant
                   if you do not make required payments under this Schedule within three (3) business days after notice is
                   sent via email to you from Network Solutions that such payment is owed.
               K. Seller Request to Reopen Offer. If we receive a request from the Seller that you reopen an offer under
                   the COS (a "Reopen Request"), we may, but will not be obligated to, notify you of the Reopen Request.
                   If you receive such a request from us, and you wish to submit another offer to the Seller through the
                   COS, any such offer by you shall be treated as an initial offer through the COS, starting anew the COS
                   process, and that offer and all subsequent counter-offers, if any, shall be governed accordingly by the
                   terms and conditions of the Agreement (which includes but is not limited to this Schedule).

            9. Terms for the Seller. The following additional terms apply only to the Seller. The Seller agrees to the
            following additional terms in this Section:

               A. Acceptance of Offer or Counter-Offer; Process. You may accept, reject or make a counter-offer (as


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                 described below) to the Buyer's offer so long as the offer has not been terminated (the "Offer Period").
                 If you accept the Buyer's offer during the Offer Period, Network Solutions will inform the Buyer of
                 your acceptance via email (or if using Certified Offer Service PLUS, by telephone), and will attempt to
                 obtain funds from the Buyer via credit card or wire transfer (for transactions of $5,000 or more) to pay
                 the offer price (the "Offer Price") and Network Solutions' Transaction Fee. If you make a counter-offer
                 to the Buyer and the counter-offer is accepted by the Buyer, Network Solutions will inform you via
                 email or by telephone, of the Buyer's acceptance of the counter-offer, and Network Solutions will
                 attempt to obtain funds from the Buyer via credit card or wire transfer (for transactions of $5,000 or
                 more) to pay the counter-offer price (sometimes referred to as the minimum acceptable price) (the
                 "Seller Counter Price") and Network Solutions' Transaction Fee. The Buyer might not accept your
                 counter-offer, but might instead make a counter-offer to you. In that case, you may accept or reject the
                 Buyer's counter-offer so long as the Buyer's counter-offer has not been terminated (the "Buyer Counter
                 Period"). If you accept the Buyer's counter-offer, if any, within the Buyer Counter Period, Network
                 Solutions will inform the Buyer of your acceptance via email or by telephone, and will attempt to
                 obtain funds from the Buyer via credit card or wire transfer (for transactions of $5,000 or more)to pay
                 the Buyer's counter-offer price (the "Buyer Counter Price") and Network Solutions' Transaction Fee.
                 You acknowledge and agree that in any case Network Solutions must first obtain sufficient funds from
                 the Buyer before a transaction can be completed, and that failure of the Buyer to deposit sufficient
                 funds with Network Solutions shall be grounds for Network Solutions to terminate the COS. After
                 sufficient funds have been obtained from the Buyer, Network Solutions will attempt to transfer the
                 Domain Name to a new account with Network Solutions where you will still be the registrant. If the
                 Domain Name is being sponsored by another registrar, Network Solutions will first initiate a transfer of
                 the Domain Name to Network Solutions as registrar. Once the Domain Name is registered with
                 Network Solutions as registrar and in a new account with you as the registrant, Network Solutions will
                 change the registrant of the Domain Name to the Buyer (or as directed by the Buyer). After any
                 successful change of registrant as contemplated herein, Network Solutions will pay to the Seller (as
                 listed in the WHOIS database for the Domain Name at issue), from the funds received by the Buyer,
                 the Offer Price, Seller Counter Price, or Buyer Counter Price, as applicable. In the case of an offer
                 made using Certified Offer Service PLUS, Network Solutions shall also deduct a Seller's Transaction
                 Fee before sending the funds to the Seller. The amount of the Transaction Fee charged to the Seller is
                 published on our Website. If an offer or counter-offer is accepted, you will properly respond to and
                 complete any and all emails and/or documentation sent to you from Network Solutions or your current
                 registrar concerning the transfer of your domain name, and otherwise take all steps necessary, to effect
                 the transfer of the Domain Name to Network Solutions as registrar (where the Domain Name is
                 sponsored by another registrar) and to the Buyer as registrant. Upon fulfillment of your obligations set
                 forth above, and the deposit of sufficient funds by the Buyer, Network Solutions will send you a check
                 for the Buyer's payment of the Offer Price, Seller Counter Price, or Buyer Counter Price, as applicable
                 less the Seller's Transaction Fee.
              B. Nature of Your Counter-Offer. We will send your counter-offer, if any, via email, or via telephone, to
                 the Buyer at the email address or phone number provided by the Buyer. Your counter-offer serves as a
                 rejection of the Buyer's offer. You acknowledge and agree that if the email address provided by the
                 Buyer is not accurate or valid, the counter-offer will not reach the Buyer. If you are using Certified
                 Offer Service PLUS we will make every attempt to reach the Buyer either by email, phone or regular
                 mail. Your counter-offer will remain valid and binding on you for a period of ten (10) calendar days
                 (fourteen (14) calendar days if you are using Certified Offer Service PLUS) from the date of your
                 counter-offer, unless before then the transaction is terminated by Network Solutions, or the Buyer
                 accepts, rejects or makes a counter-offer to your counter-offer (the "Seller Counter Period"). You may
                 not and will not attempt to revoke your counter-offer during the Seller Counter Period. Your


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                   counter-offer will automatically terminate upon expiration of the Seller Counter Period.
               C. No Changes After Acceptance or Counter-Offer. You will not attempt to transfer or change the
                   registrant for the Domain Name after accepting an offer or Buyer counter-offer, or after making a
                   counter-offer, except as instructed by Network Solutions or if notified by Network Solutions that the
                   Seller Counter Period has expired.
               D. Rejection or Termination of Counter-Offer. If the Buyer rejects your counter-offer or fails to respond to
                   your counter-offer during the Seller Counter Period, the COS will immediately terminate.
               E. Additional Seller Representations and Warranties. You represent and warrant that as of the time you
                   accept an offer or a Buyer counter-offer, or make a counter-offer, you are the current registrant of the
                   Domain Name (or the current registrant's authorized agent) with full authority to enter into this
                   agreement and to sell and transfer the Domain Name to the Buyer as contemplated herein, and that you
                   have not and will not do anything to change the registrant or current registrar of the Domain Name
                   except as instructed by Network Solutions or if notified by Network Solutions that the Seller Counter
                   Period has expired.
               F. Change of Registrar, Domain Name Registration, and Registrant Name Change Subject to Service
                   Agreement. Through the COS, you are applying to transfer, if applicable, and register the Domain
                   Name with Network Solutions as registrar, and to then transfer the Domain Name to the Buyer with
                   Network Solutions as the sponsoring registrar. Any successful change of registrar and registration of
                   the Domain Name with Network Solutions, and transfer and subsequent registration of the Domain
                   Name to the Buyer is governed by the terms and conditions of this Agreement (which includes the
                   General Terms and Conditions and the Schedules applicable to domain name registrations, change of
                   registrar, and registrant name changes).
               G. Disclosure of Buyer Information. During the transaction contemplated by the COS, we will not
                   disclose the identity of the Buyer except as otherwise permitted in this Agreement.
               H. Tax Consequences. You agree that you are responsible for complying with all tax filings, certifications,
                   notices, rules and regulations, arising out of your actions as a Seller through the COS, including the
                   payment of any sales, use, value-added or other taxes, assessed or due in connection with your receipt
                   of payment of the Offer Price, Seller Counter Price, or Buyer Counter Price, as applicable, from the
                   Buyer (through Network Solutions) and the filing of any required forms or returns with the appropriate
                   authorities in connection therewith.
                I. Seller Request to Reopen Offer. We may, but shall not be obligated to, provide you with the
                   opportunity to request through us that a Buyer reopen an offer for the Domain Name. In the event a
                   Buyer does in fact reopen an offer, such an offer will be treated as an initial offer under the terms of the
                   COS, starting anew the COS process, and that offer and all subsequent counter-offers, if any, shall be
                   governed accordingly by the terms and conditions of the Agreement (which includes but is not limited
                   to this Schedule).

            10. Terms Between Buyer and Seller. The following terms and conditions apply between the Buyer and
            Seller (unless defined in this Section, capitalized terms shall have the meaning assigned to them elsewhere in
            this Schedule):

               A. Buyer's Rights and Obligations to Seller. By making an offer or counter-offer through the COS, the
                  Buyer offers to pay to the Seller (through Network Solutions) the offer price or Buyer Counter Price
                  conveyed by email or by telephone to the Seller by Network Solutions through the COS in exchange
                  for the Seller's agreement to transfer the Domain Name to the Buyer. The Buyer further agrees to keep
                  the Buyer's offer and any Buyer counter-offer, if any, open and valid for a period of ten (10) calendar
                  days (fourteen (14) calendar days if you are using Certified Offer Service PLUS) from the date of the
                  offer or counter-offer, unless the offer or counter-offer is accepted or rejected sooner (each an "Offer


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                  Acceptance Period"). If the offer or Buyer counter-offer is accepted by the Seller within the Offer
                  Acceptance Period in the manner provided for through the COS, or if the Seller makes a counter-offer
                  which is accepted by the Buyer within the Counter-Offer Acceptance Period (defined below) in the
                  manner provided for through the COS, the Buyer agrees to pay the Seller the offer price, Seller Counter
                  Price, or Buyer Counter price, as applicable, by depositing sufficient funds via credit card with
                  Network Solutions or by making payment by wire transfer (for transactions of $5,000 or more) to
                  Network Solutions, to cover the offer price, Seller Counter Price, or Buyer Counter price, as applicable,
                  and any Transaction Fee owed by the Buyer to Network Solutions, and to take all other steps described
                  in the COS process and the agreement between Buyer and Network Solutions to permit completion of
                  the transaction. Buyer agrees that in addition to Seller's other rights and remedies, Seller shall be
                  permitted to seek a re-transfer of the Domain Name to Seller if at any time during or after the
                  transaction provided for through the COS, Buyer fails to deposit sufficient funds or the Buyer's funds
                  are determined to be insufficient to pay the payments for which the Buyer is obligated under the terms
                  of this Schedule, and Buyer hereby consents to any such re-transfer.
               B. Seller's Rights and Obligations to Buyer. By accepting an offer or Buyer counter-offer within the Offer
                  Acceptance Period, or making a counter-offer through the COS that is accepted by the Buyer during the
                  Counter-Offer Acceptance Period (defined below), in either case in the manner provided for through
                  the COS, the Seller agrees to transfer the Domain Name to the Buyer (or the Buyer's designee) in
                  exchange for the Buyer's agreement to pay the Seller and fulfill the Buyer's other obligations as set
                  forth in 10A above. The Seller further agrees to keep the Seller's counter-offer, if any, open and valid
                  for a period of ten (10) days (fourteen (14) calendar days if you are using Certified Offer Service
                  PLUS) from the date of the counter-offer, unless the counter-offer is accepted or rejected sooner (the
                  "Counter-Offer Acceptance Period"). If the Seller accepts the Buyer's offer or counter-offer, or the
                  Buyer accepts the Seller's counter-offer, Seller further agrees to fulfill its obligations described in the
                  COS process and the agreement between Seller and Network Solutions to permit completion of the
                  transaction, including agreeing to allow Network Solutions to deduct the amount of the Seller's
                  Transaction Fee from Buyer's payment. The Seller shall provide the Buyer, upon request by the Buyer,
                  with the information necessary for the Buyer to fulfill its obligations, if any, related to tax filings and/or
                  certifications in connection with the payment being made to Seller hereunder.
               C. Representations of the Parties to One Another. The Seller (or the person acting on behalf of the Seller)
                  represents and warrants to the Buyer, and the Buyer (or the person acting on behalf of the Buyer)
                  represents and warrants to the Seller, that he/she/it is authorized to agree to the terms set forth in this
                  Schedule and to do all things necessary to complete the transaction contemplated by the COS, and that
                  he/she/it will take all steps necessary to fulfill his/her/its obligations to the other party and to Network
                  Solutions.

                            SCHEDULE N TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                     WEB HOSTING SERVICES

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all purchases of
            nsCommerceSpace™ or Web Hosting Services (as defined below).

            1. Description of Service

            Network Solutions may make available for purchase, from time to time, a variety of hosting or hosting
            related packages referred to as nsCommerceSpace™, Shared Web Hosting (formally Web Hosting),



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            SharePoint® Hosting, VPS Hosting, other stand-alone hosting services and optional add-on services, as
            published on the Network Solutions website (collectively, "Web Hosting Services"). Subject to the terms and
            conditions of this Agreement (which includes this and all other applicable Schedules) and during the term of
            this Agreement, Network Solutions agrees to provide to you the Web Hosting Services you purchase during
            the sign-up process. Network Solutions reserves the right to amend its Web Hosting Services offerings and to
            add, delete, suspend or modify the terms and conditions of the Web Hosting Services, at any time and from
            time to time, and to determine whether and when any such changes apply to both existing and future
            customers.

            2. Fees and Payment Terms

            2.1 Web Hosting Services shall be paid by valid payment method (acceptable to Network Solutions) at the
            time of purchase at the fee set forth on our Website. Your monthly and, if you've selected our "auto-renew"
            feature, annual payments for Web Hosting Services shall be automatically charged to the payment method
            provided by you at the time of your purchase (with such payments being charged in advance on a monthly or
            annual basis, as applicable) each month or annually, as applicable ("Web Hosting Services Fee"), and you
            hereby agree that Network Solutions is authorized to so charge the payment method on file. Network
            Solutions, in its sole discretion, shall determine the prices it will charge for the Web Hosting Services, and the
            terms and conditions applicable to the same, and Network Solutions may, upon providing prior written notice
            to you by email, amend such pricing and/or terms and conditions. If you do not agree to any such pricing
            and/or terms and conditions change(s), you may terminate this Agreement (or cancel your Web Hosting
            Services, as applicable) as provided herein within thirty (30) days from the date of your notice; otherwise all
            such changes shall be effective with respect to your account, and you agree that we are authorized to charge
            your credit card for any new Web Hosting Services Fee, on the next monthly or annual (as applicable)
            payment cycle.

            2.2 In addition to recurring service fees, Network Solutions may charge set up fees and other one-time fees
            for any optional services as set forth on our Website and/or described in this Schedule (collectively "One-time
            Fees"). Billing for One-time Fees shall be by valid credit card (acceptable to Network Solutions) at the time
            of purchase at the price set forth on our Website. Your One-time Fees shall be automatically charged to the
            credit card provided by you (and acceptable to Network Solutions) at the time of your purchase, and you
            hereby agree that Network Solutions is authorized to so charge your credit card. Network Solutions, in its
            sole discretion, shall determine the prices it will charge for all One-time Fees.

            2.3 Network Solutions will charge you a Processing Fee if you terminate or cancel any package prior to the
            completion of any limited money-back guarantee time period for that package. You authorize Network
            Solutions, in its sole discretion, to charge the credit card provided by you at the time of your purchase or
            forward an invoice to you immediately upon any such termination or cancellation of an annual Web Hosting
            Services package for the amount of the Processing Fee.

            2.4. Network Solutions will suspend your account if you request a chargeback on your credit card for
            automatic charges to your credit card for excess data transfer usage (see Section 6 below).

            3. Term and Termination

            3.1 Term. Your Web Hosting Services shall be either (i) on a month-to-month basis for successive monthly
            periods or other similar billing cycle, (ii) if you have selected our auto-renew feature, on a year-to-year basis
            for successive yearly periods, or (iii) if you have not selected our auto-renew feature, for a one-time annual
            period, all unless either party notifies the other of termination or cancellation in accordance with this


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            Agreement, and subject to the then-current terms and conditions of this Agreement at the time of any renewal
            of your Web Hosting Services.

            3.2 Cancellation. Subject to your obligation to pay any applicable Processing Fees, you may cancel your Web
            Hosting Services at any time. To cancel your Subscription Service you must notify Network Solutions. Your
            Web Hosting Services will be canceled as of the expiration of the monthly billing cycle in which your notice
            was received. Any fees already paid to Network Solutions shall not be reimbursed to you (except for money
            back guarantees that may apply to your services). Unless terminated earlier as provided herein, this Schedule,
            and the Agreement if you have no other services with Network Solutions, will be terminated as of the
            cancellation of your Web Hosting Services.

            3.4 Upon any termination of this Schedule or the Agreement for any reason, Sections 2, 3.4, 4, 5, 6, and 7
            shall survive termination.

            4. Additional Warranty Disclaimers and Limitations of Liability

            4.1 ADDITIONAL DISCLAIMER. NETWORK SOLUTIONS IS NOT LIABLE, AND EXPRESSLY
            DISCLAIMS ANY LIABILITY, FOR THE CONTENT OF ANY DATA TRANSFERRED EITHER TO OR
            FROM YOU OR STORED BY YOU OR ANY OF YOUR CUSTOMERS VIA THE SERVICES
            PROVIDED BY NETWORK SOLUTIONS.

            4.2 Information obtained by you from the Internet may be inaccurate, offensive or in some cases illegal.
            Network Solutions has no control over information contained on the Internet and accepts no responsibility for
            any information that you may receive or transmit via the Internet.

            4.3 You accept full responsibility to verify the truth and accuracy, legality and ownership of the information
            that you disseminate or display in connection with your use of the Web Hosting Services or obtain from the
            Internet.

            4.4 You agree that if Network Solutions takes any corrective action under this Agreement in response to your
            or your end users' actions or failures to act, that corrective action may adversely affect you or your end users
            and you agree that Network Solutions shall have no liability to you or your end users due to any corrective
            action taken by Network Solutions.

            4.5 You agree that Network Solutions has no obligation to back-up any data related to your website unless
            Network Solutions expressly agrees otherwise in writing (or has expressly stated so on our Website). You
            agree that you will regularly back-up your data whether or not Network Solutions agrees to or actually does
            back-up any data.

            4.6 You agree that any backups provided in conjunction with the Web Hosting Services will be allocated to
            any applicable storage package.

            5. Restrictions on Use

            5.1 Network Solutions does not intend to and shall have no obligation to systematically monitor the content
            that is submitted, stored, distributed or disseminated by you via the Web Hosting Services (the "Content").
            Your Content includes content of your end users and/or users of your website. Accordingly, you are
            responsible for your end users' content and all activities on your website. Network Solutions, in its sole and
            exclusive discretion, may immediately take corrective action, including, but not limited to, removal of all or a
            portion of your Content and suspension and/or termination of your Web Hosting Services, in the event of


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            notice of any possible violation of this Agreement or the AUP by you or your end users. You agree that
            Network Solutions will have no liability to you or any of your end users due to any corrective action that
            Network Solutions may take and that you will not be entitled to a refund of any fees paid in advance prior to
            the corrective action. You agree to the additional restrictions of use for the ancillary services provided by
            Network Solutions in conjunction with the Web Hosting Services that are found in other schedules to this
            Agreement.

            5.2 You warrant that your Content does not violate or infringe any copyright, trademark, patent or intellectual
            or other proprietary property right of any third party or contain any obscene or libelous material or otherwise
            violate any law or regulation.

            5.3 Your use of networks or computing resources provided to Network Solutions by third party providers and
            made available to you as part of the Web Hosting Services is subject to the respective permission and usage
            policies of such third parties. If you purchase VPS Hosting services, you agree to be bound by the terms of
            the End User License Agreement located at http://www.swsoft.com/en/company/eula/.

            5.4 You expressly (i) grant to Network Solutions a license to cache the entirety of your Content and your
            Website, including content supplied by third parties, hosted by Network Solutions under this Agreement, and
            (ii) agree that such caching is not an infringement of any of your intellectual property rights or any third
            party's intellectual property rights.

            5.5 You agree that you will not exceed the bandwidth or storage space limits applicable to the Web Hosting
            Services purchased, as set forth on our Website. You agree that if you do exceed either of such limits,
            Network Solutions, in its sole and exclusive discretion, may immediately take corrective action, including,
            but not limited to, deletion of part or all of your content, assessment of additional fees, suspension and/or
            termination of your Web Hosting Services. You agree that Network Solutions will have no liability to you or
            any of your end users due to any corrective action that Network Solutions may take and that you will not be
            entitled to a refund of any fees paid in advance prior to the corrective action. Furthermore, Network
            Solutions' hosting servers are not an archive and Network Solutions shall have no liability to you or any other
            person for loss, damage or destruction of any of your content. You shall at all times, use the space provided to
            you on Network Solutions' hosting servers exclusively for serving up and deploying your website. You shall
            not use the space provided to you on Network Solutions' hosting servers in any way which may result in an
            excessive load on the Network Solutions' equipment and/or network, including but not limited to installing or
            running web proxies, using your allotted space as online backup or storage, or mirroring mass downloads.
            Use of the space provided to you on Network Solutions' hosting servers and your services shall be in a
            manner consistent with the terms and conditions of this Agreement and shall not in any way impair the
            functioning or operation of Network Solutions' equipment or network. Should your use of the Network
            Solutions' services result in a violation of this or any other part of this Agreement, in Network Solutions' sole
            discretion, Network Solutions may suspend your services until the cause of any such violation is determined
            and resolved.

            5.6 For the "Unlimited" shared Web Hosting Services, there is no bandwidth or storage space limit. However,
            "Unlimited" shared Web Hosting Services are not intended to support the hosting needs of large enterprises
            that require large bandwidth and storage capabilities. To insure that our shared hosting is reliable and
            available for all of our small business users, your usage cannot adversely affect the performance of other
            customers' sites. Using our "Unlimited" shared Web Hosting Services primarily as online storage space for
            archived electronic files is prohibited. You agree that if your bandwidth and storage space usage adversely
            affects other customers on our shared hosting platform, Network Solutions may suspend or terminate your
            Web Hosting Services without liability.


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            5.7 You may use the SpaceManager feature for this service (which is found on Network Solutions' website) in
            order to store and share up to 2GB of files. Each file shall not exceed 200MB in size. You agree that your use
            of SpaceManager shall not in any way impair the functioning or operation of Network Solutions' equipment
            or network. You further agree that if you exceed the limitations set forth above, and/or violate Network
            Solutions' Acceptable Use Policy. Network Solutions, in its sole and exclusive discretion, may immediately
            take corrective action, including, but not limited to, assessment of additional fees, suspension, termination,
            and/or deletion of your files.

            6. Data Transfer Overage Charges

            6.1 You agree that you will not exceed the data transfer (bandwidth) or storage space limits applicable to the
            Web Hosting Services purchased, as set forth on our Website. You agree that if you do exceed either of such
            limits, Network Solutions, in its sole and exclusive discretion, may immediately take corrective action,
            including, but not limited to, assessment of additional fees and/or suspension and/or termination of your Web
            Hosting Services. You agree that Network Solutions will have no liability to you or any of your end users due
            to any corrective action that Network Solutions may take and that you will not be entitled to a refund of any
            fees paid in advance prior to the corrective action.

            6.2. Excess bandwidth usage cannot be purchased by you in advance.

            6.3. If you exceed your data transfer limit in the last 24 hours of any given month, Network Solutions will not
            charge you additional fees so long as the data transfer overage does not exceed 25GB.

            6.4. For the VPS Hosting, you agree that Network Solutions may automatically charge your credit card for
            the bandwidth overage fees. You may opt-out of automatic charges to your credit card by contacting
            Customer Service. If you opt out of the automatic overage charges, you risk account suspension if you exceed
            your allotted amount.

            7. Other Terms and Conditions

            7.1 The Web Hosting Services we provide under this Agreement may incorporate other products or services
            that we provide, or products or services provided by third parties with whom we have a business relationship
            ("Additional Services"). Your use of these Additional Services may be subject to a separate application and/or
            approval process and you reaching separate agreements with us or with third parties. (For example, if you
            desire to accept credit card payments through a website you establish via the Web Hosting Services, your
            relationship with the third-party merchant account provider may be subject to an application and approval
            process and you reaching a separate agreement with such provider.) Some of these separate agreements may
            require you to pay fees in addition to the fees that you pay us for the Web Hosting Services. We will strive to
            let you know when your receipt of Additional Services will require you to enter into a separate agreement,
            whether with us or with a third-party, and whether such separate agreement will require you to pay additional
            fees. Additionally, depending on the services you elect to receive, you may be responsible for establishing
            and maintaining a commercial banking relationship with a financial institution. The terms of any such
            relationship shall be between you and the financial institution and will not necessarily reflect or incorporate
            terms of any agreements we may have with the institution. Further, you agree that our third party vendors
            providing any services as part of the Web Hosting Services, and their successors, are intended third-party
            beneficiaries under this Agreement and will be entitled to enforce your obligations under this Agreement.
            Finally, you acknowledge and agree that other Schedules in this Agreement may apply to the various services
            included in your Web Hosting Services package (for example, Schedules related to domain name registration,
            email, Private Registration, etc.), and that you have read and you agree to be bound by the additional terms


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            and conditions in those Schedules.

            7.2 You agree that any domain name directory, sub-directory, file name or path (e.g. ) that does not resolve to
            an active web page on your Website being hosted by Network Solutions, may be used by Network Solutions
            to place a "parking" page, "under construction" page, or other temporary page that may include promotions
            and advertisements for, and links to, Network Solutions' Website, Network Solutions product and service
            offerings, third-party Websites, third-party product and service offerings, and/or Internet search engines. You
            agree that Network Solutions may change the content and/or appearance of, or disable any of these temporary
            pages at any time, in its sole discretion, and without prior notice.

            7.3 For the VPS Hosting services, Network Solutions may also offer MyTime Support™ services in addition
            to providing its standard support services. MyTime Support™ is available to assist you with complex
            technical functions and issues related to the VPS Hosting services and are available for a fee that will be
            charged to your credit card based on the amount of support time used. Network Solutions makes no
            warranties with respect to any technical support services provided to you and you are solely responsible for
            the management of your VPS Hosting system, server software and applications.

                            SCHEDULE O TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                        ONLINE MARKETING SERVICES (nsMarketing™)

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all purchases of Online
            Marketing Services, SEO Optimizer, Gorilla Online Marketing or nsMarketing™ Services (as defined
            below).

            1. Description of Service

            1.1 Network Solutions may make available for purchase, from time to time, a variety of online marketing
            services in the form of our nsMarketing™ solution, Gorilla Online Marketing and/or SEO Optimizer product,
            including online banner advertisement creation and publication, pay per click search engine advertising,
            email communication tools, registration with several World Wide Web search engines and Internet Yellow
            Pages Directories (as described on our Website), search engine optimization, link building, search
            submissions, keyword optimization, local, regional and national directory listing and submission, Website
            and site map analysis, call-tracking, search engine optimized press release service, search engine visibility
            and/or premium listings services (collectively, "Online Marketing Services", "nsMarketing" or "Services"), as
            published on the Network Solutions Website. Subject to the terms and conditions of this Agreement (which
            includes this and all other applicable Schedules) and during the term of this Agreement, Network Solutions
            agrees to provide to you the Online Marketing Services you purchase during the sign-up process. Network
            Solutions reserves the right to amend its Online Marketing Services offerings and to add, delete, suspend or
            modify the terms and conditions of such Online Marketing Services, at any time and from time to time, and
            to determine whether and when any such changes apply to both existing and future customers.

            1.2 In order to use the Services, you must obtain access to the Internet/World Wide Web, either directly or
            through devices that access Web-based content, and pay any service fees associated with such access. In
            addition, you must provide all equipment necessary to make such connection to the Internet/World Wide
            Web, including a computer and modem or other access device.

            2. Your Obligations.


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            2.1 If you provide any information that is untrue, inaccurate, incomplete or not current, or we have
            reasonable grounds to suspect that such information is untrue, inaccurate, incomplete or not current, Network
            Solutions has the right to suspend or terminate your account and refuse any and all current or future use of the
            Services (or any portion thereof).

            2.2 You understand that all information, data, text, software, music, sound, photographs, graphics, video,
            messages or other materials (for purposes of this Schedule, "Content"), whether publicly posted or privately
            transmitted, are the sole responsibility of the person from which such Content originated. This means that
            you, and not Network Solutions, are entirely responsible for all Content that you upload, post, email or
            otherwise transmit via the Online Marketing Services.

            2.3 In addition to all other restrictions under this Agreement and the Acceptable Use Policy, you agree to not
            use the Online Marketing Services to upload, post, email or otherwise transmit any Content that you do not
            have a right to transmit under any law or under contractual or fiduciary relationships (such as inside
            information, proprietary and confidential information learned or disclosed as part of employment
            relationships or under nondisclosure agreements).

            2.4 You acknowledge that Network Solutions does not pre-screen Content, but that Network Solutions and its
            designees shall have the right (but not the obligation) in their sole discretion to refuse or move any Content
            that is available via the Service. Without limiting the foregoing, Network Solutions and its designees shall
            have the right to remove any Content that violates this Agreement or is otherwise objectionable. You agree
            that you must evaluate, and bear all risks associated with, the use of any Content, including any reliance on
            the accuracy, completeness, or usefulness of such Content. In this regard, you acknowledge that you may not
            rely on any Content created by Network Solutions or submitted to Network Solutions.

            2.5 You understand that the technical processing and transmission of the Online Marketing Services,
            including your Content, may involve (a) transmissions over various networks; and (b) changes to conform
            and adapt to technical requirements of connecting networks or devices.

            2.6 Network Solutions reserves the right to reject any advertisements from entities for any reason, including
            those products and/or advertisements deemed to be inappropriate in any way. This includes advertisements or
            links to pornography, violence, vulgar language, dating/personal ad sites, mp3 sites, gambling, racial/hate
            promotion, foreign language, etc.

            3. Fees and Payment Terms. Payment for the Online Marketing Services selected by you will be on a
            pre-paid basis, due and payable at the beginning of the term, and will continue billing at the beginning of any
            and all subsequent terms until such time as you or we terminate the Online Marketing Services. To participate
            in the premium listings service (the "Listings Service") (as a part of the Online Marketing Services and in
            particular the Paid Search Advertising Services further defined in Schedule P to this Agreement), you must
            be an active, current Network Solutions account holder. You agree to pay us or our third party vendors for all
            charges incurred by your use of the Listings Service. For charges generated through the delivery of clicks to
            your site, you will be charged based on actual clicks and pay all charges in US Dollars. All charges are
            exclusive of taxes. Charges are solely based on our (or our third party vendors') click measurements. For all
            pay-per-click or similar Online Marketing Services with fees paid in advance based on projected advertising
            spend and related service and/or management fees, for all amounts not spent on pay-per-click or other
            advertising and not otherwise allocated towards related service or management fees, such amounts may not
            rollover or be returned, but instead may be retained by Network Solutions.

            You are responsible for paying all taxes and government charges, and reasonable expenses and attorney fees


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            we incur in any action associated with the collection of service fees. You agree to submit any claims or
            disputes regarding any charge to your account in writing to us within sixty (60) days of such charge otherwise
            such claim or dispute will be waived and such charge will be final and not subject to challenge.

            Any one-time service fees charged to your account and any initial deposit, the value of which will be credited
            to your account, are non-refundable. When your funds on deposit with us fall below the minimum level for
            active accounts, defined as 20% of your estimated monthly click charge for the PPC Services, we will
            automatically bill your credit card, charge card, or debit card on file the amount equal to the minimum
            monthly amount (defined as your Average Daily Spend amount multiplied by 30 days), as specified by you
            during the Listings Service signup. We reserve the right to change the minimum level for active accounts at
            any time. You have the option of terminating your Listings Service at any time. Such termination of your
            Listings Service shall be effective at the end of your normal billing cycle, or when your funds on deposit are
            exhausted. At time of notice of termination, we reserve the right to allocate any or all of your available funds
            to any outstanding charges or fees due us. Upon the effective date of termination, your listings will be
            removed from the search engines.

            4. Your License. Network Solutions grants you a personal, non-transferable and non-exclusive right and
            license to use on a single computer the object code of any software provided to you by Network Solutions in
            connection with the Online Marketing Services ("Software"); provided that you do not (and do not allow any
            third party to) copy, modify, create a derivative work of, reverse engineer, reverse assemble or otherwise
            attempt to discover any source code, sell, assign, sublicense, grant a security interest in or otherwise transfer
            any right in the Software. You agree not to modify the Software in any manner or form, or to use modified
            versions of the Software, including (without limitation) for the purpose of obtaining unauthorized access to
            the Online Marketing Services. You agree not to access the Online Marketing Services by any means other
            than through the interface that is provided by Network Solutions for use in accessing the Online Marketing
            Services.

            5. Specific Restrictions. In certain instances involving the Online Marketing Services, Network Solutions
            will perform industry research in order to provide keyword phrase choices to you. During these research
            activities, Network Solutions may contact you via email with information that will require a response.
            Response will be necessary for the project to move forward in a timely manner. In these situations, if a
            response is not received from the client for more than 60 days, the project is considered "abandoned" and
            payment is surrendered in full. Network Solutions will not conduct any type of intellectual property review or
            analysis of recommended keyword phrases and will further conduct no review of any third party rights to
            recommended keyword phrases. You agree it is entirely your responsibility and obligation to conduct an
            analysis of any recommended keyword phrases to determine whether any other party may have any type of
            rights to the recommended keyword phrases. Network Solutions will not be held liable for any claims arising
            out of your choice or lack thereof of recommended keyword phrases. You agree that you assume all risks for
            trademark infringement, brand infringement, intellectual property infringement or other claims based on your
            choice of keyword phrases. Any tutorial that is provided on a 30-minute or 60-minute basis as a part of the
            Online Marketing Services is for information purposes only. These tutorials are one time only and if the
            tutorial is cut short for any reason by you prior to the end of the 30-minute or 60-minute session no
            continuation of the tutorial is permitted. Network Solutions has the right to terminate the tutorial at the end of
            either the 30-minute or 60-minute session. Network Solutions may also terminate any tutorial if a Customer
            is abusive, makes threats, indicated that the Customer is involved in unlawful activity or poses a risk in any
            way to Network Solutions.

            6. Content. Customer takes full responsibility for all content suggested or supplied to Network Solutions for



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            inclusion on web document(s), advertisement(s) or any form of media. Customer is held legally liable for the
            supplied content and all Content on Customer's Website, including, but not limited to, recommended content
            and content created by Network Solutions for a Customer's Website. Customer agrees to abide by all local,
            state, national, and international laws including, but not limited to, trademarks, patents and copyrights.
            Customer agrees to all content created by Network Solutions to be hosted on customer's website for the
            purposes of achieving increased search engine visibility. Customer agrees once the Services begin, additional
            content may be added to the site by Network Solutions and code may be adjusted to optimize for search
            engines. Any requested changes to graphics, text, web pages, and forms or any other requests extending
            outside of the scope of the project (as defined in the pricing plans) will not be included or considered without
            advanced payment of $120/ hour. Customer gives Network Solutions full authority as a part of this service to
            create, add, delete, revise or upload content, including approved keywords, onto the Customer's site in order
            to optimize your site for search engines.

            7. Changes and Alterations to Customer Websites. In order to keep your website ranking in top search
            engine or online positions or to develop, create and build links we prefer to have full access (read/write
            permissions) to your Website content as found on your Website server. This access may be provided in the
            form of FTP login credentials, or access credentials to a Content Management System (CMS) used on your
            Website. This will allow us to make any necessary changes to your site to optimize your website for search
            engine or online directory rankings. Ongoing access may be required if the level of service you have
            purchased includes regular optimization of your website over time. You agree to allow Network Solutions to
            perform a complete analysis of your site, including, but not limited to, its code, text and links. You further
            agree that Network Solutions may make adjustments as needed to enable the site, code, text or links to be
            located by search engines. Network Solutions will make an effort to work with you to notify you of any
            modifications, adjustments or additions that are made to your site during this process.

            We must have the ability to optimize the layout and keyword density of your web pages. If you plan to make
            any significant design changes to your site within six months of your Online Marketing Services
            (optimization) order, you must notify Network Solutions before work commences. If Network Solutions is
            not notified, a charge may be applied for any update of custom pages that you make. In the event that we are
            not provided full FTP or CMS access to the Website server, we will send you the content and any changes
            and you will be fully responsible for uploading such content and changes to your Website.

            8. Feedback. Customer agrees to provide via email to Network Solutions approval of the keyword phrase list
            within a reasonable period of time (as determined by Network Solutions in its sole discretion and indicated to
            you in such email). If feedback is not received by Network Solutions within such time period, you agree that
            Network Solutions reserves the right to finalize recommended keywords and Network Solutions will not be
            held liable for any claims that may arise from the finalization of the keyword phrases or any additional costs
            required to extend the project timeline. You understand and agree that your failure to respond to the email
            that contains the recommended keyword phrase list within the time period outlined in the email is considered
            an approval of the recommended keyword phrase list thereby giving Network Solutions the authority to
            submit and optimize your site with such keyword phrase(s) contained on the list.

            9. Links. You give Network Solutions full authority and rights to your website in order to develop
            appropriate links, including but not limited to, the text, content and placement of links on your site. You give
            Network Solutions the right to establish an email account on your behalf for the purpose of communicating
            with third parties in order to place links to your site on third party sites. You also give Network Solutions the
            full authority to contact third parties by any means to place links on third party sites. Customer agrees that
            links that are established by use of the Services on third party sites may be removed or deleted by third



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            parties. It is Network Solutions intention when it places links on third party sites for those links to be
            permanently placed on such third party sites, but Network Solutions can not control the actions of third
            parties that may remove or delete a link that Network Solutions has placed. Customer expressly agrees that
            Network Solutions has no liability and no responsibility for links to a Customer's site that are removed or
            deleted by third parties on third party sites. Network Solutions disclaims all liability for any and all claims
            that may arise against Customer or a third party as a result of a link or the text of a link that is on any site on
            the internet or that has been placed on a site as a part of the Services. Customers understands and agrees that
            Network Solutions will not conduct any type of intellectual property search, including trademarks or
            copyrights, as a part of the Services and therefore Customer assumes all risks related to intellectual property
            infringement or violation of any third party's rights.

            10. Press Release Services. The Press Release Service means the service offered by Network Solutions in
            creating content that is dispersed through third party press release distribution channels. As a part of the press
            release service for Online Marketing Services you agree to work with Network Solutions, answer any
            questionnaires that may be sent to you regarding your site and also permit a full analysis of your site in order
            for a press release to be written. Upon finalization of the press release, Network Solutions will submit the
            press release to certain major internet news sites and will work to distribute the press release through third
            parties. The press release service is dependent on various third parties and Network Solutions is not in any
            way responsible for the failure of these third parties to perform in their responsibilities.

            11. Refunds, Limitations and Guarantees.

            11.1 Due to the nature of online marketing, Network Solutions cannot offer guarantees with its Online
            Marketing Services or nsMarketing™ Services and, as such, all payments are nonrefundable.

            11.2 For cretain applicable optimization packages, Network Solutions will work to have your website listed
            in top ten listings across multiple search engines. Most engines will index your site in about three (3) months,
            but it takes time to gain popularity and ranking. The search engines included are: AOL®, AlltheWeb®,
            AltaVista, Ask.com (formerly known as AskJeeves.com), Google®, Hotbot®, Lycos®, Bing.com (MSN),
            Netscape®, and Yahoo!®. Your selection of keyword phrases that are competitive phrases may impact the
            ability for your Website to acquire top listings in all or some search engines. The web is very unpredictable
            and dynamic. In no event will Network Solutions will be liable for any damages, for any cause, arising from
            provided services, including any lost profit, lost savings, or other incidental or consequential damages, even
            if another party has advised Network Solutions of the possibility of such damages, or for any claim.

            11.3 Any Website downtime of one day or more will impact your services as search engines may remove
            your listing if they cannot find your site. Cloning your Website after the promotion has been uploaded will
            adversely impact your Website's ability to acquire top listings in search engines because search engines
            penalize and ban sites for this practice. Any website that contains adult content is not eligible for Online
            Marketing Services.

            You may need to use multiple domains for commonly misspelled versions of your domain name, or for other
            good domain names that you do not want your competitors to get. The only way to point multiple domains to
            the same website in a search engine friendly manner is through a 301 redirect. If you have purchased multiple
            domains and simply redirect them to the same IP address (website) without using a 301 redirect, this may be
            considered by some search engines to be spam because you're trying to index multiple website domain names
            that point to the same physical content on the server. Doing this will risk a duplicate content penalty in some
            search engines.



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            11. 4. From a search engine perspective, 301 redirects are the only acceptable way to redirect URLs. If
            Network Solutions finds that you are not using a 301 redirect to accomplish this task, your Website may not
            be able to acquire top listings in search engines. Search engines will index only your site's main URL, but
            will transfer link popularity from the additional domains to the main one.

            11.5 Network Solutions' nsMarketing™ Services do not include the paid submission fees that some search
            engines charge for inclusion. We are not affiliated with these submission services in any way. You may opt to
            pay these fees directly to the search engine for inclusion.

            11.6 The press release service is not available for certain types of sites including pharmacy sites, gambling
            sites and adult sites. Network Solutions reserves the right to decline any or all services to any site based upon
            site content.

            11. 7 In order for Network Solutions to provide the best possible search engine optimization services, we
            need to work together as a team. You agree that you will let us know if you make any changes to your
            website pages, especially the homepage. As the entrance to your site, this page is critical. You agree to inform
            us of any substantial edits or changes to your site within two days. Search engine optimization fees to repair
            altered pages are billed at $120 per hour.

            11.8 For each press release to be generated and distributed you must initiate the Press Release Service by
            completing a press release questionnaire sent to you via email. If you do not provide a completed
            questionnaire within one year of purchasing the service, your Press Release Service will expire. If you do not
            initiate the Press Release Service with a completed questionnaire and cancel the Press Release Service prior
            to expiration, you may be eligible for a 100% refund of your Press Release Service payment. If you do not
            initiate the Press Release Service with a completed questionnaire and cancel the service after expiration, you
            may be eligible for a 50% refund on the individual retail price (at the time of purchase) of your unused press
            releases. We will refund all charges to the same form of billing you used for your purchase of the Press
            Release Service. If you have initiated the Press Release Service by completing the questionnaire at any time,
            all payments on that press release are non-refundable. An expired Press Release Service may be honored for
            fulfillment at the discretion of Network Solutions.

            11.9 Network Solutions may at any time terminate the Online Marketing Services, terminate this Agreement
            or cancel any online marketing. Network Solutions will notify Customer by email of any such termination or
            cancellation which shall be effective immediately. Upon cancellation or termination Customer shall remain
            liable for any amounts due through the date of such cancellation or termination. Should you desire to cancel
            Online Marketing Services, you must call Network Solutions at 877.438.8599 at least seven (7) business days
            prior to the renewal of your existing service. E-mail or any other forms of attempted cancellation are not
            valid. Cancellation of Online Marketing Services will occur within 48 hours of receipt of request.
            Cancellations may be subject to a cancellation fee. Cancellation requests made after renewal of the specific
            Online Marketing Service(s) will be valid only at the end of the then current 30-day billing cycle, at which
            time such Online Marketing Service(s) will be canceled. Upon cancellation of your Online Marketing
            Service(s), Network Solutions will not provide any refunds to you.

            12. Time Constraints. Unless otherwise specified in writing by Network Solutions, all projects will be
            considered completed upon delivery of the completion notification email. Any additional work will be
            considered out of the scope of the initial project and subject to hourly charges.

            13. Set-up Fees. There are set-up fees related to the Services that are non-refundable. These and other set-up
            fees are required as Network Solutions often must pay for services, software, hardware or labor up front as


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            soon as a Customer purchases the Services.

            14. Additional Fees. Customer agrees that any additional assistance with the Services will be billed by
            Network Solutions to the Customer at the rate of $120/hour. Customer also agrees to pay $120/hour for any
            changes, modifications, updates, and optimization alterations that exceed the scope of the project.

            15. Local Search Visibility. In addition to the other terms of this Agreement and this Schedule O, Customers
            who purchase the Local Search Visibility feature of nsMarketing™ Services understand and agree that as a
            part of this package Network Solutions will offer applications and other related functionality that will
            generate or recommend keyword phrases that the Customer may consider using. Customer agrees not to
            abuse such applications by submitting multiple repeated requests. Network Solutions reserves the right to
            terminate, suspend, revoke or cancel access to these and other applications if the Customer abuses them in
            any way. Customer also acknowledges and agrees that Network Solutions or any of its partners do not
            perform any type of intellectual property search or screen on any recommended keyword phrases.
            Consequently, Customer accepts that it assumes all risk and liability for using recommended keyword phrases
            that are generated through provided applications or are otherwise recommended by Network Solutions.
            Network Solutions is not responsible for any claims by any parties involving Customer's use of recommended
            keywords that may be in violation of any third party's rights (including intellectual property rights). Customer
            expressly authorizes Network Solutions to submit the Customer's site and information related to such site to
            search engines and/or directories and to set the Customer's site for automatic re-submission to search engines
            and/or directories at a frequency determined by Customer updates to their information. If the submission fails
            due to errors in the customer's information, the Customer assumes the responsibility for correcting their
            information. Customer expressly understands that the list of search engines and directories to which Network
            Solutions submits Customer's site and information related to such site may change at any time and therefore
            Customer expressly authorizes Network Solutions to change search engines and/or directories for submission
            purposes when the need may arise. From time to time, Network Solutions may make certain search engine or
            online directory ranking reports available to a Customer as part of this service. Such reports may contain
            inaccurate or incomplete information and such reports may also not contain updated information. Network
            Solutions is not responsible for any errors, omissions or other issues that may arise from such reports or the
            submission of Customer's site to any search engine or directory. If Customer does not want Network
            Solutions to submit the Customer's site for any reason, Customer must notify Network Solutions by telephone
            and email. For any Local Search Visibility package(s), Customers on monthly payment terms will be billed
            the monthly fee each month in advance. This method of billing will apply to all Customers whether or not a
            Customer's Website is live.

                            SCHEDULE P TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                        PAID ADVERTISING SERVICES (nsMarketing™)

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all purchases of Paid
            Advertising Service(s) ("Advertising Services") (as defined below) which may be part of the nsMarketing™
            solution.

            1. Description of the Service. For purposes of this Schedule P to the Service Agreement, the Advertising
            Services shall mean the services whereby Customers wishing to advertise and drive traffic to their Website(s),
            services or products, pay for advertisement listings (including targeted local advertising) and/or phone
            numbers to appear in the search results generated by Network Solutions and/or its search engine partners in
            response to a keyword search term and such advertising campaigns are managed, tracked and monitored via a


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            platform that provides reports, lead and call tracking, and in some instances call recording for sales calls.
            Advertising Services include any advertising which may be categorized as Pay Per Click Services ("PPC
            Services"), Pay Per Impressions Services ("PPM Services"), Pay Per Action Services ("PPA Services"), and
            Pay Per Call Services. Advertisements managed through these Advertising Services may appear on any
            variety of media, including but not limited to Internet search engine results. Other media types include
            content networks such as online news or article sites and online video sites, as well as media such as mobile
            devices. Registering for Advertising Services does not in any way guarantee that all or any of the search
            terms ("keywords") submitted will be accepted by Network Solutions or a third party provider. Network
            Solutions reserves the right, at any time and from time to time to reject and/or remove any keywords
            submitted by Customers. As used in this agreement, the terms "Client", "Customer" and "You" mean you and
            the company or entity that you represent. You agree that Network Solutions may exchange information
            pertaining to your Advertising Services with third parties including, but not limited to search engines, in
            order for Network Solutions to deliver such services for you.

            For Customers that receive PPC Optimizer services and for purposes of clarification, the term of the free trial
            offer is for one calendar month, e.g., from February 23-March 23.

            2. Display of Advertisement and Landing Page. Customer agrees, except where it is receiving Advertising
            Services under our PPC Optimizer services, that it shall work with Network Solutions on all of the text,
            images, video, audio and other data which Network Solutions will use to comprise the advertising creative
            that Customer intends to have displayed through the Advertising Services ("Advertisement") as well as any
            related landing page(s). All such references to landing pages in this Schedule shall also include customer
            built landing pages by Network Solutions. Customer hereby grants to Network Solutions a non-exclusive,
            royalty-free, worldwide right and license by all means and in any media to use, create, reproduce, distribute,
            modify for technical purposes, publicly perform, publicly display and digitally perform and render such
            Advertisement and any corresponding landing pages and all its constituent parts across the internet and to
            submit such Advertisement to search engines and local listing services. Customer agrees that it shall bear all
            responsibility and liability for any and all claims related to the Advertisement or copy, images, video, audio,
            data or text that relate to the Advertisement or landing page. Customer further agrees that Network Solutions
            shall have no liability for any and all claims that relate to any Advertisement, landing page or copy, images,
            video, audio, data or text that relate to the Advertisement or landing page. You are fully responsible for the
            landing page(s) or the redirect website which links to your advertisements.

            3. Advertising Guidelines. Customer acknowledges and agrees that in order for Network Solutions to
            maintain the integrity of the Service and the Advertising Services, Customer is subject to this Schedule P to
            the Service Agreement. Network Solutions may, in its sole discretion, reject, cancel or remove at any time
            any Advertisement from the Advertising Services for any reason without prior notice to the Customer.
            Network Solutions will not be liable in any way for any rejection, cancellation or removal of any
            Advertisement. Customer represents and warrants that: (a) it has all necessary authority to enter into this
            Agreement; (b) it has all necessary licenses, permits, clearances and/or rights to use the Advertisements; (c) it
            will comply with all applicable laws; (d) any use and display of the Advertisements shall not: (i) infringe or
            violate any patent, copyright, trademark, service mark, trade secret, or other intellectual property right of a
            third party, including any right of privacy or publicity; (ii) violate any federal, state or local laws or
            regulations or foreign laws; (iii) contain material that is pornographic, obscene, defamatory, libelous,
            fraudulent, misleading, threatening, hateful, or racially or ethnically objectionable; (iv) be likely to result in
            any consumer fraud, product liability, tort, breach of contract, injury, damage or harm of any kind to any
            person or entity, or (v) contain viruses, Trojan horses, trap doors, back doors, worms, time bombs, cancelbots
            or other computer programming routines that may potentially damage, interfere with, intercept, or expropriate


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            any system data or personal information.

            4. Non-Refundable Setup Fee and Other Fees. Except for the PPC Optimizer service, for which there is no
            Set-up Fee or management fee, Network Solutions will charge Customer a non-refundable setup fee which
            may vary according to the Advertising Services purchased ("Set-up Fee") as well as a monthly management
            fee and a monthly budget. Such budget shall be determined by the Customer. Network Solutions reserves the
            right to waive or discount the Set-up Fee in certain limited instances at the Company's sole discretion. Any
            one-time service fees charged to your account and any initial deposit, the value of which will be credited to
            your account, are non-refundable. We will automatically bill your credit card, charge card, or debit card on
            file for each month of service in advance. All monthly accounts require a minimum of a three month
            commitment at sign-up.

            For Customers, that receive the PPC Optimizer services, the monthly subscription fee is non-refundable.
            Additionaly, for Customers that receive PPC Optimizer services, any "monthly budget" already deposited
            with Network Solutions is non-refundable.

            5. Cancellation; Termination. Network Solutions may at any time terminate the Advertising Services,
            terminate this Agreement or cancel any Advertisement and/or landing page. Network Solutions will notify
            Customer by email of any such termination or cancellation which shall be effective immediately. Upon
            cancellation or termination Customer shall remain liable for any amounts due for as impressions, clicks,
            plays, and/or phone calls already delivered and for clicks on any Advertisements through the date of such
            cancellation or termination.

            Should you desire to cancel Advertising Services, you must call Network Solutions at 877.438.8599 at least
            seven (7) business days prior to the renewal of your existing service. E-mail or any other forms of attempted
            cancellation are not valid. Cancellation of Advertising Services will occur within 48 hours of receipt of
            request. Cancellations may be subject to a cancellation fee. Cancellation requests made after renewal of the
            specific Advertising Service(s) will be valid only at the end of the then current 30-day billing cycle, at which
            time such Advertising Service(s) will be canceled. Upon cancellation of your Advertising Service(s),
            Network Solutions will not provide any refunds to you.

            Notwithstanding the foregoing, Customer may terminate its PPC Optimizer services at any time. Customer
            must call Network Solutions customer service at 877.438.8599 in order to terminate PPC Optimizer services.
            E-mail or any other forms of attempted cancellation are not valid.

            6. Prohibited Uses. Customer agrees not to: (i) generate fraudulent impressions of or fraudulent clicks on
            any advertisements on the Service, including but not limited to using robots or other automated query tools
            and/or computer generated search requests, and/or the fraudulent use of other search optimization services
            and/or software; (ii) advertise substances, services, products or materials that are illegal; (iii) violate any
            policy posted in the Acceptable Use Policy; (iv) fraudulently redirect end user including but not limited to
            unauthorized use of proprietary rights, copyrights, trademarks, or service marks in URLs, use of false or
            misleading URLs, use of "ghosting", "cloaking", and/or "doorway pages" methods; or (v) engage in any other
            illegal or fraudulent business practices. Network Solutions reserves the right to manually review all creative
            for quality and relevancy and reserves the right to refuse any Advertisement or landing page should Network
            Solutions or a Network Solutions affiliate determine it to be inappropriate or irrelevant for any reason
            whatsoever.

            Advertising Services is not intended to assist You in engaging in unlawful or morally objectionable activities.
            Network Solutions' search engine partners reserve the right to refuse or remove any URL or web page from a


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            search engine's index for any reason. Furthermore, Network Solutions explicitly reserves the right to refuse to
            sell to anybody and the right to terminate Your license or Your service if it comes to Network Solutions'
            attention that You are using the PPC Services to enable or otherwise enhance Your participation in
            objectionable activities, which include, but are not limited to, the following: spamming or churning; activities
            designed to undermine the validity and/or credibility of search engine results; activities designed to defame,
            embarrass, harm, abuse, threaten, slander or harass third parties; activities prohibited by the laws of the
            United states and/or foreign territories in which You live or access the Internet; activities designed to
            encourage unlawful behavior by others, such as hate crimes, terrorism, inappropriate behavior and child
            pornography; activities that are tortuous, vulgar, obscene, invasive of the privacy of a third party, racially,
            ethnically, or otherwise objectionable; activities designed to impersonate the identity of a third party; or
            activities designed to harm minors in any way.

            Network Solutions reserves the right at its sole discretion to refuse to sell the Advertising Services for the
            following category of sites: pharmacy, gambling and adult sites as well as any other site that may be in
            violation of the law. Network Solutions Advertising Services only apply to English language Websites
            advertising on US based search engines.

            You must have an active, operational and working Website for the Advertising Services. You agree that any
            URL or web page you submit using the Advertising Services must resolve to an operational web page and
            may not resolve to a DNS error, a 404 error or other error message. Your web page must be publicly
            accessible without the use of passwords or other access codes. Because of the spidering technology used in
            many search engines, your web pages must not reside on a secure server or use any spider blocking
            technology. The description of your web page must be relevant to the page content.

            You represent and warrant that Your URL and/or web page(s) do not infringe the intellectual property rights
            of any third party. You further represent and warrant that Network Solutions, its search engine and directory
            partners, and each of them, have the right and license under any rights or interests You may have in Your
            URL and/or web page(s) to publicly perform, publicly display, and distribute any search listings generated by
            the PPC Services, and to copy, modify or manipulate the search listings as necessary to conform to search
            engine or local listing standards.

            7. Use of Service. Customer agrees to pay all applicable charges under this Agreement, including any
            applicable taxes or charges imposed by any governmental entity. Where applicable for PPC Services or PPM
            Services or PPA Services, Customer acknowledges that Network Solutions may change the minimum pricing
            for bids on keywords or advertising inventory at any time. If Network Solutions, in its sole discretion,
            believes that Customer's ability to pay timely is or becomes questionable, Network Solutions may require
            additional payment in advance, or may immediately stop serving and displaying Customer's Advertisements
            and/or landing pages.

            All requested URL links, search terms and descriptions are subject to Network Solutions' approval. Network
            Solutions reserves the right to reject, cancel or remove any URL link, search terms and descriptions at any
            time for any reason whatsoever.

            You agree and understand that your use of the Advertising Services and related functionality, tools, platform
            and technology may be subject to latency, errors, technical issues, unavailability and incorrect data and
            information. Also the very nature of the Advertising Services are dependent on third party services,
            including, but not limited to Google® and Bing™ | Yahoo!® Search, for data and information and therefore
            some technical issues and data errors may be outside the control of Network Solutions. Therefore, You must
            agree to the terms and conditions applicable to You for Google® and Bing™ | Yahoo!®. You also understand


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            and accept that your use of the Advertising Services may not result in greater sales, leads and/or website
            traffic.

            8. Relevancy. You may only submit search terms and descriptions to Network Solutions and the Advertising
            Services that are relevant to your Website(s) or to those web page(s) contained in your website(s). All search
            terms and descriptions submitted are subject to relevancy review by Network Solutions, and are subject to
            removal or rejection.

            9. Trademark Searches. Due to the volume of search terms/keywords generated through the Advertising
            Services such as PPC Services, Network Solutions will not perform trademark searches on search
            terms/keywords that it recommends. Network Solutions reserves the right to remove or delete search
            terms/keywords in the event that a third party demonstrates to Network Solutions that a customer's use of a
            search term/keyword may infringe such third party's intellectual property rights. Network Solutions will also
            not perform trademark searches on Advertisements and on any landing pages that are created.

            10. Billing. If your budget is used up on any given day, your campaign will be switched off until sufficient
            funds are provided for continued advertising. Because your PPC Services are managed and allocated at
            Network Solutions' discretion based upon an optimization strategy matching your business, you may not see
            your Advertisement appear on certain advertising networks or search engines at all times and your results
            may vary. Network Solutions activates billing for the PPC Services upon purchase. To receive ad clicks, you
            must have a live Website. Lack of a Website will not defer charges or fees for the PPC services.

            For customers that receive PPC Optimizer services, it may take up to two (2) billing cycles to reconcile Your
            outstanding balance to Network Solutions. You explicitly agree that, even after termination of the PPC
            Optimizer services, Network Solutions shall have the right to bill You and You shall be obligated to pay any
            outstanding balance owed to Network Solutions for such services until such outstanding balance is fully
            satisfied.

            11. Temporarily Pausing Your PPC Ad Campaign: PPC Services include an ongoing PPC advertising
            campaign that you and your Network Solutions account manager will work together to launch based on your
            business needs and available budget. During the course of your PPC advertising campaign, you may
            temporarily pause your campaign during which you will not be charged (1) a monthly management fee, or (2)
            your monthly budget amount. You must contact your Network Solutions PPC account manager to request to
            pause your PPC advertising campaign and confirm your request via email. If your campaign remains paused
            for more than thirty (30) days, Network Solutions reserves the right to terminate your PPC advertising
            campaign and account. At Network Solutions' sole discretion, Network Solutions may grant customer
            requests to pause a PPC advertising campaign for a period longer than thirty (30) days. You must reactivate
            your paused campaign by contacting your Network Solutions account manager. This section is not applicable
            to PPC Optimizer Services.

            12. Reporting. From time to time, Network Solutions may make available for Customers who have
            purchased the Advertising Services certain reports regarding a number of items, including, but not limited to,
            Customer's advertising campaigns, keywords, bids, clicks, conversions, advertisements, calls, budget
            allocations, return on investment for advertising campaigns, click thru rates, location of leads, etc. These
            reports may contain errors, omissions, inaccuracies and incomplete data and information. You agree that
            Network Solutions will use, when applicable, the Company's own metrics and analysis for tracking and
            calculating click prices delivered, applicable unit prices and all other traffic measurements and data for the
            Advertising Services. You understand and accept that any information and/or data provided by Network
            Solutions to you for your Advertising Services may be unavailable from time to time, may not be processed


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            on a real-time basis and may be subject to the errors or latency of the internet, Network Solutions' and its
            third party partners' systems and search engines.

            13. Feedback. Customer agrees to provide via email to Network Solutions approval of the keyword phrases
            list for the PPC Services. If feedback is not received by Network Solutions within a reasonable period of time
            (as determined by Network Solutions and indicated to you in the email), you agree that Network Solutions
            reserves the right to finalize recommended keywords and Network Solutions will not be held liable for any
            claims that may arise from the finalization of the keyword phrases or any additional costs required to extend
            the project timeline. You understand and agree that your failure to respond to the email that contains the
            recommended keyword phrase list is considered an approval of the recommended keyword phrase list thereby
            giving Network Solutions the authority to commence your advertising campaign(s) and all associated billing
            for the PPC Services. You agree that after the approval of the keyword phrases, Network Solutions reserves
            the right to restrict and/or reject subsequent changes to the keyword phrases by the Customer during the term
            of the PPC Services. This section is not applicable to PPC Optimizer services.

            14. Calls. You give Network Solutions and its partners the express authorization to track and record certain
            sales calls (the "Sales Call Recording Feature") that relate to your advertising campaign as a part of the
            Advertising Services. You expressly understand that since these sales calls may be recorded you will seek out
            and receive express written authorization to record these calls from your employees prior to enabling the
            Sales Call Recording Feature of the PPC Services. You further agree that you will maintain records of such
            express written authorization and keep those records for at least one year after the authorization is provided
            by your employees. You further agree to provide Network Solutions a copy of the signed authorization forms,
            if Network Solutions requests it from you. You agree to indemnify and hold Network Solutions, Network
            Solutions' employees and agents harmless from any and all claims with respect to the Sales Call Recording
            Feature. This section is not applicable to PPC Optimizer services.

            15. Landing Pages. Upon purchase of a Landing Page package, You give Network Solutions express
            permission to create custom landing pages for your Website as a part of the Advertising Services and such
            landing pages may include some or all of the content on your existing Website along with links that relate to
            or are part of Advertisements. You further agree that Network Solutions may revise, edit or delete certain
            content in order to create a custom landing page as a part of the Advertising Services. In the creation of the
            custom landing pages, you understand that such custom landing pages may interact in different ways with
            third party functionality that relates to or resides on your Website including, but not limited to, SSL
            certificates and third party seals. In some instances the SSL certificate and/or third party seal(s) for a custom
            landing page may be suppressed and not shown in order for the custom landing page to resolve.

                            SCHEDULE Q TO NETWORK SOLUTIONS SERVICE AGREEMENT

            WEBSITE, ECOMMERCE & LOGO DESIGN SERVICES (Design/Develop™, nsWebsite Kickstart &
                                          eWorks! XL®)

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all customer purchases of
            Website Design Services, Ecommerce Design Services, Custom Design Services, Design/Develop™,
            nsWebsite Kickstart, eWorks! XL® and/or Logo Design Services (as further defined below).

            1. Description of Website Design Services, Ecommerce Design Services, Custom Design Services and
            Logo Design Services



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            1.1 Network Solutions will build a Website and/or Ecommerce site (hereinafter referred to as the "Website")
            for the Customer ("you" and/or the "Customer") based upon direction and input provided to us by you. The
            services referenced in this Schedule may be collectively referred to as the "Design Services." Subject to the
            terms and conditions of this Agreement (which includes this and all other applicable Schedules) and during
            the term of this Agreement, Network Solutions agrees to provide to you the Design Services described on the
            Network Solutions Website and purchased by you during the sign-up process. Network Solutions reserves the
            right to amend its Design Services offerings and to add, delete, suspend or modify the terms and conditions of
            such Design Services, at any time and from time to time, and to determine whether and when any such
            changes apply to both existing and future customers. In the event Network Solutions refers you to a partner or
            affiliate and you engage such partner or affiliate to directly provide website design or logo design services to
            you, you understand and agree that Network Solutions is in no manner responsible for the services provided
            by that partner or affiliate and that the terms and conditions of that partner or affiliate will apply to the
            provision of those services provided by the partner or affiliate.

            1.2 Customer hereby grants to Network Solutions and its vendors and subcontractors all necessary rights and
            licenses with respect to the Customer's Website or logo created by Network Solutions in order to carry out its
            obligations under this Agreement and to make a reasonable number of archival or back-up copies as deemed
            necessary by Network Solutions. Network Solutions is not responsible for archiving documents, graphic
            work, physical goods or web pages created for client or documents, graphic work, physical goods or files
            which are mailed, email or faxed to Network Solutions. Network Solutions is not responsible for returning
            any files, documents or physical goods emailed, faxed or mailed to us.

            1.3 The Logo Design Service is an offering whereby Network Solutions will refer you to a third party for
            creation and design of your logo. In the event that you engage such third party to create and design your logo,
            you understand and agree that Network Solutions is in no manner responsible for the services provided by
            that third party and that the terms and conditions of that third pary will apply to the provision of those
            services provided by the same third party.

            1.4 The Website Design Service, nsWebsite Kickstart and eWorks! XL® are offerings whereby a Customer
            can request that Network Solutions assist them with the design of a website using Network Solutions Website
            building tools as selected by Network Solutions at Network Solutions' discretion. Such tools may also include
            or utilize third party applications. Certain Website building tools we use for the Website Design Service
            utilize the Joomla® software application and default templates which are subject to terms and conditions of
            the GNU General Public License which can be found at http://www.gnu.org/licenses/old-licenses
            /gpl-2.0.html. Additionally, we use open source plug-ins to accomplish functionality requests with Joomla!
            We cannot guarantee these plug-ins will be supported in all browsers or that they will continue to function if
            you update the Joomla version without our assistance. Additionally, the eWorks! XL® services may also
            include additional internet marketing services as outlined in advance in writing by Network Solutions and as
            further governed by this Agreement.

            1.5. The Ecommerce Design Service is an offering whereby a Customer can request that Network Solutions
            assist them with the design of their ecommerce site. If you purchase Ecommerce Design Services, you agree
            that you take full responsibility for all content suggested or supplied to Network Solutions for inclusion on
            web document(s), advertisement(s) or any form of media. Customer is held legally liable for the supplied
            content.

            1.6. Custom Design Services. As part of the Custom product group, your design may be dictated by a
            Statement of Work. This level of service is an offering whereby a Customer can request that Network
            Solutions design and create a Website for them using sophisticated graphics, advanced layouts and other


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            features. This level of custom design is not based from an ImageCafe® template. The Customer will receive
            a custom website designed and developed by Network Solutions. Although Network Solutions will custom
            design your website, your website may contain some features and design elements used in other Websites
            designed by Network Solutions. If your design falls into this group, in addition to the terms and conditions
            set forth in this Services Agreement and this Schedule, the Customer shall be bound by the terms of the
            Statement of Work which shall be prepared by Network Solutions and mutually agreed to by Customer and
            Network Solutions. The Statement of Work may contain, but may not be limited to, a list or description of the
            services our Designers will provide you as part of the Custom Design Services, a list of technical, graphic or
            other special features that will be incorporated into your website, applicable fees and payment schedule, and a
            description of any applicable cancellation fee or policy. This Statement of Work shall become a part of this
            Services Agreement and shall be subject to all terms and conditions of the Services Agreement.

            2. Your Obligations. In order for Network Solutions to perform the Design Services in accordance with this
            Agreement, you shall be responsible for doing the following:

            2.1 Providing Network Solutions with all information requested by Network Solutions as well as any custom
            images (including, but not limited to, design, pamphlets, brochures, logos, and other images) that the
            Customer wishes to use in connection with development of your website or Ecommerce site.

            2.2 Contacting Network Solutions promptly to make changes, modifications, and enhancements to your
            website or Ecommerce site starting from the date of sale.

            2.3 Contacting Network Solutions promptly with notice of Customer's decision to cancel or discontinue the
            Design Services starting from the date of sale.

            2.4 Obtaining Internet connectivity to access your website, to send and receive email, and to otherwise access
            and utilize the Internet.

            2.5 To the extent that Customer gathers any personal information about visitors to Customer's website,
            Customer will not share that personal information with any third party without first obtaining the visitor's
            consent.

            2.6 Ensuring that the website content provided by Customer does not infringe or violate the Intellectual
            Property rights (including, but not limited to, trademarks, trade names, copyrights, patents, domain
            registration rights, and trade secrets) or any other right of any third party (including, but not limited to, rights
            of privacy and contractual rights), and acquiring any authorization(s) necessary to use intellectual property or
            other proprietary information of third parties. By using the Design Services, Customer represents and
            warrants that any name or word submitted to be used as all or part of the URL associated with your website
            does not infringe any trademark or domain name rights of any third party.

            2.7 Ensuring the accuracy of materials provided to Network Solutions, including, without limitation, website
            content, descriptive claims, warranties, guarantees, nature of business, and contact information for the
            Customer.

            2.8. During any stage of the design process, a designer or project manager will be working with you to gather
            information to start, feedback to revise, or approval to complete your website. Prompt response will be
            necessary for the project to move forward in a timely manner. If a response is not received from the client for
            more than 60 days, the design project is considered "abandoned" and payment is surrendered in full. Network
            Solutions reserves the right to charge you a fee for repeated missed consultations, repeated rescheduling of



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            consultations related to any website design work, and/or the reinstatement of your website design to an active
            status if no response has been received from you for 30 days.

            2.9. Following the timeline of activities provided to you by Network Solutions, if any.

            3. Information and Content You Provide. If you provide any information that is untrue, inaccurate,
            incomplete or not current, or we have reasonable grounds to suspect that such information is untrue,
            inaccurate, incomplete or not current, Network Solutions has the right to suspend or terminate your account
            and refuse any and all current or future use of the Design Services (or any portion thereof). You acknowledge
            that Network Solutions does not pre-screen Content, images and inventory. However, Network Solutions and
            its designees shall have the right to remove any Content that violates the Acceptable Use Policy ("AUP").
            You agree that you must evaluate, and bear all risks associated with the use of any Content, including any
            reliance on the accuracy, completeness, or usefulness of such Content. In this regard, you acknowledge that
            you may not rely on any Content created by Network Solutions or submitted to Network Solutions.

            4. Non-Interference By You. Customer will use the Design Services in a manner which does not interfere
            with or disrupt other network users, services, or equipment, and Network Solutions reserves the right to
            terminate or suspend the Design Services without notice if such interference is determined by Network
            Solutions to exist. Such interference or disruption includes, but is not limited to:

            4.1 wide-scale distribution of messages, including bulk email or unsolicited spam email, or wide-scale
            distribution of messages to inappropriate mailing lists, newsgroups, or other public or private forums,

            4.2 propagation of computer worms or viruses, and

            4.3 use of the network to make unauthorized entry to other computational, information, or communications
            devices or resources. This includes unauthorized security probing activities or other attempts to evaluate the
            security integrity of a network or host system without permission.

            5. Unauthorized or Inappropriate Use.

            5.1 Network Solutions reserves the right to deny, terminate, or suspend Design Services without notice if, in
            Network Solutions' sole discretion, the Design Services are used by Customer in a manner that violates or
            may violate the following standards or the AUP, and Network Solutions reserves the right to reject, alter,
            modify, or remove Customer's website, website domain name, URL address, or any website content
            (including, but not limited to, any language, words, text, photographs, designs, drawings, graphics, images,
            symbols, or logos) which Network Solutions in its sole discretion deems to be in violation of the AUP or (i)
            an infringement on or a mechanism designed to facilitate the infringement of a propriety interest of any third
            party, including without limitation, any copyright, trademark, domain registration right, trade secret, or patent
            right, or (ii) stating or implying that the Website is placed by Network Solutions or any party with a
            contractual relationship with Network Solutions, or that such parties endorse the Customer's products or
            services, or (iii) pornographic or obscene.

            5.2 Network Solutions neither sanctions nor permits hosted site content or the transmission of data that
            contains illegal or obscene material or fosters or promotes illegal activity. Network Solutions reserves the
            right to immediately suspend or terminate any site or transmission that violates this policy, without prior
            notice. In the event of such termination, Customer agrees that the unused portion of any fees Customer may
            have paid for any services rendered to Customer by Network Solutions are an appropriate recompense to
            Network Solutions for the time required to respond to and address issues created by Customer's illegal or



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            obscene site/content, and Customer agrees not to seek recovery of those fees. Further, should Customer
            violate this Agreement or the AUP, Network Solutions will actively assist and cooperate with law
            enforcement agencies and government authorities in collecting and tendering information about Customer,
            Customer's website, the illegal or obscene content, and those persons that may have inappropriately accessed,
            acquired, or used the illegal or obscene content.

            6. Additional Indemnification Obligations. In addition to your indemnification obligations set forth
            elsewhere in this Agreement, you agree to defend, indemnify, and hold harmless Network Solutions and each
            of its officers, directors, employees, agents, affiliates, co-branders or other partners, and employees of any of
            the foregoing, from, against, and in respect of: (i) any and all losses, damages or deficiencies resulting from
            any third party claim in connection with your website (including, but not limited to, website content) or the
            URL and (ii) all costs and expenses incident to any and all actions, suits, proceedings, claims, demands,
            assessments, or judgments in respect thereof regardless of the merit thereof, including reasonable legal fees
            and expenses (whether incident to the foregoing or to Network Solutions' enforcement of said rights or
            defense and indemnity).

            7. Ownership of Your Content. With the exception of your ownership interest in the information, materials,
            images, photos and other content that you provide to us for inclusion in your website, ownership interest to
            your website, including, but not limited to, the HTML coding, scripting, copyrights, visual layout, appearance
            and design and all other intellectual property rights, shall be with Network Solutions and Network Solutions
            grants you a non-exclusive, revocable license to use these design elements and related applications. Network
            Solutions shall also have the right to display your Website on its online properties as an example of the
            design work Network Solutions is able to provide for its customers. For the nsWebsite Kickstart and eWorks!
            XL® services it is expressly understood that in addition to the ownership interest of Network Solutions as
            referenced above in this Section, Network Solutions shall also own the rights to the domain name utilized in
            conjunction with the Website.

            8. Fees and Payment Terms. Fees for the Design Services selected by you will be on a pre-paid basis, due
            and payable at point of sale (meaning at the beginning of the project), unless another fee or payment structure
            is mutually agreed to by you and Network Solutions in writing, namely, the Statement of Work or via other
            method such as an order confirmation or welcome email. For the nsWebsite Kickstart and eWorks! XL®
            services, you will pay a recurring fee (via a monthly or other similar billing cycle) to Network Solutions, in
            advance, for those related services. You agree to follow the timeline set forth by Network Solutions in the
            Statement of Work. You agree that in the event you terminate your subscription to the Design Services prior
            to the completion of your Design Services you will be subject to a cancellation fee. If your Design Services
            have been completed and been delivered to you, you will not receive a refund of any fees paid and, in the
            event we have permitted you to pay on a monthly (or other payment-over-time) basis, you will be obligated
            to pay us for the balance of your total. The purchase and completion of any Design Services requires receipt
            of written content and images by you ("Content"). If insufficient Content is received we will complete your
            Design Services with placeholder content and deliver the Design Services to you within the guidelines of our
            timeline. At this time you will no longer be eligible for a refund. Content submitted after timeline can be
            added at an hourly rate determined by Network Solutions. If you purchase any Design Services and Network
            Solutions has waived your initial design or set up fee or offered you a discounted set up or design fee,
            Network Solutions shall have the right to charge you, and you agree to permit Network Solutions to charge
            your credit card, up to Two Hundred and Fifty Dollars ($250.00), should you choose to cancel the Design
            Services within sixty (60) days from the date of purchase and after work on your Design Services has started.
            Should you need to pause progress of your Design Services with Network Solutions for any reason, you may
            do so for sixty (60) days. After sixty (60) days you will be charged a restart fee for completing the work on


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            such Design Services. If within sixty (60) days of purchase you choose to cancel your Design Services you
            will be subject to a cancelation fee. Responses from you will be necessary for the project to move forward in
            a timely manner. In these situations, if a response is not received for more than sixty (60) days, the project is
            considered "abandoned" and payment is surrendered in full. In addition, if you request to remove your
            designed Content from our website builder platform, you agree to pay Twenty-Five Dollars ($25.00) per
            page. Finally, Network Solutions reserves the right to charge you a fee for repeated missed consultations
            related to any Design Services work.

            Notwithstanding the foregoing, for the nsWebsite Kickstart and eWorks! XL® services, upon termination of
            those services, should Customer desire to obtain ownership rights to the Website, Customer must obtain
            express written permission from Network Solutions and Customer shall further remit a fee to Network
            Solutions for the assignment of these rights to the Website. Provided Customer is not in default of the
            Agreement and Customer is also current with respect to payments owed to Network Solutions, the fee to be
            remitted for this assignment will be equal to twelve (12) times the then-current recurring fee (monthly or
            otherwise) received by Network Solutions for the Services, unless Customer has already paid Network
            Solutions for the Services for a continuous twelve (12) billing cycles prior to the above referenced
            termination, whereby the fee shall then be equal to Ninety-Nine Dollars ($99.00). This assignment to
            Customer of ownership rights to the Website shall be limited to the actual portions of the Website visible on
            the Internet and its underlying HTML coding as developed specifically for Customer by Network Solutions,
            and shall be sent to Customer via compact disc, but this assignment shall not include any rights to Network
            Solutions' software, trade secrets, methodologies, processes, proprietary functions, know-how, and all
            intellectual property including, but not limited to, all copyrights, trademarks, patents, and trade secrets related
            to Network Solutions' products or services, which shall remain the sole and exclusive property of Network
            Solutions and its respective suppliers, affiliates, partners, and/or licensors. For all images that are part of the
            Website and assigned to Customer hereunder, Customer is granted permission to only use those images in the
            manner in which it is provided to Customer by Network Solutions (i.e. embedded in the Website) and no
            other use of the images is permitted whatsoever. Moreover, upon assignment Network Solutions does not
            warrant the portability or functionality of the Website in any way to or on any platform, hosting or otherwise,
            that is not provided by Network Solutions. Additionally, if Customer desires to purchase the domain name
            associated with the Website, Customer agrees to pay Network Solutions an additional fee of Ninety Dollars
            ($90.00).

            Payment for the purchase of additional design time after the Design Services have been completed
            ("Modification Time") will be on a pre-paid, hourly basis, due and payable at the beginning of each
            modification (and each month thereafter if purchasing additional Modification Time). Any unused
            Modification Time shall not "roll-over" and be used in a subsequent month.

            9. Suspension and/or Termination. If you breach any term of this Agreement including, but not limited to,
            the terms of this Schedule or the AUP, Network Solutions may, in its sole and exclusive discretion, suspend
            or terminate your Design Services immediately and without notice to you. In addition to your obligation to
            pay any set up and applicable fees for the Design Services, fees for the Design Services may continue to
            accrue on suspended accounts and you will continue to remain responsible for the payment of any fees for
            Design Services that accrue during the period of suspension.

            10. Refunds. Refunds are not available for Design Services once you have approved your design
            composition and/or selected your design template. In any event, after one (1) year from the date of purchase,
            no refunds will be provided.

            11. Modifications and Quotes. Quotes for modifications to an existing website are prepared in a statement


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            of work by us exclusively for you. The prices and modifications agreed to in statements of work are unique to
            you. Any statement of work prepared for you is valid for thirty (30) days from the date it is provided to you
            and will become void thereafter. If any change or alteration is made to the statement of work, Network
            Solutions may issue to you a revised statement of work and may require you to purchase additional Design
            Services, which may be billed to you at an hourly rate.

                            SCHEDULE R TO NETWORK SOLUTIONS SERVICE AGREEMENT

                             ADDITIONAL TERMS APPLICABLE TO ECOMMERCE SERVICES

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement, the following additional terms and conditions shall apply to any and all purchases of other
            Ecommerce Services (as defined below).

            1. Description of Service. Network Solutions may make available for purchase, from time to time, a variety
            of ecommerce packages or solutions, stand-alone Ecommerce services, optional add-on ecommerce services
            and ecommerce software, as published on the Network Solutions website (collectively, "Ecommerce
            Services"). The Ecommerce Services include, but are not limited to, shopping cart functionality, ecommerce
            templates, storefront design, support and hosting, order and payment processing, inventory and product
            tracking and management, and Website analytical tools. Network Solutions reserves the right to amend its
            Ecommerce Services offerings and to add, delete, suspend or modify the terms and conditions of the
            Ecommerce Services, at any time and from time to time, and to determine whether and when any such
            changes apply to both existing and future customers.

            2. Software License and Proprietary Rights. During the term of this Agreement, Customer will have a
            limited, revocable, non-transferable and non-exclusive license for Customer to use the Ecommerce Services,
            including but not limited to any software, and related documentation solely for Customer to provide business
            related services over the internet that are consistent with the terms and conditions of this Agreement as well
            as any applicable state, federal, or international law. Customer agrees that Customer and its agents will not:
            (a) sell, lease, transfer, license or sublicense the Ecommerce Services; (b) modify, change, alter, translate,
            create derivative works from, reverse engineer, disassemble or decompile the Ecommerce Services in any
            way for any reason; (c) provide, disclose, divulge or make available to, or permit use of the Ecommerce
            Services by any third party; (d) copy or reproduce all or any part of the Ecommerce Services (except as
            expressly provided for herein); (e) interfere, or attempt to interfere, with the Ecommerce Services in any way;
            (f) engage in spamming, mail bombing, spoofing or any other fraudulent, illegal or unauthorized use of the
            Ecommerce Services; (g) knowingly introduce into or transmit through the Ecommerce Services or any other
            services any virus, worm, trap door, back door, timer, clock, counter or other limiting routine, instruction or
            design; (h) remove, obscure or alter any copyright notice, trademarks or other proprietary rights notices
            affixed to or contained within the Ecommerce Services; (i) engage in or allow any action involving the
            Ecommerce Services that is inconsistent with the terms and conditions of this Agreement; or (j) cause, assist
            or permit any third party to do any of the foregoing. No right, title or interest of intellectual property or other
            proprietary rights in and to the Ecommerce Services and/or other products, services or software made
            available under this Agreement is transferred to Customer hereunder. Network Solutions, its wholly-owned
            subsidiaries and affiliates and its Third Party Licensors (as defined below) retain all right, title and interests,
            including, without limitation, all copyright, trade secret, intellectual property and other proprietary rights in
            and to the Ecommerce Services and/or other products, services or software provided under this Agreement.

            3. Audit Rights. If a customer has purchased any Network Solutions software or has obtained FTP access to
            the Network Solutions software or other Ecommerce Services, Network Solutions shall have the right, during


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            the term of this Agreement and for a period of six (6) months thereafter to access Customer's location and
            files to inspect Customer's or your agent's use of the Ecommerce Services, as well as computers and
            equipment used in connection therewith. Customer shall cooperate fully with any such audit or inspection. In
            the event that any audit shows any misuse, violation or breach of the Ecommerce Services or this Agreement,
            Network Solutions shall be entitled to pursue any remedies available to it under this Agreement or otherwise
            at law or in equity, and to or suspend, revoke, or terminate Ecommerce Services if you are still a Network
            Solutions customer.

            4. Availability, Downtime and General Services. In addition to the provisions in Sections 7 and 8 of this
            Agreement, the parties acknowledge that since the Internet is neither owned nor controlled by any one entity,
            Network Solutions makes no guarantees that any given user will be able to access the Ecommerce Services at
            any given time. Network Solutions shall not be liable to Customer for failure of accessibility to the
            Ecommerce Services or any potential or actual losses that Customer may suffer from Customer's inability to
            access or use the Ecommerce Services or your customer's inability to access any websites that may be
            supported or hosted by Ecommerce Services. Network Solutions provides all Ecommerce Services and any
            software related to those services to the Customer on an "as is" basis and does not guarantee that the
            Ecommerce Services or any related software has no errors, defects or bugs or will function properly.
            Customer agrees that Network Solutions is not responsible in any way for any malfunction or downtime in
            the Ecommerce Services or related software and any damage, injury or lost profits that may arise from such
            malfunction or downtime. Network Solutions makes no guarantee that the Ecommerce Services that the
            Customer purchases will operate seamlessly and without error with Customer's own hardware, software or
            other services (including third party products) that Customer currently uses. Network Solutions makes no
            guarantees regarding system uptime, including but not limited to, the uptime for hosting a Customer's store(s)
            on Network Solutions or third party systems. From time to time, and as may be necessary to maintain such
            systems and Network Solutions hardware, Network Solutions reserves the right to take its servers and other
            hardware offline for repairs, upgrades or routine maintenance. Customer agrees and understands that
            Network Solutions Ecommerce Services, including the hosting of a Customer's store, may be dependent on
            third party services that Network Solutions cannot control. Customer expressly agrees that the availability of
            those third party services may impact Customer's Ecommerce Services and therefore does not hold Network
            Solutions liable for any actions of a third party that may adversely impact Customer's Ecommerce Services.
            Any uptime calculation or percentage that is provided as a part of the Ecommerce Services does not include
            routine maintenance, unexpected downtime caused by network issues or third party vendors, and occurrences
            that are outside the control of Network Solutions, including but not limited to the Force Majeure occurrences
            that are outlined in Section 27 of General Provisions of this Agreement.

            5. Restrictions on Use. You agree that you will not exceed the bandwidth or storage space limits applicable
            to the Ecommerce Services purchased, as set forth on our Website. You agree that if you do exceed any such
            limits or otherwise engage in any such activity, Network Solutions, in its sole and exclusive discretion, may
            immediately take corrective action, including, but not limited to, billing plan adjustment and/or upgrade,
            assessment of additional fees and/or suspension, and/or termination of your eCommerce Services. You agree
            that if your bandwidth and storage space usage adversely affects other customers on our shared Ecommerce
            Services platform, Network Solutions may adjust your billing plan and/or suspend or terminate your
            Ecommerce Services without liability. You agree that Network Solutions will have no liability to you or any
            of your end users due to any corrective action that Network Solutions may take and that you will not be
            entitled to a refund of any fees paid in advance prior to the corrective action.

            6. Bandwidth Fees. If you purchased your Ecommerce package prior to May 30, 2013 you are still subject to
            any bandwidth overage fees. Bandwidth overages will be incurred for each Gigabyte (GB) of usage over your


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            allotted plan amount. The fees are applied by the following scale:

               Bandwidth Overage (GB) Per GB
               6 - 10                        $ 1.50
               11 - 24                       $ 3.50
               25 - 60                       $ 5.00
               61 - 100                      $ 7.50

            Excess bandwidth usage cannot be purchased by you in advance. If you exceed your data transfer limit in the
            last 24 hours of any given month, Network Solutions will not charge you additional fees so long as the data
            transfer overage does not exceed 25GB. For Ecommerce Services, you agree that Network Solutions may
            automatically charge your credit card for the bandwidth overage fees. You may opt-out of automatic charges
            to your credit card by contacting Customer Service. If you opt out of the automatic overage charges, you risk
            account suspension if you exceed your allotted amount.

            7. Terms and Conditions of Network Solutions' Licensors. Customer acknowledges and agrees that the
            Ecommerce Services are provided, in some cases, by third party Licensors to Network Solutions (hereinafter
            "Third Party Licensors"). For all Ecommerce Services that are provided by Third Party Licensors to Network
            Solutions, Customer agrees with and shall abide by all Third Party Licensor terms and conditions, if any.
            Such Third Party Licensor terms and conditions are available upon request (the "Additional Terms and
            Conditions"). Any Additional Terms and Conditions are in addition to and supplement the terms and
            conditions provided in this Agreement. Customer acknowledges and agrees that it will be subject to all
            Additional Terms and Conditions and that all such Additional Terms and Conditions shall be incorporated
            into this Agreement, to the extent those Additional Terms and Conditions do not conflict with the terms and
            conditions of this Agreement, as if set forth fully herein. Customer further agrees that it will be subject to all
            Additional Terms and Conditions where Customer elects to add services to its Ecommerce Services package.

            8. Changes to Network Solutions Licensors. Customer acknowledges that Network Solutions may, at its
            sole discretion, change any Third Party Licensors that provide services under this Agreement, or add or delete
            discrete services from the Ecommerce Services. In the event that Network Solutions changes Third Party
            Licensors, Network Solutions may provide Customer with notification of changes in Third Party Licensors
            and refer Customer to information posted on Network Solutions' website relative to that change which shall
            become Additional Terms and Conditions for the purposes of this Agreement.

            9. MasterPass Online Services. Customer further expressly agrees that in conjunction with any use of any
            MasterPass Online services on Customer’s website and/or otherwise in connection with the Ecommerce
            Services, Customer agrees to the Additional Terms and Conditions related thereto and located online here,
            and further authorizes Network Solutions to accept such Additional Terms and Conditions on Customer's
            behalf. Customer expressly authorizes Network Solutions to opt Customer in to the MasterPass Online
            services, and should Customer be opted-in to any such services by Network Solutions, Customer shall have
            the right to opt-out of such services by contacting Network Solutions at 1-888-252-ECOM (3266).

            10. Refund. Refunds for certain Ecommerce Services are only provided in limited instances and only within
            the first 30 days from Customer's purchase of the services. Such refunds are only permitted where the
            Customer has taken all actions consistent with this Agreement and has not taken any action that would void
            the 30-day trial offer. Refunds will not include a processing fee that all Customers must pay.



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                            SCHEDULE S TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                       MESSAGEGUARD®

            In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
            Agreement (including, but not limited to, Schedule H related to the Email Services), the following additional
            terms and conditions shall apply to the MessageGuard® Services (as defined below).

            1. Description of Service.

               a. For Subscribing Users of MessageGuard Service. Network Solutions is providing current subscribers
                  of the MessageGuard Service with software and/or other services that provide the ability to encrypt and
                  decrypt electronic messages and attachments thereto ("MessageGuard Service").
               b. For Non-Subscribing Users of MessageGuard Service. Network Solutions is providing non-subscribing
                  users with access to the MessageGuard Service to decrypt messages from current MessageGuard
                  Service subscribers and allow non-subscribing MessageGuard Service users to encrypt a limited
                  response (non-subscribing MessageGuard Service users will not be able to send an encrypted response
                  to any email address not included in the original encrypted message, nor will the non-subscribing
                  MessageGuard Service user be able to include an attachment to the encrypted response). The
                  non-subscribing MessageGuard Service user's ability to the use the MessageGuard Service is
                  conditioned upon the non-subscribing MessageGuard Service user having Internet web access and the
                  ability to support specific secure web sessions including, but not limited to, a compatible Secure
                  Sockets Layer.
               c. Equipment and Compatibility Requirements. You must: (a) provide all necessary compatible
                  equipment and software including, but not limited to, equipment and software that supports a
                  compatible electronic mail service; and (b) provide for your own connection to the Internet and pay any
                  service fees associated with such connection.
               d. Further Access and Usage Limits. Network Solutions, at any time and in its sole discretion, may
                  restrict or modify: (a) the size of an electronic message that the MessageGuard Service will encrypt or
                  decrypt; and (b) the number of recipient decryptions (i.e. the number of times a recipient decrypts your
                  encrypted message) for the messages you encrypt with the MessageGuard Service in a given time
                  period. Network Solutions, at any time and in its sole discretion, may further restrict or modify the
                  MessageGuard Service's ability to encrypt and decrypt messages in order to maintain the quality of our
                  services and to protect our computer systems. Network Solutions, in its sole discretion, will determine
                  whether or not your use of the MessageGuard Service is consistent with this Agreement and any
                  Network Solutions operating rules or policies, and may suspend or terminate your access to the
                  MessageGuard Service if your usage is found to be inconsistent with this Agreement or such rules or
                  policies. The MessageGuard Service is subject to unscheduled outages that will impact your ability to
                  use the MessageGuard Service. Network Solutions will use commercially reasonable efforts to restore
                  the MessageGuard Service after any unscheduled outages.
               e. Disclaimer of Malware, Viruses and Spam. Network Solutions makes no representations or warranties
                  that any virus, spam or malware detection service or software will be able to access the electronic
                  messages that you encrypt or decrypt with the MessageGuard Service. You acknowledge and agree that
                  the MessageGuard Service (or any other encryption technology) may significantly or completely
                  disable the effectiveness of any spam, computer virus or malware detection software or service, and
                  that Network Solutions is not responsible or liable to you or any third party with respect to our
                  MessageGuard Service, your receipt of SPAM, computer viruses and/or malware, or the transmission
                  of viruses or malware to your or connected computer systems, networks and/or email programs.


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              f. Limitation on Encryption Technology. You acknowledge and agree that the MessageGuard Service is
                 not guaranteed to be one hundred percent (100%) effective or error free and may permit unauthorized
                 access to electronic mail messages and files that have been encrypted or decrypted by the
                 MessageGuard Service. You acknowledge and agree that Network Solutions shall have no liability to
                 you or any third party with respect to our MessageGuard Service, your failure to send or receive an
                 encrypted electronic message or attachment, or the unauthorized access to your or your intended
                 recipients' encrypted electronic messages or attachments.

         2. Privacy. You acknowledge and agree that nothing will preclude Network Solutions from monitoring,
         editing or disclosing the contents of your encrypted electronic messages with third parties if Network
         Solutions is required to do so by law or in the good faith belief that such action is necessary to: (a) conform
         to the law or comply with legal process served on Network Solutions; (b) protect and defend the rights or
         property of Network Solutions; (c) determine if you are violating the Agreement or the Acceptable Use
         Policy; or (d) act under exigent circumstances to protect the personal safety of our customers or the public.
         You acknowledge and agree that certain technical processing may be required to encrypt and decrypt
         electronic messages and their content. Furthermore, you acknowledge and agree that Network Solutions'
         current privacy policy incorporated herein and made part of this Agreement by reference (posted and
         maintained at http://www.networksolutions.com/legal/privacy-policy.jsp) ("Privacy Policy") is applicable to
         your contact information and that this Schedule's Section 2 does not modify or amend the Privacy Policy.

         3. Your Conduct. You acknowledge and agree that you will be deemed to be in violation of the Acceptable
         Use Policy if you use the MessageGuard Service to encrypt messages that contain: SPAM; computer viruses;
         malware; illegal or unlawful content; threatening, libelous, obscene, harassing or offensive material; or
         content that infringes the intellectual property of a third party. You acknowledge and agree that you will be
         deemed to be in violation of the Acceptable Use Policy if you use the MessageGuard Service in any manner
         that: (a) violates the Agreement; (b) is in conjunction with or assists the furthering of a prohibited use of
         Network Solutions' services as described in the Acceptable Use Policy; (c) is in conjunction with or assists
         the prevention, delay, or circumvention of detecting the prohibited use of Network Solutions' services as
         described in the Acceptable Use Policy; or (d) is in conjunction with or assists in the use of a service
         provided by another party and the use of that other service would violate the Acceptable Use Policy if that
         service were provided by Network Solutions.

         4. Indemnification by You. In addition to your other obligations of indemnification under this Agreement,
         you agree to indemnify, defend and hold harmless Network Solutions, its parent and subsidiary companies,
         and their respective officers, directors, members, shareholders, affiliates, agents, employees and assigns from
         and against any and all liabilities, claims, damages, costs and expenses, including reasonable attorneys' fees
         and expenses, relating to or arising out of your use of the MessageGuard Service to encrypt and decrypt
         electronic messages including, but not limited to, claims made against Network Solutions due to your use of
         the MessageGuard Service to encrypt messages that contain: SPAM; computer viruses; malware; illegal or
         unlawful content; threatening, libelous, obscene, harassing or offensive material; or content that infringes the
         intellectual property of a third party.

         5. Proprietary Rights. The MessageGuard Service is protected by copyright laws and international treaty
         provisions, as well as other intellectual property laws and treaties. All right, title and interest in and to the
         MessageGuard Service, including but not limited to copyrights, patent rights, trade secrets and other
         intellectual property rights, are owned by Network Solutions or its suppliers. All copies and portions of the
         MessageGuard Service, in any form, belong to Network Solutions or its suppliers, which retain all rights not
         expressly granted herein. Nothing in this Agreement constitutes a waiver of Network Solutions' rights under



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         United States copyright law or any other law.

         6. License. Network Solutions grants you a limited, non-exclusive, non-transferable, revocable license to use
         the MessageGuard Service subject to the terms and restrictions set forth herein ("License"). No license is
         granted with respect to any rights to patents, copyrights, trade secrets, trademarks, or any other rights in
         respect to the MessageGuard Service. You may not re-distribute or sublicense the MessageGuard Service.

         7. Other Restrictions. You acknowledge and agree that you may not rent, lend, lease or distribute the
         MessageGuard Service. You acknowledge and agree that you may not alter, modify or adapt the
         MessageGuard Service or reverse engineer, decompile, disassemble, or create derivative works from the
         MessageGuard Service, or allow a third party to do any of the foregoing, except and only to the extent that
         such activity is expressly permitted by applicable law notwithstanding this limitation or by this License. If
         you are a European Union ("EU") resident, information necessary to achieve interoperability of the
         MessageGuard Service with other programs within the meaning of the EU Directive on the Legal Protection
         of Computer Programs is available to you upon written request. Network Solutions may terminate this
         License if you fail to comply with any of its terms and conditions. In such event, you must destroy all copies
         of the MessageGuard Service or any portion thereof.

         8. Export Restrictions. You acknowledge and agree that the MessageGuard Service is subject to the export
         control laws and regulations of the United States, including but not limited to the Export Administration
         Regulations ("EAR"), and sanctions regimes of the U.S. Department of Treasury, Office of Foreign Asset
         Controls. You will comply with these laws and regulations. You shall not, without prior U.S. government
         authorization, export, reexport, or transfer the MessageGuard Service, either directly or indirectly, to any
         country subject to a U.S. trade embargo (currently Cuba, Iran, North Korea, Sudan, and Syria) or to any
         resident or national of any such country, or to any person or entity listed on the "Entity List" or "Denied
         Persons List" maintained by the U.S. Department of Commerce or the list of "Specifically Designated
         Nationals and Blocked Persons" maintained by the U.S. Department of Treasury. In addition, the
         MessageGuard Service may not be exported, reexported, or transferred to an end-user engaged in activities
         related to weapons of mass destruction. Such activities include but are not necessarily limited to activities
         related to: (1) the design, development, production, or use of nuclear materials, nuclear facilities, or nuclear
         weapons; (2) the design, development, production, or use of missiles or support of missiles projects; and (3)
         the design, development, production, or use of chemical or biological weapons.

         9. United States Government. If the MessageGuard Service is accessed or used by any agency or other part of
         the U.S. Government, you and the U.S. Government acknowledge that (i) the MessageGuard Service and
         accompanying materials constitute "commercial computer software" and "commercial computer software
         documentation" under paragraphs 252.227.14 and 252.227.7202 of the DoD Supplement to the Federal
         Acquisition Regulations ("DFARS") or any successor regulations, and the Government is acquiring only the
         usage rights specifically granted in this License; (ii) the MessageGuard Service constitutes "restricted
         computer software" under paragraph 52.227-19 of the Federal Acquisition Regulations ("FAR") or any
         successor regulations and the government's usage rights are defined in this License and the FAR.

         10. Termination by Network Solutions. You acknowledge and agree that, in addition to its ability to terminate
         your subscription, license and/or use of the MessageGuard Service pursuant to the Agreement, Network
         Solutions has the right to terminate immediately your subscription, License and/or use of the MessageGuard
         Service if Network Solutions has a good faith belief that your use of MessageGuard services is in a manner
         that: (1)may be fraudulent or unauthorized; (2) may subject Network Solutions to a claim by a third party; (3)
         may violate any law, Network Solutions' policy, or the Agreement (including this Schedule); (4) may violate
         any right of a third party; or (5) may subject Network Solutions to receive a complaint from a third party that


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         you are violating any law, Network Solutions' policy, the Agreement and its applicable schedules (including,
         but not limited to, this Schedule), or any right of a third party.

         11. Limitation of Liability/Disclaimer of All Warranties: IN ADDITION TO YOUR
         ACKNOWLEDGEMENT AND AGREEMENT TO THE LIMITATION OF LIABILITIES AND
         DISCLAIMER OF WARRANTIES CONTAINED IN THE AGREEMENT, YOU ACKNOWLEDGE AND
         AGREE THAT NETWORK SOLUTIONS IS NOT RESPONSIBLE OR LIABLE TO YOU OR ANY
         THIRD PARTY FOR ANY CONTENT CONTAINED IN MESSAGES OR FILES ENCRYPTED BY THE
         MESSAGEGUARD SERVICE INCLUDING, BUT NOT LIMITED TO: SPAM; COMPUTER VIRUSES;
         MALWARE; ILLEGAL OR UNLAWFUL CONTENT; THREATENING, LIBELOUS, OBSCENE,
         HARASSING OR OFFENSIVE MATERIAL; OR ANY CONTENT THAT INFRINGES A THIRD
         PARTY'S INTELLECTUAL PROPERTY RIGHTS. YOU ACKNOWLEDGE AND AGREE THAT
         NETWORK SOLUTIONS IS NOT RESPONSIBLE OR LIABLE TO YOU OR ANY THIRD PARTY FOR
         THE TRANSMISSION OF VIRUSES OR MALWARE TO YOUR OR ANY CONNECTED OR RELATED
         COMPUTER SYSTEMS, NETWORKS AND/OR EMAIL PROGRAMS. YOU ACKNOWLEDGE AND
         AGREE THAT NETWORK SOLUTIONS SHALL HAVE NO LIABILITY TO YOU OR ANY THIRD
         PARTY WITH RESPECT TO YOUR USE OF THE MESSAGEGUARD SERVICE, YOUR FAILURE TO
         SEND OR RECEIVE AN ENCRYPTED ELECTRONIC MESSAGE OR ATTACHMENT, OR THE
         UNAUTHORIZED ACCESS TO YOUR OR YOUR INTENDED RECIPIENTS' ENCRYPTED
         ELECTRONIC MESSAGES OR ATTACHMENTS. YOU AGREE THAT YOUR USE OF NETWORK
         SOLUTIONS' MESSAGEGUARD SERVICE IS SOLELY AT YOUR OWN RISK. YOU AGREE THAT
         ALL OF SUCH SERVICES ARE PROVIDED ON AN "AS IS," AND "AS AVAILABLE" BASIS.
         NETWORK SOLUTIONS AND ITS LICENSORS EXPRESSLY DISCLAIM ALL WARRANTIES OF
         ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING BUT NOT LIMITED TO THE IMPLIED
         WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE AND
         NON-INFRINGEMENT. NEITHER NETWORK SOLUTIONS NOR ITS LICENSORS MAKE ANY
         WARRANTY THAT THE MESSAGEGUARD SERVICE WILL MEET YOUR REQUIREMENTS, OR
         THAT THE MESSAGEGUARD SERVICE WILL BE UNINTERRUPTED, TIMELY, SECURE, OR
         ERROR FREE. YOU UNDERSTAND AND AGREE THAT ANY MATERIAL AND/OR DATA
         DOWNLOADED OR OTHERWISE OBTAINED THROUGH THE USE OF THE MESSAGEGUARD
         SERVICE IS DONE AT YOUR OWN DISCRETION AND RISK AND THAT YOU WILL BE SOLELY
         RESPONSIBLE FOR ANY DAMAGE TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT
         RESULTS FROM THE DOWNLOAD OF SUCH MATERIAL AND/OR DATA. YOU ACKNOWLEDGE
         AND AGREE THAT NETWORK SOLUTIONS' ENTIRE LIABILITY, AND YOUR EXCLUSIVE
         REMEDY, IN LAW, IN EQUITY, OR OTHERWISE, WITH RESPECT TO THE MESSAGEGUARD
         SERVICE PROVIDED UNDER THIS AGREEMENT AND/OR FOR ANY BREACH OF THIS
         AGREEMENT IS SOLELY LIMITED TO THE AMOUNT YOU PAID FOR THE MESSAGEGUARD
         SERVICE DURING THE TERM OF THIS AGREEMENT.

                           SCHEDULE T TO NETWORK SOLUTIONS SERVICE AGREEMENT

             ADDITIONAL TERMS APPLICABLE TO WATCHDOG® SECURITY SERVICES (nsProtect™
                                             Safe)

         1. Application of Terms

         In addition to the terms and conditions set forth in this Service Agreement, the following additional terms
         shall apply to the Subscription Service(s) (as defined herein) for the nsProtect™ Safe services (formerly



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         "Watchdog®") you use, access or purchase (collectively "use") from Network Solutions.

         2. Definitions and Interpretations

         2.1 In this Agreement, unless the context requires otherwise, the following terms and expressions shall have
         the following meanings:

         "Confidential Information" means all material, data, systems and other information concerning the operation,
         business, projections, market goals, financial affairs, products, services, customers and intellectual property
         rights of Network Solutions that is not accessible or known to the general public. Confidential Information
         shall include, but not be limited to, any information which concerns technical details of operation of any of
         the Network Solutions services and products offered hereunder.

         "Effective Date" means the date when Network Solutions receives the Subscriber's request for Subscription
         Service set out in the Enrollment Form and sent to Network Solutions via the online registration process;

         "Enrollment Form" means an electronic form on Network Solutions' Website completed by the Subscriber by
         providing the Subscriber Data and which identifies the requirements for the Subscription Service;

         "Issue Date" means the date of issue of a nsProtect™ Safe Site Seal to the Subscriber after a successful
         Website vulnerability scan;

         "Performance Monitoring Services" means the Network Solutions program which monitors the availability
         and performance of a Subscriber's Website by downloading the specified Web page on a periodic basis from
         locations around the world. This service will also include alerts via email or text message that may be sent on
         occasion to a Subscriber if the Web page is not available or if the download is slow. Weekly reports will also
         be available or be sent to Subscriber regarding overall performance of the Web page.

         "Site Seal" shall mean a hyperlinked graphic provided by Network Solutions to a Subscriber for display on
         the Subscriber's Website that certifies to visitors to a Subscriber's Website that the Website has been scanned
         for vulnerabilities. When visitors click on the Site Seal, it generally will indicate the date and time of the last
         successful vulnerability scan;

         "Subscriber" means the entity or organization named on the Enrollment Form during the online registration
         process or the Customer as defined in this Service Agreement;

         "Subscriber Data" means information about the Subscriber required by Network Solutions to provide the
         Subscription Service, including without limitation, the information which must be provided by the Subscriber
         on the Enrollment Form during the online registration process and updated as such information changes;

         "Subscription Services" means the provisioning of the nsProtect™ Safe services, which includes the
         Vulnerability Scanning Services, Performance Monitoring Services and the provision of a Site Seal, and
         related services as described in this Agreement;

         "Subscription Service Period" means the time period during which your account subscription shall be active
         commencing on the date of your registration for the subscription.

         "Third Party Data" means data, information or any other materials (in whatever form) not owned or generated
         by or on behalf of the Subscriber;




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         "Vulnerability Scanning Services" means the Network Solutions program which scans a Subscriber's Website
         on a periodic basis to detect whether vulnerabilities exist. An alert via email or text message will generally be
         sent by Network Solutions to Subscriber if a severe vulnerability is detected. Reports will be provided in the
         Subscriber's Account Manager detailing certain detected vulnerabilities and the level of severity for such
         vulnerabilities.

         3. Provisioning the Subscription Service

         3.1 Provided that Network Solutions is able to validate, to its satisfaction, the Subscriber Data, and that
         Network Solutions accepts a Subscriber's application for the Subscription Service (as such application is set
         out in the Enrollment Form), Network Solutions shall provide to the Subscriber the Subscription Service in
         accordance with the terms of this Agreement. Notwithstanding the foregoing, Network Solutions reserves the
         right to refuse a Subscriber's application at its sole discretion and for any reason. You expressly agree that as
         a part of the Subscription Service, you give Network Solutions full authorization to scan your Website from
         anywhere in the world in order to monitor such Website's performance, including, but not limited to the
         uptime/downtime and download time for the Website and also to monitor the Website for vulnerabilities. You
         also agree to take any necessary steps to communicate to your hosting provider (if other than Network
         Solutions) that you have authorized Network Solutions to conduct such scans and request that your hosting
         provider permit these scans to occur unimpeded. If your hosting provider refuses to permit Network
         Solutions to scan your Website, Network Solutions may not be able to perform the necessary scan of your
         Website.

         3.2 The Subscription Services only serve as a passive conduit to identify, report and deliver the fix
         recommendations for various performance problems and avenues of insecurity or vulnerability in your
         Website. While the detailed post scanning reports may contain recommended fix steps and links to possible
         solutions if performance problems and/or vulnerabilities are detected on your system, the Subscription
         Services do not, and are not intended to, fix, remedy, prevent, or eliminate such problems, vulnerabilities
         and/or other insecurities. You are solely and ultimately responsible for your Website's performance and
         securing and protecting your Website. You are also solely responsible for taking appropriate steps and all
         necessary actions to fix, remedy, prevent or eliminate any performance or vulnerability issues with your
         Website and Network Solutions shall have no liability for any recommended steps that Network Solutions
         offers as a part of any report provided to you. Network Solutions shall have no responsibility or liability for
         any vulnerabilities or performance issues that are detected or that are not detected on your system. Network
         Solutions shall in no way be responsible for fixing, remedying, preventing, or eliminating any problems,
         vulnerabilities or other insecurities on your system or your Website.

         3.3 Upon successful validation of your Domain Name, you will receive the automatic, daily vulnerability
         scans and the performance monitoring of the selected IP address(es). If your IP address passes the
         vulnerability scan, you will be permitted to display the nsProtect™ Safe Site Seal on the Website associated
         with such IP address. If at any time the IP address fails the vulnerability scan, you will be given 7 further
         scheduled scan attempts (or 7 days) to fix the problem from the time of the first failed test. During this time,
         you are permitted to continue displaying the nsProtect™ Safe Site Seal on the Website. If the problem is not
         fixed within this 7 day period, Network Solutions may revoke or suspend the nsProtect™ Safe Site Seal.

         3.4 You acknowledge and agree that Network Solutions may, in its sole and absolute discretion, modify, limit,
         remove, or alter the services as it sees fit. Scans, monitoring, verification, and authentications performed by
         the Subscription Services and reports/emails that are part of the Subscription Services may be removed,
         modified, or updated by Network Solutions at any time without notice. You expressly agree that Network
         Solutions shall have no liability to you or any third parties for taking such action as identified in this


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         provision.

         3.5 You acknowledge and agree that any and all reports that Network Solutions provides to you as a part of
         the Subscription Services may contain inaccurate and incomplete information as to performance and/or
         vulnerability issues or proposed fixes and remedies for your Website.

         4. Use of the Subscription Service

         4.1 The Subscription Service is provided by Network Solutions for the Subscriber's own use and the
         Subscriber hereby agrees not to resell or attempt to resell (or provide in any form whether for consideration
         or not) the Subscription Service (or any part of it) to any third party and shall not allow any third party to use
         the Subscription Service without the prior written consent of Network Solutions.

         4.2 The Subscriber shall:

         4.2.1 Use or access the Subscription Service only in conjunction with the Software or other software that may
         be provided by Network Solutions from time to time or specified by Network Solutions to be appropriate for
         use in conjunction with the Subscription Service.

         4.2.2 Be responsible, at its own expense, for access to the Internet and all other communications networks or
         third party services (if any) required in order to use the Subscription Service and for the provision of all
         computer and telecommunications equipment and software required to use the Subscription Service except
         where expressly provided otherwise herein;

         4.2.3 Obtain and keep in force any authorization, permission or license necessary for the Subscriber to use the
         Subscription Service save where Network Solutions expressly agrees to obtain the same under the terms of
         this Agreement; and

         4.2.4 Take all reasonable precautions to prevent any violation of, loss of control over, or unauthorized
         disclosure of Confidential Information relating to the Subscription Service.

         5. License of Subscription Service Technology

         5.1 Network Solutions grants to the Subscriber a revocable, non-exclusive, non-transferable personal license
         to use any Site Seals provided to Subscriber by Network Solutions in accordance with the Subscription
         Service and any manuals or other documents relating to the above insofar as is necessary for the Subscriber to
         utilize the Subscription Service. The Subscriber shall not copy or decompile, enhance, adapt or modify or
         attempt to do the same to the Site Seals, or any documents or manuals relating to the same, without Network
         Solutions' prior written consent.

         6. Revocation or Suspension

         6.1 Subscriber agrees that Network Solutions reserves the right to revoke or suspend a Subscriber's Site Seal
         or the Subscription Services in the event that Network Solutions believe that:

         6.1.1 a Subscriber's Site Seal has not been issued in accordance with the policies set out on the Network
         Solutions Website;

         6.1.2 the Subscriber has requested that its Site Seal be revoked, terminated or suspended;

         6.1.3 Subscriber has violated the provisions of this Agreement, Network Solutions Acceptable Use Policy or


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         any legal or administrative rule;

         6.1.4 the Subscriber Data is no longer correct or accurate, save that Network Solutions has no obligation to
         monitor or investigate the accuracy of Subscriber Data after the Issue Date of that Site Seal;

         6.1.5 a third party complaint about the Subscriber or a threat of litigation against the Subscriber or Network
         Solutions; or

         6.1.6 the Subscriber has used the Subscription Service with third party software not authorized by Network
         Solutions for use with the Subscription Service; and Network Solutions may, at its sole discretion, after
         revocation of a Site Seal, reissue a Site Seal to the Subscriber or terminate this Agreement in accordance with
         the provisions of section 15 herein.

         6.2 The Subscriber agrees to discontinue all use of the Subscriber's Site Seal if the Subscriber's Site Seal is
         revoked in accordance with this Agreement, the Subscription Service Period expires, this Agreement is
         terminated, or any of the information constituting the Subscriber Data ceases to remain valid or correct or
         otherwise changes.

         7. Subscriber Data

         7.1 Subscriber acknowledges that in order to provide the Subscription Service the Selected Subscriber Data
         shall be embedded in the Subscriber's Site Seals and the Subscriber hereby consents to the disclosure to third
         parties of such selected Subscriber Data held therein.

         7.2 Subscriber hereby grants Network Solutions permission to examine, evaluate, process and in some
         circumstances transmit to third parties located outside the United States the Subscriber Data insofar as is
         reasonably necessary for Network Solutions to provide the Subscription Service.

         7.3 Subscriber acknowledges that Network Solutions has the right to gather information regarding the
         Subscriber's use of the Network Solutions account or services to guarantee the proper use of the licenses
         granted by this Agreement.

         8. Subscriber Warranties and Representations

         8.1 The Subscriber warrants, represents and undertakes that:

         8.1.1 all Subscriber Data is, and any other documents or information provided by the Subscriber are, and will
         remain full and accurate and will not include any information or material (or any part thereof) the accessing
         or use of which would be unlawful, contrary to public interest or otherwise likely to damage the business or
         reputation of Network Solutions in any way;

         8.1.2 you have obtained all licenses and consents necessary to fully perform its obligations under this
         Agreement;

         8.1.3 you will not use the Subscription Services for any purpose that is unlawful or is prohibited by these
         terms, conditions, and notices. You agree to comply with all rules applicable to you in your use of the
         Subscription Services, including all applicable local, state, national, and international laws and regulations
         (including without limitation those governing account collection, export control, consumer protection, unfair
         competition, anti-discrimination of false advertising). You agree: (1) not to use the Subscription Services for
         illegal purposes; (2) not to interfere or disrupt networks connected to the Subscription Services; (3) to comply


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         with all regulations, policies and procedures of networks connected to the Subscription Services; (4) not to
         use the Subscription Services to infringe any third party's copyright, patent, trademark, trade secret or other
         proprietary rights or rights of publicity or privacy; (5) to not attempt to gain unauthorized access to other
         computer systems; and (6) to not interfere with another subscriber's use and enjoyment of the Subscription
         Services or another entity's use and enjoyment of similar services. If you violate any of these terms, your
         permission to use the services automatically terminates;

         8.1.4 you will not, directly or indirectly, (1) reproduce, sell, lease, rent, transfer or exploit for any commercial
         purposes any portion of the Subscription Services; (2) modify the nsProtect™ Safe logo in any form, change
         the data contained within the nsProtect™ Safe logo or change its size; (3) use or display the nsProtect™ Safe
         logo in a manner that is misleading, defamatory, infringing, libelous, disparaging, obscene or otherwise
         objectionable to Network Solutions or in a manner that impairs the rights of Network Solutions in its
         trademarks or logos; or (4) represent that Network Solutions guarantees your products or services; and

         8.2 Subscriber shall promptly disclose in writing to Network Solutions anything that constitutes a breach of,
         or is inconsistent with, any of the warranties and representations in section 8.1. Subscriber agrees to update
         the Subscription Data provided during the registration process as such information changes. Subscriber
         acknowledges and agrees that any information provided that is untrue, inaccurate, or incomplete can result in
         the immediate suspension or termination of all rights granted herein in Network Solutions' sole and absolute
         discretion. If Network Solutions ever finds any information provided to be untrue, incomplete, or inaccurate
         or has reason to believe that any information may be untrue, incomplete, or inaccurate, then Network
         Solutions, in its sole and absolute discretion, may suspend or terminate your account and refuse and all future
         use of the services of Network Solutions.

         8.3 The Subscriber agrees not to make any representations regarding the Subscription Service to any third
         party.

         8.4 Subscribers acknowledge that they are conducting their transactions over the Internet. Network Solutions
         provides its services on the Internet and, as such, they are subject to the operation of the Internet and the
         telecommunications infrastructures as well as the operation of your Internet connection services, all of which
         are beyond the control of Network Solutions.

         9. Termination

         If this Agreement is terminated by Network Solutions for any reason, Network Solutions may (in the event
         that a Subscriber's Site Seal has not already been revoked) revoke the Subscriber's Site Seal without further
         notice to the Subscriber and the Subscriber shall pay any amounts due to Network Solutions under this
         Agreement. Network Solutions shall have no obligation to refund any payment by the Subscriber to Network
         Solutions in the event of any termination of this Agreement. YOU FURTHER AGREE THAT UNDER NO
         CIRCUMSTANCES WILL NETWORK SOLUTIONS BE LIABLE TO THE SUBSCRIBER FOR ANY
         LOSS SUFFERED BY THE SUBSCRIBER OR ANY THIRD PARTIES DUE TO USE OF THE SITE
         SEAL OR THE SUBSCRIPTION SERVICES.

                           SCHEDULE U TO NETWORK SOLUTIONS SERVICE AGREEMENT

             ADDITIONAL TERMS APPLICABLE TO TRANSFERME™ WEBSITE MIGRATION SERVICE

         1. Application of Terms. In addition to the terms and conditions set forth in this Service Agreement, the
         following additional terms shall apply to Service(s) (as defined herein) for the TransferMe™ Website


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         migration service you use, access or purchase (collectively "use") from Network Solutions. You agree that
         each person listed in your account information as being associated with your account for any services
         provided to you is your agent with full authority to act on your behalf with respect to such services and is
         bound by the terms of this Agreement.

         2. Accurate Information. The TransferMe service allows you to transfer your Website from your current
         hosting provider to Network Solutions which will host your site pursuant to the hosting terms and conditions
         set forth in Schedule N above. In order to migrate your Website to our hosting platform, you must provide
         Network Solutions with certain information necessary for us to access your Website. This information shall
         include but is not limited to, Internet Protocol (IP) address of your current server, your File Transfer Protocol
         (FTP) username and password, the domain name authorization code, and your email address and password
         information. To allow us to move your site to our hosting platform, you agree to allow us to place scripts on
         your site that will allow us to probe for FTP and other data needed to effectuate the migration of your site.

         3. Representations and Warranties. YOU REPRESENT AND WARRANT THAT: 1) YOU ARE THE
         OWNER OF ALL OF THE CONTENT ON YOUR WEBSITE (INCLUDING BUT NOT LIMITED TO
         THE PHOTOS, COPY, LOGOS, DESIGN ELEMENTS, DATA FILES AND SITE LAYOUT)
         ("CONTENT") AND/OR YOU HAVE THE RIGHTS TO TRANSFER YOUR WEBSITE AND ALL
         CONTENT FROM YOUR CURRENT HOSTING PROVIDER TO NETWORK SOLUTIONS; 2) THAT
         TRANSFERRING YOUR WEBSITE TO NETWORK SOLUTIONS SHALL NOT VIOLATE THE TERMS
         AND CONDITIONS OF ANY AGREEMENT YOU HAVE WITH YOUR CURRENT HOSTING
         PROVIDER OR THIRD PARTY; 3) YOU HAVE THE RIGHT TO PROVIDE US WITH THE
         INFORMATION REQUIRED TO MIGRATE YOUR WEBSITE TO OUR HOSTING PLATFORM; AND 4)
         YOUR WEBSITE AND THE CONTENT THEREON: DOES NOT INFRINGE, MISAPPROPRIATE OR
         OTHERWISE VIOLATE ANY COPYRIGHT, PATENT, TRADEMARK, SERVICE MARK, TRADE
         SECRET OR OTHER INTELLECTUAL PROPERTY RIGHT OF ANY THIRD PARTY; DOES NOT
         BREACH THE RIGHTS OF ANY PERSON OR ENTITY, INCLUDING RIGHTS OF PUBLICITY OR
         PRIVACY, AND IS NOT DEFAMATORY; AND DOES NOT RESULT IN CONSUMER FRAUD
         (INCLUDING BEING FALSE OR MISLEADING). IF YOU ARE NOT ABLE TO MAKE ALL OF THESE
         REPRESENTATIONS AND WARRANTIES, YOU MUST NOTIFY NETWORK SOLUTIONS
         IMMEDIATELY.

         4. Indemnity. In addition to the indemnity obligations in Section 9 of the General Provision of this
         Agreement, you agree to indemnify and hold harmless the Company, its subsidiaries and affiliates, and each
         of their directors, officers, agents, contractors, partners and employees, from and against any loss, liability,
         claim, demand, damages, costs and expenses, including reasonable attorney's fees, arising out of or in
         connection with the transfer of your Website and its Content to our hosting platform, any breach of your
         representations and warranties above, or any violation of this Agreement or of any law or the rights of any
         third party.

         5. Suspension Due to Breach. Network Solutions, in its sole and exclusive discretion, may immediately take
         corrective action, including, but not limited to, removal of all or a portion of the Content on your Website and
         suspension and/or termination of your Web Hosting Services, in the event of notice of any possible violation
         of this Agreement or the AUP by you or your end users. You agree that Network Solutions will have no
         liability to you due to any corrective action that Network Solutions may take and that you will not be entitled
         to a refund of any fees paid in advance prior to the corrective action. You agree to the additional restrictions
         of use provided by Network Solutions in conjunction with the Web Hosting Services that are found in other
         Schedules to this Agreement.



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         6. Disclaimer of Warranties. IN ADDITION TO THE DISCLAIMER OF WARRANTIES SET FORTH IN
         SECTION 8 OF THE GENERAL PROVISIONS OF THIS AGREEMENT, YOU AGREE THAT YOUR
         USE OF OUR TRANSFERME WEBSITE MIGRATION SERVICE IS SOLELY AT YOUR OWN RISK
         AND THAT SUCH SERVICE IS PROVIDED ON AN "AS IS" BASIS WITHOUT WARRANTY. WE
         MAKE NO WARRANTY THAT THE MIGRATION OF YOUR WEBSITE TO OUR HOSTING
         PLATFORM WILL BE TIMELY, SECURE, OR ERROR FREE. YOU UNDERSTAND AND AGREE
         THAT ANY FILES, DATA, OR CONTENT TRANSFERRED USING OUR SERVICE IS DONE AT YOUR
         SOLE RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR ANY LOSS OF DATA THAT
         MAY RESULT FROM THE TRANSFER. IN NO EVENT SHALL NETWORK SOLUTIONS BE LIABLE
         FOR ANY DIRECT, INDIRECT, INCIDENTAL, PUNITIVE, OR CONSEQUENTIAL DAMAGES OF
         ANY KIND WHATSOEVER WITH RESPECT TO THE TRANSFERME WEBSITE MIGRATION
         SERVICE.

                            SCHEDULE V TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                                      (Intentionally Omitted)

                           SCHEDULE W TO NETWORK SOLUTIONS SERVICE AGREEMENT

                           FREE WEBSITE PACKAGE and nsWEBSITE 1-MONTH FREE TRIAL

               In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
             Agreement, the following additional terms and conditions shall apply to any Network Solutions Free Website
                                          Package and nsWebsite 1-Month Free Trial offer.

         1. Description of Service for Free 1-Month Website Package

         Network Solutions may make available, from time to time, a free website package that contains a third level
         domain name, a Website Builder Tool, Web Hosting Service, and one e-mail box. Network Solutions reserves
         the right to amend the products and the services in its free website package and to determine when any such
         changes apply to both existing and future customers.


         1.1. Third Level Domain Name and Website Template Restrictions

         1.1.1. When you select a free website package, you will be able to choose a domain name that is a third level
         domain name, e.g. one that is based upon a domain name that is already registered to, and controlled by,
         Network Solutions (For example: "YourName.mynetworksolutions.com"). Because your domain name is
         based upon a Network Solutions second level domain name hosted by Network Solutions, your domain name
         cannot be transferred to another registrar or to another website hosting company.

         1.1.2. In addition to the restriction on transferability, you also cannot point the third level domain to any
         website other than the one you develop as part of the free website package.

         1.1.3. When you select a third level domain name with us, you agree to be bound by our current domain name
         dispute policy that is referenced in Schedule A, Sections 5, 6,and 7. Again, the current version of the domain
         name dispute policy may be found at our Website: http://www.icann.org/dndr/udrp/policy.htm. You also agree
         that, if your use of a particular domain name is challenged by a third party, you will be subject to the
         provisions specified in our dispute policy. For the adjudication of any disputes brought by a third party


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         against you concerning or arising from your use of a domain name registered with us you (but not Network
         Solutions) agree to submit to subject matter jurisdiction, personal jurisdiction and venue of the United States
         District Court for the Eastern District of Virginia, Alexandria Division and the courts of your domicile. You
         agree that in the event a domain name dispute arises with any third party, you will indemnify and hold us
         harmless pursuant to the terms and conditions set forth in the General Provisions of this Agreement.

         1.1.4. Other terms of Schedules A (nsWebAddress), H (nsMail), K (nsSpace), N (Web Hosting), and O
         (nsMarketing) shall also apply to the free website package.

         1.2. Advertising

         1.2.1 You acknowledge and agree that prior to publication of your free website, your third level domain name
         may resolve to an "under construction" or similar temporary Web page ("Under Construction Page"), and that
         Network Solutions may place on any such Under Construction Page promotions and advertisements for, and
         links to, Network Solutions' Website, Network Solutions product and service offerings.

         1.2.2. Also, you agree that Network Solutions may place advertisements for, and links to, Network Solutions'
         Website, Network Solutions product and service offerings, third-party Websites or third-party product and
         service offerings at the bottom of your published Web Site and at the bottom of e-mails you send using the
         e-mail service provided with the free website package.

         2. Description of Service for nsWebsite 1-Month Free Trial

         Network Solutions may make available, from time to time, an nsWebsite 1-Month Free Trial offer that
         includes a default domain name, a Website Builder Tool, Web Hosting Service, and up to ten (10) e-mail
         boxes. Network Solutions reserves the right to amend the products and the services in the nsWebsite Free
         Trial and to determine when any such changes apply to both existing and future customers.

         2.2. Terms

         2.2.1 You understand and agree that this is a free trial offer that expires in one month. At the end of the
         one-month trial period, you will automatically be charged $9.95/month for the nsWebsite (Small) package. If
         you wish to cancel the service and not be charged, you must contact Network Solutions customer service at
         1-800-333-7680 before expiration of the one-month trial period You understand and agree that in the event
         you cancel the nsWebsite service, any files, email content, email boxes or images associated with your
         website are non-transferable and non-downloadable and will be permanently lost.

         2.2.2. You acknowledge and agree that prior to publication of your nsWebsite, your domain may resolve to an
         "under construction" or similar temporary Web page ("Under Construction Page"), and that Network
         Solutions may place on any such Under Construction Page promotions and advertisements for, and links to,
         Network Solutions' Website, Network Solutions product and service offerings.

         2.2.3. Other terms of Schedules A (nsWebAddress), H (nsMail), K (nsSpace), N (Web Hosting), and O
         (nsMarketing) shall also apply to the nsWebsite Free Trial.

         3. RESTRICTIONS ON USE for Free Website Package and nsWebsite 1-Month Free Trial

         You agree that you will not exceed the bandwidth or storage space limits applicable to the Web Hosting



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         Services offered as part of the Free Website Package and nsWebsite 1-Month Free Trial as set forth on our
         Website. You agree that if you do exceed either of such limits, Network Solutions, in its sole and exclusive
         discretion, may immediately take corrective action, including, but not limited to, assessment of fees and/or
         suspension and/or termination of your Web Hosting Services. You agree that Network Solutions will have no
         liability to you or any of your end users due to any corrective action that Network Solutions may take. In
         addition, you agree not to use our Web Hosting Services offered as part of the Free Website Package and
         nsWebsite 1-Month Free Trial primarily as online storage space for archived electronic files. If we detect that
         you are using our Web Hosting Services to archive files, you agree that Network Solutions may suspend or
         terminate your Free Website Package or nsWebsite 1-Month Free Trial Package without liability.

                           SCHEDULE X TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                        TERMS APPLICABLE TO THE goMobi SERVICES

         In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
         Agreement, the following additional terms and conditions shall apply to the goMobi services offered by
         Network Solutions.

               1. General Terms:
                    A. You are granted a personal, revocable, non-exclusive, non-transferable, non-assignable,
                       non-sublicensable license to:
                             i. use the goMobi service; and
                            ii. install and use a single copy of the software components and/or transcoding tags
                                (including the device detection and transcoding tag software) to be installed on the End
                                User's web server including associated manuals, user guides, help text files or embedded
                                software instructions (together, the "Software") and which link to the dotMobi hosted
                                database which contains information relating to devices for the mobile web (the
                                "Database") solely for the purpose of redirecting mobile web traffic to the goMobi web
                                site that is the subject of the goMobi subscription through searches of the Database (the
                                "Additional Service").
                    B. You shall during the term of the End User Agreement, to the extent reasonably possible, effect
                       and maintain adequate security measures to safeguard the goMobi service, Software and
                       Additional Service from use by any unauthorized person.
                    C. You shall not use the goMobi service and/or the Additional Service in any way not expressly
                       permitted under this Agreement. This includes a prohibition on:
                             i. use of the results of searches performed using the goMobi service and/or the Additional
                                Service for the purposes of publication or distribution to any other persons and/or the
                                transfer of any information or data obtained from such into the public domain;
                            ii. removing or modifying any markings on the goMobi service or the Additional Service
                                including reports or any notice of intellectual property rights;
                          iii. modifying, selling, renting, leasing, transferring, assigning, disposing of, novating,
                                sub-licensing, transferring any of its rights to, reselling for profit or distributing the
                                goMobi service and/or the Additional Service or creating derivative works based on the
                                goMobi service and/or the Additional Service or any part of them;
                           iv. any distribution of data retrieved from the Database (or otherwise through the goMobi
                                service or Additional Service) in any form (whether printed, electronically relayed, posted
                                to public list services or bulletin boards, magnetically stored or otherwise) to, or for the
                                benefit of, any other person;


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                              v. causing or permitting any alteration, adaptation, translation, decompilation, disassembly,
                                 or reverse engineering of the goMobi service and/or the Additional Service (other than as
                                 permitted by applicable law);
                             vi. copying the Software (provided however that You may take such copies or other
                                 reproductions of the Software as are strictly necessary for backup or archival purposes)
                                 and/or the Database or creating subsets or derivative databases from the Database in a
                                 manner not expressly permitted by this Agreement;
                     D. You shall be solely responsible for ensuring compliance with all local laws and regulations in
                        relation to your website and your website content.
                     E. You shall be solely responsible for observing any applicable export and import laws that govern
                        its use of the goMobi service and/or the Additional Service. In particular, You shall not export
                        the Software and/or the Database, or any part thereof, directly, or indirectly, in violation of these
                        laws, or use them for any purpose prohibited by these laws including, without limitation, nuclear,
                        chemical, or biological weapons proliferation.
                     F. You shall agree that dotMobi may make commercial use of data arising from your use of the
                        goMobi service and/or the Additional Service.
               2. Liability:

                 To the extent permitted by law, in no event shall dotMobi have any liability (whether direct or indirect)
                 to you for loss or damage.

               3. Fair Use Policy:

                 In the event that the volume of traffic to you using the goMobi service and/or the Additional Service is
                 sufficient so as to jeopardize the provision of the goMobi service and/or the Additional Service for
                 other end users, dotMobi reserves the right to, at its sole discretion, permanently or temporarily,
                 discontinue provision of the goMobi service and/or the Additional Service to you. For the avoidance of
                 doubt, the volume of traffic generated by you should not exceed 2,000 page views per day.

               4. Acceptable Use Policy:

                 You agree that your access to and right of use of the goMobi service and/or the Additional Service may
                 be suspended and/or terminated if you are found to be using the goMobi service and/or the Additional
                 Service in association with activities which may be detrimental to our or dotMobi's interests or
                 reputation, such as in association with unsolicited commercial email ("spam") or morally objectionable
                 activities. Morally objectionable activities will include, but not be limited to: activities designed to
                 defame, embarrass, harm, abuse, threaten, slander or harass third parties; activities prohibited by the
                 laws of the territories in which you transact your business; activities designed to encourage unlawful
                 behaviour by others, such as hate crimes, terrorism and child pornography; activities that are tortuous,
                 vulgar, obscene, invasive of the privacy of a third party, racially, ethnically, or otherwise objectionable;
                 activities designed to impersonate the identity of a third party; and activities designed to harm minors
                 in any way. In the event that access to and right of use of the goMobi service and/or the Additional
                 Service by you is suspended and/or terminated for spam or morally objectionable activities, no refund
                 shall be due to you.

               5. Domain Transfers:

                 Should a domain to which services are being provided under this Agreement be transferred to another
                 domain name registrar, the provision of the goMobi service and/or the Additional Service will be


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                 interrupted for you on that domain, and the goMobi service and/or the Additional Service will not be
                 restored until the necessary DNS records are made to refer the domain to the goMobi service.

               6. Service Branding:

                 You accept that the text "goMobi by dotMobi" or equivalent, is inserted at the footer of the adapted
                 site.

               7. Updates:

                 As part of the provision of the goMobi service and/or the Additional Service to the End User, updates
                 to the goMobi service and/or the Additional Service will take place from time to time ("Updates").
                 Updates are generally designed to improve, enhance and further develop the goMobi service and/or the
                 Additional Service and may take the form of bug fixes, enhanced functions, new capabilities and
                 completely new versions, and may include, but are not limited to, items such as advertising, links to
                 third party offerings, and other promotional content. dotMobi shall incorporate Updates at its absolute
                 discretion and you shall agree to receive such Updates on the above terms as part of its use of the
                 goMobi service and/or the Additional Service.

                             SCHEDULE Y TO NETWORK SOLUTIONS SERVICE AGREEMENT

                         ADDITIONAL TERMS APPLICABLE TO MyTime Support™ SERVICES

         In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
         Agreement, the following additional terms and conditions shall apply to any and all customer purchases of
         the MyTime Support™ service as defined below.

         1. MyTime Support is a service whereby Network Solutions representatives or a vendor or sub-contractor
         thereof will assist you with configuring, modifying, utilizing or updating the services associated with your
         account and/or other products or services. Subject to the terms and conditions of this Agreement and during
         the term of this Agreement, Network Solutions agrees to provide to you the MyTime Support services
         purchased by you during the sign-up process, provided, however, that all sales shall not be considered final
         until Network Solutions' technical team has reviewed the details of your MyTime Support applicable service
         requests, if any. Upon such review and because of the unique nature of customers' services and websites,
         Network Solutions reserves the right to change the scope of the MyTime Support services purchased by you.
         Such change may result in a change to the price for the MyTime Support services in order to ensure that the
         MyTime Support services can be completed. Should you decline the MyTime Support services after this
         review, Network Solutions will refund your purchase.

         Network Solutions will provide MyTime Support for you based upon direction and input provided to us by
         you. Customer hereby grants to Network Solutions and its vendors and sub-contractors all necessary rights
         and licenses with respect to your account in order for Network Solutions to carry out its obligations for the
         MyTime Support service and to make a reasonable number of archival or back-up copies of information,
         documents, files, or materials as deemed necessary by Network Solutions. Notwithstanding the foregoing,
         Network Solutions is not obligated to archive or responsible for archiving any information, documents, or
         materials that are mailed, emailed, faxed, or otherwise provided to Network Solutions.

         2. Your Obligations. In order for Network Solutions to perform the MyTime Support service in accordance
         with this Agreement, you shall be responsible for the following:



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         2.1 Providing Network Solutions with all information requested by Network Solutions to allow Network
         Solutions to fulfill the specific MyTime Support service requested by you. In certain cases, this may include
         providing access to your computer for a representative of Network Solutions or a vendor or sub-contractor
         thereof.

         2.2 Ensuring that the content provided by you (or any representative thereof), if any, does not infringe or
         violate the Intellectual Property rights (including, but not limited to, trademarks, trade names, copyrights,
         patents, domain registration rights, and trade secrets) or any other right of any third party (including, but not
         limited to, rights of privacy and contractual rights), and acquiring any authorization necessary to use
         intellectual property or other proprietary information of third parties. You represent and warrant that any
         name or word submitted to be used in connection with the MyTime Support service does not infringe any
         trademark, domain name, or any other intellectual property rights of any third party.

         2.3 Ensuring the accuracy of materials provided to Network Solutions, including, without limitation, website
         content, descriptive claims, warranties, guarantees, nature of business, and contact information for the
         Customer.

         2.4 Where you have purchased MyTime Support services on-line (as opposed to over the telephone), within
         thirty (30) days of purchase, you must either: (i) log in to your Account Manager, access your applicable
         MyTime Support services package, and complete the Request Assistance Form provided therein; or (ii)
         contact customer service via telephone to submit your service request. If you fail to contact Network
         Solutions within thirty (30) days of an online purchase of MyTime Support services, payment will be
         surrendered in full.

         2.5 In some cases, Network Solutions will be working with you to gather information to fulfill the specific
         MyTime Support service you have requested. In such cases, prompt response from you is necessary. If a
         response is not received from you for more than fifteen (15) days, the MyTime Support service is considered
         "abandoned" and payment is surrendered in full.

         3. Information and Content You Provide. If you provide any information that is untrue, inaccurate,
         incomplete or not current, or we have reasonable grounds to suspect that such information is untrue,
         inaccurate, incomplete or not current, Network Solutions has the right to suspend or terminate your account
         and refuse any and all current or future services (or any portion thereof). You acknowledge that Network
         Solutions does not pre-screen content, images and inventory. Network Solutions and its designees shall have
         the right to remove any content that violates the Acceptable Use Policy. You agree that you must evaluate,
         and bear all risks associated with the use of any content, including any reliance on the accuracy,
         completeness, or usefulness of such content. In this regard, you acknowledge that you may not rely on any
         content created by Network Solutions or submitted to Network Solutions.

         4. Non-Interference By You. Customer will use the MyTime Support service in a manner which does not
         interfere with or disrupt other network users, services, or equipment, and Network Solutions reserves the
         right to terminate or suspend the MyTime Support service without notice to you if such interference is
         determined by Network Solutions to exist. Such interference or disruption includes, but is not limited to:

         4.1 wide-scale distribution of messages, including bulk email or unsolicited spam email, or wide-scale
         distribution of messages to inappropriate mailing lists, newsgroups, or other public or private forums,

         4.2 propagation of computer worms or viruses, and




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         4.3 use of the network to make unauthorized entry to other computational, information, or communications
         devices or resources. This includes unauthorized security probing activities or other attempts to evaluate the
         security integrity of a network or host system without permission.

         5. One-time MyTime Support Service. All requested services must be redeemed during one service
         consultation. For example, if you purchased 60 minutes of One-time MyTime Support and it only takes 45
         minutes to fulfill the requested service(s), the remaining 15 minutes is waived and related payment
         surrendered.

         6. Monthly MyTime Support Service. All requested services for a given month must be redeemed during
         one service consultation. For example, if you purchased 60 minutes (per month) of Monthly MyTime Support
         and it only takes 45 minutes to fulfill the requested service(s) that month, the remaining 15 minutes for that
         particular month is waived. Additionally, if you do not use your service consultation for a particular month,
         the minutes do not carry over to the next month.

         7. Yearly MyTime Support Service. All requested services for any yearly MyTime Support package must
         be used within the term period purchased. For example, if you purchase a one-year term, you must use all
         minutes allotted within one year from the date of purchase. Any unused minutes shall be deemed as waived
         and forfeited by you.

         For any yearly MyTime Support package, the amount of minutes that Network Solutions takes to complete
         any given task shall be defined pursuant to the MyTime Support Services List, which can be found on
         www.networksolutions.com. The amount of time listed on the MyTime Support Services List for a particular
         task shall be deducted from any remaining minutes on your MyTime Support package, regardless of whether
         the task takes more or less time to complete. For example, if a task is listed as taking 30 minutes on the
         MyTime Support Services LIst and the task takes 45 minutes to complete, Network Solutions will deduct 30
         minutes from the remaining minutes on your MyTime Support package. Similarly, if a task is listed as taking
         30 minutes on the MyTime Support Services List and the task takes only 20 minutes to complete, Network
         Solutions will deduct 30 minutes from the remaining minutes on your MyTime Support package.

         Where the MyTime Support Services List requires you to call Network Solutions for a quote, the time to
         fulfill the requested service shall be provided by Network Solutions during that call or thereafter and shall
         control and be treated as though it were listed on the MyTime Support Services List.

         8. VPS Migration Services. For certain services offered under MyTimeSupport that involve the migration of
         a Network Solutions VPS hosting package to another Network Solutions hosting package, the following
         additional terms apply:

         In accordance with such a migration, Network Solutions will endeavor to migrate over necessary website,
         database and hosting account data and information on the current VPS hosting package to a new Network
         Solutions hosting package. The hosting migration will cover any applications and SSL certificates that you
         have installed using the hosting control panel as well as any applications that have been built outside the
         control panel. However, Network Solutions makes no representations whatsoever that all necessary website,
         database or hosting information and/or data will be fully or properly migrated. You further acknowledge and
         agree that Network Solutions has no obligation to back-up any information or data related to your website,
         database or hosting account during or otherwise in the event of a migration.

         Upon requesting or otherwise ordering the migration services, Network Solutions shall bill your method of
         payment for any applicable migration charges, and will further assess as to whether Network Solutions can


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         provide the migration services to you. Network Solutions will look to complete such an assessment within
         five (5) business days and then shall confirm if the migration services are to be provided, whereby you are
         required to provide all needed information related to the current hosting package, contents thereof and what is
         to be migrated. Customers who will not be provided the migration services will receive a refund for
         applicable migration charges billed, and for those customers for whom the migration services are to be
         provided Network Solution (or a vendor or sub-contractor thereof) would work with the customer in an effort
         to provide those migration services.

         As part of the migration services you will cooperate and Network Solutions to establish a “cut-off date” for
         the migration process for which all tasks and activity are to be discontinued on the old hosting package. Any
         changes made to the old hosting package after the cutoff date will not be migrated to the new package.
         During migration any online transactions and/or changes to the old hosting package will be not migrated.
         Moreover, there may be an outage and/or downtime of the customer’s website, database and/or hosting
         account during the migration and subsequent verification. If the migration involves an active website, any
         transactions that are placed during this migration process will not be migrated. Once the migration is
         complete the customer will be required to verify that the migration was successful.

         For DNS Changes to be made in association with any such hosting migration:

                 If you are using external DNS, you acknowledge and agree that it is your responsibility to update the
                 zone records.
                 You further acknowledge and agree that you may need to update your glue records (Name Server IP
                 address) at the registry level by working with your respective registrar. However, if the DNS and
                 Domain is registered at Network Solutions, then you acknowledge and agree that Network Solutions
                 can make any needed changes to your zone records and glue records.

         9. Remote Desktop Feature. For certain services offered under MyTime Support, access to your computer
         will be necessary in order to complete the service. Access to the Internet is also required to receive certain
         MyTime Support services, and you are responsible for providing and maintaining your Internet connection. A
         high speed Internet connection is highly recommended in order to avoid delays or problems with the
         Services. By purchasing MyTime Support, you authorize a representative of Network Solutions and/or its
         vendors or sub-contractors to access your computer and any associated computer networks. You agree that
         you will bear all risks associated with your purchase of the MyTime Support services and your Internet
         connection. You will comply with all applicable local, state, national and international laws and regulations
         during the provision of the MyTime Support services. You agree to allow Network Solutions to record and
         archive a digital copy of the MyTime Support session in a video format for liability and training purposes,
         and you are aware and agree that anything you do not want recorded, including but not limited to e-mail,
         files, attachments, pictures, and Internet history, must be removed from your computer prior to the MyTime
         Support session.

         You agree to assist Network Solutions as reasonably requested by Network Solutions in diagnosing the issues
         and providing the MyTime Support services. The Network Solutions representative providing the MyTime
         Support service(s) has sole discretion over any instructions and steps taken in providing the Services.

         You agree that the MyTime Support services provided by Network Solutions may result in malfunction of
         certain programs or functions of your computer or associated computer networks, and acknowledge that this
         result may occur through no fault of Network Solutions. Knowing and understanding the risk of accepting
         MyTime Support services from Network Solutions, you assume all responsibility and risk for any damage to
         your programs, computer or associated networks that may result from those services, even if due to the fault


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         or negligence of Network Solutions. Furthermore, you agree in advance to release, waive, forever discharge,
         and covenant not to sue Network Solutions, any of its employees, officers, and/or agents from and against
         any and all liability for any harm, injury, damage, claims, demands, actions, causes of action, costs, and
         expenses of any nature that may result from any and all MyTime Support services that you purchase and
         accept.

         You hereby agree to indemnify, save and hold harmless Network Solutions, its employees, officers, and/or
         agents from any loss, liability, damage, or cost they may incur due to the provision of MyTime Support
         services on your behalf, whether or not such loss, liability, damage or cost is due to the fault or negligence of
         Network Solutions.

         You agree that the Internet is not owned, operated or managed by, or in any way affiliated with, Network
         Solutions, and that Network Solutions, is not responsible for and has no control over the information, content
         or other materials, some of which may be offensive, malicious or destructive in nature, which may be
         accessed through use of the MyTime Support service. You further agree that Network Solutions does not own
         or control all of the various facilities and communications lines through which MyTime Support may be
         provided, nor does Network Solutions guarantee access to or through websites, servers or other facilities on
         the Internet, whether or not such facilities are owned or controlled by Network Solutions.

         You further agree that Network Solutions cannot and does not guarantee or warrant that data or software
         programs available for downloading through MyTime Support will be free of defects, infection or viruses,
         worms, Trojan horses or other code that manifests contaminating, malicious or destructive properties. You are
         solely responsible for implementing adequate procedures to satisfy your particular requirements for data
         security, accuracy of data input and output, and for maintaining a means external to MyTime Support for the
         reconstruction of any lost data (for example, adequate backup procedures).

         You further acknowledge and agree that the Internet is not a secure network and that third parties may be able
         to intercept, access, use, or corrupt the information that you transmit or receive over the Internet. You agree
         that Network Solutions is not responsible for invalid destinations, transmission errors, or corruption or
         security of your data, computers or networks.

                           SCHEDULE Z TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                TERMS APPLICABLE TO CONTACTME BIZPRO SERVICE

         1. ContactMe BizPro Service. The ContactMe BizPro Service is a contact management system allowing
         personal and business contacts and information to be aggregated, organized, and accessed online. In addition
         to the terms of this Agreement, You agree to be bound by and comply with the following ContactMe BizPro
         terms of service, including amendments and modifications thereto, and agree that Network Solutions is an
         intended third party beneficiary of the ContactMe BizPro terms of service with rights to enforce the
         ContactMe BizPro terms of service: http://www.contactme.com/terms-of-service

                          SCHEDULE AA TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                 TERMS APPLICABLE TO EMAIL MARKETING SERVICE

         Email Marketing Service The "Email Marketing Service" is a service that allows you to directly market to
         customers, potential customers or leads by sending an email communication to such customers, potential
         customer or leads. As a part of the Email Marketing Service, there will be "add-ons" and other features and


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         offerings, that are related to the core service of sending email communications including, but not limited to,
         Event Marketing, Online Surveys, MyLibrary Plus and Email Archive. In addition to the terms of this
         Agreement, you agree to be bound by and comply with the following Constant Contact terms of service,
         including amendments and modifications thereto, and agree that Network Solutions is an intended third party
         beneficiary of the Constant Contact terms of service with rights to enforce the Constant Contact terms of
         service located at: http://www.constantcontact.com/uidocs/CCSiteOwnerAgreement.jsp. The Constant
         Contact terms of service will apply to your use of the Email Marketing Service and any related features,
         services, offerings or add-ons. You agree to the extent that any provisions in the Constant Contact terms of
         service conflict with this Agreement, the terms of this Agreement shall control.

                          SCHEDULE CC TO NETWORK SOLUTIONS SERVICE AGREEMENT

                   TERMS APPLICABLE TO THE DOMAIN EXPIRATION PROTECTION SERVICE

         Domain Expiration Protection ("DEP") is a service that prevents a domain name registered to you from
         becoming available to other parties for purchase if it is not successfully renewed prior to the expiration of its
         then-current term. In accordance with the DEP service, the domain name shall not expire and instead you will
         have one (1) year from the aforementioned then-current date of expiration of the domain name to renew the
         domain name (the "Expiration Period").

         During the Expiration Period, the domain name will remain registered to you, but Network Solutions may (i)
         lock the domain name and/or (ii) direct the domain name to an IP address designated by Network Solutions,
         including, without limitation, to an IP address which hosts a parking, under construction or other page that
         may include promotions and advertisements for, and links to, Network Solutions' Website and Network
         Solutions' products and service offerings, third-party websites, third-party product and service offerings,
         and/or Internet search engines, unless and until it is renewed by you along with the proper payment.
         Renewals of domain names during the Expiration Period will be subject to our then-current standard renewal
         fees. Only the registrant of the domain name will be permitted to renew the domain name during the
         Expiration Period and must do so over the phone by calling the Network Solutions Customer Service team. In
         the event you do not renew the domain name during the Expiration Period, the domain name will
         automatically be made available to other parties for purchase at the end of the Expiration Period.

                          SCHEDULE DD TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                        TERMS APPLICABLE TO REPUTATIONALERT

         ReputationAlert (the "Service") is a service that provides you with the capability of monitoring your website's
         online reputation by pulling information from various Internet sources. The Service lets you track and
         manage your online visibility and reputation as broken down into several categories. You are responsible for
         managing the Service and for making the necessary changes to help improve your online reputation, and as
         such Network Solutions is not responsible for the management of and/or any of the information that is
         provided in conjunction with the Service. Network Solutions is also not responsible for any negative reviews
         or comments regarding your online reputation.

         While subscribed to the Service you will receive bi-monthly notifications regarding your online reputation. In
         order to ensure you receive these notifications, you must be opted in to receive email notifications from
         Network Solutions. If you currently do not receive notifications from Network Solutions, then you will not
         receive emails that are necessary for the Service. You agree to receive all notifications via email at the email
         address you provide us during registration or by updating your account information. You agree to update your


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         email address any time your email address changes.

         You are responsible for maintaining the confidentiality of your password and are fully responsible for all
         activities that occur using your password. You agree to notify Network Solutions immediately of any
         unauthorized use of your password or any other breach of security. Network Solutions is not liable for any
         losses that you may incur as a result of any third-party's use of your password.

         Network Solutions and/or other third parties may produce automated search results or otherwise provide links
         to other websites or resources through the Service. Network Solutions may also provide the opportunity for
         you or third parties to submit, post, transmit or otherwise make available information, data, text, photographs,
         sound, graphics, video, messages, reviews and/or other materials ("RA Content") though the Service. You
         acknowledge and agree that all RA Content is the sole responsibility of the individual from whom such RA
         Content originated. Because we either do not review or have no control over such third-party sites, resources,
         and/or the RA Content, you acknowledge and agree that we are not responsible for any Content, nor for the
         availability of such sites or resources, and that we do not endorse and are not responsible nor liable for any
         such sites or resources, or any RA Content contained therein. You further acknowledge and agree that
         Network Solutions is not responsible or liable, directly nor indirectly, for any damage or loss caused or
         alleged to be caused by or in connection with use of or reliance on any such RA Content, site and/or resource.

         By submitting, posting or displaying any RA Content through the Service you grant Network Solutions (as
         well as any third party partners or affiliates) a non-exclusive, worldwide, perpetual, and royalty-free license
         (the "RA License") to reproduce, adapt, modify, translate, publish, publicly perform, publicly display and
         distribute such RA Content solely for the purposes of enabling us to display, distribute and promote the
         Service. You shall retain any intellectual property rights appurtenant to any RA Content that you submit, post,
         transmit or otherwise make available through the Service. You acknowledge and agree that the RA License
         includes a right for Network Solutions to make such RA Content available to third parties to display,
         distribute and promote the Service and related services, to use such RA Content in connection with such
         services, and to convert the RA Content to such format as applicable technical specifications may require. By
         using the Service you represent and warrant that you have all the requisite rights, power and authority
         necessary to grant the RA License.

         In addition to any other indemnification obligations you may have under the Agreement, you further agree to
         indemnify and hold Network Solutions and its officers, directors, employees, agents, parent companies,
         subsidiaries, affiliates, partners and co-branders harmless from any claim or demand, including reasonable
         attorneys' fees, made by any third party due to or arising out of (i) your use of the Service,(ii) any RA
         Content you submit, post, transmit or otherwise make available through the Service,(iii) your violation of the
         terms in this Schedule, or(iv) the violation of any rights of any other party that occurs in conjunction with
         your use of the Service.

         Billing for the Service shall be by valid credit card or other payment method acceptable to Network Solutions
         at the time of purchase. Network Solutions, in its sole discretion, shall determine the prices it will charge for
         the Service and the terms and conditions applicable to the same, and Network Solutions may upon notice to
         you in accordance with the Agreement amend such pricing and/or terms and conditions. If you do not agree
         with any such change, you may terminate the Service in accordance with this Agreement, otherwise all such
         changes shall thereafter be effective, and you agree that Network Solutions is authorized to charge your credit
         card or other approved payment method for any new fees.

                          SCHEDULE EE TO NETWORK SOLUTIONS SERVICE AGREEMENT


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                                                     TRUSTe Data License

         In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
         Agreement, the following data license and related terms and conditions (collectively, the "License") shall
         apply to the True Ultimate Standards Everywhere, Inc. ("TRUSTe") data services offered to you by Network
         Solutions.

         You are entering into this License between Network Solutions, its third party provider, TRUSTe, and you
         ("You") with respect to your use of TRUSTe standardized Privacy Policy clauses ("Data"). TRUSTe is an
         intended third party beneficiary of this Schedule with rights to enforce the terms and conditions of the
         License.

         1. Description of Data.

         The Data delivered hereunder shall consist of an annually updated set of privacy practice disclosures.

         2. Grant of License.

         Subject to the terms and conditions hereof, TRUSTe agrees to grant You a non-exclusive license (the
         "License") to: (a) use the Data for lawful purposes; (b) copy the Data into a machine-readable or printed form
         only as necessary to use it in accordance with this License; (c) comply with all applicable laws and
         regulations governing the use of the Data; and (d) enable You reasonable access to the Data.

         3. Use Restrictions/Protection of Proprietary Rights.

         3.1 You acknowledge that TRUSTe retains all right, title, and interest in the Data. You may not transfer, lease,
         or assign the Data except as specifically allowed herein.

         3.2 Except as allowed herein, You agree to not distribute the Data obtained hereunder or any copy thereof to
         any other party without the express prior written consent of TRUSTe.

         3.3 You agree to take all reasonable steps to protect against unauthorized access to, use, and bulk disclosure
         of the Data obtained under this License.

         3.4 You may not refer to TRUSTe in any way in exercising its rights hereunder.

         3.5 You may not engage is data collection, use, or disclosure practices inconsistent with the Data. Violation of
         this Section 3.5 is a material breach hereof which shall cause this License to terminate immediately with no
         refund.

         4. Fee.

         You shall pay the initial and ongoing fees as required by this License. During the Term hereof, You may
         apply to participate in other TRUSTe programs, or expand the services for an existing program. Unless
         otherwise agreed, additional fees will be applicable, per TRUSTe's then current fee structure, for any such
         expansion of services or addition of a program. Except as otherwise expressly provided herein, all fees are
         non-refundable.

         5. Limited Warranty and Disclaimer.

         5.1 Subject to the terms and conditions of this License, TRUSTe warrants that where the Data is used for the


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         purposes for which it is designed, and in accordance with user instructions and TRUSTe's instructions
         provided from time to time, that it will perform in compliance with Section 1, above; provided, however, that
         this is a limited warranty only, and will not apply to any error caused by any event, circumstance or
         development outside of TRUSTe's reasonable control. TRUSTe disclaims all other warranties or conditions,
         either express or implied, including but not limited to, warranties or conditions of merchantability, or fitness
         for a particular purpose. TRUSTE DISCLAIMS ALL OTHER WARRANTIES, EITHER EXPRESS OR
         IMPLIES, INCLUDING BUT NOT LIMITED TO, WARRANTIES OR CONDITIONS OF
         MERCHANTABILITY, OR FITNESS FOR A PARTICULAR PURPOSE.

         5.2 The preceding warranty will not apply if: (i) the Data is not used in accordance with this Agreement; (ii)
         the Data or any part thereof has been modified by any entity other than You without the express written
         consent of TRUSTe; or (iii) a inaccuracy in the Data has been caused by any of your business activities which
         are inconsistent with the Data.

         5.3 The Data and services provided to you by TRUSTe hereunder are considered Third Party Functionality
         under the Agreement and therefore Network Solutions makes no warranties whatsoever with respect thereto.

         5.4 WITHOUT REDUCING ANY OF NETWORK SOLUTIONS' LIMITATIONS OF LIABILITY
         EXISTING ELSEWHERE IN THE AGREEMENT OR ANY SCHEDULE THERETO, TRUSTE'S AND
         NETWORK SOLUTIONS' SOLE AND EXCLUSIVE LIABILITY FOR ANY BREACH OF THE ABOVE
         WARRANTY OR OTHERWISE UNDER THIS LICENSE REGARDLESS OF THE BASIS OF
         RECOVERY CLAIMED SHALL BE LIMITED TO THE REFUND ANY PRE-PAID BUT UNUSED FEE
         AMOUNTS PAID BY YOU HEREUNDER. TRUSTE AND NETWORK SOLUTIONS DO NOT
         WARRANT THAT THE OPERATION OF THE DATA WILL BE ERROR-FREE.

         5.5 WITHOUT REDUCING ANY OF NETWORK SOLUTIONS' LIMITATIONS OF LIABILITY
         EXISTING ELSEWHERE IN THE AGREEMENT OR ANY SCHEDULE THERETO, NEITHER TRUSTE
         AND/OR NETWORK SOLUTIONS SHALL BE LIABLE FOR LOSS OF OR DAMAGE TO RECORDS
         OR DATA; COST OF PROCUREMENT OF SUBSTITUTE GOODS, SERVICES OR TECHNOLOGY;
         ANY MATTER BEYOND ITS REASONABLE CONTROL; AND ANY SPECIAL, INDIRECT,
         INCIDENTAL OR CONSEQUENTIAL DAMAGES INCLUDING BUT NOT LIMITED TO LOSS OF
         PROFITS, EVEN IF TRUSTE IS ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. YOU
         ACKNOWLEDGE AND AGREE THAT THESE LIMITATIONS OF THIS SECTION 5 ARE ESSENTIAL
         ELEMENTS OF THE LICENSE AND THAT IN THE ABSENCE OF SUCH LIMITATIONS THE PRICES
         AND TERMS SET FORTH IN THIS LICENSE WOULD BE SUBSTANTIALLY DIFFERENT.

         5.6 YOU REPERESENT AND WARRANT THAT USE OF THE DATA DOES NOT CONSTITUTE
         COMPLIANCE WITH ANY APPLICABLE LAW, STATUTE, ORDINACE, OR REGULATION. YOU
         SHALL HAVE A CONTINUING OBLIGATION TO COMPLY WITH ALL APPLICABLE LAWS
         RELATING TO DATA COLLECTION, USE, AND DISCLOSURE.

         6. Term and Termination.

         6.1 The initial and renewal terms of this License shall be annually from the date that you order the TRUSTe
         Data services.

         6.2 Termination for Convenience. Either party may terminate this License anytime after the initial term by
         providing the other party with 30 days advance written notice. Except as otherwise expressly provided for
         herein, there shall be no refund of any pre-paid but unused fees hereunder. Any obligations to pay fees


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         incurred under Section 4 prior to termination of the License and the provisions of the Data service shall
         survive termination of the License for any reason.

         7. General.

         This License is the entire agreement between You and TRUSTe relating to Data Service and supersedes all
         prior, contemporaneous, or other oral or written communications, proposals, and representations with respect
         to its subject matter. Except as provided for in the Agreement, no modification to this License is binding
         unless in writing and signed by a duly authorized representative of each party. The waiver or failure of any
         party to exercise any right provided for herein shall not be deemed a waiver of any further right hereunder. If
         any provision of this License is held invalid, all other provisions shall remain valid unless such validity
         would frustrate the purpose of this License, and this License shall be enforced to the full extent allowable
         under applicable law. Except as otherwise provided in the Agreement neither party may assign, except to a
         successor, its rights, duties or obligations under this License without the prior written consent of the other
         party and any attempt to do so shall be void and of no effect.

                          SCHEDULE FF TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                               Network Solutions Buyer's Club

         For the Network Solutions Buyer's Club membership program (the "Program"), along with the Services
         Agreement located at www.networksolutions.com/legal/static-service-agreement.jsp, the following additional
         terms and conditions also apply (collectively, the "Agreement"):

         A. The Program provides those that enroll in the Program (individually a "Member") with discounts, savings
         and other benefits related to the Network Solutions new TLD registration services.

         B. "Membership" in the Program is available to qualified individuals age eighteen (18) years and older.
         Membership is required to receive any Program benefits or incentives.

         C. Network Solutions reserves the right to refuse membership for any reason and to suspend and/or revoke
         membership with or without cause and with or without notice to the Member.

         D. Membership fees are due in advance at time of initial enrollment in the Program. The term of the
         Membership will be for 12 months beginning either at the time of enrollment or the launch date of the first
         TLD available for pre-registration via the Program, whichever is later. For existing Network Solutions
         accounts, it is the primary account holder which shall be considered the Member for Program purposes.

         E. For Program discounts, all such discounts will be automatically applied to purchases at time of check-out.
         If any such discount is not properly applied, the Member should contact Network Solutions Customer Service
         at 1-902-881-4546.

         F. Additional terms and conditions shall apply to the Services purchased through the Program, including but
         not limited to those related to pre-registration of new TLDs.

         G. Members may cancel their membership at any time by calling Network Solutions Customer Service at
         1-902-881-4546. Member acknowledges that all Membership fees are non-refundable, even if Member
         cancels their membership prior to the end of the Membership term, and regardless of whether Member makes
         any purchases or otherwise utilizes any Program benefits prior to termination.



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         H. For any new TLD pre-registration pricing, discounts may be subject to change based on changing of
         market pricing on TLD application and registration fees. Such discounts only apply to new purchases of
         TLDs and not to transfer of TLDs from another registrar. Nor does Network Solutions' Buyer's Club offer the
         same promotional or free services as other registrars may offer on TLD purchases.

         I. For the Network Solutions TLD Registration Best Price Guarantee (the "BPG") available to Members,
         Network Solutions will reduce a TLD registration fee up to twenty percent (20%) of what was paid to
         Network Solutions in an effort to match competitor pricing on the same TLD. The BPG will be available
         from pre-registration of the TLD up to the end of the Landrush period for the TLD and is valid for a
         particular purchase for two weeks following the date payment is made to Network Solutions by Customer.
         For this reduction to apply, any such competing price must be current, in writing, include all related
         application fees, be available to the general public from a certified TLD registrar and must be for the same
         phase in the TLD lifecycle (i.e. pre-registration, Sunrise and/or Landrush). The BPG does not apply to
         membership discounts, service bundles, promotional and introductory pricing, or one-time only offers;
         additionally, it does not apply to any auction prices, costs and/or related fees.

         J. FOR TLD REGISTRATION SERVICES, NETWORK SOLUTIONS DOES NOT GUARANTEE THAT
         ANY TLD IS AVAILABLE AT TIME OF PURCHASE. ADDITIONALLY PRE-REGISTRATION FOR A
         TLD DOES NOT GUARANTEE THAT MEMBER WILL BE ABLE TO PURCHASE RIGHTS TO THAT
         TLD, AND NETWORK SOLUTIONS DOES NOT MAKE ANY REPRESENTATION THAT THE
         MEMBER WILL BE GUARANTEED ANY RIGHTS TO THE TLD. IF THE TLD IS SUBJECT TO AN
         AUCTION MEMBER ACKNOWLEDGES THAT THEY WILL BE SUBJECT TO THE ICANN RULES
         AND PROCEDURES ON DOMAIN AUCTIONS AS WELL AS ANY AND REGISTRY RULES AND
         PROCEDURES.

         K. By submitting any TLD registration request or otherwise utilizing the Membership and/or related Network
         Solutions Services, Members agree to use the Services only for lawful purposes, consistent with the
         limitations set forth in this Agreement and in a manner that is not in violation of this Agreement or the
         Network Solutions Acceptable Use Policy. Network Solutions reserves the right to terminate any
         Membership, any domain registration requests or Services that Member has with Network Solutions, and
         deny any refunds related thereto if in Network Solutions' sole discretion it makes a determination or has any
         reason to believe that the Member is using the Membership and/or Services in a manner that constitutes a
         violation of this Agreement, the Network Solutions Acceptable Use Policy and/or any U.S. or state statute or
         regulation, including but not limited to violation of U.S. copyright and trademark law.

                          SCHEDULE GG TO NETWORK SOLUTIONS SERVICE AGREEMENT

             NEW gTLD PRE-REGISTRATION, SUNRISE, LANDRUSH AND GENERAL AVAILABILITY
                           SERVICES ADDITIONAL TERMS AND CONDITIONS

         By registering or otherwise submitting an application with Network Solutions (along with any and/or all
         parents, subsidiaries, affiliates, successors and assigns thereof, referred to "Registrar", "we", "us" and/or
         "our") to pre-register a new generic top-level domain name (a "gTLD") you ("Registrant", "you", and/or
         "your") certify that you have read, understood and agree to be bound by all terms and conditions below (the
         "Terms and Conditions") as well as all terms and conditions of our applicable Services Agreement, as it may
         be amended from time to time, which is hereby incorporated in full (the Terms and Conditions and the
         Services Agreement are collectively referred to herein as the "Agreement").

         1. Services. The Agreement explains our obligations to you, and explains your obligations to us regarding


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         your use of our domain name pre-registration services (the "Services"). By submitting a pre-registration or
         pre-reservation request (a "Domain Request"), you acknowledge that you have read and agree to be bound by
         all terms and conditions of the Agreement, as amended from time to time, and to any other pertinent rules or
         policies that are or may be published by Registrar and/or the registry operating and/or otherwise managing
         the applicable gTLD (the "Registry"). You further agree to utilize the Services in full compliance with our
         Acceptable Use Policy.

         2. Eligibility Requirements. Registrant must meet requirements for certain new top level domain during any
         of the pre-registration or registration phases ("Eligibility Requirements and/or "Membership Requirements").
         You represent and warrant that every registration you are applying for in the applicable gTLD satisfies stated
         requirements for those applicable gTLDs. Such requirements established by the applicable Registry and are
         more fully described on the applicable Registry website.

         3. Registration Process. You acknowledge and agree that it is your responsibility, through the registration
         process for a pre-registered domain name (and, if applicable, as required subsequent to your application), to
         provide the information necessary to satisfy associated Registry requirements for a generic top level domain.
         Required supporting documentation may include but not be limited to community, member and/or trademark
         holder to support Registry specific eligibility requirements. Failure by you to satisfy these requirements
         (whichever is applicable) may result in, among other things, (a) the domain name registration or
         pre-registration application(s) being rejected by Registrar (b) the domain name(s) being placed on "hold" by
         Registrar and/or the associated Registry, and/or (c) the domain name(s) being deleted by Registrar and/or the
         Registry. Neither Registrar nor the Registry shall be liable to you for any actions or inactions resulting from
         your failure to provide all required information to satisfy the Eligibility Requirements or Membership
         Requirements at the time of registration or pre-registration (or, where applicable, subsequent to registration),
         and neither shall have any obligation to request or attempt to obtain from you additional information to
         establish your compliance with the specific Registry Eligibility Requirements or Membership Requirements,
         even if the need for such information is known by them. Moreover, you acknowledge that in order for any
         new gTLD through Registrar to resolve on the Internet you must have successfully registered the domain and
         meet all applicable obligations associated with each applicable Registry. Additionally, in order for you to
         utilize other Registrar services in conjunction with a domain name you must have successfully registered the
         domain and meet all applicable obligations associated with such gTLD.

         4. Pre-Registration. When you submit a Domain Request, you are authorizing us to attempt to obtain a
         domain name in the named gTLD (as described on our Website) for you if and when the Registry launches its
         Sunrise, Landrush and General Availability period. When each phase opens, Registrar will likely submit all
         pre-registration requests during the Sunrise, Landrush or General Availability periods and the Registry will
         likely review all proposed registration requests. Please note some domain name requests may not be allocated
         on a first come, first serve basis during the Sunrise or Landrush Periods. In addition, you agree to be bound
         by all policies, terms, and conditions of the initial launch of these gTLDs. This information may be found on
         the applicable Registry's website.

         You acknowledge that neither the Registry nor Registrar has any liability of any kind for any loss or liability
         resulting from the proceedings and processes relating to the Pre-Registration, Sunrise period or the Landrush
         period, including, without limitation: (a) the ability or inability of you and/or another registrant to register a
         domain name during these periods, and (b) the results of any dispute over a Sunrise, Landrush or other
         registration.

         5. Sunrise. Sunrise is created to protect trademark holders, pre-existing exact match domain holders, and to
         avoid abusive registrations. During the Sunrise period, the registry system may accept different types of


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         Sunrise applications. Either all or a portion of the Sunrise periods are reserved for members of the Trademark
         Clearinghouse provided by ICANN. Please see the applicable Registry's website for that Registry's rules that
         apply to the Sunrise period. You acknowledge that Registry or its designee shall decide at its own discretion
         whether any documentation or information you submit verifies your right to register a desired domain name.

         Most, if not all, gTLDs Sunrise applications must possess a registered trademark that meets certain criteria,
         and must attest to their membership in the Trademark Clearinghouse by providing a Signed Mark Data File
         (SMD) for each mark. Most, if not all, gTLDs Sunrise registrations may not be awarded until (a) the
         prospective registrant has provided the SMD file completed any applicable membership or community
         requirements and his or her contact information has been confirmed; and (b) completed and duly executed
         any supporting documentation that may be required for the Sunrise phase required by the applicable Registry
         Operator. Most, if not all, gTLDs domain names awarded during Sunrise may not be operable (resolve in the
         DNS) and available for your use until the "create-date" chosen by the applicable Registry.

         6. Landrush. The registration period for registrants that meet the applicable qualification as defined by each
         Registry in order to participate in Landrush. Applications for competing names may go to auction at the end
         of the Landrush period. Landrush registrations may not be awarded unless and until, after (a) the close of the
         Landrush phase, (b) end of Auction Period, or (c) until Registry deems the Landrush phase period closed.
         Domain names awarded during Landrush may not be operable (resolve in the DNS) and available for your
         use until the "create-date" determined by the applicable Registry Operator. Please note that, pursuant to
         applicable Registry rules, domain names may not be awarded on a first-come first-served basis during the
         non-TMCH Sunrise and Landrush periods though such an award may be possible under certain auction rules.
         Please see the applicable Registry's website for that Registry's rules that apply to the Landrush period. After
         Sunrise and before Landrush, there may be a Quiet Period during which each Registry will review Sunrise
         applications.

         7. Early Access Program. Some Registries may offer an Early Access Program (EAP) after Sunrise and in
         lieu of a Landrush phase. During EAP, an early access fee is charged in addition to the registration fee and
         application fee (as further described below), which may vary based on categorization of the Domain Name
         ("Domain Name Rating"). EAP fees are set by the Registry and will typically descend each subsequent day
         during the EAP. We reserve the right to not participate in any EAP with respect to your Domain Request or
         alternatively submit your Domain Request on the last day of the EAP.

         8. General Availability. For Registries forgoing Landrush and not offering an EAP or other similar program,
         Domain Requests not rejected at Sunrise or otherwise, shall be submitted at the beginning of the General
         Availability phase for the applicable Registry.

         9. Validation Process. You agree that we shall have no liability to you or other third parties for anything
         related to the applicable Registry's validation process for a proposed registration request that we have
         submitted and is pending final approval by the applicable Registry. You acknowledge and agree that it is your
         responsibility to ensure that you meet all of the requirements stated by the Registry for your proposed
         Domain Requests. You agree that we are not responsible or liable in any way if any of your Domain Requests
         are rejected for any reason, including but not limited to, the Registry's failure or inability to contact you or
         your failure to respond to Registry's request for supporting documentation during the validation process.

         10. Transfer Lock. Following award of a Sunrise, Landrush, or General Availability domain name, the name
         will be on transfer lock with the Registrar for at least sixty (60) days.

         11. Charges. Charges and fees for Domain Requests are outlined on our website at the time you submit a


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         Domain Request. By submitting a Domain Request, you authorize us to charge you immediately for all
         application and registration fees. Domain Requests that are rejected by Registry for any reason will still be
         charged an application fee that will NOT be refunded to you. You will however be refunded the registration
         fee charged during pre-registration if you are not awarded the requested domain name. Any applicable fees
         not charged when you submit your Domain Request will be charged to your credit card once your Domain
         Request is accepted and processed by the associated Registry. Additionally, successful domain registration
         requests are subject to the terms of the Agreement as well as our Registrant Agreement and/or any other
         terms and conditions of this Agreement related to domain name registrations.

         12. Non-Uniform Renewal Registration and Renewal Pricing. Some Registries, such as Donuts Inc., will
         have non-uniform renewal registration pricing such that the registration fee for a domain name registration
         renewal may differ from other domain names in the same or other Registry gTLDs (e.g., renewal registration
         Fee is $7 for one domain name and $13 for a different domain name).

         13. Trademark Clearinghouse Notifications and Intellectual Property. You acknowledge and agree that you
         expressly provide us with the right to accept any warning or notice on your behalf that the domain name you
         are submitting a Domain Request for may incorporate another party's trademark or other intellectual property.
         You further acknowledge and agree that you are not to submit any Domain Requests that infringe on another
         party's intellectual property and that you are not to utilize the Services in a manner infringing on another
         party's intellectual property rights. You further acknowledge and agree that Registrar will not be responsible
         in any manner whatsoever if you violate any such intellectual property rights and/or laws.

         14. Registration Phases and Timeline. You further acknowledge and agree that all timeframes and schedules
         for the different registration phases for all domain names are to be established by the associated Registry at
         their sole discretion and those registration options will not be available once the associated phase has ended.

         15. Auctions. During Sunrise, Landrush and General Availability, the Registry system may accept an
         unlimited number of applications for each string, and an unlimited number of applications for a string of a
         given application type. In the event a Registry receives more than one qualified application for the same
         name, the name may be awarded via auction. Details on how auctions will be conducted for each gTLD can
         be found on the applicable Registry website.

         16. Registrant Information and Use of Personal Data. You agree to keep all registration and contact
         information related to your Domain Requests ("Personal Data") current so that we can contact you for any
         reason or so the related Registry is able to contact you for any reason, including, but not limited to, any
         participation in a validation process for a domain name during the Sunrise, Landrush, or General Availability
         period. We take no responsibility in providing the Registry with any Personal Data other than what you
         provide in any initial Domain Request. The Personal Data you provide will be submitted to the associated
         Registry and used in accordance with the published Registry Privacy Policy, which will be available on the
         Registry's website.

         17. Reserved and Revocation of Certain Domain Names. You agree that each Registry may have identified
         certain domain names that cannot be registered during the Sunrise, Landrush, and General Availability
         process. You further accept that Registrar and each Registry reserves the right to deny a Domain Request that
         an associated Registry considers to be contrary to public policy. You understand that each Registry may also
         revoke a domain name at its own initiative for a variety of reasons including but not limited to nonpayment of
         fees or failure to meet Registry-stated eligibility Requirements. All Sunrise and Landrush application
         submissions to the associated Registry are considered final and we will not refund any application fees paid
         by you.


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         18. No Guarantees. Registrar makes no guarantees, representations or warranties that any Domain Request
         will be accepted by the associated Registry. You acknowledge and agree that a Domain Request for a domain
         name submitted by Registrar to the associated Registry may fail for a variety of reasons or be rejected by
         associated Registry. You acknowledge and agree that the successful registration will depend upon a number
         of different factors that Registrar cannot predict or control. You acknowledge and agree that submission of a
         Domain Request for a domain name or any other services (regardless of when submitted) does not guarantee
         that you will ultimately be the registrant for any particular domain name. You acknowledge and agree that we
         shall not be liable to you or any other party in connection with claims, damages, losses, expenses or costs
         incurred or suffered by you as a result of actions taken or not taken by third parties, including, but not limited
         to, the associated Registry (for example, the Registry reserves the right to suspend, reject, deny or revoke any
         domain name registration for a variety of reasons, none of which Registrar can control).

         19. Acknowledgment and Agreement of Participating Registry Policies, Terms, Rules. You acknowledge
         having read and understood and agree to be bound by the terms and conditions of all of the policies, terms or
         rules (collectively the "Registry Policies") that are posted or referred to on the applicable Registry website.
         You also agree to comply with any and all current Registry Polices posted at the time of pre-registration and
         registration, but also future Registry Policies. You agree that, by maintaining any service related to your
         pre-registration or registration request (which may include the ultimate registration of a domain name) after
         such posting of any new or amended Registry Policies, you have agreed to the terms and conditions of the
         same and will be bound by such terms and conditions. You acknowledge that if you do not agree to the
         amended or new Registry Policies, you may terminate this Agreement. We will not refund any fees paid by
         you if you terminate your Agreement with us.

         20. Limitation of Liability. In addition to the other limitations of liability contained herein, you agree that
         Registrar shall have no liability of any kind for any loss or liability resulting from the processing of Domain
         Requests prior to the live gTLD launch or the submission of Domain Requests to the participating Registry
         including, without limitation, your ability or inability to obtain a particular domain name including any
         dispute resolution proceeding related to any of the foregoing. Registrar assumes no liability for any Domain
         Request or a domain name's rejection, suspension, cancellation, deletion, interruption or transfer due to
         procedures, rules or policies laid down by participating Registry or auction provider or due to practices,
         customs or prejudices of courts of law or dispute resolving arbitrators. We are not liable for any claims,
         damages or injuries arising out of the termination of services that are provided by participating Registry for
         any reason, including but not limited to the termination of participating Registry's registration authority, or its
         bankruptcy.

         21. Indemnification. In addition to your other indemnification obligations contained in the Agreement, you
         also agree to indemnify, release, defend and hold us harmless for all liabilities, claims, damages, costs and
         expenses arising out of: (a) your breach of any terms or conditions of the Agreement; (b) any violation of a
         third party's right related to your Domain Request; (c) any dispute with a Registry or a third party arising out
         of your Domain Request or subsequent registration of a domain name; (d) any dispute related to the
         validation process for your Domain Request; or (e) any dispute related to an auction process related to any
         Domain Request by you.

         22. Notification Requirement. You agree to immediately notify Registrar and applicable Registry of any
         registered domain name owned or controlled by you where the website content in connection with such
         domain name is the subject of any legal "take-down" notice issued by law enforcement or government agency
         because of alleged illegal or illicit activity on such website.

         23. Survival of Terms. You agree that the limitation of liability and indemnification provisions set forth in


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         this Agreement shall survive any termination of the Agreement.

         24. Governing Law. You agree that any disputes between you and Registrar shall be governed in all respects
         by and in accordance with the laws of the State of Florida. All disputes between you and the named Registry
         are to be brought before the tribunal of named Registry's choice.

                          SCHEDULE HH TO NETWORK SOLUTIONS SERVICE AGREEMENT

                      ADDITIONAL TERMS APPLICABLE TO SITELOCK SECURITY SERVICES

         1. Application of Terms

         In addition to the terms and conditions in the General Provisions and other applicable Schedules in the
         Agreement, the following additional terms shall apply to the SiteLock ("SiteLock") business verification and
         security services (the "Services", as further defined below) you ("Subscriber") use, access or purchase
         (collectively "use") from Network Solutions.

         2. Definitions and Interpretations

         2.1 In this Agreement, unless the context requires otherwise, the following terms and expressions shall have
         the following meanings:

         "Confidential Information" means all material, data, systems and other information concerning the operation,
         business, projections, market goals, financial affairs, products, services, customers and intellectual property
         rights of Network Solutions that is not accessible or known to the general public. Confidential Information
         shall include, but not be limited to, any information which concerns technical details of operation of any of
         the Network Solutions services and products offered hereunder.

         "Effective Date" means the date when Network Solutions receives the Subscriber's request for the Services
         via the online order and/or registration process;

         "Enrollment Form" means an electronic form on the Network Solutions or other applicable Website
         completed by the Subscriber by providing the Subscriber Data and which identifies certain requirements for
         the Services;

         "Issue Date" means the date of issue of a SiteLock Site Seal to the Subscriber after a successful Website
         vulnerability scan;

         "Performance Monitoring Services" means the program which monitors the availability and performance of
         Subscriber's website identified for use with the Services (the "Website") by downloading the specified
         webpage (the "Webpage") on a periodic basis from locations around the world. This Service will also include
         alerts via email or text message that may be sent on occasion to a Subscriber if the Webpage is not available
         or if the download is slow. Weekly reports will also be available or be sent to Subscriber regarding overall
         performance of the Webpage.

         "Site Seal" shall mean a hyperlinked graphic provided by Network Solutions to Subscriber for display on the
         Subscriber's Website that certifies to visitors to Subscriber's Website that the Website has been scanned for
         vulnerabilities. When visitors click on the Site Seal, it generally will indicate the date and time of the last
         successful vulnerability scan;




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         "Subscriber" means the individual, entity or organization identified during the online order and/or registration
         process for the Services using, accessing or purchasing the Services;

         "Subscriber Data" means information about the Subscriber required by Network Solutions to provide the
         Services, including without limitation, the information which must be provided by the Subscriber during the
         online order and/or registration process and updated as such information changes;

         "Services" means the provisioning of the SiteLock services, which includes the Vulnerability Scanning
         Services, Performance Monitoring Services and the provision of a Site Seal, and related services as described
         in this Agreement;

         "Services Period" means the time period during which your account subscription shall be active commencing
         on the date of your registration for the subscription.

         "Third Party Data" means data, information or any other materials (in whatever form) not owned or generated
         by or on behalf of the Subscriber;

         "Vulnerability Scanning Services" means the Network Solutions program which scans a Subscriber's Website
         on a periodic basis to detect whether vulnerabilities exist. An alert via email or text message will generally be
         sent by Network Solutions to Subscriber if a severe vulnerability is detected. Reports will be provided in the
         Subscriber's Account Manager detailing certain detected vulnerabilities and the level of severity for such
         vulnerabilities.

         3. Provisioning the Services

         3.1 Provided that Network Solutions is able to validate, to its satisfaction, the Subscriber Data, and that
         Network Solutions accepts a Subscriber's application for the Services (as such application is set out in the
         Enrollment Form), Network Solutions shall provide to the Subscriber the Services in accordance with the
         terms of this Agreement. Notwithstanding the foregoing, Network Solutions reserves the right to refuse a
         Subscriber's application at its sole discretion and for any reason. You expressly agree that as a part of the
         Services, you give Network Solutions full authorization to scan your Website from anywhere in the world in
         order to monitor such Website's performance, including, but not limited to the uptime/downtime and
         download time for the Website and also to monitor the Website for vulnerabilities. You also agree to take any
         necessary steps to communicate to your hosting provider (if other than Network Solutions) that you have
         authorized Network Solutions to conduct such scans and request that your hosting provider permit these
         scans to occur unimpeded. If your hosting provider refuses to permit Network Solutions to scan your
         Website, Network Solutions may not be able to perform the necessary scan of your Website.

         3.2 The Services only serve as a passive conduit to identify, report and deliver the fix recommendations for
         various performance problems and avenues of insecurity or vulnerability in your Website. While the detailed
         post scanning reports may contain recommended fix steps and links to possible solutions if performance
         problems and/or vulnerabilities are detected on your system, the Services do not, and are not intended to, fix,
         remedy, prevent, or eliminate such problems, vulnerabilities and/or other insecurities. You are solely and
         ultimately responsible for your Website's performance and securing and protecting your Website. You are also
         solely responsible for taking appropriate steps and all necessary actions to fix, remedy, prevent or eliminate
         any performance or vulnerability issues with your Website and Network Solutions shall have no liability for
         any recommended steps that Network Solutions offers as a part of any report provided to you. Network
         Solutions shall have no responsibility or liability for any vulnerabilities or performance issues that are
         detected or that are not detected on your system. Network Solutions shall in no way be responsible for fixing,


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         remedying, preventing, or eliminating any problems, vulnerabilities or other insecurities on your system or
         your Website.

         3.3 Upon successful validation of your Domain Name, you will receive the automatic, daily vulnerability
         scans and the performance monitoring of the selected IP addresses. If your IP address passes the vulnerability
         scan, you will be permitted to display the SiteLock Site Seal on the Website associated with such IP address.
         If at any time the IP address fails the vulnerability scan, you will be given 7 further scheduled scan attempts
         (or 7 days) to fix the problem from the time of the first failed test. During this time, you are permitted to
         continue displaying the SiteLock Site Seal on the Website. If the problem is not fixed within this 7 day
         period, Network Solutions may revoke or suspend the SiteLock Site Seal.

         3.4 You acknowledge and agree that Network Solutions may, in its sole and absolute discretion, modify, limit,
         remove, or alter the services as it sees fit. Scans, monitoring, verification, and authentications performed by
         the Services and reports/emails that are part of the Services may be removed, modified, or updated by
         Network Solutions at any time without notice. You expressly agree that Network Solutions shall have no
         liability to you or any third parties for taking such action as identified in this provision.

         3.5 You acknowledge and agree that any and all reports that Network Solutions provides to you as a part of
         the Services may contain inaccurate and incomplete information as to performance and/or vulnerability issues
         or proposed fixes and remedies for your Website.

         4. Use of the Services

         4.1 The Services is provided by Network Solutions for the Subscriber's own use and the Subscriber hereby
         agrees not to resell or attempt to resell (or provide in any form whether for consideration or not) the Services
         (or any part of it) to any third party and shall not allow any third party to use the Services without the prior
         written consent of Network Solutions.

         4.2 The Subscriber shall:

         4.2.1 Use or access the Services only in conjunction with the Software or other software that may be provided
         by Network Solutions from time to time or specified by Network Solutions to be appropriate for use in
         conjunction with the Services.

         4.2.2 Be responsible, at its own expense, for access to the Internet and all other communications networks or
         third party services (if any) required in order to use the Services and for the provision of all computer and
         telecommunications equipment and software required to use the Services except where expressly provided
         otherwise herein;

         4.2.3 Obtain and keep in force any authorization, permission or license necessary for the Subscriber to use the
         Services save where Network Solutions expressly agrees to obtain the same under the terms of this
         Agreement; and

         4.2.4 Take all reasonable precautions to prevent any violation of, loss of control over, or unauthorized
         disclosure of Confidential Information relating to the Services.

         5. License of Services Technology

         5.1 Network Solutions grants to the Subscriber a revocable, non-exclusive, non-transferable personal license
         to use any Site Seals provided to Subscriber by Network Solutions in accordance with the Services and any


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         manuals or other documents relating to the above insofar as is necessary for the Subscriber to utilize the
         Services. The Subscriber shall not copy or decompile, enhance, adapt or modify or attempt to do the same to
         the Site Seals, or any documents or manuals relating to the same, without Network Solutions' prior express
         written consent.

         6. Revocation or Suspension

         6.1 Subscriber agrees that Network Solutions reserves the right to revoke or suspend a Subscriber's Site Seal
         or the Services in the event that Network Solutions believe that:

         6.1.1 a Subscriber's Site Seal has not been issued in accordance with the policies set out on the Network
         Solutions Website;

         6.1.2 the Subscriber has requested that its Site Seal be revoked, terminated or suspended;

         6.1.3 Subscriber has violated the provisions of this Agreement, Network Solutions Acceptable Use Policy or
         any legal or administrative rule;

         6.1.4 the Subscriber Data is no longer correct or accurate, save that Network Solutions has no obligation to
         monitor or investigate the accuracy of Subscriber Data after the Issue Date of that Site Seal;

         6.1.5 a third party complaint about the Subscriber or a threat of litigation against the Subscriber or Network
         Solutions; or

         6.1.6 the Subscriber has used the Services with third party software not authorized by Network Solutions for
         use with the Services; and Network Solutions may, at its sole discretion, after revocation of a Site Seal,
         reissue a Site Seal to the Subscriber or terminate this Agreement in accordance with its provisions.

         6.2 The Subscriber agrees to discontinue all use of the Subscriber's Site Seal if the Subscriber's Site Seal is
         revoked in accordance with this Agreement, the Services Period expires, this Agreement is terminated, or any
         of the information constituting the Subscriber Data ceases to remain valid or correct or otherwise changes.

         7. Subscriber Data

         7.1 Subscriber acknowledges that in order to provide the Services the Selected Subscriber Data shall be
         embedded in the Subscriber's Site Seals and the Subscriber hereby consents to the disclosure to third parties
         of such selected Subscriber Data held therein.

         7.2 Subscriber hereby grants Network Solutions permission to examine, evaluate, process and in some
         circumstances transmit to third parties located outside the United States the Subscriber Data insofar as is
         reasonably necessary for Network Solutions to provide the Services.

         7.3 Subscriber acknowledges that Network Solutions has the right to gather information regarding the
         Subscriber's use of the Network Solutions account or services to guarantee the proper use of the licenses
         granted by this Agreement.

         8. Subscriber Warranties and Representations

         8.1 The Subscriber warrants, represents and undertakes that:

         8.1.1 all Subscriber Data is, and any other documents or information provided by the Subscriber are, and will


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         remain full and accurate and will not include any information or material (or any part thereof) the accessing
         or use of which would be unlawful, contrary to public interest or otherwise likely to damage the business or
         reputation of Network Solutions in any way;

         8.1.2 you have obtained all licenses and consents necessary to fully perform its obligations under this
         Agreement;

         8.1.3 you will not use the Services for any purpose that is unlawful or is prohibited by these terms,
         conditions, and notices. You agree to comply with all rules applicable to you in your use of the Services,
         including all applicable local, state, national, and international laws and regulations (including without
         limitation those governing account collection, export control, consumer protection, unfair competition,
         anti-discrimination of false advertising). You agree: (1) not to use the Services for illegal purposes; (2) not to
         interfere or disrupt networks connected to the Services; (3) to comply with all regulations, policies and
         procedures of networks connected to the Services; (4) not to use the Services to infringe any third party's
         copyright, patent, trademark, trade secret or other proprietary rights or rights of publicity or privacy; (5) to
         not attempt to gain unauthorized access to other computer systems; and (6) to not interfere with another
         subscriber's use and enjoyment of the Services or another entity's use and enjoyment of similar services. If
         you violate any of these terms, your permission to use the services automatically terminates;

         8.1.4 you will not, directly or indirectly, (1) reproduce, sell, lease, rent, transfer or exploit for any commercial
         purposes any portion of the Services; (2) modify the SiteLock logo in any form, change the data contained
         within the SiteLock logo or change its size; (3) use or display the SiteLock logo in a manner that is
         misleading, defamatory, infringing, libelous, disparaging, obscene or otherwise objectionable to Network
         Solutions or in a manner that impairs the rights of Network Solutions in its trademarks or logos; or (4)
         represent that Network Solutions guarantees your products or services; and

         8.2 Subscriber shall promptly disclose in writing to Network Solutions anything that constitutes a breach of,
         or is inconsistent with, any of the warranties and representations in this Agreement. Subscriber agrees to
         update the Subscription Data provided during the registration process as such information changes.
         Subscriber acknowledges and agrees that any information provided that is untrue, inaccurate, or incomplete
         can result in the immediate suspension or termination of all rights granted herein in Network Solutions' sole
         and absolute discretion. If Network Solutions ever finds any information provided to be untrue, incomplete,
         or inaccurate or has reason to believe that any information may be untrue, incomplete, or inaccurate, then
         Network Solutions, in its sole and absolute discretion, may suspend or terminate your account and refuse and
         all future use of the services of Network Solutions.

         8.3 The Subscriber agrees not to make any representations regarding the Services to any third party.

         8.4 Subscribers acknowledge that they are conducting their transactions over the Internet. Network Solutions
         provides its services on the Internet and, as such, they are subject to the operation of the Internet and the
         telecommunications infrastructures as well as the operation of your Internet connection services, all of which
         are beyond the control of Network Solutions.

         9. Termination

         If this Agreement is terminated by Network Solutions for any reason, Network Solutions may (in the event
         that a Subscriber's Site Seal has not already been revoked) revoke the Subscriber's Site Seal without further
         notice to the Subscriber and the Subscriber shall pay any amounts due to Network Solutions under this
         Agreement. Network Solutions shall have no obligation to refund any payment by the Subscriber to Network


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         Solutions in the event of any termination of this Agreement. YOU FURTHER AGREE THAT UNDER NO
         CIRCUMSTANCES WILL NETWORK SOLUTIONS BE LIABLE TO THE SUBSCRIBER FOR ANY
         LOSS SUFFERED BY THE SUBSCRIBER OR ANY THIRD PARTIES DUE TO USE OF THE SITE
         SEAL OR THE SERVICES.

                           SCHEDULE II TO NETWORK SOLUTIONS SERVICE AGREEMENT

                                    TERMS APPLICABLE TO THE WEBLOCK SERVICE

         The terms in this Schedule apply to the Network Solutions WebLock service ("Weblock" and/or the
         "Service"). WebLock is a service that provides additional protection to a Customer's domain name
         registration.

         The Service and related Service fees shall cover eligible domain names that you have registered with
         Network Solutions. However, during the onboarding process for the Service you must specifically identify
         the domain names within your account that are to be covered by the Service. Any domain names not
         identified, even if eligible and registered with Network Solutions shall not be covered under the Service. The
         Service shall require a one-time set-up fee and a recurring annual fee billed in advance each year.

         For your domain names covered by the WebLock Service (the "Domain Names"), all such Domain Names
         will be locked at the registrar and/or registry level which will prevent the following changes to those Domain
         Names (the "Changes"): (i) name server updates, (ii) domain transfers and (iii) domain deletions. In order for
         any Changes to be made to a Domain Name you must follow the WebLock process. In accordance with this
         process, such Changes to a Domain Name can only be made once the WebLock lock (the "Lock") is removed
         by a pre-registered certified user (a "Certified User") for that Domain Name. Customers must establish at
         least two (2) but no more than six (6) Certified Users. The same group of Certified Users will apply to all of
         your Domain Names covered under the WebLock Service.

         As per the WebLock process, Customer must remove the Lock to make any Changes to a Domain Name. All
         requests to remove the Lock must be made by a Certified User via email to an email address previously
         provided by Network Solutions. Network Solutions will then place an outbound call to the pre-registered
         authorized phone number for the Certified User making the request to remove the Lock. A unique PIN will
         be required to validate this call, whereby a specific PIN will be sent to each Certified User upon their
         enrollment in the Service. Provided this call can be validated via the PIN, the Lock will be removed from the
         Domain Name. In addition, a message alert will be sent to all Certified Users via email notifying them that an
         unlock request was made and identifying which Certified User has made the request. The preceding process
         will also be required to modify the Certified Users or their contact information. WebLock enrolled customers
         will also have access to a 24/7 response team in the event of any security issues occurring with respect to any
         of their Domain Names. It is your responsibility to re-engage the Lock on the Domain Name, which is also
         done via this WebLock process.

         Although WebLock shall provide for additional domain protectin, you acknowledge and agree that the
         Service is not a guarantee or policy of insurance of any kind, and in no way will the use of or enrollment in
         the WebLock Service diminish or otherwise alter the other sections of this Agreement, including but not
         limited to, Section 7 (Exclusive Remedy) and Section 8 (Disclaimers of Warranties) above, which shall
         continue in full force and effect.

                           SCHEDULE JJ TO NETWORK SOLUTIONS SERVICE AGREEMENT




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                                  TERMS APPLICABLE TO THE PREMIUM DNS SERVICE

         The terms in this Schedule apply to the Network Solutions Premium DNS service ("Premium DNS" and/or
         the "Service"). Premium DNS is a service of identifying and managing name servers responsible for giving
         the authoritative IP address for a customer's domain name.

         1. The Service and related Service fees shall cover up to five (5) eligible domain names that you have
         registered with Network Solutions. During the onboarding process for the Service you must specifically
         identify the domain names within your account that are to be covered by the Service. Any domain names not
         identified, even if eligible and registered with Network Solutions shall not be covered under the Service.

         2. Under the Service provided you will be limited to five million (5,000,000) total queries per month. Any
         overage shall be billed at $3.00 per one million (1,000,000) queries over the allotted maximum queries per
         month.

         3. Billing for the Service shall be by valid credit card or other payment method acceptable to Network
         Solutions. Network Solutions, in its sole discretion, shall determine the prices it will charge for the Service
         and the terms and conditions applicable to the same, and Network Solutions may amend such pricing and/or
         terms and conditions in accordance with this Agreement. If you do not agree with any such change, you may
         terminate the Service in accordance with this Agreement, otherwise all such changes shall thereafter be
         effective, and you agree that Network Solutions is authorized to charge your credit card or other approved
         payment method for any new fees.

         4. The Service is provided by Network Solutions for the Subscriber's own use and the Subscriber hereby
         agrees not to resell or attempt to resell (or provide in any form whether for consideration or not) the Services
         (or any part of it) to any third party and shall not allow any third party to use the Services without the prior
         written consent of Network Solutions.

         5. You are responsible, at your own expense, for access to the Internet and all other communications
         networks or third party services (if any) required in order to use the Services and for the provision of all
         computer and telecommunications equipment and software required to use the Services except where
         otherwise expressly provided herein.

         6. Network Solutions and any third party providers may monitor you and your customers' use of the Services,
         including but not limited to the number of domains, number of DNS resource records and number of DNS
         queries.

         7. You shall document and immediately report to Network Solutions any errors or malfunctions associated
         with the Services. You shall assist Network Solutions in rectifying any errors or malfunctions in Services
         upon Network Solutions' reasonable request.

         8. You shall immediately cease using the Services upon receiving notice of termination of this Agreement.
         Network Solutions will not reimburse or refund any unused credits, money, or time remaining in your
         subscription plan. Once canceled, your account will not be charged further fees unless outstanding charges
         exist on your account. Any outstanding charges will remain due and be charged to the provided credit or debit
         card, automatically by Network Solutions. If the account is an approved group invoice billing account, a
         charge to your credit or debit card will be made for final payment.

         9. You acknowledge and agree that the Services may involve access to Third Party Functionality. You
         expressly agree that this Third Party Functionality shall be used by you in accordance with the terms of any


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         relevant third party licenses. Your failure to abide by any third party license may result in the immediate
         termination of your services by Network Solutions or the third party provider. Furthermore, Network
         Solutions does not control such Third Party Functionality and is therefore not liable for any issues of any
         kind relating to the Third Party Functionality. Network Solutions reserves the right, at its sole discretion, to
         terminate, suspend, cancel or alter your access to Third Party Functionality at any time. To the extent that you
         have an account created with any such third party to facilitate your use of the Services, you grant Network
         Solutions the power and authority necessary to manage that account and those related Services on your
         behalf.

                          SCHEDULE KK TO NETWORK SOLUTIONS SERVICE AGREEMENT

                              TERMS APPLICABLE TO THE TAKE-A-PAYMENT SERVICES

         The terms in this Schedule apply to the Network Solutions Take-a-payment ("Take-a-payment" and/or the
         "Take-a-payment Services"). Take-a-payment is a service that enables you to accept credit card payments on
         your Website and either process those payments in real-time provided that you are approved to do so by
         Simplify Commerce (as further referenced below), or at a later time of your choosing via another third-party
         merchant and/or payment terminal.

         As part of the Take-a-payment Services, Network Solutions will provide code (the "Code") for you to
         implement on your Website in order to utilize the Take-a-payment Services, whereby subject to all of the
         terms and conditions of this Agreement and all related payment obligations, Network Solutions will provide
         you with a limited, non-exclusive, non-transferable, revocable license (the "License") to use the Code and the
         Take-a-payment Services. Subject to the terms and conditions of the Agreement and related payment
         obligations, Network Solutions shall allow you to remotely access and use the Take-a-payment Services on
         servers operated by or for Network Solutions ("Network Solutions Servers"). During the term of this
         Agreement, you may use the Take-a-payment Services and any related documentation solely in a manner
         consistent with the terms and conditions of this Agreement as well as any applicable state, federal, or
         international law. You agree that you and your agents will not: (a) sell, lease, transfer, license or sublicense
         the Take-a-payment Services; (b) modify, change, alter, translate, create derivative works from, reverse
         engineer, disassemble, or decompile the Take-a-payment Services in any way for any reason; (c) provide,
         disclose, divulge or make available to, or permit use of the Take-a-payment Services by any third party; (d)
         copy or reproduce all or any part of the Take-a-payment Services (except as expressly provided for herein);
         (e) interfere, or attempt to interfere, with the Take-a-payment Services in any way; (f) engage in spamming,
         mail bombing, spoofing or any other fraudulent, illegal or unauthorized use of the Take-a-payment Services;
         (g) knowingly introduce into or transmit through the Take-a-payment Services or any other services any
         virus, worm, trap door, back door, timer, clock, counter or other limiting routine, instruction or design; (h)
         remove, obscure or alter any copyright notice, trademarks or other proprietary rights notices affixed to or
         contained within the Take-a-payment Services; (i) engage in or allow any action involving the Take-a-
         payment Services that is inconsistent with the terms and conditions of this Agreement; or (j) cause, assist or
         permit any third party to do any of the foregoing. No right, title or interest of intellectual property or other
         proprietary rights in and to the Take-a-payment Services and/or other products, services or software is made
         available under this Agreement. Network Solutions, its wholly-owned subsidiaries and affiliates and its Third
         Party Licensors (as defined below) retain all right, title and interests, including, without limitation, all
         copyright, trade secret, intellectual property and other proprietary rights in and to the Take-a-payment
         Services and/or other products, services or software provided under this Agreement.

         Network Solutions reserves the right to change, amend and/or otherwise alter the Take-a-payment Services
         provided without prior notice to you.


135 of 137                                                                                                           2/18/2015 10:46 AM
Service Agreement | Network Solutions                                   http://www.networksolutions.com/legal/static-service-agreement.jsp
          Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 231 of 265

         For the Take-a-payment Services, Network Solutions shall bill you on a recurring basis in advance during the
         term of the Agreement, and may be charged on an annual, monthly or other recurring billing cycle. Your
         customers' payments will be processed through your existing third-party terminal or by signing up for
         Simplify Commerce ("Simplify") at the time you purchase and/or sign-up for the Take-a-payment Services.
         The Take-a-payment Services will only store information related to payments made by your customers via
         Take-a-payment for a maximum of thirty (30) days. Additionally, Simplify or your third-party terminal
         merchant terms of service will further apply to your use of their services for the processing of the payments
         and may include additional processing fees for which you shall be solely responsible. For reference,
         Simplify's terms are located online here. In the instance that the terms of service for Simplify or your existing
         third-party terminal conflict with this Agreement, the terms of this Agreement will apply.

         You acknowledge that Network Solutions makes no guarantees that any given customer will be able to access
         the Take-a-payment Services at any given time. Network Solutions shall not be liable to you for failure of
         accessibility to the Take-a-payment Services or any potential or actual losses that you may suffer from your
         inability to access or use the Take-a-payment Services or your customers' inability to access any websites that
         may utilize the Take-a-payment Services. Network Solutions provides all Take-a-payment Services on an "as
         is" basis and does not guarantee that the Take-a-payment Services will have no errors, defects or bugs or will
         otherwise function properly. You agree that Network Solutions is not responsible in any way for any
         malfunction or downtime in the Take-a-payment Services and any damage, injury or lost profits that may
         arise from such malfunction or downtime.

         Network Solutions makes no guarantee that the Take-a-payment Services will operate seamlessly and without
         error with your own hardware, software or other services (including third party products) that you currently
         use. Network Solutions makes no guarantees regarding system uptime. From time to time, and as may be
         necessary to maintain such systems and Network Solutions hardware, Network Solutions reserves the right to
         take its servers and other hardware offline for repairs, upgrades or routine maintenance. You agree and
         understand that the Take-a-payment Services may be dependent on third party services that Network
         Solutions cannot control. You expressly agree that the availability of those third party services may impact
         the Take-a-payment Services and therefore you shall not hold Network Solutions liable for any actions of a
         third party that may adversely impact the Take-a-payment Services. Any uptime calculation or percentage
         that is provided as a part of the Take-a-payment Services does not include routine maintenance, unexpected
         downtime caused by network issues or third party vendors, and occurrences that are outside the control of
         Network Solutions, including but not limited to any force majeure occurrences.

         You acknowledge and agree that the Take-a-payment Services are provided, in some cases, by third party
         Licensors to Network Solutions, including but not limited to Simplify ("Third Party Licensors"). For all
         Take-a-payment Services that are provided by Third Party Licensors, you agree with and shall abide by all
         Third Party Licensor terms and conditions, if any. Such Third Party Licensor terms and conditions are
         available upon request (the "Additional Terms and Conditions"). Any Additional Terms and Conditions are in
         addition to and supplement the terms and conditions provided in this Agreement. You acknowledge and agree
         that you will be subject to all Additional Terms and Conditions and that all such Additional Terms and
         Conditions shall be incorporated into this Agreement, to the extent those Additional Terms and Conditions do
         not conflict with the terms and conditions of this Agreement, as if set forth fully herein. You acknowledge
         that Network Solutions may, at its sole discretion, change any Third Party Licensors that provide services
         under this Agreement, or add or delete discrete services from the Take-a-payment Services. In the event that
         Network Solutions changes Third Party Licensors, Network Solutions may provide you with notification of
         changes in Third Party Licensors and refer you to information posted on Network Solutions' website relative
         to that change which shall be Take-a-payment Additional Terms and Conditions for the purposes of this


136 of 137                                                                                                           2/18/2015 10:46 AM
Service Agreement | Network Solutions                    http://www.networksolutions.com/legal/static-service-agreement.jsp
          Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 232 of 265

         Agreement.




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Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 233 of 265




                  EXHIBIT “18”
Federal Corporation Information - 3586570 - Corporations Canada - Cor...   https://www.ic.gc.ca/app/scr/cc/CorporationsCanada/fdrlCrpDtls.html?co...
          Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 234 of 265



         Industry Canada
         Home > Corporations > Corporations Canada > Search for a Federal Corporation


          Corporations Canada
         Federal Corporation Information - 3586570
         Glossary of Terms used on this page
         Return to Search Results

         Start New Search


         Corporation Number
         3586570
           Business Number (BN)
           866238975RC0001
           Governing Legislation
           Canada Business Corporations Act - 2000-02-24

         Corporate Name
         HVL CYBER WEB SOLUTIONS INC.
         SOLUTIONS HVL CYBER WEB INC.

         Status
         Active


          Registered Office Address
         Care of: Frédéric Valiquette
         4104 - 1751, rue Richardson
         MONTREAL QC H3K 1G6
         Canada

             Active CBCA corporations are required to update this information within 15 days of any change. A
             corporation key is required.


          Directors
         Minimum
         1
         Maximum
         10

         Directors
         FRÉDÉRIC VALIQUETTE
         4104 - 1751 Richardson
         MONTREAL QC H3K 1G6
         Canada

             Active CBCA corporations are required to update director information (names, addresses, etc.) within 15
             days of any change. A corporation key is required.


          Annual Filings
         Anniversary Date (MM-DD)
         02-24



1 of 2                                                                                                                          10/9/2015 9:00 AM
Federal Corporation Information - 3586570 - Corporations Canada - Cor...   https://www.ic.gc.ca/app/scr/cc/CorporationsCanada/fdrlCrpDtls.html?co...
          Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 235 of 265
                                                     Date of Last Annual Meeting
                                                     2015-01-05

         Annual Filing Period (MM-DD)
         02-24 to 04-24
                                                     Type of Corporation
                                                     Non-distributing corporation with 50 or fewer shareholders

         Status of Annual Filings
         2015 - Filed
         2014 - Filed
         2013 - Filed


          Corporate History
          Corporate Name History
         2000-02-24 to 2002-05-17
            SEXE WEB INC.

         2002-05-17 to Present
            HVL CYBER WEB SOLUTIONS INC.
         2002-05-17 to Present
            SOLUTIONS HVL CYBER WEB INC.


          Certificates and Filings
         Certificate of Incorporation
         2000-02-24
         Certificate of Amendment *
         2002-05-17
                           Amendment details: Corporate name
         Certificate of Amendment *
         2006-06-29
                           Amendment details: Other

         * Amendment details are only available for amendments effected after 2010-03-20. Some certificates issued prior
         to 2000 may not be listed. For more information, contact Corporations Canada.




2 of 2                                                                                                                          10/9/2015 9:00 AM
Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 236 of 265




                  EXHIBIT “19”
                     ,                 Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 237 of 265


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                       Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 238 of 265

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                  Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 239 of 265




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              Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 240 of 265   -""

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                                           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 241 of 265
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                           Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 242 of 265
                     .. 113 • . . -......                     •   •




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                     CREATE YOUR FREE ACCOUNT'                     SEE THE I-f) OFFERENCE FOR YOURSElF!

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                                 Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 243 of 265




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Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 244 of 265




                  EXHIBIT “20”
Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 245 of 265
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Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 247 of 265
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Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 249 of 265




                  EXHIBIT “21”
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 250 of 265




1 of 4                                                                                        10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools                 http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 251 of 265




           Domain Name: clicktraffix.com
           Registry Domain ID: 1882754598_DOMAIN_COM-VRSN
           Registrar WHOIS Server: whois.namesilo.com
           Registrar URL: https://www.namesilo.com/
           Updated Date: 2015-10-08
           Creation Date: 2014-10-29
           Registrar Registration Expiration Date: 2016-10-29
           Registrar: NameSilo, LLC
           Registrar IANA ID: 1479
           Registrar Abuse Contact Email:
           Registrar Abuse Contact Phone: +1.6024928198
           Status: clientUpdateProhibited
           Status: clientRenewProhibited
           Status: clientDeleteProhibited
           Status: clientTransferProhibited
           Registry Registrant ID:
           Registrant Name: Domain Administrator
           Registrant Organization: See PrivacyGuardian.org
           Registrant Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Registrant City: Phoenix
           Registrant State/Province: AZ
           Registrant Postal Code: 85016
           Registrant Country: US
           Registrant Phone: +1.3478717726
           Registrant Phone Ext:
           Registrant Fax:
           Registrant Fax Ext:
           Registrant Email: pw-2818aaea1f4ea135442e6db2f1d9717a@priva
           cyguardian.org




2 of 4                                                                                           10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools                 http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 252 of 265
           Registry Admin ID:
           Admin Name: Domain Administrator
           Admin Organization: See PrivacyGuardian.org
           Admin Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Admin City: Phoenix
           Admin State/Province: AZ
           Admin Postal Code: 85016
           Admin Country: US
           Admin Phone: +1.3478717726
           Admin Phone Ext:
           Admin Fax:
           Admin Fax Ext:
           Admin Email: pw-2818aaea1f4ea135442e6db2f1d9717a@privacygua
           rdian.org
           Registry Tech ID:
           Tech Name: Domain Administrator
           Tech Organization: See PrivacyGuardian.org
           Tech Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Tech City: Phoenix
           Tech State/Province: AZ
           Tech Postal Code: 85016
           Tech Country: US
           Tech Phone: +1.3478717726
           Tech Phone Ext:
           Tech Fax:
           Tech Fax Ext:
           Tech Email: pw-2818aaea1f4ea135442e6db2f1d9717a@privacyguar
           dian.org
           Name Server: NS1.HOSTLOGISTIC.COM
           Name Server: NS2.HOSTLOGISTIC.COM
           DNSSEC: unsigned
           URL of the ICANN WHOIS Data Problem Reporting System: http:
           //wdprs.internic.net/

           Domains - cheap, easy, and secure at NameSilo.com

           http://www.namesilo.com




3 of 4                                                                                           10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 253 of 265




4 of 4                                                                                        10/9/2015 12:32 PM
Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 254 of 265




                  EXHIBIT “22”
Whois-RWS                                                                      https://whois.arin.net/rest/net/NET-206-125-164-128-1/pft?s=206.125.16...
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 255 of 265


             WHOIS-RWS



         You searched for: 206.125.164.237

            Network

            Net Range                        206.125.164.128 - 206.125.164.255

            CIDR                             206.125.164.128/25

            Name                             HVL-NET-01

            Handle                           NET-206-125-164-128-1

            Parent                           OPC-NET-01 (NET-206-125-164-0-1)

            Net Type                         Reassigned

            Origin AS                        AS46609

            Customer                         HVL Cyberweb Solutions (C02510358)

            Registration Date                2010-05-30

            Last Updated                     2010-05-30

            Comments

            RESTful Link                     https://whois.arin.net/rest/net/NET-206-125-164-128-1

            See Also                         Upstream network's resource POC records.

            See Also                         Upstream organization's POC records.

            See Also                         Related delegations.




            Customer

            Name                                HVL Cyberweb Solutions

            Handle                              C02510358

            Street                              PO BOX 4002
                                                SUCC D

            City                                Montreal

            State/Province                      QC

            Postal Code                         H3C-0J7

            Country                             CA

            Registration Date                   2010-05-30

            Last Updated                        2013-11-19

            Comments

            RESTful Link                        https://whois.arin.net/rest/customer/C02510358

            See Also                            Upstream network's resource POC records.

            See Also                            Upstream organization's POC records.




1 of 3                                                                                                                             10/9/2015 12:34 PM
Whois-RWS                                                         https://whois.arin.net/rest/net/NET-206-125-164-128-1/pft?s=206.125.16...
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 256 of 265

            Point of Contact

            Name                   SYSADMIN

            Handle                 SYSAD120-ARIN

            Company                Technologie Optic.ca

            Street                 1751 Richardson, Suite 4.104

            City                   Montreal

            State/Province         QC

            Postal Code            H3K 1G6

            Country                CA

            Registration Date      2013-10-22

            Last Updated           2015-09-14

            Comments

            Phone                  +1-888-978-6470 (Office)

            Email                  sysadmin@optic.ca

            RESTful Link           https://whois.arin.net/rest/poc/SYSAD120-ARIN




            Point of Contact

            Name                  ABUSE

            Handle                ABUSE3961-ARIN

            Company               Technologie Optic.ca

            Street                1751 Richardson, Suite 4.104

            City                  Montreal

            State/Province        QC

            Postal Code           H3K 1G6

            Country               CA

            Registration Date     2013-10-22

            Last Updated          2014-10-22

            Comments

            Phone                 +1-888-978-6470 (Office)

            Email                 abuse@optic.ca

            RESTful Link          https://whois.arin.net/rest/poc/ABUSE3961-ARIN




            Point of Contact

            Name                  Admin

            Handle                ADMIN4951-ARIN

            Company               Technologie Optic.Ca

            Street                1751 richardson suite 4.104




2 of 3                                                                                                                10/9/2015 12:34 PM
Whois-RWS                                                       https://whois.arin.net/rest/net/NET-206-125-164-128-1/pft?s=206.125.16...
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 257 of 265

            City                  Montreal

            State/Province        QC

            Postal Code           H3K 1G6

            Country               CA

            Registration Date     2013-10-22

            Last Updated          2015-09-14

            Comments

            Phone                 +1-888-978-6470 (Office)

            Email                 info@optic.ca

            RESTful Link          https://whois.arin.net/rest/poc/ADMIN4951-ARIN




3 of 3                                                                                                              10/9/2015 12:34 PM
Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 258 of 265




                  EXHIBIT “23”
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 259 of 265




1 of 4                                                                                        10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools                 http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 260 of 265




           Domain Name: clicktraffix.com
           Registry Domain ID: 1882754598_DOMAIN_COM-VRSN
           Registrar WHOIS Server: whois.namesilo.com
           Registrar URL: https://www.namesilo.com/
           Updated Date: 2015-10-08
           Creation Date: 2014-10-29
           Registrar Registration Expiration Date: 2016-10-29
           Registrar: NameSilo, LLC
           Registrar IANA ID: 1479
           Registrar Abuse Contact Email:
           Registrar Abuse Contact Phone: +1.6024928198
           Status: clientUpdateProhibited
           Status: clientRenewProhibited
           Status: clientDeleteProhibited
           Status: clientTransferProhibited
           Registry Registrant ID:
           Registrant Name: Domain Administrator
           Registrant Organization: See PrivacyGuardian.org
           Registrant Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Registrant City: Phoenix
           Registrant State/Province: AZ
           Registrant Postal Code: 85016
           Registrant Country: US
           Registrant Phone: +1.3478717726
           Registrant Phone Ext:
           Registrant Fax:
           Registrant Fax Ext:
           Registrant Email: pw-2818aaea1f4ea135442e6db2f1d9717a@priva
           cyguardian.org




2 of 4                                                                                           10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools                 http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 261 of 265
           Registry Admin ID:
           Admin Name: Domain Administrator
           Admin Organization: See PrivacyGuardian.org
           Admin Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Admin City: Phoenix
           Admin State/Province: AZ
           Admin Postal Code: 85016
           Admin Country: US
           Admin Phone: +1.3478717726
           Admin Phone Ext:
           Admin Fax:
           Admin Fax Ext:
           Admin Email: pw-2818aaea1f4ea135442e6db2f1d9717a@privacygua
           rdian.org
           Registry Tech ID:
           Tech Name: Domain Administrator
           Tech Organization: See PrivacyGuardian.org
           Tech Street: 1928 E. Highland Ave. Ste F104 PMB# 255
           Tech City: Phoenix
           Tech State/Province: AZ
           Tech Postal Code: 85016
           Tech Country: US
           Tech Phone: +1.3478717726
           Tech Phone Ext:
           Tech Fax:
           Tech Fax Ext:
           Tech Email: pw-2818aaea1f4ea135442e6db2f1d9717a@privacyguar
           dian.org
           Name Server: NS1.HOSTLOGISTIC.COM
           Name Server: NS2.HOSTLOGISTIC.COM
           DNSSEC: unsigned
           URL of the ICANN WHOIS Data Problem Reporting System: http:
           //wdprs.internic.net/

           Domains - cheap, easy, and secure at NameSilo.com

           http://www.namesilo.com




3 of 4                                                                                           10/9/2015 12:32 PM
ClickTraffix.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/clicktraffix.com
         Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 262 of 265




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Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 263 of 265




                  EXHIBIT “24”
      Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 26410/15/15,
Domain Name Registrar NameSilo Contact Information                                   of 2653:44 PM

                                                                                                          My Cart | Log In | Create New Account | Manage My Domains




                                                                          home            register   transfer       pricing   auctions   why us?     support




                                                                                                                                         cheap
 Contact Us
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 Online Support
 Support Documentation: http://www.NameSilo.com/Support
 Online Chat: Click Here
 Report Abuse: Click Here
                                                                                                                                         secure
 Online Form: See below

 Email Support                                                                                                                           tools
 Customer Support: support@namesilo.com
 Sales: sales@namesilo.com
 Media Inquiries: pr@namesilo.com
 Comments: comments@namesilo.com

 Phone Support
 We can be reached during normal business hours (Mon-Fri 9:30am-4:30pm PT) at 602-492-8198.

 Physical Address
 1300 E. Missouri Avenue
 Suite A-110
 Phoenix, AZ 85014

 Company Officers
 Michael Goldfarb, Managing Member
 Michael McCallister, Managing Member
 Chris McMurry, Managing Member

 Online Contact Form
 Please use the form below to send us a message.

 If you have an account and would like to send us an authenticated message, you will first need to log in to your account.

  Contact Us


                    Your Name:

                    Your Email:

                    Comments:




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                                                                               reCAPTCHA
                                                                               Privacy - Terms




https://www.namesilo.com/contact_us.php                                                                                                                   Page 1 of 2
      Case 1:15-cv-22463-MGC Document 48 Entered on FLSD Docket 10/15/2015 Page 26510/15/15,
Domain Name Registrar NameSilo Contact Information                                   of 2653:44 PM


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                                                                               on Twitter   Facebook
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https://www.namesilo.com/contact_us.php                                                                  Page 2 of 2
